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                            EXHIBIT B
                                ROA #1
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  8                        SUPERIOR COURT OF THE STATE OF CALIFORNIA

  9                 IN AND FOR THE COUNTY OF SAN DIEGO—CENTRAL DIVISION

 10 BORREGO COMMUNITY HEALTH                       )    Case No.
    FOUNDATION, a California non-profit            )
 11 public benefit corporation,                    )    COMPLAINT FOR:
                                                   )
 12                          Plaintiff,            )    (1)   FRAUD
                                                   )    (2)   REFORMATION
 13            vs.                                 )    (3)   RESCISSION (in the alternative)
                                                   )    (4)   MONEY HAD AND RECEIVED
 14   INLAND VALLEY INVESTMENTS, LLC, a )               (5)   UNFAIR BUSINESS PRACTICES
      California limited liability company; DRP    )    (6)   DECLARATORY RELIEF
 15   HOLDINGS, LLC, a California limited          )    (7)   INTERPLEADER; and
      liability company; PROMENADE SQUARE, )            (8)   INJUNCTION
 16   LLC, a California limited liability company; )
      WILL LIGHTBOURNE, Director of the            )    [DEMAND FOR JURY TRIAL]
 17   Department of Health Care Services, State of )
      California DEPARTMENT OF HEALTH              )
 18   CARE SERVICES; and DOES 1 through 50, )
      inclusive,                                   )
 19                                                )
                              Defendants.          )
 20   _____________________________________ )
 21           Plaintiff Borrego Community Health Foundation (“BCHF”) alleges as follows:

 22   I. Parties and their Respective Roles in Relevant Transactions.

 23       A. Plaintiff BCHF.

 24       1. Plaintiff BCHF is, and at all times mentioned herein was, a California non-profit public

 25   benefit corporation. BCHF is a Federally Qualified Health Center (“FQHC”) with a mission to

 26   provide high quality, comprehensive, compassionate primary healthcare to people in their

 27   communities, regardless of their ability to pay. BCHF operates 26 clinics, primarily in underserved

 28   desert and inland communities throughout San Diego, Riverside, and San Bernardino Counties.

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  1   BCHF provides essential services in Family Practice, Pediatrics, OB/GYN, Internal Medicine,

  2   Podiatry, Dermatology, Cardiology, HIV/Hepatitis C and Covid 19 related testing and vaccinations

  3   to over 200,000 patients, most of whom cannot find affordable comprehensive primary care from

  4   other sources. During the recent pandemic, BCHF tested more than 80,000 Californians for Covid-19

  5   infections, and has thus far vaccinated over 18,000. BCHF’s continued operation is in the public

  6   interest.

  7       2. Like all non-profit public benefit corporations, BCHF has no owners or shareholders. It is

  8   governed by a Board of Trustees (“Board”) and managed by salaried executives who report to the

  9   Board.

 10       3. As a FQHC, BCHF operates under a comprehensive scheme of state and federal laws and

 11   regulations under which:

 12            a. Rates for federally funded medical services paid by the State of California are set for each

 13                   BCHF clinic based in part on mandatory cost reports submitted to the United States

 14                   Center for Medicare & Medicaid Services (“CMS”);

 15            b. Utilization of medical services is regulated; and

 16            c. Provider services are invoiced, reviewed, audited, and paid.

 17       4. As a non-profit public benefit corporation providing essential medical services to underserved

 18   communities, BCHF is generally prohibited from intentionally entering into contracts for

 19   employment, facilities, goods, or services priced above fair market values without good cause.

 20   Numerous laws and regulations prohibit and/or penalize the “use” of a non-profit FQHC as a

 21   “conduit” to unlawfully siphon federal health care funds into the hands of third parties by way of

 22   third-party contracts set above fair market values intentionally, and without good cause. Billions of

 23   dollars of federally funded health program funds flow through FQHCs nationally every year. Over a

 24   hundred million of these funds are paid to BCHF each year.

 25       5. Because there are no owners or shareholders to report to, an FQHC’s Board of Trustees

 26   (typically made up of individuals untrained to detect so-called “white collar” crime) provides a thin

 27   line of defense against unscrupulous board members, executives, and employees who would

 28   circumvent the Board of Trustees’ oversight and unlawfully divert millions of dollars of federally
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  1   funded health program funds to third parties. One vehicle for the diversion of federally funded

  2   health program funds is a contract between the non-profit FQHC and a provider of facilities, goods,

  3   or services that is unreasonably in excess of fair market value. When this diversion of funds occurs,

  4   the non-profit FQHC is not the perpetrator of the fraud. It is a victim of it. So are the underserved

  5   men, women, and children who rely on the continued operation of the FQHC to provide them with

  6   essential primary healthcare services.

  7       6. As is relevant here, BCHF was victimized by three grossly over-priced 30-year (sic) facility

  8   leases engineered by its former CEO (now deceased) and a long-time friend of the former CEO who

  9   develops, owns, and leases commercial property. The total combined lease price of all three leases is

 10   over one hundred million dollars. As further detailed below, these leases were not subject to due

 11   diligence. Nor were they submitted to the BCHF Board for analysis, review, and informed consent

 12   and approval. They couldn’t be. Even if it were marginally reasonable for a non-profit FQHC to

 13   enter into a 30-year facility lease (which it is not), recent independent appraisals show the total

 14   combined lease prices are $58 million over fair market rent (“FMR”). No informed rational FQHC

 15   board could lawfully approve the leases.

 16       7. The leases were paid because BCHF’s former CEO personally directed and controlled the

 17   activities of BCHF’s former business manager (his wife) and its former chief legal officer. The

 18   scheme victimized BCHF and its patients in at least three ways:

 19          a. Exposure to State Suspensions and Federal Disqualification: In California, government

 20                  funded health program funds flow to FQHCs under the oversight of the California

 21                  Department of Health Care Services (“DHCS”). DHCS is empowered to suspend all

 22                  reimbursement for the provision of health care services to Medi-Cal members in

 23                  accordance with, inter alia, Welfare and Institutions Code section 14107.11 and Title

 24                  42 of the Code of Federal Regulations section 455.23.1 Further, the United States

 25   1
        It is public knowledge that BCHF is currently under investigation by the California Attorney
 26   General’s Division of Medi-Cal Fraud and Elder Abuse for fraud against the Medi-Cal program
      largely as the result of unauthorized contracts signed by BCHF’s former CEO that include leases on
 27   facilities other than the facilities at issue here.
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  1               Health Resources and Services Administration (HRSA)/Bureau of Primary Health

  2               Care (BPHC) monitors FQHCs and can suspend and/or disqualify BCHF from the

  3               FQHC program, including, inter alia, an action by HRSA requiring BCHF to cease all

  4               activities in the program pending corrective action (45 CFR 75.375) and possible

  5               suspension under HHS regulations (2 CFR Part 376, 45 CFR 75.2). (As detailed

  6               below, DHCS is presently allowing BCHF to continue operations under the guidance,

  7               oversight, and direction of a DCHS appointed independent monitor. DCHS and its

  8               monitor have directed BCHF to suspend payment of rent over fair rental value on the

  9               three leases that are the subject of this action.)

 10        b. Reimbursement rate adjustments: The cost of owning, renting, maintaining, and

 11               upgrading clinic facilities is a substantial cost center for FQHCs providing primary

 12               health care services of the type described above. As such, CMS recognizes the fair

 13               market value of facility costs reasonably incurred and truthfully reported by FQHCs

 14               in determining the reimbursement rates to be paid clinics operated by the FQHC. Cost

 15               reporting in excess of fair market values inflates the FQHC’s mandatory cost reports

 16               required under Title 42 of the United States Code section 1395g, and exposes BCHF

 17               to an order that it amend its cost reports retroactively, potentially leading to a

 18               reduction in reimbursement rates paid by federally funded health programs. (DHCS

 19               and its monitor recently indicated that DHCS will require BCHF to amend its CMS

 20               mandated cost reports to reflect the fair market value of the three subject leases, and

 21               not the over market rents actually paid on them.)

 22        c. Non-profit 501(c)(3) tax status: Contract payments to disqualified persons in excess of

 23               fair market values (or other unlawful diversion of a non-profit entity’s revenue to

 24               falsely disguise profits as operating expenses) can result in tax liability and/or loss of

 25               non-profit tax status. (See, e.g., Internal Revenue Code sections 4958(c)(1) and

 26               4958(f)(1) and related Treasury Department Regulations in section 53.4958-3.)

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  1      8. Board oversight of executive action is therefore essential to BCHF’s placement of facility

  2   leases that: (1) Are entered into for a lawful purpose; (2) Are sought competitively, and subjected to

  3   a diligent market value analysis; and (3) To the extent reasonably possible, reflect FMR and

  4   reasonable duration, and which include reasonable terms under which the FQHC can terminate the

  5   lease.

  6      9. Facility leases entered into by a BCHF executive above FMR intentionally, without good

  7   cause, and without the fully informed consent of the Board are per se unlawful ab initio, because,

  8   inter alia, they are entered into for an unlawful purpose—to defraud BCHF of money, thereby

  9   exposing it to regulatory sanctions and related adverse financial and tax consequences.

 10

 11      B. Defendant Promenade Square, LLC.

 12      10.     Defendant Promenade Square, LLC (“Promenade”) is a California limited liability

 13   company whose primary place of business is located in El Cajon, California. Promenade is engaged

 14   in the commercial real estate business. BCHF is informed and believes that Promenade’s sole

 15   member and manager is Daryl Priest (“Priest”).

 16      11. Promenade is the owner and lessor of the structures and appurtenances located at 133 West

 17   Main Street, El Cajon, County of San Diego, California, of which BCHF is the lessee (“Promenade

 18   Lease”).

 19

 20      C. Defendant DRP Holdings, LLC.

 21      12.     Defendant DRP Holdings, LLC (“DRP”) is a California limited liability company whose

 22   primary place of business is located in El Cajon, California. DRP is engaged in the commercial real

 23   estate business. Plaintiff is informed and believes that DRP’s sole member and manager is Priest.

 24      13.     DRP is the owner and lessor of the structures and appurtenances located at 590 North D

 25   Street, City of San Bernardino, County of San Bernardino, California, of which BCHF is the lessee

 26   (“DRP Lease”).

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  1        D. Defendant Inland Valley Investments, LLC.

  2        14.      Defendant Inland Valley Investments, LLC (“Inland Valley”) is a California limited

  3   liability company whose primary place of business is located in El Cajon, California. Inland Valley

  4   is engaged in the commercial real estate business. Plaintiff is informed and believes that Inland

  5   Valley’s sole member and manager is Priest.

  6        15.      By way of assignment from DRP, Inland Valley is now the lessor of the structures and

  7   appurtenances located at 590 North D Street, City of San Bernardino, County of San Bernardino,

  8   California, of which BCHF is the lessee (“Inland Valley Lease”).

  9

 10        E. Allegations Common to Defendants Promenade, DRP, and Inland Valley.

 11        16.      BHCF is now informed and believes, and on that basis alleges, Priest is a longtime

 12   personal friend of former BCHF CEO Bruce Hebets (“Hebets”). Priest also owned and operated the

 13   management service organization that had managerial control over discrete portions of BCHF,

 14   including but not limited to provider relations, claims management, management of information

 15   related systems, quality assurance management, data reporting, and general administration of

 16   BCHF’s contract dental program. For these and other reasons, Promenade, DRP, and Inland Valley

 17   are more likely than not “disqualified persons” under the Internal Revenue Code and Treasury

 18   regulations referenced above.

 19        17.      For the sake of brevity, and because BCHF is informed and believes that Priest is the sole

 20   owner, member, and manager of Promenade, DRP, and Inland Valley:

 21              a. Promenade, DRP, and Inland Valley are also referred to collectively as the “Priest LLCs”;

 22                     and

 23              b. The three leases BCHF entered into with the Priest LLCs are referred to collectively as

 24                     the “Priest Leases.”

 25   // // //

 26

 27   // // //

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  1      F. California Department of Health Care Services.

  2      18.     Defendant California Department of Health Care Services (“DHCS”) administers the

  3   California Medicaid program, called “Medi-Cal.” DHCS is the state agency responsible for the

  4   administration of the Medi-Cal program. As noted above, government funded health program funds

  5   flow to FQHCs under the oversight of the DHCS, and the DHCS is empowered to suspend all

  6   reimbursement for the provision of health care services to Medi-Cal members.

  7      19.     Defendant Will Lightbourne is DHCS’ current Director and is sued only in his official

  8   capacity and solely for the purpose of naming the DHCS as a defendant in this action as an interested

  9   party to the interpleader cause of action. Director Lightbourne is responsible for directing,

 10   organizing, and administering the Medi-Cal program in accordance with all applicable laws and

 11   regulations. As such, he is responsible for DHCS’ compliance with state and federal laws governing

 12   the Medi-Cal program.

 13      20.     As further alleged below, DHCS has a direct, immediate, and ongoing interest in

 14   monitoring and directing BCHF’s performance of its leases with the Priest LLCs, including the

 15   prevention of payment of rent in excess of net FMR. (Through no fault of its own, BCHF has

 16   already paid the Priest LLCs approximately $11,500,000 over FMR under the Priest Leases. At a

 17   minimum, the $11,500,000 operates as an offset to FMR rents that BCHF will be depositing with the

 18   Court under the interpleader pled herein. As such, further payment of rent to the Priest LLCs only

 19   perpetuates the “over-FMR” payments to which the DHCS objects. DHCS’ interest in the disposition

 20   of funds deposited under the interpleader is therefore current and valid under law.)

 21

 22      G. Fictitious Defendant, Agency, and Alter Ego Allegations.

 23      21.     The true names or capacities, whether individual, corporate, associate, or otherwise, of

 24   those identified herein as DOES 1 through 50, inclusive, are unknown to BCHF, who therefore sues

 25   said defendants by such fictitious names. BCHF is informed and believes, and based on that alleges,

 26   each of the defendants designated herein as a DOE is legally responsible in some manner for the

 27   events and happenings herein referred to, and legally caused injury and damage to BCHF as alleged

 28   herein. BCHF is informed and believes, and based on that alleges, DOES are business entities or
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  1   individuals who:

  2            a. Are individually responsible in some manner for the damages arising from transactions,

  3                   acts, omissions, and/or occurrences that relate to matters referred to in this complaint;

  4            b. Are in privity of contract;

  5            c. Have ratified and adopted the conduct of another person or entity (who is responsible in

  6                   some manner for the damages alleged herein) as their own;

  7            d. Are the principals, agents, guarantors, owners, alter egos, joint venturers, or partners of

  8                   another person or entity who is responsible in some manner for the damages alleged

  9                   herein; or,

 10            e. Are pooling participants with, or are otherwise jointly liable with another person or entity

 11                   who is responsible in some manner for the damages alleged herein (whether based on

 12                   Delos v. Farmers Insurance Group (1979) 93 Cal.App.3d 642, Downey Savings &

 13                   Loan v. Ohio Casualty (1987) 189 Cal.App.3d 1072, or any similar joint liability

 14                   theory)

 15      22.      BCHF will amend this Complaint to insert the true names and capacities of said DOE

 16   individuals or entities when they become known to BCHF.

 17      23.      With the exception of DHCS, each defendant sued herein is the agent, co-conspirator,

 18   joint venturer, partner, employer, guarantor, ratifier, or employee of every other defendant and non-

 19   party participant in the wrongful acts alleged herein, and has been acting within the course and scope

 20   of said agency, conspiracy, joint venture, partnership, guarantee, or employment, with the knowledge

 21   or consent of co-defendants and non-party participants, and each of them.

 22      24.      BCHF is informed and believes, and based on that alleges, that each defendant has

 23   authorized or ratified the wrongful activities of each of the remaining defendants, and of the non-

 24   party participants in the wrongful acts alleged herein.

 25      25.      BCHF is informed and believes, and on that basis alleges, there is such unity of interest

 26   and ownership between the Priest LLCs that the separate personalities of the limited liability

 27   companies no longer exist and that if the acts are treated as those of the limited liability companies

 28   alone an inequitable result will follow (based on the factors set forth in Associated Vendors, Inc. v.
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  1   Oakland Meat Co. (1962) 210 Cal.App.3d 825 and Arnold v. Browne (1972) 27 Cal.App.3d 386,

  2   394-395, and other applicable law).

  3

  4   II. Venue.

  5       26.      Venue in the above-entitled Court is proper because: (1) the acts and omissions occurred

  6   in the County of San Diego, (2) the liability sued upon arose in the County of San Diego, and (3) all

  7   of the defendants reside in or have their principal place of business in the County of San Diego, or

  8   did so reside at the time they committed the acts giving rise to this Complaint. (Cal. Code Civ. Proc.,

  9   § 395.5.)

 10       27.      BCHF filed this matter in the Central Division pursuant to San Diego Superior Court

 11   Rules, rule 1.2.2.

 12

 13 III. Relevant Transactions.

 14       A. Overview.

 15       28.      BCHF received its first grant award from the HRSA in 2003, designating the organization

 16   as an FQHC in light of its commitment to increase access to medical services to the underserved

 17   communities surrounding BCHF. BCHF experienced substantial growth as an FQHC in the years

 18   that followed, expanding to over 20 clinic locations in three counties. Annual federally funded

 19   health program revenues thereafter reached nine figures.

 20       29.      Beginning no later than 2012, certain (now former) BCHF executives and board members

 21   caused BCHF to enter into contracts with companies owned in whole or in part by Priest. None of

 22   these contracts were entered into with the informed consent of the BCHF Board. All of them were

 23   priced substantially above fair market value. Three of these contracts are the Priest Leases that are

 24   the subject of this action.

 25       30.      Late in 2020, DHCS suspended payment of federally funded health benefits to BCHF in

 26   conjunction with an investigation relating in part to contracts with Priest-owned entities other than

 27   the Priest LLCs. BCHF is a victim of the unlawful contracting practices that are a subject of DHCS’

 28   investigation. BCHF has cooperated, and continues to cooperate, fully with DCHS and law
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  1   enforcement.

  2      31.      In the course of the investigation, numerous contracts were reviewed, including the Priest

  3   Leases. Independent certified commercial real estate appraisers made the following findings:

  4            a. On the lease with Promenade (El Cajon location), BCHF was paying $39,104.75 a month

  5                   above FMR, or $469,257 above FMR per year;

  6            b. On the lease with DRP (San Bernardino location), BCHF was paying $38,405.95 a month

  7                   above FMR, or $460,871.40 above FMR per year; and

  8            c. On the lease with Inland Valley (Barstow location), BCHF was paying $80,025.25 a

  9                   month above FMR, or $960,303 above FMR per year.

 10      32.      In sum, BCHF has been paying the Priest LLCs $1,890,431.40 a year above FMR, and

 11   has paid over $11,500,000 above FMR cumulatively since inception of the Priest Leases. Here is a

 12   summary of the appraiser’s findings:

 13                                El Cajon        San Bernardino        Barstow        Overpayments
      Lessor                      Promenade             DRP            Inland Valley
 14
      Current Rent - Month    $      111,686.00    $     62,704.00    $ 104,920.00
 15   FMR                     $       72,581.25    $     24,298.05    $ 24,894.75
      Monthly Overpayment     $       39,104.75    $     38,405.95    $ 80,025.25       $     157,535.95
 16   Yearly Overpayment      $      469,257.00    $    460,871.40    $ 960,303.00      $   1,890,431.40
 17   Initiation                       9/21/2012          9/15/2015          2/2/2016
      Years (to date)                 8.5                5.5                5.25
 18   Cumulative              $    3,988,684.50    $ 2,534,792.70     $ 5,041,590.75    $ 11,565,067.95
 19
         33.      Additionally, the lease terms of 30 to 33 years on the Priest Leases is over market as well.
 20
      Fair market terms for these commmercial leases is 3 to 5 years.
 21
         34.      In order to remain in operation, BCHF signed an agreement with DHCS in February 2021
 22
      under which an independent monitor selected by DHCS would institute a robust corporate integrity
 23
      and compliance program at BCHF. As is relevant here, DHCS’ monitor has directed BCHF to: (1)
 24
      stop paying above FMR on the Priest Leases, and (2) to take action to address the over-FMR,
 25
      excessive 30-year lease terms, and the failure to include provisions in the lease under which BCHF
 26
      may terminate the lease. This lawsuit is BCHF’s good faith attempt to comply with those directives.
 27

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  1      35.      In response, the Priest LLCs are now acting in unison: the Priest LLCs have demanded

  2   that BCHF continue to make rent payments over FMR under the Priest Leases. The Priest LLCs are

  3   now threatening BCHF that the failure to pay the rent demanded on any one of the Priest Leases will

  4   result in immediate eviction proceedings as to all three locations that are the subject of the Priest

  5   Leases. The DHCS monitor says DHCS will not allow BCHF to pay the rent currently demanded.

  6   Under BCHF’s agreement with DHCS, BCHF must comply with these directives.

  7      36.      For these and other reasons detailed below, BCHF seeks the relief requested below.

  8

  9      B. The Hebets/Priest Relationship “Disqualifies” the Priest LLCs Under the Internal Revenue

 10            Code and Related Treasury Regulations.

 11      37.      As noted above, Hebets (now deceased) was BCHF’s CEO from 2004 until his retirement

 12   in 2018. BCHF is informed and believes, and based on that alleges, Hebets and Priest knew each

 13   other from their high school years. Beginning in 2012 and continuing through December 2016,

 14   Hebets and Priest caused BCHF and several Priest-owned entities to enter into various contracts

 15   under which millions of dollars of federally funded healthcare program funds were unlawfully

 16   diverted to the Priest-owned entities. For example, Priest also owned and operated the management

 17   service organization that had managerial control over discrete portions of BCHF, including but not

 18   limited to provider relations, claims management, management of information related systems,

 19   quality assurance mamgement, data reporting, and general administration of BCHF’s contract dental

 20   program. As noted above, for these and other reasons, the Priest LLCs are more likely than not

 21   “disqualified persons” under the Internal Revenue Code sections and Treasury regulations.

 22      38.      In breach of his fiduciary duties, Hebets signed each of these contracts without:

 23            a. Approval from the Board;

 24            b. Disclosing their terms to the Board;

 25            c. Disclosing to the Board his relationship with Hebets;

 26            d. Presenting the Board with any evidence of due diligence in determining the fair market

 27                   value of the contracts; and

 28            e. Board resolution approving any of the Priest Leases.
                                                    - 11 -

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  1       39.     BCHF is the victim of the undisclosed relationship between Priest and Hebets, and the

  2   wrongful conduct described above. The Priest Leases are the direct result of this wrongful conduct.

  3

  4       C. The Promenade Lease.

  5       40.     Attached hereto as Exhibit A and incorporated as though set forth in full at this point is a

  6   true and correct copy of the 2012 Promenade Lease. It was amended to extend the term to 2045 (a

  7   total of 33 years).

  8       41.     The Promenade Lease was never presented to the BCHF Board for authorization or

  9   approval. In breach of his fiduciary duties, Hebets engaged in the conduct described in Paragraph 36

 10   above with respect to the Promenade Lease.

 11       42.     There has been no action by the Board to ratify Hebets’ signing of the Promenade Lease

 12   or any of its amendments post signature.

 13

 14       D. The DRP Lease.

 15       43.     Attached hereto as Exhibit B and incorporated as though set forth in full at this point is a

 16   true and correct copy of the 2015 DRP Lease. The DRP Lease was amended to change the

 17   commencement date to October 2016. The DRP Lease has a term of 30 years, to 2046.

 18       44.     The DRP Lease was never presented to the BCHF Board for authorization or approval. In

 19   breach of his fiduciary duties, Hebets engaged in the conduct described in Paragraph 36 above with

 20   respect to the Promenade Lease.

 21       45.     There has been no action by the Board to ratify Hebets’ signing of the lease or any of its

 22   amendments post signature.

 23

 24       E. Inland Valley Lease.

 25       46.     Attached hereto as Exhibit C and incorporated as though set forth in full at this point is a

 26   true and correct copy of the 2016 Inland Valley Lease. The Inland Valley Lease was initially made

 27   between DRP and BCHF. DRP promptly assigned it to Inland Valley in 2017, in an assignment

 28   signed by Hebets and Priest. It has a term of 30 years, to 2046.
                                                    - 12 -

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  1       47.      The Inland Valley Lease was never presented to the BCHF Board for authorization or

  2   approval. In breach of his fiduciary duties, Hebets engaged in the conduct described in Paragraph 36

  3   above with respect to the Promenade Lease.

  4       48.      There has been no action by the Board to ratify Bruce Hebets’ signing of the lease or any

  5   of its amendments post signature.

  6

  7       F. Allegations Common to the Promenade, DRP, and Inland Valley Leases.

  8       49.      With minimum due diligence, the over-FMR price and excessive duration of the

  9   Promenade, DRP, and Inland Valley Leases, combined with the absence of any terms allowing

 10   BCHF to terminate the leases prior to their respective lease term2, would have been readily apparent.

 11   The Promenade, DRP, and Inland Valley Leases and a due diligence report relating to them therefore

 12   could not be presented to the Board.

 13       50.      No rational, informed Board of Trustees for a non-profit FQHC would have, or could

 14   have, lawfully approved the Promenade, DRP, and Inland Valley Leases for, inter alia, the following

 15   reasons:

 16             a. The lease terms are unconscionable, and would result in the diversion of millions of

 17                    “over-FMR” dollars of federally funded health program money to entities owned by a

 18                    friend of the CEO

 19             b. As set forth above:

 20                   i. The Promenade Lease calls for payment of nearly $40,000 per month over FMR, or

 21                      more than $15,000,000 over FMR over the 33-year life of the lease

 22                  ii. The DRP Lease calls for payment of nearly $39,000 per month over FMR, or

 23                      approximately $14,000,000 over FMR over the 30-year life of the lease

 24                 iii. The Inland Valley Lease calls for payment of more than $80,000 per month over

 25                      FMR, or approximately $29,000,000 above FMR over the 30-year life of the lease;

 26                      and

 27   2
        Promenade Lease: 2045 (33 years); DRP Lease: 2046 (30 years); and Inland Valley: 2046 (30
 28   years).

                                                    - 13 -

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  1            c. Approximately 90% of the revenue received by BCHF is paid by government funded

  2                   health programs (Medi-Cal and Medicare), and therefore:

  3                 i. If the Promenade Lease was enforceable, then $13,500,000 of the over-FMR dollars

  4                    paid to Promenade could be government funded health program money

  5                 ii. If the DRP Lease was enforceable, $12,600,000 of the over-FMR dollars paid DRP

  6                    could be government funded health program money; and

  7                iii. If the Inland Valley Lease was enforceable, nearly $26,000,000 of the over-FMR

  8                    dollars paid Inland Valley could be government funded health program money

  9            d. The over-FMR facility lease payments expose BCHF to reductions in the allowed

 10                   reimbursements paid BCHF in prior years; and

 11            e. The close relationship between Hebets and Priest exposes the non-profit FQHC to adverse

 12                   federal tax consequences.

 13      51.       Priest is the sole manager and member of Promenade, DRP, and Inland Valley. Priest is

 14   an experienced owner and successful lessor of commercial properties. Promenade, DRP, and Inland

 15   Valley must each present their commercial leases to banks providing Promenade, DRP, and Inland

 16   Valley with mortgages and other funding on their leased properties. Promenade, DRP, and Inland

 17   Valley must perform their own due diligence regarding their lessees, before entering into a 30+ year

 18   lease that will be reviewed by lenders providing millions of dollars of financing to Promenade, DRP,

 19   and Inland Valley. Promenade, DRP, and Inland Valley are therefore presumed to know the business

 20   of BCHF, including that it is a non-profit health care provider doing business with federally funded

 21   health programs. Promenade, DRP, and Inland Valley are presumed to know FMR for their

 22   respective leases, that the rent is over FMR, and that the lease term of 30+ years is far beyond fair

 23   market lease terms (in the absence of terms that allow BCHF to terminate the lease on reasonable

 24   notice). Priest signed the Promenade, DRP, and Inland Valley Leases and presented them to Hebets

 25   for his signature. Under these facts and circumstances, Promenade, DRP, and Inland Valley is

 26   charged with knowledge that they were each entering into an over-FMR lease with a non-profit

 27   FQHC.

 28
                                                   - 14 -

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  1      52.        BCHF has performed all of its obligations and duties under the Priest Leases, except

  2   those excused by law and equity.

  3

  4      G. Combined Effect of the Priest Leases.

  5      53.       If enforceable, the Priest Leases would siphon $58,000,000 in over-FMR money from

  6   BCHF over the life of the leases. (This is in addition to the near catastrophic harm caused by other

  7   unauthorized contracts between other Priest entities and BCHF that are not the subject of this

  8   Complaint.) Without judicial intervention on the Priest Leases, the actions of Hebets and a handful

  9   of Priest entities that took place prior to Hebets’ death will continue to present an immediate threat to

 10   disable an essential provider of primary healthcare services to unserserved inland communities in

 11   San Diego, San Bernardino, and Riverside Counties. The Priest Leases therefore cry out for the relief

 12   requested below.

 13

 14                                         FIRST CAUSE OF ACTION

 15                                          (Fraud Against Priest LLCs)

 16      54.       BCHF incorporates by reference Paragraphs 1 through 53 above as though fully set forth

 17   herein.

 18      55.       In committing the acts and omissions alleged above, Hebets, acting as BCHF’s Chief

 19   Executive Officer at the time, knowingly acted in concert with each of the Priest LLCs to enter into

 20   30+ year leases at more than twice FMR. The Priest Leases were never presented to the BCHF

 21   Board for authorization or approval.

 22      56.       In breach of his fiduciary duties, Hebets signed each of these contracts without:

 23             a. Approval from the Board

 24             b. Disclosing their terms to the Board

 25             c. Disclosing to the Board his relationship with Hebets

 26             d. Presenting the Board with any evidence of due diligence in determining the fair market

 27                    value of the contracts; and

 28             e. Board resolution approving any of the Priest Leases.
                                                     - 15 -

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  1      57.      There has been no action by the Board to ratify Hebets’ signing of the Priest Leases or

  2   any of their amendments post signature.

  3      58.      After Hebets signed the Priest Leases, Hebets and other former BHFC executives under

  4   Hebets’ direct control, who had knowledge that the terms of the Priest Leases were over FMR,

  5   suppressed disclosure of those lease terms to the Board. The misrepresentations and failures to

  6   disclose information and suppression of information concerning the Priest Leases were made with

  7   the intent to induce BCHF to pay and continue to pay the Priest LLCs over-FMR, and to act in the

  8   manner herein alleged in reliance thereon.

  9      59.      At all relevant times, Hebets was BCHF’s chief executive officer, standing in a position

 10   of trust with respect to BCHF. At all times, Hebets owed plaintiff a fiduciary duty.

 11      60.      At the time Hebets’ failure to disclose and suppression of facts occurred, and at the time

 12   the BCHF took actions in reliance thereon, BCHF was ignorant of the existence of the facts that

 13   Hebets and executives under his direct control suppressed and failed to disclose to the BCHF Board

 14   as detailed above. If the BCHF Board had been aware of the existence of the facts not disclosed by

 15   the Priest LLCs, the BCHF would not have, as it did, paid substantial sums above market rent in

 16   violation of law and regulations pertaining to its governance.

 17      61.      Concealment of the terms of the Promenade, DRP, and Inland Valley Leases from the

 18   BCHF Board, and prevention of due diligence in regard to the Priest Leases, was essential to success

 19   of the scheme. With a minimum of due diligence, the over-FMR price and excessive duration of the

 20   Priest Leases, combined with the absence of any terms allowing BCHF to terminate any of the Priest

 21   Leases prior to 2046 (sic) would have been readily apparent. The Priest Leases and due diligence

 22   reports relating to those leases therefore could not be presented to the Board. No rational, informed

 23   Board of Trustees for a non-profit FQHC would have, or could have lawfully approved any of the

 24   Priest Leases, for, inter alia, the following reasons:

 25            a. The lease terms are unconscionable, and would result in the diversion of millions of

 26                   “over-FMR” dollars of federally funded health program money to entities owned by a

 27                   friend of the CEO

 28            b. As set forth above:
                                                    - 16 -

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  1                          i. The Promenade Lease calls for payment of nearly $40,000 per month over

  2                             FMR, or more than $15,000,000 over FMR over the 33-year life of the lease

  3                         ii. The DRP Lease calls for payment of nearly $39,000 per month over FMR, or

  4                             approximately $14,000,000 over FMR over the 30-year life of the lease

  5                        iii. The Inland Valley Lease calls for payment of more than $80,000 per month

  6                             over FMR, or approximately $29,000,000 above FMR over the 30-year life of

  7                             the lease; and

  8             c. Approximately 90% of the revenue received by BCHF is paid by government funded

  9                      health programs (Medi-Cal and Medicare), and therefore:

 10                          i. If the Promenade Lease was enforceable, then $13,500,000 of the over-FMR

 11                             dollars paid to Promenade could be considered government funded health

 12                             program money

 13                         ii. If the DRP Lease was enforceable, $12,600,000 of the over-FMR dollars paid

 14                             DRP could be considered government funded health program money; and

 15                        iii. If the Inland Valley Lease was enforceable, nearly $26,000,000 of the over-

 16                             FMR dollars paid Inland Valley could be considered government funded

 17                             health program money

 18             d. The over-FMR facility lease payments expose BCHF to reductions in the allowed

 19                      reimbursements paid BCHF in prior years as detailed above in regard to CMS cost

 20                      reporting requirements; and

 21             e. The close relationship between Hebets and Priest exposes the non-profit FQHC to adverse

 22                      federal tax consequences as detailed above in regard to Internal Revenue Code and

 23                      related Treasury Department regulations.

 24       62.      The fraud and deceit alleged herein were not discovered by BCHF until on or about

 25   October 20, 2020, a date within three years before the commencement of this action. BCHF could

 26   not with due diligence have discovered the fraud and deceit of the Priest LLCs until on or about this

 27   date because the true facts were suppressed by Hebets, and others acting in concert with him even

 28   after his death.
                                                       - 17 -

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  1        63.   In contrast, the Priest LLCs were aware at all times that the Priest Leases called for

  2   payment of rent by a non-profit FQHC so far in excess of FMR that no reasonable Board would

  3   consider their approval, much less approve them.

  4        64.   As alleged above, Priest is the sole manager and member of Promenade, DRP, and Inland

  5   Valley. Priest is an experienced owner and successful lessor of commercial properties. Promenade,

  6   DRP, and Inland Valley must each present its commercial leases to banks providing Promenade,

  7   DRP, and Inland Valley with mortgages and other funding on their leased properties. Promenade,

  8   DRP, and Inland Valley must perform their own due diligence regarding their lessees, before

  9   entering into a 30+ year lease that will be reviewed by lenders of Promenade, DRP, and Inland

 10   Valley. Promenade, DRP, and Inland Valley are therefore presumed to know the business of BCHF,

 11   including that it is a non-profit health care provider doing business with federally funded health

 12   programs. Promenade, DRP, and Inland Valley are presumed to know FMR for their respective

 13   leases, that the rent is over FMR, and that the lease term of 30+ years is far beyond fair market lease

 14   terms (in the absence of terms that allow BCHF to terminate the lease on reasonable notice). Priest

 15   signed the Promenade, DRP, and Inland Valley Leases and presented them to Hebets for his

 16   signature. Under these facts and circumstances, Promenade, DRP, and Inland Valley are each

 17   charged with knowledge that they were each entering into an over-FMR lease with a non-profit

 18   FQHC.

 19        65.   Accordingly, each of the Preist LLCs knowingly and willfully conspired and agreed with

 20   Hebets and Does 1-50, inclusive, to damage BCHF by and through Hebets’ and others’ fraud and

 21   deceit as described in detail above.

 22        66.   The Priest LLCs are now acting in concert in an effort to compel BCHF to continue to

 23   pay rent on all three over-FMR leases. As such, by adoption, ratification, and joint enforcement of

 24   the fraudulently induced and maintained Priest Leases, each of the Priest LLCs has joined with the

 25   other Priest LLCs in the conspiracy to defraud BCHF.

 26   // // //

 27

 28   // // //
                                                   - 18 -

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  1      67.     BCHF has been damaged in an amount no less than $18,000,000, which represents the

  2   amount BCHF has paid over market rent to date. In committing the acts recited herein the Priest

  3   LLCs acted with fraud, malice or oppression, justifying an award of punitive damages to plaintiff

  4   BCHF.

  5

  6                                       SECOND CAUSE OF ACTION

  7                             (Reformation Based on Fraud Against Priest LLCs)

  8      68.     BCHF incorporates by reference Paragraphs 1 through 67 above as though fully set forth

  9   herein.

 10      69.     In each of the Priest Leases (Exhibits A, B, and C) the parties thereto express their

 11   intention that the Priest Leases be interpreted so as to make and maintain performance thereunder

 12   lawful. As explained above, however, the amount of rent stated in each of the Priest Leases is

 13   unlawful because it is substantially and materially above market rate.

 14      70.     The above-described failure of the Priest Leases to reflect the true intent of the parties

 15   (i.e., that performance under the lease be only lawful) resulted from Hebets’ concealment from

 16   BCHF that, despite its express promise to the contrary, BCHF’s performance of the pricing terms of

 17   the above-mentioned written instrument would be unlawful.

 18      71.     Without knowledge of the true facts and in reliance on Hebets’ false representations,

 19   BCHF was deceived and misled into performing under a lease that differed materially from the

 20   expressed intent of the parties that performance thereunder be lawful. BCHF’s reliance on Hebets’

 21   fraudulent omissions was reasonable and justified in that he was at all times plaintiff BCHF’s Chief

 22   Executive Officer and fiduciary.

 23      72.     Fraud, as a basis for reformation, consists of (1) a false representation by one party and

 24   (2) justifiable reliance on the false representation by the other party. Here both exist. Civil Code

 25   section 3399 codifies the equitable remedy of reformation of written instruments. Section 3399

 26   provides that a written contract may be revised on application of the party aggrieved, when, through

 27   fraud, mutual mistake, or mistake of one party that the other party knew of or suspected at the time, a

 28   written contract does not express the true intention of the parties.
                                                    - 19 -

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  1      73.     Here, the strong public interest in BCHF’s continued service of underserved and

  2   financially disadvantaged patients throughout the communities of San Diego, San Bernardino, and

  3   Riverside Counties, as detailed above, compels the court’s exercise of its equitable power to reform

  4   the Priest Leases.

  5      74.     Even though the BCHF Board was never given the opportunity give its fully informed

  6   consent to any of the Priest Leases, the Board reasonably expects and intends that all BCHF contracts

  7   conform with all applicable laws.

  8      75.     For the reasons detailed above, BCHF’s intent that the Priest Leases conform with all

  9   applicable laws (consistent the terms of the leases) cannot possibly be fulfilled without reformation

 10   of the rent prices to FMR, and without reformation of the 30-year lease term to five years or less, and

 11   without reformation of the leases to allow the non-profit FQHC tenant to terminate the lease for good

 12   cause on reasonable notice.

 13      76.     Plaintiff BCHF respectfully prays for each of the Priest Leases to be so reformed.

 14

 15                                        THIRD CAUSE OF ACTION

 16                                       (Rescission Against Priest LLCs)

 17      77.     BCHF incorporates by reference Paragraphs 1 through 76 above as though fully set forth

 18   herein.

 19      78.     Alternatively, if the Court cannot exercise its statutory and/or equitable powers to reform

 20   the leases, BCHF is entitled to rescind the Priest Leases, and for restitution of all sums paid the Priest

 21   LLCs to date, less the reasonable rental value of the premises during BCHF’s occupation of it.

 22      79.     BCHF may rescind Priest Leases (1) if the contract is unlawful for causes which do not

 23   appear in its terms or conditions, and the parties are not equally at fault [Civ. Code § 1689(b)(5)] or

 24   (2) if the public interest would be prejudiced by permitting the leases to stand [Civ. Code

 25   § 1689(b)(6)]. A commercial lease is unlawful if its consideration or object is (1) contrary to an

 26   express provision of law, (2) contrary to the policy of express law, though not expressly prohibited,

 27   or (3) otherwise contrary to good morals [Civ. Code § 1667]. Another ground for rescission and

 28   restitution not addressed by Civ. Code § 1689(b) allows recovery when the parties were ignorant of
                                                    - 20 -

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  1   the illegality at the time they entered into the contract.3 Under the facts alleged in this Complaint,

  2   each and every one of the aforementioned grounds for rescission are met. In addition, the public

  3   interest will be prejudiced if the Priest Leases are permitted to stand, in that BCFH’s ability to

  4   provide quality healthcare in underserved areas will be undermined by inequitable diversion of funds

  5   to defendant.

  6       80.    BCHF therefor prays, in the alternative, and in the event that the Priest Leases cannot be

  7   reformed, for judgment rescinding the Priest Leases, and for restitution of all sums paid the Priest

  8   LLCs to date, less the reasonable rental value of the premises during BCHF’s occupation of the three

  9   leased facilities, along with orders providing for the reasonable surrender of the premises in a manner

 10   that will protect the interests of the patients BCHF is required to serve.

 11

 12                                       FOURTH CAUSE OF ACTION

 13                    (Common Count for Money Had and Received Against Priest LLCs)

 14       81.    BCHF incorporates by reference Paragraphs 1 through 80 above as though fully set forth

 15   herein.

 16       82.    A judgment of rescission supports an award of money to BCHF under a common count

 17   for money had and received. In addition to the facts supporting the fraud count pled above, the

 18   following facts also support a common count for money had and received.

 19       83.    BCHF is informed and believes Hebets and Priest knew each other from their high school

 20   years. Beginning in 2012, and continuing through December 2016, Hebets and Priest caused BCHF

 21   and several Priest-owned entities to enter into various contracts under which millions of dollars of

 22   federally funded healthcare program funds were unlawfully diverted to the Priest-owned entities.

 23   Priest owned and operated the management service organization that had managerial control over

 24   discrete portions of BCHF, including but not limited to provider relations, claims management,

 25
      3
 26    Adams v. Heinsch (1948) 89 Cal. App. 2d 300, 302–305, 200 P.2d 796 (also on ground of mistake);
      Brashears v. Giannini (1933) 131 Cal. App. 706, 709–711, 22 P.2d 47; Restatement (2d) of
 27   Contracts, § 198].
 28
                                                    - 21 -

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  1   management of information related systems, quality assurance management, data reporting, and

  2   general administration of BCHF’s contract dental program. For these and other reasons, the Priest

  3   LLCs are more likely than not “disqualified persons” under the Internal Revenue Code sections and

  4   Treasury regulations. Accordingly, the entirety of rent money BCHF paid the Priest LLCs in excess

  5   of fair market value is money unlawfully had and received by the Priest LLC’s and its return to the

  6   tax-exempt entity BCHF is mandatory under law.

  7      84.     Beginning in 2012, and continuing through 2020, the Priest LLCs became indebted to

  8   BCHF in the sum of at least $18,000,000 for money had and received by the Priest LLCs. Neither the

  9   whole nor any part of this sum has been paid, although demand therefor has been made, and there is

 10   now due, owing, and unpaid the sum of at least $18,000,000, with interest thereon, at the legal rate as

 11   the court may allow, according to proof at trial.

 12

 13                                        FIFTH CAUSE OF ACTION

 14         (Violation of Business and Professions Code Section 17200, et seq. Against Priest LLCs)

 15      85.     BCHF incorporates by reference Paragraphs 1 through 84 above as though fully set forth

 16   herein.

 17      86.     The actions described herein constitute unlawful and unfair business practices within the

 18   meaning of Business & Professions Code section 17203. BCHF has requested that the Priest LLCs

 19   cease the unfair business practices described herein. The Priest LLCs have rejected and continue to

 20   reject these requests.

 21      87.     As a direct, proximate and foreseeable result of the Priest LLCs’ unfair business practices,

 22   as described herein, BCHF has paid over $18,000,000 in over-FMR rent, that is subject to orders of

 23   disgorgement and/or restitution under the UCL.

 24      88.     BCHF is informed and believes, and based on that alleges, the Priest LLCs’ unlawful and

 25   unfair business practices, as described herein, are part of a plan to ignore and violate laws, and to

 26   compel BCHF to violate laws applicable to contracts with non-profit FQHCs, as described above.

 27   BCHF is informed and believes, and based on that alleges, the Priest LLCs will continue with their

 28   unlawful and unfair business practices unless they are enjoined from doing so.
                                                   - 22 -

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  1                                        SIXTH CAUSE OF ACTION

  2                                  (Declaratory Relief Against Priest LLCs)

  3      89.     BCHF incorporates by reference Paragraphs 1 through 88 above as though fully set forth

  4   herein.

  5      90.     An actual controversy exists in regard to the parties’ duties and obligations under the

  6   Priest Leases as alleged in this Complaint, and as such, a judicial declaration of the parties’

  7   respective duties and obligations is appropriate as to the matters in dispute, as alleged herein.

  8

  9                                      SEVENTH CAUSE OF ACTION

 10                                    (Interpleader Against All Defendants)

 11      91.     BCHF incorporates by reference Paragraphs 1 through 90 above as though fully set forth

 12   herein.

 13      92.     As detailed above, the Priest LLCs, acting in concert, continue to demand BCHF pay rent

 14   in excess of FMR on all three Priest Leases. The Priest LLCs threaten BCHF that failure to do so

 15   will result in immediate eviction proceedings. At the same time, DHCS and its appointed monitor

 16   have directed BCHF not to pay rent in excess of FMR, and to take immediate action to either reform

 17   or rescind the Priest Leases (with all attendant remedies), for the reasons alleged herein. Further, due

 18   to the fact that the DHCS considers that BCHF has already paid $18,000,000 over FMR to the Priest

 19   LLCs, it is unlikely the Priest LLCs are entitled to payment of further rent until the payments in

 20   excess of FMR are reconciled and accounted for.

 21      93.     As a result, BCHF faces two contrary competing claims on its money, one based on

 22   contract (the Priest Leases), and one based on an authorized regulatory agency’s mandates (DHCS’

 23   directives). Accordingly, plaintiff BCHF has no alternative other than to interplead FMR to this

 24   court.

 25      94.     The remedy of interpleader is codified under Code of Civil Procedure sections 386–386.6

 26   which are to be broadly interpreted to give effect to the remedial nature of the codifying provisions

 27   and to promote justice. An action of interpleader may be maintained under Code of Civil Procedure

 28   section 386(b) even though the claims made on the party bringing the action are unliquidated and no
                                                    - 23 -

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  1   liability on the part of such party has arisen [Code Civ. Proc. § 386(b)]. Interpleader actions are also

  2   proper under Code of Civil Procedure section 386(a), in which the conflicting claims relate to

  3   personal property or a contract obligation, liability for which is wholly or partly admitted by the

  4   stakeholder. Accordingly, BCHF will deposit with the court the FMR for the three locations leased

  5   from the Priest LLCs, and thereafter await the court’s ruling on amounts it owes defendants, if

  6   anything.

  7

  8                                         EIGHTH CAUSE OF ACTION

  9                                        (Injunction Against Priest LLCs)

 10      95.        BCHF incorporates by reference Paragraphs 1 through 94 above as though fully set forth

 11   herein.

 12      96.        For clarity and to avoid confusion only, BCHF sets out its claim for injunctive relief

 13   separately.

 14      97.        As to the interpleader (count seven, above), BCHF requests the Court make such

 15   temporary restraining orders, or issue such preliminary injunctions as necessary to restrain and enjoin

 16   defendants until further notice and order of the court from prosecuting any and all proceedings and

 17   any and all actions at law now pending, or from bringing any proceeding or action against BCHF

 18   affecting the rights and obligations as between the parties in the action with respect to the Priest

 19   Leases, and as to any other properties leased by BCHF from any of the Priest LLCs that are not

 20   described with specificity in any of the Priest Leases.

 21      98.        As to the ongoing UCL violations, BCHF seeks a separate injunction forever terminating

 22   the violations.

 23

 24                                            PRAYER FOR RELIEF

 25             WHEREFORE, BCHF prays for judgment against defendants, and each of them, as follows:

 26      1. With respect to the First Cause of Action—Fraud (As to Priest LLCs only):

 27             a. For actual and consequential damages in an amount subject to proof at trial, but in an

 28                     amount no less than $18,000,000;
                                                     - 24 -

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  1            b. Punitive damages; and

  2            c. Pre-judgment and post-judgment interest.

  3      2. With respect to the Second Cause of Action—Reformation Due to Fraud (Priest LLCs only):

  4            a. Order reforming the payments under the Priest Leases to reflect only FMR as rent due and

  5                   owing, and further, to limit the term of the leases as commercially reasonable to no

  6                   more than five years;

  7            b. Order of restitution that all money paid to Priest LLCs in excess of the amount of rent in

  8                   the reformed Priest Leases be returned to BCHF; and

  9            c. Pre-judgment and post-judgment interest on all sums ordered returned.

 10      3. With respect to the Third Cause of Action—Rescission (As to Priest LLCs only):

 11            a. Rescission of the Priest Leases;

 12            b. For actual and consequential damages in an amount subject to proof at trial, but in an

 13                   amount no less than $18,000,000 or, in the alternative, restitution of all sums

 14                   unlawfully paid, less the reasonable rental value of the premises during BCHF’s

 15                   occupation of the three leased facilities;

 16            c. Punitive damages as allowed by law;

 17            d. Order providing for the reasonable surrender of the premises in a manner that will protect

 18                   the interests, safety, and health of BCHF’s patients; and

 19            e. Pre-judgment and post-judgment interest.

 20      4. With respect to the Fourth Cause of Action—Money Had and Received (As to Priest LLCs

 21   only):

 22            a. Order that money had and received by Priest LLCS be returned to BCHF, subject to proof

 23                   at trial, but in an amount no less than $18,000,000; and

 24            b. Pre-judgment and post-judgment interest.

 25      5. With respect to the Fifth Cause of Action—UCL Violations (As to Priest LLCs only):

 26            a. Restitution of all sums unlawfully paid, less the reasonable rental value of the premises

 27                   during BCHF’s occupation of the three leased facilities; and

 28            b. Pre-judgment and post-judgment interest.
                                                     - 25 -

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  1        6. With respect to the Sixth Cause of Action—Declaratory Relief (As to Priest LLCs only):

  2              a. A declaration of the rights and liabilities of the parties to the attached Priest leases, as to

  3                      the matters alleged in dispute herein.

  4        7. With respect to the Seventh Cause of Action—Interpleader (As to All Defendants):

  5              a. Order that defendants to take whatever action they believe appropriate in this lawsuit to

  6                      establish their right to control or direct distribution of the money interplead by BCHF

  7                      herein, to issue such decrees and orders of payment appropriate thereto. During the

  8                      pendency of this action, to make such temporary restraining orders, or issue such

  9                      preliminary injunctions as necessary restrained and enjoining defendants until further

 10                      notice and order of the court from prosecuting any and all proceedings and any and all

 11                      actions at law now pending, or from bringing any proceeding or action against BCHF

 12                      affecting the rights and obligations as between the parties in the action with respect to

 13                      the Priest Leases attached hereto.

 14        8. With respect to the Eighth Cause of Action—Injunction (As to Priest LLCs only):

 15              a. That the Court make such temporary restraining orders, or issue such preliminary

 16                      injunctions as necessary to restrain and enjoin the Priest LLCs until further notice and

 17                      order of the court from prosecuting any and all proceedings and any and all actions at

 18                      law now pending, or from bringing any proceeding or action against BCHF affecting

 19                      the rights and obligations as between the parties in the action with respect to the Priest

 20                      Leases referenced above, and as to any other properties leased by BCHF from any of

 21                      the Priest LLCs that are not described with specificity in any of the Priest Leases; and

 22              b. As to the ongoing UCL violations, BCHF seeks a separate injunction forever terminating

 23                      the violations.

 24   // // //

 25

 26   // // //

 27

 28   // // //
                                                        - 26 -

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           9. With respect to all causes of action:

    2          a. Costs of suit;

    3          b. Reasonable attorney's fees as allowed by law; and

    4          c. Such other and further relief the Court deems just and proper.

    5   Dated: June 4, 2021

    6

    7                                            By: _ _ _ _ _ _ _ _ _ _ _ _ __
                                                     Gregory M . Hatton
    8                                                Arthur R. Petrie, II
                                                     Dan E. Heck
    9                                                John McMahon
                                                     Attorneys for Plaintiff
   10                                                BORREGO COMMUNITY HEALTH FOUNDATION

   11
                                          DEMAND FOR JURY TRIAL
   12
               BCHF hereby demands a jury trial in this matter.
   13

   14
        Dated: June 4, 2021
   15

   16
                                                 By:_ _ _ _ _ _ _ _ _ _ _ _ __
   17                                               Gregory M. Hatton
                                                    Arthur R. Petrie, II
   18                                               Dan E. Heck
                                                    John McMahon
   19                                               Attorneys for Plaintiff
                                                    BORREGO COMMUNITY HEAL TH FOUNDATION
  20

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                                                      - 27 -

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                          EXHIBIT A
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                                       LEASE
                                      BETWEEN

                               PROMENADE SQUARE LLC.
                                     LANDLORD

                                         AND

                        BORREGO COMMUNITY HEALTH FOUNDATION
                                     TENANT

                                        DATED

                                  SEPTE11BER 21, 2012
                                       LEASE




                                           0
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                                                            LEASE
         1.      BASIC LEASE PROVISIONS

               1.1      Parties. This Lease dated as of this 21'' day of September, 2012 by and between PROMENADE
      SQUARE, LLC., a California limited liability company having an address at 124 West Main Street, Ste 240, El
      CaJon, CA 92020, (hereinafter called "Landlord") and BORREGO COMMUNITY HEALTH FOUNDATION, a
      California corporation, having an add1ess at P.O Box 2369, Borrego Springs, CA 920004 (heremafter called
      "Tenant").

              1.2      Premises.        16,383 rentable square feet of space comprising the first and third floors, of the
      Buildmg (as hereinafter defmed) and shown on Exhibit "A" hereto (the "Premises").

                1.3     Building. The structure and appurtenances commonly known as 133 West Main Street m the City
      of El Ca.ion, County of San Diego, State of California, and as defined in paragraph 2.1.

             1.4      Use.     General medical and dental offices for the operation of the Borrego Community Health
     Foundation and for no other use.

             1.5     Term. Commencing on January 1, 2013 (the "Commencement Date") and terminating on
     December 31, 2033 As soon as the Commencement Date has been established, if different from January 1, 2013
     Landlord and Tenant shall enter into a Commencement Date Agreement m the form attached hereto as Schedule
     "A".
               1.6      Rent. Years 1-5, $501,114.24 per annum payable in equal monthly mstallments of $41,749.52
     on the first day of each calendar month occurring during the term without demand, set-off, deduction or abatement
     of any kind, except as may otherwise be set forth herein Rent shall commence on the Commencement Date.

                1.7      Rent IncreRse. The Rent shall adjust on January 1, 2018 and thereafte1 as follows:

                         a.      Years 6-10        $530,537 .64 per annum payable in equal monthly installments of
                                                   $44,211.47.
                         b.      Years 11-15       $560,081.04 pe1 annum payable in equal monthly mstallments of
                                                   $46,673.42
                         c.      Years 16-20       $589,624.44 pe1 annum payable m equal monthly installments of
                                                   $49,135.37.

                1.8      Rent Paid Upon Execution.          First two months- $83,499.04

               1.9       Security Deposit.         $46,673.42

               1.10      Tenant's Share. [Intentionally omitted]

    2.         PREMISES, PARlaNG AND COMMON AREAS

              2.1       Premises. The Premises are a portion of the Building identified m paragraph 1.3 he1eof.
    "Building" shall include adjacent parking. The PreIIllses, the Bm!dmg, the Common Areas, the land upon wluch the
    same are located, thereon 01 thereunder, are herein collectively referred to as the "Building Project" Landlord
    he1 eby leases to Tenant, and Tenant hit es from Landlord, for the term, at the rental, and upon all of the conditions
    set forth he1ein, the Premises refen ed to in paragraph 1.2 hereof, including non-exclusive rights to the Common
    Areas as J1ereinafter specified.

                        2.1.1   Construction. Landlord agiees that, after execution of this Lease by both parties, it will,
    at its sole cost and expense, conunence and pursue to completion the constmction of the imp1 ovements to be erected
    by Landlord pu1suant to the List of Imp1ovements ("Exhibit F") with a not to exceed cost to Landlord of



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      $1,065,000.00 Any costs ove1 $1,065,000.00 shall be reimbursed by Tenant to Landlord upon wntten demand
      Landlord shall provide Tenant with five (5) day written notice prior to mcurrmg any costs for which reimbursement
      wtll be sought. Upon complet10n of the List oflmprovements Tenant accepts the Pre!Illses "as 1s". Tenant shall
      provide, at its sole cost, to Landlord upon execution of this Lease space plans for the Premises. Any revisions to the
      space plan shall be mutually agreed upon by the Parties. Any increase m the cost to complete the List of
      Improvements resulting from the modification of the space plan shall be ieimbursed by Tenant to Landlord upon
      written demand.

                2.2      Vehicle Parking. So long as Tenant is not in default he1eunder, and subject to the rules and
      regulations attached hereto or as otl1erw1se may be established by Landlo1 d from time to time, Tenant shall be
      entitled to have for its use a total of thirty (30) parking space of which twenty (20) shall be on a non-exclusive
      shared basis and ten (10) shall be designated as for the exclusive use of Tenant. It is understood that Landlord has
      no effective means of control as to use of parking spaces.

                        2.2.1    IfTenant commits or allows any of the prohibited act1vities described in the Lease or the
     rules then in effect, Landlord shall have the right, in addition to such other rights and remedies that 1t may have, to
     remove 01 tow away the vehicle involved and charge the cost to Tenant, which cost shall be immediately payable as
     additional rent upon demand by Landlord, landlord shall give Tenant notice of any such action under this provision.

               2.3      Common Areas-Definition. The term "Common Areas" is defined as all areas and facilities
     outside the Premises and within the exterior boundary lme of the Office Building Pi oject that are provided and
     designated by Landlord from time to time for the general non-exclusive use of Landlord, Tenant and other tenants of
     the Office Buildmg Project and their respective employees, suppliers, sruppers, customers and mvitee, including, but
     not Iinuted to common entrances, lobbies, corridors, stairways and stairwells, public rest rooms, elevators, parlang
     areas to the extent not otherwise proh1b1ted by this Lease, loadmg and unloading areas, trash areas, roadways,
     sidewalks, walkways, parkways, ramps, driveways, landscape ai eas and decorative walls.

               2.4      Common Areas-Rules and Regulations. Tenant agrees that Tenant, its employees, agents,
     v1sit01s and licensees shall abide by and conform to the mies and regulations attached hereto as Exhibit "B 11 •
     Landlmd or such person(s) as Landl01d may appoint shall have the exclt1sive control and management of the
     Common Areas and shall have the light, :fiom time to time, to modify, amend and enforce said rules and regulations.
     Landlord shall not be responsible to Tenant for the non-compliance with said rules and regulations by others.

               2.5       Common Areas-Changes. Landlord shall have thenght, in Landlord1s sole disciet10n, from time
     to time, to:

                         (a)      make changes to the Bt1ildmg interior and exterior and Conunon Areas, including size,
     shape, numbe1 and appearance thereof, but not limited to the lobbies, windows, stairways, air shafts, elevators,
     escalators, restrooms, dnveways, entrances, parking spaces, parkmg a1eas, loading and unloading areas, egress,
     direction of traffic, decorative walls, signs, landscaped area and walkways;

                         (b)    close temporarily any of the Common Areas for maintenance purposes;

                       (c)       designate other land and nnp1ovements outside the bow1danes of the Office Building
    Project to be a part of the Common Areas, provided that such other land and nnprovcments have a reasonable aud
    functional relationship to the Office Buildmg Project;

                         (d)    add improvements to the Common Areas;

                       (e)      use the Common Areas while engaged in making additional improvements, repairs or
    alte1ations to the Office Butldmg Pro3ect, m any portion thereof; and

                   (f)     do and perfmm such other acts and make such other changes m, to, or with 1espect to the
    Common Areas and Office Building Project as Landlord may deem to be appropriate.



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         3.     TERM

              3.1       Term. The term of this Lease and Conunencement Date of such term shall be as specified in
      paragraph 1.5 hereof.

                 3.2      Dellly in Possession. Notwithstanding the Commencement Date herem before specified, tf for
      any reason, Landlord cannot deliver possession of the Premises to Tenant on the Commencement Date, but subject
      to paragraph 3.2.2, Landlord shall not be subject to any liability therefor, nor shall such failure affect the validity of
      this Lease or the obligations of Landlord or Tenant hereunder or extend the term hereof; but, in such case, Tenant
      sl1all not be obligated to pay rent 01 perform any other obligation of Tenant unde1 the terms of this Lease, except as
      may be otherwise p1 ov1ded in th.ts Lease, until possess10n of the Premises is tendered to Tenant, as heremafter
      provided. Tl1e parties hereto agree that tlus constitutes an express provis10n as to the time at which Landlord shall
      deliver possession of the Premises to Tenant, and Tenant hereby waives any rights to rescind tlus Lease which
      Tenant might othe1w1se have pursuant to law now or hereafter m force.

                        3.2.1    Possession Tendered-Defined. Possession of the Premises shall be deemed tendered to
     Tenant when (l)all utilities ate ready fo1 use in the Premises (2) Tenant has reasonable access to the P1emises, and
     (3) five (5) days shall have expired following advance written notice to Tenant of the occunence of the matters
     described in (1) and (2) above of this paragraph 3.2.1. The Prermses shall not be deemed to be unready for Tenant's
     occupancy or incomplete if only 1nlllor 01 insubstantial details of construction, decoration or mechamcal adjushnents
     remain to be done in the Premises.

                        3.2 2    Delays Caused by Tenant. If the delay m the avatlabihty of the Premises for
     occupancy shall be due to special work, changes, alterations or addittons required or made by Tenant m the layout or
     finish of the Pre1mses or any part thereof, 01 shall be caused in whole or m part by Tenant through the delay of
     Tenant m subnuttmg any plans and/or specifications, supplying inf01mat10n, approving plans, specifications or
     estimates, giving authonzation or otherwise, or shall be caused in whole or in part by the acts, conduct, failure,
     breach of default on the part of Tenant, there shall be no postponement of the Conunencement Date.

     4.       RENT

              4.1      Rent. Except as may be otherwise exp1essly provided in this Lease, Tenant shall pay to Landlord
    the Rent set forth in paragraph 1.6, in equal monthly mstallments, without demand, set-off, deduction or abatement
    of any kmd except as may otheiwtse be set forth herem. Rent, additional rent and any other sums or charges payable
    by Tenant for any period during the term he1eof wluch ts for less than oue (1) month shall be prorated based upon
    the actual numbe1 of days of the calendar month. Each month's rent shall be payable, in advance, on the first day of
    each month, in lawful money of the United States to Landlord at the address stated herein or to such other persons or
    at such other places as Landlord may designate in wr1tmg.

              4.2      Operating Expenses.         [Intentionally omitted]

    5.        SECURITY DEPOSIT

               Tenant shall deposit with Landlo1d the Secunty Deposit set forth in paragraph 1.9 as security for Tenant's
     faithful performance ofTenant's obllgations hereunder. If Tenant fails to pay1ent or other charges due hereunder, or
     otherwise defaults with respect to any proviston of this Lease, Landl01d may use, apply or retain all or any portwn
     of the Security Deposit fo1 the payment of any rent or othe1 sum to which Tenant is then in default of or fo1 the
    payment of any other sum to which Landl01 d may become obligated by reason of Tenant's default, or to compensate
    Landlord fo1 any loss or damage which Landlord may suffe1 thereby. If Landlord so uses or applies all or any
    portion of said deposit, Tenant shall, within five (5) days after written demand therefor, deposit cash with Landlord
    in an amount sufficient to restore the Security Deposit separate from its general accounts. If Tenant perfonns all of
    Tenant's obligations he1eunder, the Security Deposit shall be returned, without payment of interest or other
    increment fo11ts use, to Tenant (01, at Landlord's option to the last assignee, if any, of Tenant's interest he1 eunder) at
    the expiration of the term hereof, and after Tenant has vacated the Premises. No tmst relationship is created herem
    between Landlord and Tenant with respect to the Security Deposit.
                                                                 3
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       6.        USE

               6.1      Use. The Premises shall be used and occupied only for the purpose set forth in paragraph 1 4 and
      for no other purpose.

                 6.2      Compliance With Law. Tenant shall, at Tenant's expense, promptly comply with all applicable
       laws, statutes, ordinances, 1nles regulations, orders, covenants and restrictions ofrecord, and requirements of any
      fire insurance underwriters 01 ratmg bureaus, now or heteafter in effect, whether 01 not they reflect a change in
      policy from that now existing, dming the tenn, or any part of the teun hereof, telatmg in any manner to the Premises
      or the occupation and use by Tenant of the Premises Tenant shall conduct its business in a lawful manner and shall
      not use or permit the use of the Pre1ruses or the Common Aieas in any ma!Uler that will create or tend to create waste
      or a nuisance, or shall disturb or tend to disturb other occupants of the Office Building Project. Throughout the
      term, Tenant shall procure and maintain any and all licenses 01 pennits necessary for Tenant to conduct its busmess
      and shall, ask Landlord's request, furnish Landlord with certified copies the1eof.

               6.3      Condition of Premises. Except as may otherwise be ptovided m this Lease, Tenant hereby
     accepts the Premises and the Office Building Project in their "as is" condition subject to all applicable zoning,
     municipal, county, state and federal Jaws, ordinances and regulations goveming and regulating the Office Buildmg
     Project, including the Premises, and any easements, covenants or restrictions of record, and accepts this Lease
     subject thereto and to all matters disclosed theteby and by any Exhibit attached hereto. Tenant acknowledges that it
     has caused and is satisfied by its own mdependent mvestigahon that the Premises are suitable for its mtended use
     and that neither Landlord no1 Landlord's agent or agents has made any representation or warranty as to the present
     or future suitabihty of the Premises, Common Areas, or Office Bmldmg Project for the conduct of Tenant's business.

     7.        MAINTENANCE, REPAIRS, ALTERATIONS AND COMMON AREA SERVICE

               71        LAndlord's Obligations.

                       (a)       Landlord shall keep the exterior wall aud roof of the Butlding and the Co1runon Areas m
    good condition and repair; provided, however, Landlord shall not be obligated to pamt, repau· or replace wall
    cove1ings, or to repatr or replace any improvements that are not ordinarily a part of the Building or are above then
    Building standard. Except as provided m paragraph 9 5, there shall be no abatement of rent or any other sum
    payable under the Lease or liability to Tenant on account of any lllJllrY or mterference with Tenant's busmess with
    respect to any unprovements, alterations or repairs made by Landlord to the Office Building Project 01 any part
    the1eof

                        (b)     In the event Landlord makes any repair or alteration on behalf.ofTeuant, those repairs
    will be at like kind to the standard of workmanship in the building.

                   (c)       Landlord represents that the plumbing, electrical, gas and HVAC servicing shall be m
    good workmg cond.ttton and order on the Commencement Date.

              72        Tenant's Obligations.

                       (a)     Tenant shall pay, as additional rent, for Landlord's cost of any maintenance and repau· of
    the Premises or any equipment (wl1erever located that se1 ves only Tenant 01 the Premises) to the extent such cost is
    attributable to causes beyond ordinary wear and tear Tenant shall be responsible fot the cost of painting, repairing
    or replacing wall coverings and to repair or replace any Premises improvements that are not ordinarily a part of the
    Building or that are above then Building standatd. Afte1· the Commencement Date, Tenant shall be responsible for
    the cost ofrepainng, mai:ntainmg and replacing the plumbing, elecn·ical, gas and HVAC. Landlord may, at its
    option, upon reasonable notice, elect to have Tenant perfonn any P\\rticu\ar item of maintenance or repair, the cost
    of which is otherwise Tenant's responsibility hereunder.


                        (b)     On the last day of the term hereof, or on any sooner termination, Tenant shall surrender
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      the Premises to Landlord in good repai.t, orde1 and condition, ordinary wear and tear excepted. Tenant shall 1epair
      any damage to the Premises occasioned by the installation or removal of Tenant's trade fixtures, alterations,
      fur:rush.ings and equipment and, if necessary, restoie the Prerruses. Except as otherwise set forth m th.is Lease,
      Tenant shall leave the airlmes, power panels, electrical distributions systems, lighting fixtures, air-conditioning,
      window coverings, wall coverings, carpets, wall panehng, ceilmgs and plumbmg on the Premises.

                 7.3       Alterations and Additions.

                         (a)     Tenant shall not, without Landlord's prim wiitten consent, make any alterations,
     improvements, additions, utility mstallations (heremafter collectively 1efen-ed to as "Alterations") orrepairs in, to or
     about the Premises As used in this paragraph 7 3, the tenn "utility installation" shall mean carpeting, window and
     wall covenngs, power panels, electrical distribnt1011 systems, lighting fixtures, air-conditioning and plumbing At
     the expirat10n of the term, Landlord may requile the 1emoval by Tenant, at Tenant's expense, of any or alt of said
     Alterations and the restoration of the Premises to the condition existmg prior to the malang of said Alterations. If
     Landlord permits Tenant to make any Alterations, Tenant shall use only such conn actors as have been expressly
     approved in writing by Landlord, and Landlord may require Tenant to provide Landlord, at Tenant's sole cost and
     expense, a lien and completion bond, in an amount equal to one and one-half (1 Y.) times the eshrnated cost of such
     Alterations, to insure Landlord against any liability for mechanic's and material men's liens and to insure completion
     of the Alterations. If Tenant makes any A1terations without the pno1 written approval of Landlord, Landloi d may, at
     any time during the term of this Lease, requrre that Tenant remove any pali or all of same.

                        (b)     Any Alterations m, to, or about the Premises that Tenant shall desrre to make shall be
     presented to Landlord m written fonn, with proposed detailed plans and specifications. If Landlord shall give its
     consent to Tenant's making such Alterations, the consent shall be deemed cond1tloned upon Tenant acquinng all
     necessary perm.its required to do so from the apphcable governmental agencies, furnishing a copy thereof to
     Landlord prior to the commencement of the work and compliance by Tenant with all conditions of said perrruts and
     all reqmrements oflaw m a prompt and expeditious manner.

                        (c)      Tenant shall not permit any mechanic's or matenal men's lien to be filed against the
     Premises or Office Building Pioject or any part thereof or interest therem. Tenant shall pay, when due, all claims foi
     labor or materials furnished or alleged to have been furnished to 01 for Tenant at or for use m the Premises.

                        (d)      Tenant shall give Landl01 d not less than ten (10) days nohce prior to the commencement
     of any work in the Premises by Tenant, and Landlord shall have the nght to post notices of non-respons1b1lity ill or
     on the Prerruses, the Bwlding or Office Bwldmg Project as proVIded by law If Tenant shall, in good faith, contest
    the validity of any such lien, claim 01 demand, then Tenant shall, at its sole expense, defend itself and Landlord,
    with counsel selected by Landlord, agamst any such hen, claim or demand filed against Landlord or the PreIIllses,
    the Building or the Landlord in au amount equal to such contested lien, claim or demand indemnifying Landlord
    against liability for the same and holding the Premises, the Building and the Office Building Project free from the
    effect of such lien, claim or demand. In addition, Landlord may require Tenant to pay Landlord's reasonable
    attorney's fees and costs in pa1ticipating .in such action if Landlord shall decide it is in Landlord's best interest so to
    do. Landlord, at its sole option, shall have the right, but not the obligation, to satisfy any such hen, claim or demand
    filed agamst the Piernises, the Building or Office Building Project, at Tenant's expense.

                        (e)      All Alterations (and whethe1 01 not utility installations constitute trade fixtures of
    Tenant), which may be made in, to or on the Premises by Tenant il1cludrng, but not luruted to, floor coverillgs,
    panels, doors, drapes, built-ins, communicat1on systems conduit, wmng and outlets, shall be made and done m a
    good and workmanlike manner and be of good quality and remam upon and be surrendered with the Premises at the
    expiration of the Lease term, unless Landlord requires their removal pursuant to paragraph 7.3(a). Provided Tenant
    is not in default, notwithstanding the provisions of this paragraph 7.3(e), Tenant's personal property and equipment,
    other than that which is affixed to the P1 elD!ses, so that it cannot be removed without damage to the Premises or the
    Building, and othe1 than utility installations, shall remain the property of Tenant and may be removed by Tenant
    subject to the provisions ofpaiagraph 7 2.

                         (f)     Tenant shall provide Landlord with as-bmlt plans and specifications fo1 any Alterations.

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              7.4       Utility Additions. Landlord reserves the right to install new or additional utility facilities
     th1oughout the Office Building Project for the benefit of Landlord or Tenant, or any other tenant of the Office
     Building Project, includmg, but not by way of lirmtation, such utilities as plumbing, electrical systems, security
     systems, communication systems and fire protection and detection systems.


     8.        INSURANCE; INDEMNITY

              8.1       Linbilitv Insurnnce-Tenant. Tenant shall, at Tenant's expense, obtain and keep in force during
     the term of this Lease, a policy of General Commercial Liability msurance utilizing an Insurance Service Office
     standard form with Broad Form General Liability Endorsement, or equivalent, m an amount of not Jess than
     $5,000,000 per occun-ence of bodily injury and prnperty damage combined or in a greater amount as 1easonably
     determined by Landlord and shall insure Tenant, Landlord and any lender whose name shall have been given by
     Landlord to Tenant as additional msureds against liability ansing out of, under or m connect10n with the use,
     occupancy or mamtenance of the Premises 01 this Lease. Compliance with the above requrrement shall not,
     however, hmit the liability of Tenant herem1de1. Tenant's insurance company shall be subject to the reasonable
     app1oval of Landlord and shall be licensed to do business in the State of California

              8.2      Property Insurance-Tenant. Tenant shall, at Tenant's expense, obtam, and keep in force during
    the term of this Lease, for the benefit ofTenant, replacement cost fire and extended coverage insmance, with
    vandalism and malicious miscluef, sprinkler leakage and in an amount sufficient to cover not less than 100% of the
    full replacement cost, as the same may exist ft om time to time, of all of Tenant's personal property, fixtures and
    equipment.

               8.3.     Property-Insurance-Landlord. Landlm dmay obtam, and keep m force dunng term of this
     Lease, a policy or policies of insurance covering loss or damage to the Office Bmldmg Project, but not Tenant's
     personal property, fixtures, equipment or Tenant's improvements, and rent loss insurance in the amom1t of the full
     replacement cost thereof, as the same may exist from time to time, utilizing an Insurance Services Office standard
     for or equivalent providing protection against all perils included within the classification of fire, extended coverage,
     vandalism, malicious mischief, plate glass, and such other penis as Landlord deems advisable or may be required by
     a lender havmg a lien on the Office BuildIDg Project. In addition, Landlord may obtain, and keep in force dming the
    term of this Lease, a policy ofrental value msurance covering a period of one (1) year with loss payable to Landlord,
    which msmance shall also covet all Operating Expenses for said penod Tenant will not be named m any such
    policies earned by Landlord and shall have no nght to any proceeds therefrom. The policies referred to tn these
    paragraph 8.2 and 8.4 shall contam such deductibles as Landlord or its lender may determine. In the event that the
    Premises shall suffer an insured loss as defined in paragraph 9 l(f) hereof, the deductible amounts under the
    apphcable insurance policies shall be deemed an Operating Expense Tenant shall pay the entii ety of any mcrease m
    the property insurance p1 emium for the Office Building ProJect over what it was immediately p1ior to the
    coIJl111encement of the term of this Lease if the increase is specified by Landlm d's msurance carrier as being caused
    by the natme of Tenant's occupancy 01 any act 01 omission of Tenant. Landlord shall furnish Tenant with any
    written notice given to Landlord by any insurance earner notifying Landlord that Tenant has, or Tenant's activities
    from the Premises or other acts or conduct have, caused an increase in the property insurance premium.

             8.4.     Insurance Policies. Tenant shall deliver to Landlo1d copies of liabihty msurauce pohc1es
   reqmred undet Paragrapl1s 8.1 and 8.3 or certificates evidencmg the existence and amounts of such msurance not
   later than ten (10) business days pn01 to the Commencement Date. No such policy shall be cancelable or subject to
   1eduction of coverage or othe1 modificatton except after tlnrty (30) days pnm written notice to Landlm d. Tenant
   shall furnish Landlord with renewal certificates at least ten (10) business days prior to the expiration of any
   applicable policy.

             8.5.     Waiver of Subrogation. Tenant and Landlord each hereby release and relive the othe1, and
   waive thei.t enthe right of1ecovery against the other, for direct or consequential loss or damage arising out of or
   incident to the perils covered by prope1ty insurance carried by such party, whethe1 due to negligence of Landlord 01
   Tenant or their agents, employees, contractors, and/or invitee. All property insurance policies required under this
   Lease shall be endorsed to so provide.

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                 8.6      Indemnity, Tenant shall indemnify, defend (at Tenant's sole cost and expense and with legal
      counsel approved by Landlord, which approval shall not be unreasonably withheld) and hold harmless Landlo1d and
      1ts officers, directors, employees successors and assigns, and any lende1 of Landlord with an mterest in the Premises,
      from and against any and all losses, costs, damages, expenses, claims, actions or causes of action arismg, directly or
      indirectly, out of, m1der or in connection with this Lease or from Tenant's business or from any activity, work or
      thing done, pennitted 01 suffered by Tenant in, to, on or about the P1emises, Building or Office Build.mg Project 01
      elsewhere and shall further mdernmfy and hold harmless Landlord from any breach or default by Tenant in the
      perfonnance of any covenant, agreement, term, p1 ovision, condition or obligation on Tenant's part to be kept or
      performed undet the terms of this Lease, or arising, directly or indirectly, from any act 01 omission of Tenant or any
      of Tenant's agents, contractors, employees or invitee and ft om and against all costs, attorney's fees, expenses and
     liabilities incun·ed by Landlord as the result of any use, conduct, activity, work, thing done, permitted or suffe1ed,
     breach, default or negligence, and in case any action or p1 oceeding be brought agamst Landlord by reason of
     anything or matter referred to in this Paragiaph 8.6. Tenant understands and acknowledges that the mdemudication
     oblig~t10n he1 e1mder is intended to constitute a "Type I" indemmty under Cahfomia law and extends to and mcludes
     Claims ansing fi om the active or passive negligence of Landlord. Notwithstanchng the foregoing, nothmg herem
     shall be construed to require Tenant to indemnify Landlord :fi om any Claim arising from the sole negligence or
     wi!lful lnisconduct of Landlord. The duty to defend hereunder is wholly independent of and separate from the duty
     to indemnify and such duty to defend exists regardless of any ultimate liability of Landlord or Tenant. Such defense
     obligation shall arise irruned1ately upon presentation of a Claim by any party and written notice of such Claim being
     provided to Tenant Tenant, as a material part of the consideration to Landlord for entering into this lease, hereby
     assumes all risk of damage to property of Tenant, or in;ury to persons, in, upon or about the Premises, Building or
     Office Buildrng Project ansmg from any cause whatsoever and Tenant hereby waives all claims in respect thereto
     against Landlord except for those arising from the negligence of Landlord 01 its agents or employees.

              8.7 Release of Landlord. Landlord shall not be responsible or liable at any tune for any loss or damage to
     Tenant's merchandise, eqUlpment, fixtures or other personal property or to Tenant's busmess, includmg without
      limitation any Joss or damage to either the person or p1 operty of Tenant or loss of p1 ofits or otherwise that may be
     occasioned by or through the acts 01 omissions of persons occupying adjacent, connectmg, adjoining or other space
     in the Center or by or through the acts or 01nissions of Landlord, its employees, agents, conh·actors, mv1tees or
     hcensees, othe1 than actions of Landlord constituting gross negligence or willful nusconduct Tenant shall st01 e its
     property m and shall use and enjoy the Piemises and the Conunon Aieas of the Center at its own risk, and hereby
     releases Landlord, its employees, agents, contractors, partners, invitees, and licensees, to the fullest extent permitted
     by law, from all claims of every kind, includmg without llilUtation, leakage of any nature, resultmg in loss of life,
     personal 01 bodily lllJUry, or property damage

             8 8.     No Representation of Adequate Coverage. Landlord makes no iepresentat1on that the lllllits or
    forms of coverage of insurance specified in this Paragraph 8 are adequate to cover Tenant's property or obligat10ns
    under tlus Lease.

              8.9      Hazardous Materials Indemnity.

                  (a) Tenant shall not cause 01 permit the presence, use, generation, release, d1scha1ge, storage, disposal
    or transportation of any "Hazardous Materials" on, unde1, m, about, to or from, the Premises and/or the Center;
    provided that the presence or use of Hazardous Materials (a) in p1 oducts reqmred for the prudent and ordinary
    management and operat10n of the Premises as a medical facility and (b) held and used sh'ictly m accordance with (1)
    all applicable federal, state 01 local Jaws, regulations 01 orders, (n) gu1delmes JSsued by any national OJ regional
    boatd of insurance underwnte1s, and (iii) prudent standards of practice shall not be deemed in violation of this
    p10vision.

                  (b) As used herem, the term "Hazardous Materials" shall mean any toxic or haza1 dous substance,
    material or waste or any pollutant or contaminant 01 infectious or radioactive material, including but not limited to
    those substances, matenals or wastes regulated now 01 in the future under any of tl1e following statutes or
    1egulations promulgated thereto: (a) any "hazardous substance" within the meaning of the Comprehensive
    Environmental Response, Compensation and Liability Act of 1980, as amended ("CERCLA") 42 US C § 9601, et
    seq. or the California Hazardous Substance Account Act, Cal. Health and Safety Code§ 25300 et seq or the
    Porte1-Cologne Water Quality Act, Cal. Water Code§ 13000 et seq. 01 the Hazardous Matelials Trnnsportation
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     Act, 49 U.S.C. § 1801, et seq.; (b) any "hazardous waste" within the mearung of the Resource Conservation and
     Recovery Act, 42 U.S.C. §§ 6901 et seq.; (c) any "pesticide" 01 "econoffilc poison" as defined in Califomia Food &
     Agricultural Code§ 12753 and any regulat10ns promulgated in connection theiewith, or (d) any othe1 substance,
     chemical, waste, toxicant, pollutant, pesticide or contaminate regulated by any federal, state or local law, statute,
     rule, regulation 01 ordinance for the protection of health or the envrronment ("Environmental Laws"), including,
     without limitation, methane and any petroleum p1 oducts or fract10ns thereof and any asbestos-containing materials

                    (c) IfTenant's use of the P1em1ses may involve the storage and/or use of Hazardous Materials as
     defined he1 ein, Tenant, in addition to its covenants defined above, forth et covenants, agi ees, warrants and represents
     that it will comply with all Environmental Laws, rules, regulatio11s, court decisions, mw1icipal codes and ordinances
     regulating such storage and/01 use ofHazardous Materials, mcluding without lunitation Chapter 6.95 of the
     Callfomia Health and Safety Code; and to perlllt Landlord to monitor such compliance, without the assumption of
     any liability by Landlord nor any obligation ofLandlo1d to so monitor, Tenant covenants and agrees to provide to
     and/or permit Landlord:

                       (1)      To review and app1 ave prior to subffi!ssion to any governmental agency all applications
    with respect to the handling, storage and/01 use of Hazardous Materials in, on or about the Premlses, includmg
    without limitation applications to the County Haza1dous Materials Management Division ("HMMD") and/or to Ali
    Pollution Control District ("APCD"), and after such submlssion to provide Landlord Wlth a copy of all responses,
    notices, comments or othe1 communications with said governmental agencies; and

                       (2)      To receive and review a copy of all completed and approved "Business Plans", as defined
    by the statutes, and all updates, renewals, or replacement "Business Plans" when submitted and all responses,
    notices, comments or commumcations with any governmental agencies regarding same; and

                  .    (3)    To receive and review a copy of all notices, reports, comments or communications
    relating to any governmental mspection, complalllt, mvestigation or other matter relating to Tenant's storage,
    handling or use of Hazardous Materials at, on, in or about the Pre1nises; and

                      (4)      To receive and review a copy of any and all E.P .A. numbers, County Health Depaiiment
    permits, APCD permits, contracts with certified hazardous waste handlers (and all c1edenttals and certifications of
    such handlers), and all schedules for delivery, pick-up and disposal of Hazardous Materials to or from the Premises;
    and

                      (5)     To unmed1ately notify Landlord of any leaks, spills, etnlssions, release or suspected
    release of any Hazardous Materials at, on, in, under, above or about the P1 erruses from any cause 01 source
    whatsoever; and

                      (6)      To receive and review a copy of a1! 1ecords of every nature that are reqmred by law,
    regulations, ordinance 01 court order to be maintained by Tenant with respect to the storage, handlmg or use of any
    Hazardous Matenals at, on, in, under, above or about the Premises.

                   (d) Tenant shall exonerate, indenmify, pay and protect, defend (with counsel reasonably approved by
    Landlord) and save Landlord, and its directors, trustees, beneficiaues, officeis, shai eholders, partners, members,
    employees, agents, and invitees and of those of the other tenants of the Center (collectively, the "Related Parties"),
   hat mless fi om and against any clauns (includmg, without limitation, third party claims foi personal mjuiy or real or
   personal property damage, actions, administrative proceedmgs (mclucling mfonnal proceedings), Judgments,
    damages, punitive damages, penalties, fines, costs, taxes, assessments, liabihties (including sums paid in settlements
   of olanns), interest or losses, including reasonable attomeys' fees and expenses (includmg any such fees and
   expenses mcurred in enforcing this Lease 01 collecting any sums due he1ew1der), consultant fees, and expert fees,
   together with all other costs and expenses of any kind 01 nature (collectively, the "Costs") that aiise cfuectly or
   mdii ectly ii1 co1mection with the presence, suspected presence, release or suspected release of any Haza1 dous
   Materials in or into the air, soil, ground water, surface water or imp10vements at, on, about, under or withm the
   Center, 01 any pmiion thereof, or elsewhere in connection with the ti·anspo1tation of Hazardous Materials to or from
   the Center by or on behalf of Tenant or with respect to the Piemises. The ii1demmfication provided in this paragraph
   shall specifically apply to and include claims or acttons brought by or on behalf of employees of Tenant In the event
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      that any of the Related Parties shall suffer or incm any such Costs, Tenant shall pay to Landlord or such Related
      Parties, the total of all such Costs suffe1ed or incuned upon demand therefor. Without limiting the generality of the
     foregoing, the indemnification provided herein shall specifically cove1 Costs includmg, without linutat1on, capital,
     ope1ating and maintenance costs, incurred in connection with any investigat10n or monitormg of site condtt1011s, any
     clean-up, containment, remedial, removal or restoration work required 01 performed by any federal, state OJ local
     governmental agency 01 political subdivision or perfonned by any non-governmental entity 01 person because of the
     presence, suspected presence, release or suspected release of any Hazardous Materials in or mto the air, s01l, ground
     wate1, surface watet or improvements at, on, about, under or within the Center (or any portion thereof), or elsewhe1e
     in connection with the transportation of Hazardous Materials to 01 from the Center and any claims of third parties
     for loss or damage due to such Hazardous Materials. TJus mdemmfication shall survive the termination of this Lease
     and shall be binding upon the Tenant and its successors m mterest whenever such threat, claim, or cause of action
     may arise. Tenant expressly waives any defense conceming !aches or the statute of lllmtations, constructive eviction
     or rent abatement with respect to such claims.

     9.        DAMAGE OR DESTRUCTION

               9.1      Definitions.

                        (a)     "Premises Damage" shall mean the Premises are damages 01 destroyed to any extent

                       (b)      "P1emises Building Partial Damage" shall mean the Buildmg ofwluch the Premises are a
     part is damages or destroyed to the extent that the cost ofrepair is fifty percent (50%) or more of the then
     Replacement Cost of the Building.

                       (c)     "Prerruses Building Total Destruction" shall mean the Bu1ldmg of which the Prerruses are
     a part is damaged or deshoyed to the extent that the cost of repair is fifty percent (50%) 01 more of the then
     Replacement of Cost of the Build.tug.

                       (d)      "Office Building Project Buildings" shall mean all of the buildings on the Office
     Buildings Project site,

                      (e)     "Office Building Project Buildings Total Destruct10n" shaU mean the Office Building
    Project Buildings are damaged OJ destroyed to the extent that the cost of the rep au is fifty percent (50%) or more of
    the then Replacement Code of the Office Building Project Bu!ldiugs

                      (f)      "Insured Loss" shall mean damage or destruction wluch was caused by an event covered
    by the insurance described m Paragraph 8. The fact that an Insured Loss has a deductible amount shall not make the
    loss and Uninsured Loss.

                     (g)       "Replacement Cost" shall mean the amount necessary to be spent in 01 de1 to repair or
    iebuild the damaged area to the condition that existed immediately prior to the damage occurring, excluding all
    imp1 ovements made by tenants, other than those installed by Landlord at Tenant's expense.

              92       Premises Damage: Premises Building Partial Damage.

                       (a)      lusurcd Loss, Subject to the prov1s10ns of Paragraphs 9 4 and 9.5, if, at any time during
    the term of this Lease, there is Premises Damage or Premises Building Partial Damage wluch is an Insured Loss,
    Landlord shall, (subject to the tem1s of any mortgage coveting the Office Building Project), as soon as reasonably
    possible (but not before collect1011 of any applicable insurance p1 oceeds), and to the extent that the 1equu ed
    materials and labor are 1eadily available tlirough usual commercial cham1els, at Landlord's expense, repair such
    damage (but not Tenant's fixtmes, equipment or Tenant imp1ovements origmally paid for by Tenant) to the
    condition existing immediately prior to the damage, and this Lease shall continued in full force and effect. Landlord
    shall not be 1equired to expend more than the amount of insurance proceeds received by it.

                      (b)     Uninsured Loss. Subject to the provisions of Paragraphs 9.4 and 9.5, if, at auy time
    during the term oftlus Lease, there is Prerruses Damage 01 Premises Bullding Partial Damage which is not an
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      Insrned Loss, then, unless caused by the negligent 01 other act of Tenant (in which event Tenant shall make the
      repairs at Tenant's expense), and, as a result thereof, Tenant 1s prevented from making any substantial use of the
      Premises, Landlord may, at Landlord's option, either (i) repair such damage as soon as reasonably possible at
     Landlord's expense, m which event this Lease shall continue in full force and effect or (1i) give written notice to
     Tenant within sixty (60) days after the date of the occurrence of such damage of Landlord's intention to cancel and
     ternunate this Lease as ofa date set forth in Landlo1d1s notice which date shall not be m01e than thrrty (30) days
     following the giving of such notice by Landlord. Any cancellation pursuant to the provisions hereof shall be subject
     to the covenants, agreements, terms, provisions and cond1t1011s of this Lease to be kept and performed by Tenant.

               93       Premises Building Total Destruction; Office Building Project Buildings Total Destrnction.

                        (a)       Subject to the provisions of Paragiaphs 9.4 and 9.5, if, at any time during the term of this
     Lease, there is damage, whether or not an Insmed Loss, wluch falls mto the classification of eithe1 (1) Premises
     Buildmg Total Destruction or (ii) Office Bwlding Project Bu1ldmg Total Destruct10n, then, Landlord may, at
     Landlord's option, e1the1 (a) repair such damage or destruction as soon as reasonably possible (but not before
     collection of any insurance proceeds, if applicable) at Landlord's expense (which shall not be more than the amount
     of insurance proceeds 1eceived by it), to the extent the required matenals ate readily available through usual
    co1mnercial channels, to its condition existing at the time of the damage, but not Tenant's fixtures, equipment or
    tenant improvements, and this Lease shall continue m full f01ce and effect, 01 (b) give wntten notice to Tenant
    wit.Inn sixty (60) days after the date of the occurrence of such damage of Landlord's mtention to cancel and
    te1minate this Lease, in which case this Lease shall be canceled and terminated as of a date set forth in Landlord's
    notice which date shall not be more than thirty (30) days following the givmg of such notice by Landlord. Any
    cancellat10n pursuant to the provisions hereof shall be subject to the covenants, agreements, terms, provisions and
    conditions of tlns Lease to be kept and performed by Tenant.

                      (b)      Notwithstanding (a) above, m t11e event the demised premises becomes uninhabitable fo1
    a pedod of greater than thirty (30) days, this Lease may be terminated at the option of Tenant.

              9.4      Damage Near End of Term.

                       (a)        Subject to Paragraph 9.4(b), if, at any time during the last twelve (12) months of the term
    of this Lease, there is, Ill Landlord's option, substantial damage to the Premises, Landlotd, may at Landlord's option,
    witlun sixty (60) days after the date of the occurrence of such damage, cancel and terminate this Lease as of a date
    set forth in Landlord's notwe wlnch date shall not be more than thirty (3 0) days following the g1vmg of such notice
    by Landlord. Any such cancellation and terrninatwn shall be subject to all of the covenants, agreements, terms,
    prov1swns and conditions of tlus Lease on the part of Tenant to be kept and performed.

                         (b)      Notwithstanding Paragraph 9.4(a), lll the event that Tenant has an option to extend 01
    renew this Lease, and the time in which said option may be exe1cised has not yet exphed, Tenant shall exercise such
    option, if it 1s to be exercised at all, no later than twenty (20) days after the occunence of an Insured Loss falling
    within the classification of Premises Damage during the last twelve (12) months of the tenn of this Lease. If Tenant
    exercises such option during said twenty (20) day period, Landl01d shall (subject to the terms of any mo1tgage
    covermg the Office Buildmg Project), at Landlord's expense (which shall not be more than the amount of insurance
   proceeds received by it), iepair such damage, but not Tenant's fixtures, eqmpment or tenant improvements, as soon
   as reasonably possible (but not before collection of any applicable msurance proceeds) and this Lease shall contmue
   in full force and effect. If Tenant fails to exercise such option during said twenty (20) day petiod, then Landlord
   may, at Landloid's optton, cancel and tenmnate this Lease as of the expuation of said twenty (20) day period, by
   giving written notice to Tenant of Landlord's election to do so within ten (10) days after the expirat10n of said
   twenty (20) day pe1iod, notwithstanding any term or provision in the grant of option to the contrary. Any such
   cancellation and termination shall be subject to all of the covenants, agreements, terms, provisions and conditions of
   this Lease on Tenant's part to be kept and performed.

             9.5       Abatement of Rent: Tenant's Remedies:

                      (a)     In the event Landl01d iepairs or restores the Bmldmg or Premises pursuant to the
   provisions of this paragraph 9, and any party of the Premises ate not usable, Base Rent payable herern1der for the
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     period durmg which such repair 01 restoration contumes shall be abated, provided (1) the damage was not caused by
     Tenant, and (2) such abatement shall only be to the extent the Pre1U1ses are not actually usable. Except fo1 said
     abatement of Base Rent, if any, Tenant shall have no claim against Landlord for any damage suffered by reason of
     any such damage, destruction, repau orrest01 ation.

                        (b)       Tenant agrees to cooperate with Landlord in connection with any such resto1ation and
     repair, including, but not limited to, the approval and/or execution of plans and specifications required the1 efoi.


              96       Termination-Advance Payments. Upon terminat10n of this Lease pursuant to this paragraph 9,
     so Jong as Tenant is not in default of any covenant, agreement, term, prov1s10n or condition of this Lease on its part
     to be kept and perfonned, an equitable adjustment shall be made concerning advance rent and any advance
     payments made by Tenant to Landlord. Landlord shall, m addition, return to Tenant so much of the Security
     Deposit as has not theretofore been applied Landl01 d or may then be applied by Landlord.

              9.7     Waiver. Landlord and Tenant waive the provisions of any statute wh1ch relates to termination of
     leases when leased property ls destroyed and agree that such event shall governed by the tenns of this Lease.

             9.8      No Release of Tenant. No cancellation or termination of this Lease as provided herein, or
    elsewhere in this Lease, shall release oJ relieve Tenant of any liability, responsibility or obligation accrued or
    incurred OJ outstanding or unsatisfied as of the date of such cancellation and tennination.

              9.9      Tenant's Waiver. Tenant hereby waives the right to make repairs at Landlord's expense unde1
    pt ovisions of Section 1941 and 1942 of the C1V11 Code of Califorma With respect to any partial destmction which
    Landlord is obligated to repair or may repair m1de1 any of the provisions of this Lease, the provlSlons of Sect10n
    1932 (2) and Section 1933 (4), of the Civil Code of California are hereby waived by Tenant. Nothing contained in
    this Lease shall constitute a waiver by Landlord of Tenant's obligations pursuant to California Civil Code Section
    1941.2, or otherwise.

    10.      REAL PROPERTY TAXES

             10.1     Pavmcnt of Taxes. [Intentionally omitted]

            10.2     Additional Improvements bv Tenant. Tenant shall pay to Landlord, upon demand, the entirety
    of any mcreases m Real PJoperty Tax assessed solely by reason of additional lmprovements placed m, on or to the
    Premises by Tenant or at Tenant's request

             10.3      Definition of "Real Propertv Tax 11 • As used herem, the term "Real Property Tax" shall include
   any and all forms ofreal estate tax 01 assessment, general or special, oidinary or extraordinary and any hcense fee,
   commercial rental tax, improvement bond or bonds, levy or other similar or dissimilar tax of any kind or nature
   whatsoeve1 (other than inheritance, personal income or estate taxes) imposed on the Building Project 01 any portion
   thereof by any authority having the direct or indirect powe1 to tax, including any city, county, state or federal
   government, or any school, agricultural, sarutary, fire, street dramage, or other improvement district thereof, as
   against any legal or equitable inteJest ofLandloid 111 the Bwldmg Project or in any portion thereof, as against
   Landlord's nght to rent or other income therefrom, and as agamst Landlord's busmess of leasmg the Butldmg
   Project. The term Real Property Tax shall also include any tax, fee, bond, levy, assessment or similar or d1ssunilar
   charge (i) in definition of Real Property Tax, or (ii) the nature of wlnch was herembefore included within the
   definition of Real Property Tax, or (iii) which is imposed as a Building Pro1ect OJ which is added as a tax or charge
   herein above included witlnu the definition of Real Property Tax by reason of such change of ownership, or (iv)
   which is imposed by reason of this transaction or any modifications or changes het eto or any transfer hereof.

            10 4    Joint Assessment. If the improvements 01 property, the taxes for which are to be paid separately
   by Tenant undeJ paragraphs 10.2 01 10.5, are not separately assessed, Tenant's portion of that tax shall be equitably
   detennined by Landlord from the respective valuations assigned in the assessor's work sheets or such othe1
   infonnatton (which may include the cost of consh uction) as may be reasonably available. Landlord's reasonable
   detemunation thereof, in good faith, shall be conclusive
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                  10.5   Personal Property Taxes.

                          (a)      Tenant shall pay, pnor to delinquency, all taxes assessed agamsl and levied upon the
      trade fixtures, furnishings, equipment and all other personal property of Tenant contamed in the Premises or
      elsewhere.

                         (b)       If any Tenant's personal property shall be assessed with Landlord's real property, Tenant
      shall pay to La11dlord the taxes attributable to such personal pioperty within ten (10) days afte1 ieceipt of a wntten
      statement setting forth the taxes applicable to Tenant's personal property.

      11.        UTILITIES AND SERVICES

               11.l    Services Provided by Landlord. So long as Tenant is not li1 default hereunder, Landlord shall
      provide heatmg, ventilation, air conditioning and watei for reasonable drinking and lavatory use.

               11.2      Services Exclusive to Tenant. Tenant shall pay for all watei, gas, heat, light, power, telephone
     and other utilities and services supplied and/or metered exclusively to the Premises or to Tenant, together with any
     taxes thei eon. Tenant shall be solely responsible f01 the installation and maintenance of any meter used exclusively
     for the Premises. If any such services are not separately metered to the Premises, Tenant shall pay, at Landlord's
     op!lon, either Tenant's Shares or a reasonable proportion to be determined by Landlord of any chazges jointly
     metered with other p1 e!lllses in the Building.

               11 3     Hours of Service, So long as Tenant is not m default hereunder, the services and utilities
     described m paragraph 11.1 shall be provided dunng generally accepted Business Days, i.e., Monday through
     Friday, fi om_7:00 am. to 8:00 p.m., 8:00 a.m to 5:00 p.m. on Saturdays. Any services provided to Tenant pursuant
     to the terms of this Article 11 and not otherwise paid for by Tenant maccoidance with the provisions of paragraph
     11.2 hereof shall, nevertheless, be paid foi by Tenant Utilities and services required at other times shall be subject
     to advance iequest and payment by Tenant to Landlord of Landlord's charges therefor.

              11.4     Excess Usage by Tenant. Tenant shall not install or use any maclunery or equipment in or about
     the Premises that uses excess water, lighting or power, or suffer or permit any act that, m Landlord's opinion, causes
     or would cause extra burden upon the utilities or services, mcluding, but not hm1ted to, secunty services, ovez
     standard office usage fo1 the Office Buildmg P1oject. Tenant shall pay Landlotd for any excess expenses or costs
     that may arise out of a b1each ofthts subparagraph by Tenant. Landlord may, in its sole discretion, install, at
     Tenant's expense, supplemental equipment and/or separate mete1ing applicable to Tenant's excess usage or loading.
     Landlord acknowledges that Tenant will use as standard office equipment computets, copiers and fax maclunes.

              11.5     Interruptions. There shall be no abatement ofrent and Landlmd shall not be liable in any
    respect whatsoever for the inadequacy, stoppage, inte1rnptio11 or discontinuance of any utility 01 service due to not,
    strike, labor dispute, breakdown, accident, i epair or any other cause of any kind or nature whatsoeve1 or in
    cooperation with governmental request or drrection

    12.        ASSIGNMENT AND SUBLETTING

              12 1    Landlord 1s Consent Required. Tenant shall not voluntarily or by operation of law assign or
    mortgage, sublet, or otherwise transfer 01 encumber all oz any part of tlus Lease 01 m the Pi emises, without
    Landlord's ptior written consent, wluch consent shall not be lmreasonably withheld in accordance with paragraph
    12 6, and any attempt thereat shall be void and of no force or effect and shall constitute a material default and breach
    of this Lease without the need for notice to Tenant undez paragraph 13.1. "Transfer", witlun the meaning of this
    paragraph 12, shall include the transfer 01 transfeis aggregating fifty pezcent or moze of the outstanding stock of
    tenant

              12.2     Tenant Affiliate. Notwithstanding the provisions of paragraph 12.1 hereof, Tenant may assign
    this Lease or sublet the Premises, or any portion thereof, without Landlord's consent, to any corporation which
    controls, is contiolled by or is under common control with Tenant, 01 to any corporatton iesultmg from the merger
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     or consolidatwn with Tenant, or to any person or entity which acquires all of the assets of Tenant as a going concem
     of the business that is being conducted on the Premises, all of which are refeued to as "Tenant Affiliate"; provided
     that before an assigrunent shall be effective, (a)the assignee shall, in wntmg, assume, 111 full, the obhgations of
     Tenant unde1 this Lease and (b )Landlord shall be given written notice of such assignment and asswnption. Any
     such assignment shall not, in any way, affect or hmit the habihty of Tenant under the terms of this Lease even if
     afte1 such assignment the terms of this Lease ate materially changed or altered without the consent of Tenant whose
     consent shall not be necessary therefor.

               12.3    Terms and Conditions Applicable to Assignment and Subletting.

                      (a)      No assignment or subletting shall release Tenant of Tenant's obligations hereunder,
    mcludU1g, but not lirmted to, Tenant's share of Operating Expenses, and to perform all covenants, agieements, tenns,
    provis10ns and conditions to be kept and performed by Tenant hereunder.

                      (b)     Landlord may accept rent from any person othe1 than Tenant pend.mg approval or
    disapproval of an assignment. The acceptance of such rent shall not constitute acceptance of the proposed
    assignment.

                     (c)       Neither a delay in the approval or disapproval of an ass1grunent or subletting not an
    acceptance ofrent, shall constitute a waiver or estoppel of Landlord's right to exercise its remedies for the breach of
    any of the covenants, agreements, te1ms, provisions or conditions of this paragraph 12.

                      (d)      IfTenant's obligations under this Leasebave been guaranteed by third parties, an
    assignment of this Lease or a sublease, and Landlord's consent thereto, at Tenant's request as required herem, shall
    not requtre the pnor consent of such gua1 antors to such assignment or sublease

                       (e)     The consent by Landlord to any assigrunent or subletting shall not constitute consent to
    any subsequent assigrunent or subletting by Te11ant 01 to any subsequent 01 successive assigmnent or sublettmg by
    an assignee or subtena11t.

                      (f)       In the event of any default under this Lease, Landlord may proceed dll'ectly against
    Tenant, any guarantors or anyone else responsible for the perfo1mance of this Lease, including any asstgnee or
    subtenant, without first exhausting Landlord's remedies against any other person or entity responsible thereto to
    Landlord, or any security held by Landlord or Tenant.

                     (g)      Landlord's written consent to any assiginnent or subletting by Tenant shall not constitute
   an acknowledgment that no default then exists under this Lease of any of the obligatlons to be pe1formed by Tenant,
   nor shall such consent be deemed a waiver of any than existmg fault.

                      (h)     The discovery that any financial statement relied upon by Landlord in granting its
   consent to as assignment or subletting was false shall, at Landlord's election, render Landlo1d's consent null and void
   and of no force or effect.

             12.4    Additional Terms and Conditions Applicable to Subletting. The followmg tenns and
   condtttons shall apply to any subletting by Tenant of all or any part of the P1 emises and shall be deemed included m
   all subleases whethet 01 not expressly mcorporated therem:

                       (a)      Tenant hereby assigns and transfers to Landlord all of Tenant's interest in any and all
   rentals and income arising from any sublease heretofore 01 hereafter made by Tenant, and Landlord may collect
   such rent and income and apply same toward Tenant's obligations under tlus Lease provided, however, that until a
   default shall occll! in the pe1formance ofTenant's obligations under this Lease, Tenant may receive and collect the
   rent accruing under such sublease; pl ovided, Landlord shall not, by reason of the collection of the rents from a
   subtenant, be deemed liable to the subtenant for any failm e of Tenant to perfonn and comply with any of Tenant's
   obligations to such subtenant unde1 such sublease. Tenant heteby irrevocably authorizes and directs any such
   subtenant, upon receipt of a wntten notice from Landlord stating that a default exists m the pe1fonnance of Tenant's
   obltgations under this Lease, to pay to landlord the rents due and to become due undet the sublease Tenant agrees
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      that such subtenant shall have the right to rely upon any such statement and request from Landlord and that such
      subtenant shall pay such rents to Landlord without any obligation or right to inquire as to whether such default exists
      and notwithstanding any notice from or claim from Tenant to the contrary, Tenant shall have no nght or claim
      agamst said subtenant or Landlord for any such rents so paid by said subtenant to Landlord.

                        (b)      No sublease entered into by Tenant shall be effective unless and unl!l 1t has been
     approved in writing by Landlord. In entering into any sublease, Tenant shall use only such form of sublease as is
     satisfactory to Landlord. Such sublease shall not be changed or modified without Landlord's prior wntten consent.
     Aiiy subtenant shall, by reason of ente1ing mto a sublease under this Lease, be deemed, for the benefit of Landlord,
     to have assumed and agreed to confoim and comply with each and every obligation herein to be perfonned by
     Tenant other than such obhgatious as ai e contrary to 01 inconsistent with provisions contained in sublease to winch
     Landloid has expressly consented in writing; howevei, nothing contained herein oi in such sublease shall create any
     priv1ty between Landlord and such subtenant

               12 5     Landlord 1s Expenses. In the event Tenant shall assign this Lease or sublet the Premises or
     1equest the consent of Landlord to any assigmnent 01 subletting or if Tenant shall 1equest the consent of Landlord
     for anything or matter or in connection with this Lease, including, but not lnnited to, this paragraph 12, then Tenant
     shall pay Landlord's costs and expenses incuned in connection the1ewith, mcluding attorneys', arclutects', engineers',
     consultants' or other fees and an amount not to exceed the actual amount of billing for services iequtred by Tenant's
     rights hereunder, or Seven Hundred Fifty Dollars ($750 00), wluchever the greater,

              12.6     Conditions to Consent. Landlord reserves the light to condition any approval to assign this
    Lease or sublet all or a portion of the Prennses upon Landloi d's detennination that ( a)the proposed assignee or
    proposed subtenant sbaJI conduct a busmess at the Premises consistent with the general characte1 of the other
    occupants of the Office Building Project and not m violation of any exclusive or rights then held by othe1 tenants or
    occupants and (b)the proposed assignee or proposed subtenant be, in Landlo1 d's opmion, at least as financially
    responsible as Tenant was expected to be at the time of the execut10n oftlus Lease or of such assignment or
    sublettmg, whichever ts gi eater. Provided, in the reasonable judgment of Landlord, a proposed assignee or a
    proposed subtenant is financially responsible with respect to its proposed obligat10ns and 1s of a character and
    engaged in a business which is in keeping with the standards of the Office Buildmg P1 oj ect, Landlord agi ees it will
    not unreasonably withhold 01 delay its consent to such proposed assigilillent or proposed sublettmg upon, and
    subject, howevei to all the provisions of this paragraph 12.

    13.        DEFAULT; REMEDIES

             13 .1   Default. The occurrence of any one or more of the followmg events shall constitute a default of
    this Lease by Tenant

                     (a)     The vacation or abandonment of the Premises by Tenant shall be defmed as the failure by
    Tenant to occupy the Premises for a continuous period of fifteen (15) days or more whether 01 not rent is paid.

                        (b)       The breach by Tenant of any of the covenants, conditions or prov1s1011s of paragraphs
    7.3(a),(b), oi (d), 12.1, 13.l(f), 16(a), 30.2, 33, or 40.1, all of which are hereby deemed to be mateual, non-curable
    defaults without the necessity of any notice, except as otherwise provided by this Lease

                       (c)      The failure of Tenant to pay 01 cause to be paid when due any rent, momes, 01 charges
    1equited by th.is Lease to be paid by Tenant when such failure continues foi a penod oftluee (3) days afte1 written
    no!lce thereof fi om Landlo1d to Tenant.

                       (d)      The failure by Tenant to observe or perform any of the covenants, agreements, terms,
    conditions or provisions of this Lease to be observed oi performed by Tenant othe1 than those referenced m
    subpai agraphs (a),(b) and (c), above, where such failure shall continue for a period of ten (10) days after written
    notice thereof from Landlo1d to Tenant; provided, however, that if the nature of Tenant's noncompliance is such that
    mo1e than ten (10) days are ieasonably required for its cure, then Tenant shall not be deemed to be in default lf
    Tenant commences such cure within said ten (10) day period and thereafte1 diligently pursues such cure to
    completion within thirty (30) days after such written notice from Landlord. To the extent penrutted by law, such ten
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       (IO) days notice shall constitute the sole and exclusive notice required to be given to Tenant unde1 applicable
       Unlawful Detame1 statutes.

                          (e)      (i)The making by Tenant of any general anangement or general assignment for the
      benefit of creditors; (ii)Tenant becoming a "debtor" as defined m 11 U.S.C. 101 or any successor statute thereto
      [unless, in the case of a petition filed against Tenant, the same is dIS1mssed within sixty (60) days of this filing of
      such petition]; (iii)The appointment of a trustee or receiver to take possession of substantially all of Tenant's assets
      located at the Premises of Tenant's mte1 est in tlus Lease, where such seizure is not discharged within thirty (30)
      days. In the event that any p1ovisio11 of this paragraph 13.l(e) is contrary to any applicable law, such provision shall
      be of no force or effect.

                         (f)       The discovery by Landlord that any financial statement given to Landlord by Tenant, OJ
      its successor m interest, or by any guarantor of Tenant's obligation hereunder was false.

               13 .2    Remedies. In the event of any default or breach of this Lease by Tenant, Landlord may, at any
      time thereafter, with or without notice or demand, and without limiting Landloi d m the exercise of any right OJ
      remedy which Landlo1d may have by reason of such default:

                          (a)      Tenninate Tenant's right to possession of the Premises by any lawful means, in which
      case this Lease and the term hereon shall tenrunate and Tenant shall unmec:hately surrende1 possession of the
     Premises to Landlord. In such event, Landlord shall be entitled to recove1 from Tenant all damages incu1Ted by
     Landlord by reason of Tenant's default mcluding, but not lirmted to· (1) the cost ofrecovering possession of the
     Premises; (11) the expenses of relettrng, includmg necessazy renovation and alteration of the Premises, reasonable
     attorneys' fees and any real estate comrmssion actually paid, (iii) the worth, at the time of the award, of the unpaid
     rent that had been earned atthe time of the tennmation of this Lease; (iv) the worth, at the time of the award, of the
     amount by which the unpaid 1ent would have been earned after the time of termination of this Lease until the b.me
     of the award exceeds the amount of the loss of rent that Tenant proves could have been reasonably avOJded, (v) the
     worth, at the time of the award, of the amount by which the unpaid rent for the balance of the Lease Tenn after the
     time of award exceeds the amount of the loss of rent that Tenant proves could have been reasonably avoided; and
     (vi) that part of the leasing commission paid by Landlord pursuant to paragraph 15 app!tcable to the unexpired term
     of this Lease.

                       (b)       Maintam Tenant's right to possesston in which case tlus Lease shall continue in effect
     whether 01 not Tenant shall have vacated or abandoned the Premises In such event, Landlord shall be entitled to
     enforce all of Landlord's rights and iemedies undei tlus Lease, mcludmg the right to recover rent as it become due
     hereunder.

                       (c)       PW'sue any other remedy now or hereafter available to Landlord under the laws or
    judicial decisions of the state wherein the Piemises ate located.

             13.3    The Worth nt Time of The Award. "The worth at the time of the awa1d", as used in
    subparagraphs (a) (iii) and (a) (iv) above, is to be computed by allowing interest at the rate of ten (10%) pe1cent pe1
    annum. "The worth at the time of the award", as referred to in subparagraph (a)(v) above 1s to be computed by
    discounting the amount at the discount rate of the Federal Reserve Bank of San Francisco at the t11ne of the award
    plus two (2%) percent.

              13.4      ;Late Charges. Tenant hereby aclmowledges tbat late payment by Tenant to Land!OJd ofrent,
    Tenant's Share of Opeiating Expenses or any other sum due hereunder will cause Landlord to incur costs not
    contemplated by this Lease, the exact amow1t which will be difficult to ascertam. Such costs include, but are not
    limited to, pt ocessing and accounting charges and late charges which may be imposed on Landlord by the teuns of
    any mo1 tgage 01 trust deed covering the Office Building Project Accordingly, if any installment ofrent, Operating
    Expenses, 01 any other sums due from Tenant shall not be received by Landlord or Landlord's designee within ten
    (10) days of the date upon winch it 1s due, Tenant shall pay to Landlmd a late charge equal to Ten (10%) percent of
    such overdue amount The pa1 ties hereby agree that such late charge represents a fair and reasonable estimate of the
    costs Landlord will incw by reason of late payment by Tenant.

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      14.        CONDEMNATION

                 If the Premises 01 the Office Building Project, 01 any portion thereof, are taken unde1 the power of emment
        domain, or sold under the threat of the exercise of said power (all of which are herein called "Condemnation"), this
        Lease shall terminate as to the part so taken as of the date of the condemning authonty takes title or possession,
        whicheve1 fast occurs; provided, if more than fifty (50%) percent of the Premises are taken by Condemnation,
       Tenant shall have the option, to be exercised in writing within tlurty (30) days after Landlord shall have given
       Tenant written notice of such taking (or m the absence of such notice, within thirty (30) days after the condemning
       authority shall have taken possess1011), to terminate this Lease as of the date the condemning authority takes such
       possession If Tenant does not terminate this Lease in accordance with the foregoing, this Lease shall remain m full
       force and effect as to the portion of the prerruses remainmg, except that the 1ent and Tenant's Shate shall be 1educed
       in the proportion that the floor area of the P1 erruses taken bears to the total floor area of the P1 emJses. Conm1on
       Areas taken shall be excluded from the Common Aiea usable by Tenant and 110 reduction of rent shall occur with
      respect the1 eto or by reason thereof. In the event of a Condemnat10n, landlord shall have the optlon, in Its sole
       discretion, to tenninate tlus Lease as of the date of the taking ofpossess10n by the condenuung authority, by giving
      wrjtten notice to Tenant of such election within thirty (30) days after receipt of notice of a taking by Condemnation
      of any part of the Premises or the Office Building Project. any aware fo1 the taking of all 01 any part of the Premises
      or the Office Building Project under the power of emment domam or any payment made under threat of the exercise
      of such power shall be the p1operly of Landlord, whether such award shall be made as compensation for diminution
      in value for the leasehold or for the taking of the fee 01 as severance damages. Tenant shall be entitled to make a
      separate clann and receive an awa1d for (i)the unamortized value of Improvements to the Premises made by Tenant,
      at Tenant's sole cost and expense, and which are removable by Tenant at the exprration of the tenn hereof pursuant
      to the terms of tlus Lease; (1i)an amount equal to any excess in the market value of the Premises, exclusive of
     Tenant's improvements or alterations for which Tenant is compensated pursuant to provisions hereof, for the
     rernamder of the term, over the present value at the date of taking of the minimum monthly rent payable for the
     reinainde1 of the te1m; and (iii)an amount detennined to be equal to the loss of good will; provided, however, no
     such separate claim by Tenant shall reduce the award to which Landlord would be entitled If Tenant had not made
     such separate claim. fa the event that this Lease is not terminated by reason of such Condemnation, Landlord shall,
     to the extent of severance damage received by Landlord in connection with such Condemnation, repair any damage
     to the Premises caused by such Condemnation.

     15.       BROKER'S FEE

             Tenant warrants that Tenant has had no dealmg w1th any broker or agent m connection with this Lease
    other than Travis Lyon of Sperry Van Ness Valley Commercial Real Estate Tenant covenants and agrees to
    indemnify and hold Landlord bann.less from and against any and all loss, cost, damage, expense or habtlity for any
    c01npensat10n, commissions or charges of any kind of nature whatsoever claimed by any broker or agent (licensed or
    otherwise) other than Sperry Van Ness Valley Commercial Real Estate with respect to this Lease or the
    procurement, negotiation or execution thereof. Landlord shall compensate Travis Lyon of Sperry Van Ness Valley
    Commercial Real Estate pursuant to a separate written agreement.

    16.       ESTOPPEL CERTIFICATE

              (a)       Tenant shall, upon not less than five (5) days prior written notice from Landlord, execute,
    aclmowledge and deliver to Landlord a statement in wr1tmg, m the form attachedhe1eto as Exhibit "E", (i)cert1fying
    that this Lease 1s urunodified and ID full force and effect (or, if modified, stating the nature of such modification and
    certifying that this Lease, as so modified, is in full force and effect) and the date to wluch the rent and othe1 sums 01
    charges are paid m advance, if any, and (1i)acknowledg111g that there are no uncured defaults on the part of Landlord,
    or specifymg any defaults that are claimed Any such statement may be conclusively 1elied upon by any prospective
    purchaser 01 11101igagee of the Office Building Project oi any part thereof or to any other who Landlord shall have
    delivered such statement to.

             (b)       The failure to delive1 such statement within such time shall be a material default by Tenant under
    this Lease, without any further notice to Tenant, 01 it shall be conclusive upon Tenant that (1) this Lease 1s in full
    force and effect, without modification except as may be represented by Landlo1 d (ii) there are no nncm·ed defaults of
    Landlord and (iii) not mo1e than one month's rent has been paid In advance.
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                (c)      In the event Tenant does not comply with Landlord's request for the execution of an estoppel
      certificate, Landlord shall be deemed to be Tenant's attorney-in-fact to execute such certificate on Tenant's behalf.

               (d)       IfLandlo1d desires to finance, refinance, or otherwise encumber the Office Building Project, or
      any part theteof, Tenant he1eby agrees to delive1 to any lender or othe1 entity 01 individual designated by Landlord
      such financial statements of Tenant as may be reasonably 1equired by such lender or othe1 entity 01 individual.

      17.       LANDLORD'S TRANSFER OF OWNERSHIP

                          (a)       The term "Landlord" as used herein shall mean only the owner 01 owners of the fee title
      or a lessee's interest in n ground lease of the Office Building Project.

                        (b)       Notwithstandrng any other provisions of this Lease, Laud.lord may assign, m whole or in
     part, Landlord's interest in this Lease and may sell, exchange or master lease all or part of the real estate of which
     the Piemises are a part. In the event of any sale or exchange of the Premises by Landlord and assignment by
     Landlord of this Lease, Landlord shall be and is hereby entirely freed and relieved of all liab1hty under any and all
     covenants and obligations contamed in or derived from thJS Lease or arising out of any act, occurrence or omission
     1elating to the Premises which occurs after the consummation of such sale, exchange, or assignment.

     18.       SEVERABILITY

             The mvalidity of any provis10n of this Lease as determined by a court of competent jurisdichon shall in no
     way affect the validity of this Lease or any other provisions hereof.

     19.       INTEREST ON PAST-DUE OBLIGATIONS

               Except as expressly herem provided, any amount due Landlo1 d or Tenant not paid when due shall bear
     mterest at the maximum rate pennitted by law from the date such payment was due until the date such payment is
     actually received. Payment of such interest shall not excuse or cure any default by Tenant under this Lease.

     20.       TIME OF ESSENCE

               Time 1s of the essence with respect to the performance by Tenant of its obligat10ns wider tlus Lease

     21.       ADDITIONAL RENT

              All monetary obligations of Tenant to Landlord under the terms of this Lease, includmg any other sums
     charges payable by Tenant herew1der, shall be deemed to be additional ient and Landl01d may recover same in the
     same manner as recovery ofrent.

     22.      INCORPORATION OF PRIOR AGREEMENTS; AMENDMENTS

              Tlus Lease contains all of the agreements of the parties with respect to any matter mentioned herein. NO
    p1io1 or contemporaneous agreement or unde1standmg pertammg to any such rnatte1 shall be effective This Lease
    may be modified in wntmg only signed by the parties 111 mterest at the time of the modification Except as
    otbenvise stated in this Lease, Tenant ]1ereby acknowledges that neither the real estate broker listed in paragraph 15
    hereof n01 any cooperatmg broker on th.is transaction n01 the Landlord 01 any employee or agents of any said
    persons had made any oral or written warranties 01 representations to Tenant relative to the condit10n or use by
    Tenant of the Premises 01 the Office Building Project and Tenant aclmowledges that Tenant assumed all
    responsibility rega1 ding the Occupational Safety Health Act, the legal use and adaptability of the Premises and
    con1pliance thereof with all applicable laws and regulations in effect during t11e term of this Lease



    23.       NOTICES
                                                               17
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               Any nonce, consent, approval, request, bill demand or statement hereunder by either party to the other
     party shall be in writing and shall be deemed to have been duly given when mailed if sent by registered or certified
     mail, return receipt 1equested, addtessed to such other party, which address fo1 Landlord sha11be124 W Main
     Street, Suite 240, El Cajon, CA 92020, and for Tenant shall be the P1 emises (01 Tenant's add1 ess as hereinbefore set
     forth if mailed prim to Tenant's occupancy of the P1 enuses), of it the address of such other party for such notices,
     consents, approvals, 1 equests, bills, demands or statemet1ts shall have been duly changed as hereinafter p10vided, if
     mailed, as aforesaid, to such other party at such changed address.

               Either party may at any time change the address for such notices, consents, approvals, requests, bills,
     demands or statements by delivermg or mailing, as aforesaid, to the othet party a notice statmg the change and
     setting forth the changed add!ess. If the term "Tenant" as used ll1 this Lease refers to more than one person, any
     nottce, consent, approval, request, bill, demand or statement given as aforesaid to any one of such persons shall be
     deemed to have been duly given to Tenant. Notwithstandmg the foregomg, bills and statements by Landlord to
     Tenant fo1 rent, additional rent, Common Area charges 01 othe1 sums or charges payable to Tenant to Landlord may
     be delivered personally r sent by 1egular matl.

     24.      WAIVERS

              No waiver by Landlord of any provision hereof shall be deemed a waiver of any other provision hereof or
    of any subsequent breach by Tenant of the same or any othe1 p10vision. Landlord's consent to, or approval of, any
    act shall not be deemed to render unnecessary the obtainmg of Landlord's consent to 01 approval of any subsequent
    act by Tenant. The acceptance of ient hereunder by Landlord shall not be a waiver of any breach by Tenant of any
    provision hereof iegardless- of Landlord's knowledge of such breach at the tlme of acceptance of such rent

    25.      RECORDING

             Tenant shall not record this Lease or any memorandum thereof and any attempt thereat shall be void and of
    no force or effect.

    26.      HOLDING OVER

              If Tenant, without Landlord's consent, remains in possession of the Premises or any part thereof after the
    expiration of the tennheieof, such occupancy shall be deemed to be a tenancy from month to month upon all the
    provisions of th.ts Lease pertaiiung to the obligations of Tenant, except that the rent payable shall be one hundred
    and fifty (150%) percent of the rent and additional rent payable nnmediately precedmg the termmatiou date of this
    Lease and all options, if any, granted under the terms of this Lease shall be deemed temunated and be of no furthe1
    effect during said month to month Tenant; provided, however, nothing contamed herem shall be deemed to prevent
    01 preclude Landlord from 1ecovery from Tenant of such damages that Landlord may suffer, directly or indirectly, as
    a result of such holding over.

    27.      CUMULATIVE REMEDIES

            No remedy 01 elect1011 by La11dl01d hereunder shall be deemed exclusive but shall, wherever possible, be
    cumulative with all other remedies at law or m equity

    28.     COVENANTS AND CONDITIONS

            Each p1ovis10n of this Lease to be performed by Tenant shall be deemed both a covenant and a condition.

   29.      BINDING EFFECT; CHOICE OF LAW

             Subject to any provisions hereofrestJ.·ictmg assignment ot subletting by Tenant and subject to the
   provisi ans of paragraph 17, this Lease shall bind the parties, theh personal representatives, and successors and
   permitted assigus Tlus Lease shall be governed by the laws of the State of California and any litigation concerning
   this Lease between the parties hereto shall be initiated m the Sup en or Court fo1 the County of San Diego.
                                                             18
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      30.        SUBORDJNATION

                30.1      This Lease is subject and subordinate in all respects to all giound leases and/01 underlying leases
      now or hereafter covermg the Building 01 the Office Building P1oject of which the Premises forms a part and to all
      mortgages which may now 01 hereafter be placed on 01 affect such leases and/01 Building and/or Office Building
      Project and/or Landlo1 d's mterest therem, and to each advance made and/or he1 eafter to be made u11de1 any such
      mortgage, and to all renewals, modifications, consolidations, 1 eplacements, assignments and extensions thereof and
     all substitutlons of and for such giound leases and/01 llllderlying leases and/or mortgages. TJus paragraph 30.1 shall
     be self-operative and no furfue1 instrument of subordinat10n shall be requtred. In conftrmation of such
     subordination, Tenant shall execute and deliver promptly any certificate that Landlord and/OJ auy mortgagee and/or
     the lessor under any gi·ound or underlymg lease and/01 fuel!' respective successors in interest may request Tenant
     hereby constitutes and appoints landlo1d and/or any mortgagee and/01 the lessor ui1de1 any ground or underlying
     lease and/or their respective successors in interest Tenant's attorney-in-fact to execute and deliver any such
     certificate of certificates for and on half of Tenant.

                30.2     Without limitation of any of the provisions of this Lease, if, at any time during the tenn of this
      Lease, Landlo1d shall be the holder of a leasehold estate covering the Building or Office Building Project of which
      tl1e Premises fonns a part and if such leasehold estate shall terminate 01 be termmated for any reason, Tenant agrees,
      at the election and upon demand of any owne1 of the Building or Office Building Project of wluch the Preilllses
      form a part, or of any mortgagee in possession thereof, or of any holde1 of a leasehold hereafter affecting the
      Building or Office Building Project of which the Premises fonn a part, to attorn, fiorn time to time, to any such
      owner, mortgagee 01 holder, upon the terms and conditions set forth herein for the remainder of the term demised in
      this Lease. The foregoing provisions shall endure to the benefit of any such owner, mortgagee or holder, shall apply
     to the tenancy of Tenant notwithstanding that this Lease may terminate upon the termmation of any such leasehold
     estate, and shall be self-operative upon any such demand, without requrring any further instrument to give effect to
     said provisions. Tenant, however, upon demand of any such owner, mortgagee or holder, agrees to execute, from
     time to time, an instrument in confinnation of the foregoing provisions, satisfactory to such owner, mortgagee 01
     holder, in which same as those set forth herem and shall apply for the remainder of the term originally demised in
     tlus Lease. Nothing contained in this paragiaph 30.2 shall be construed to impair any nght, privilege or opt10n of
     any such owner, mortgagee or holder.

            30.3      The tenn "mortgage(s)" as used in this Lease shall include any mortgage 01 any deed oftJust The
    term "mortgagee(s)" as used ill this Lease shall mclude any mortgagee 01 any trustee under a deed of trust The term
    "mortgagor(s)" as used in this Lease shall include any mortgagor or any grantor under a deed of trust.

    31.       ATTORNEY'S FEES

              31.1    If either Party brings action to enforce the tenns hereof or declare rights hereunde1, and shall
    prevail in any such action, trial, 01 appeal thereof, the prevailing Party shall be entitled to attorney's fees to be paid
    by other Party whet1.Je1 or not such action is pursued to decision or judgment.

              31.2     The attorney's fee award shall not be computed m accordance with any court fee schedule, but
    shall be such as to fully relffibUise all attorneys' fees mcurred.

             31 3     Landlord shall be entitled to attorney's fees and all othe1 costs and expenses mcun ed m the
    preparation and service of notice of default and consultations in connection therewith, whether or not a legal action
    is subsequently commenced m col!llection with such default.

    32.       LANDLORD'S ACCESS

             32.1      Landlm d and Landlord's agents shall have tl1e right to enter the Premises at reasonable times upon
    twenty-fom (24) hours pnor notice (which notice may be oral) for t11e purpose of inspecting the same, perfonnmg
    any services 1equi.red ofLandlmd, showing the same prospective purchasers, lenders, 01 tenants, taking such safety
    measllies, erecting such scaffoldmg or other necessary stmchU'es, making such alterations, repall's, improvements or
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      additions to the Premises or to the Office Building Pro1ect as Landlord may deem necessary, appropriate or des!l'able
      and the erecting, using and maintaining of utilities, service, pipes and conduits through the Pre1mses and/or other
      premises. Landlord may, at any time, place on or about the Prenuses or the Office Building Pi oj ect any ordinary
      "For Sale" signs and Landlord may during the last twelve (12) months of the teun hereof place on or about the
      Premises ordinary 11 F01 Lease" signs. Landlord shall have the right to enter the Premises at any time during an
      emergency.

               32.2     Landlord shall have thenght to 1etam keys to the Piemises and to unlock all doors in 01 upon the
      Pre1mses other than to files, vaults or safes, and, iu the case of emergency, to enter the P1 emises by any app1 opiiate
      means and Landlord shall not be liable to Tenant fo1 any loss or damage as a result ofLa11dlo1d's retent10n of such
      keys or any entry by Landlord into the Prenuses.

                  32 3     No entry by Landlo1d pursuant to the provisions he1eof shall constitute an evict10n or constructive
      eviction.

      33.         AUCTION

               Tenant shall not conduct, nor permit to be conducted e1the1 voluntatily or involuntarily, any auction upon
     the Premises or the Common Al eas. The holdmg of any auction on the Premises or Common Areas in v10lation of
     tins paragraph shall constitute a material default of this Lease

     34.          SIGNS

                  Tenant shall not place any sign upon the Premises or the Office Buildmg Project or any roofthe1eof,
     without Landlo1d's prior written consent. Notwithstanding the foregoing, Tenant shall have the nght, subject to
     Landlo1ds wntten approval of the plans, at Tenant's sole cost and expense, to mstall a sign on the extenor of the top
     east facing side of the Building 111 accordance with Exhibit "D" attached het eto, provided Tenant complies with all
     laws, 01 ders, rules and regulations of all govemrnental authonties having Jurisd1ction and othe1 wise complies with
     all of the covenants, agieements, terms, provisions and conditions of this Lease. Tenant shall send a copy to
     Landlord, for landlord's files, any and all permits necessary fot the above.

     35.        MERGER

             The voluntary 01 othei sun-endei of this Lease by Tenant, or a mutual cancellation thereof, 01 a tenniuation
     by Landlord, shall not work a merger, and shall, at the optton of the Landlord, terminate all or any existing
     subtenancies or may, at the option of Landlord, operate as an assignment to Landlord of any such subtenancies.

    36.        LANDLORD'S CONSENT

             If, pursuant to any provision of this Lease, La11dlo1d shall withhold its consent 01 approval to anything or
    matter requested by Tenant, Tenant shall not be entitled to bring or institute any action or other proceedmg f01
    damages or for any other remedy of any kind or nature whatsoever and Tenant agrees to waive, and does hereby
    waive, any rights that it may have to bring any such action or other proceedmg.

    37.        QUIET POSSESSION

             Upon Tenant paying the rent for the PreI11.lses and observing and performing all of the covenants,
    agreements, terms p1ov1s1ons and cond1t10ns of this Lease on Tenant's part to be observed and performed hereunde1,
    Tenant shall have quiet possession of the Premises fo1 the entire term hereof subject to the provisions of this Lease
    and to any and all present or future mortgages, deeds of trust and ground or unde1lying leases.

    38.        SECURITY MEASURES-LANDLORD'S RESERVATIONS

             38.l      Landlord may, but is not obligated under the tenns of this Lease, to provide security measures for
    the benefit of the Premises or the Building. Tenant may p1ovide secunty measmes app1oved by Landlord at no cost
    to Landlord;
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                 38 2    Without limiting any other right of Landlord, Landlord shall have the nght to do the followmg:

                       (a)        To change the name or title of the Buildmg in wluch the Pre!Illses are located and the
      Office Building Project.

                        (b)       At Land lot d's expense, to provide and rnstall Bmlding Standard graphics at the entry of
      the Premises and sucl1 porlion of the Common Areas as Landlord shall deem app1 opnate.

                        (c)      To permit any tenant the exclusive right to conduct any business as long as such
      exclusive right does not conflict with any rights exp1essly given herein.

                        (d)       To place such signs, nonce or displays as Landlord deems necessary, appropriate 01
      desiiable upon the roof, exteri01 of the Building or the Office Building Project or on pole signs m the Common
      Aieas.

                38.3     Tenant shall not suffer or permit anyone to go upon the roof of the Buildrng.

     39.        EASEMENTS

               39.l     Laudlo1d reserves to itself the nght, from time to time, to grant such easements, rights and
     dedications that Landlord deems necessary, app1opriate or desirable, and to cause the rec01dat1on of Parcel Maps
     and restrictions. Tenant shall execute any documents 1 equired in connection with the foregoing upon request of
     Landlord and failure to do so shall constitute a material default of this Lease by Tenant without the need f01 further
     notice to Tenant. Tenant hereby constitutes Landlord as Tenant's attorney-in-fact to execute any such documents if
     Tenant fails to do so.

              39.2    The obs!Tuction of Tenant's view, air, or light by a sn-ucture erected in the vicuuty of the Building,
     whethe1 the Landlord or third parties, shall in 110 way affect this Lease or impose any liab1hty upon Landlord.

     40.       LIMITATION OF LANDLORD'S LIABILITY

             Tenant shall look solely to the estate and mterest of Landlord, its successors and assigns in the Building for
    the collection of a judgment or other judrcral process requmng the payment of damages or money by Landlord 01 m
    the event of any default by Landlord he1eunde1 and no other prope1ty or assets of Landlord shall be subject to levy,
    execution or other enforcement procedme fo1 the sat1sfachon of Tenant's remedies under and with respect to this
    Lease, the relationship of Landlord and Tenant hereunder, Tenant's use and occupancy of the Premises or otherwise.

    41.        AUTHORITY

             If Tenant is a corporation, trust or general 01 limited partnership, Tenant, and each individual executing this
    Lease 011 behalf of such entity, represent and warrant that such individual is duly authorized to execute and delive1
    this Lease on behalf of said entity. If Tenant is a corporation, trust or partnership, Tenant shall, withrn thirty (30)
    days aftei execution of this Lease, deliver to Landlord evidence of such authority.

    42.        CONFLICT

            Any conflict between the printed p1ov1s10ns, Exlubits or Addenda ofth1s Lease and the typewritten or
    handwritten provisions, if any, shall be conh oiled by the typewritten or handwritten provisions.

    43.        NO OFFER

             This Lease shall become binding upon Landlord and Tenant only when fully executed by both parties and a
    fully executed counterpart hereof is delivered by Landlord and Tenant.

    44.       LENDER MODIFICATION
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              Tenant agrees to make such reasonable mod1ficat10ns to tlus Lease as may be required by an institutional
     lendei in cmmection with the obtaining of financmg or refinancing of the Office Building P1oject, but not those
     affecting term or rent payable.

     45.       OPTION TO RENEW. [Intentionally omitted]

     46.       TENANT IMPROVEMENT ALLOWANCE. [Intentionally omitted]

     47.       MULTIPLE PARTIES

               If more than one person or entity is named as either Landlord oi Tenant herein, except as otherwise
     expressly provided herein, the obligat10ns of the Landlord 01 Tenant herem shall be jomt and several responsibility
     of all persons or entities named herein as such Landlord 01 Tenant 1espectively.

     48.    LIMITATION OF LIABILITY.

            48.1 Agreement by Tenant.

                   (a) In consideration of the execution of this Lease by Landlord, Tenant agrees in the event of any
    actual 01 alleged failure, breach, or default hereunder by Landlord: (1) The sole and exclusive remedy shall be
    against the partnership and its partnership assets; (2) no partner of Landlord should be sued or named as a party m
    any suit or action (except as may be necessary to secure jurisdict1011 of the partnerslup); and (3) no judgment will be
    taken agamst any partner of Landlord These covenants and agreements are enforceable both by Landlo1d and also
    by any partner of Landlord.

                   (b) Notwithstanding anything to the contrary m this Lease, any judgment obtamed by Tenant agamst
    Landlord shall be satisfied only out of Landlord's interest in the Center of which the Pre1mses form a part and the
    rents receivable by Landlord therefrom. Neither Landlord nor any oflts general or lnnited partners, officers,
    directors, shareholders, beneficiaries or employees shall have any personal liability for any matter in connection
    with this Lease 01 its obligations as Landlord of the Premises, except as provided above. Tenant shall not institute,
    seek or enforce any personal or deficiency judgment against Landlord or any of its general or limited partners,
    officers, drrectors, shareholders, beueficianes, 01 employees, and none of theit property, except the Center, shall be
    available to satisfy any judgment hereunder.

                 (c) Tenant agrees that each of the foregoing covenants and agreements shall be applicable to any
    covenant or agreement either expressly contained in this Lease or imposed by statute or at common law.

    49.    SPECIAL PROVISIONS:
                                                                                r
              49.l     Legal Representation. Landlo1d and Tenant each acknowledge, warrant and represent to the other
    that it has had an adequate opportunity to seek the advice of legal counsel of its choice prior to entering into this
    Lease, that such opportunity was undertaken or waived by the free and voluntary act of such party, and that each
    party waives and covenants to forego and/01 forebear from the assertion of any claim or defense that tins Lease is
    not a valid and binding obligat10n upon it by reason of the failure to secure 01 receive adequate legal representat10n.

            49.2     Gene1al. By msertio11 of numbers m the following blanks, Landlord and Tenant acknowledge that
   Paiagraph(s) NIA is/are attached hereto and made a part he1eof, If numbers have not been set forth m the blank in
   this Paragraph 49 3, rt is conclusive that no additional provisions are a part of this Lease.

             49 3     Non-Discrimination. The Tenant herein covenants by and for itself, its officers, d11ecto1s,
   successors and assigns and all persons claimmg under oi through it, and this Lease is made a11d accepted upon and
   subject to the following conditions:

            There shall be no discrimination against or segregation of, any person or group of peisons on account of
   race, color, creed, religion, sex, marital status, ancestry oi national ongin in the Jeasmg, subleasing, transfe1Ting, use,
                                                               22
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      occupancy, tenure, or enjoyment of the land herem leased nor shall the Lessee itself, 01 any person claimmg unde1
      or through it, establish oi pennit any such practice or practices of discmninahon or segregation with reference to the
      selection, Jocation, use 01 company of tenants, lessees, sublessees, subtenants or vendees in the premises herein
      leased.

                49.4    Condition Precedent. Tenant acknowledges that the a port10n of the Premises (i.e. the third floor)
      is subject to a Right ofFnst Offe1 on Additional Space held by PUBLIC CONSULTING GROUP, INC., a
      Massachusetts corporation. Landlord has provided notice to PUBLIC CONSULTING GROUP, INC. pursuant to
      the terms of theii lease regarding the lease offer 1epresented by the terms oftltis Lease. PUBLIC CONSULTING
      GROUP, INC. did not exercise its right to lease the additional space. A copy of said action by PUBLIC
      CONSULTING GROuP, INC. shall be provided to Tenant. Should this Lease not be executed withm the 1equired
     time frame set forth in the Right of Fu st Offet on Addittonal Space held by PUBLIC CONSULTING GROuP, INC.
     or the terms set forth in the notice provided by Landlord to PUBLIC CONSULTING GROUP, INC. are materially
     changed then Tenant further acJmowledges that Landlord will be required to provide to PUBLIC CONSULTING
     GROUP, INC. anew notice pursuant to the Right of First Offer on Additional Space. Should Landlord be required
     to provide such new notice and should PUBLIC CONSULTING GROUP, INC exercise therr right and sign a lease
     for such additional space (i.e. the third floor) than this Lease shall at the option of Tenant (i) terminate upon written
     notice from Tenant to Landlord or (ii) remain in affect with the Pre1ruses being reduced to the I ' 1 floo1 and the Rent
     shall be adjusted accordingly. In the event Tenant elects to continue to lease the reduced square footage, Landlord
     and Tenant shall execllte a lease amendment setting forth the reduced square footage and the new rent.




                                        [Remainder of page left intentionally blank]




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     50.       ATTACHMENTS

               Attached hereto are the following documents which constitute a part of this Lease.

               SCHEDULE 11 A11           Lease Commencement

               EXHIBIT 11A' 1            Denused Premises

               EXHIBIT"B"                Rules and Regulations

               BXHIBIT"C"                ~arldng Rules

              EXHIBIT 11D11              Sign Criteria

              EXHIBIT"E"                 Estoppel Certificate

              EXHIBIT"F"                 List of Improvements


   LANDLORD AND TENANT HAVE CAREFULLY READ AND REVIEWED THIS LEASE AND EACH TERM
   AND PROVISION CONTAINED HEREIN AND, BY EXECUTION OF nns LEASE, SHOW THEIR
   INFORMED AND VOLUNTARY CONSENT THERETO. THE PARTIES HEREBY AGREE THAT, AT THE
   TIME THIS LEASE IS EXECUTED, THE TERMS OF THIS LEASE ARE COMMERCIALLY REASONABLE
   AND EFFECTUATE THE INTENT AND PURPOSE OF LANDLORD AND TENANT WITI:I RESPECT TO
   THE PREMISES.

   THIS LEASE HAS BEEN FILLED IN AND PREPARED FOR SUBMISSION TO YOUR ATTORNEY FOR
   HIS/HER APPROVAL. NO REPRESENTATION OR RECOMMENDATION IS MADE AS TO THE LEGAL
   SUFFICIENCY, LEGAL EFFECT, ORTAX CONSEQUENCES OF THIS LEASE OR THE TRANSACTION
   RELATING THERETO THE PARTIES SHALL RELY SOLELY UPON THE ADVICE OF THEIR OWN
   LEGAL COUNSEL AS TO THE LEGAL AND TAX CONSEQUENCES OF THIS LEASE.



   JLandlord                                              Tenant

   PRO:rv.tENADE SQUARE, LLC.,                            BORREGO CO.M:MUNITY HEALTH FOUNDATION
   a California limited liability company                 a California corporation



   B~~~
   Da1yl R. Priest, Manager
                                                          By: _ _ _ _ _ _ _ __
                                                          Name: _ _ _ _ _ _ _ __
                                                          Its:----------




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        50.       ATTACHMENTS

                 Attached hereto are the following documents which constitute a part of this Lease.

                 SCHEDULE "A"              Lease Commencement

                 EXHIBIT"A"                Demised Premises

                 EXHIBIT"B"                Rules and Regulations

                 EXHIBIT"C"                Pm king Rules

                 EXHIBIT"D"                Sign Cdteria

                 EXHJBIT"E"                Estoppel Certificate

                 EXHJBIT"F"                List oflmprovements


     LANDLORD AND TENANT HA VE CAREFULLy READ AND REVIEWED nns LEASE AND EACH TERM
     AND PROVISION CONTAINED HEREIN AND, BY EXECUTION OF THlS LEASE, SHOW THEIR
     INFORMED AND VOLUNTARY CONSENT THERETO. THE PARTIES HEREBY AGREE THAT, AT THE
     TIME TIIIS LEASE IS EXECUTED, THE TERMS OF nns LEASE ARE COMMERCIALLY REASONABLE
     AND EFFECTUATE THE INTENT AND PURPOSE OF LANDLORD AND TENANT WITH RESPECT TO
     THE PREMISES.

    THlS LEASE HAS BEEN FILLED IN AND PREPARED FOR SUBMlSSION TO YOUR ATTORNEY FOR
    HIS/HER APPROVAL. NO REPRESENTATION OR RECO:MivIBNDATION IS MADE AS TO THE LEGAL
    SUFFICIENCY, LEGAL EFFECT, OR TAX CONSEQUENCES OF THIS LEASE OR THE TRANSACTION
    RELATING THERETO THE PARTIES SHALL RELY SOLELY UPON THE ADVICE OF THEJR OWN
    LEGAL COUNSEL AS TO THE LEGAL AND TAX CONSEQUENCES OF THIS LEASE.



    Landlord                                                Tenant
    PROMENADE SQUARE, LLC,                                  BORREGO COMMUNITY HEALTH FOUNDATION
    a California limited liability company                  a California corporation



    By· _ _ _ _ _ _ _ __                                    By:   ---,L:...µ.,;/J_/M-_ _;_,.___
       Daty! R. Priest, Manager                             Name:     -'~~1U-t.e_...c__/JfJ4.""--
                                                                                             . =tm,___
                                                            lts: _ ___,,,/li'"""c;-0"'-"'------




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                                                       SCHEDULE "A"


      ATTACHED HERETO AND MADE AP ART OF THIS LEASE DATED SEPTMBER _, 2012, ENTERED
      INTO BY AND BETWEEN PROMENADE SQUARE, LLC., a California limited liability company, LANDLORD,
      AND BORREGO COMMUNITY HEALTH FOUNDATION, a California corporation, TENANT, SCHEDULE
      "A" IS SET FORTH IN AGREEMENT BY THE PARTIES AS FOLLOWS:

     Landlord and Tenant declare the possession of the Premises, Suite 300 of the Building Project was accepted by
     Tenant on                  , 2013. That the Lease commencement date is hereby established to be                       ,
     2013; that the Lease term expiries                   , 2033; the Lease is as of the date below m full force and effect;
     and that Landlord and Tenant have fulfilled all their respective obligations as to the commencement of this Lease

     Landlord and Tenant hereby aclmowledge that the total rentable square feet of the delll!sed premises ts 16,383; the
     monthly rent 1s $41,749.52 and the Security Depostt in Landlord's possess10n is $46,673 42


                                                           LANDLORD

                                                           PROMENADE SQUARE, LLC.,
                                                           a California limited liability company


                                                           By. - - - - - - - - - - -
                                                              Daryl R. Pnest, Manager



                                                           Dated:-----~ 2013




                                                           TENANT


                                                           BORREGO COMMUNITY HEALTH FOUNDATION
                                                           a California corporation


                                                           By: _ _ _ _ _ __
                                                           Name: _ _ _ _ _ __
                                                           Its: _ _ _ _ _ _ __



                                                          Dated· _ _ _ _ _ _, 2013




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                                                         EXIlIBIT "A"
                                                      DEMISED PREMISES




     See Floor Plan of l't and 3rd floors attached.




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                                                            EXIIlBIT"B"

                                                  RULES AND REGULATIONS
                                                FOR STANDARD OFFICE LEASE

                                                         GENERAL RULES

            1.        Tenant shall not suffer or pennit the obstruction of any Common Al:eas, including driveways,
     walkways and stairways.

               2.        Landlord reserves the right to refuse access to any person Landlord, m good faith, judges to be a
     threat to safety, reputation, or property of the Office Buildmg Project

              3.      Tenant shall not make or penmt any noise odois that armoy or interfere with other lessees or
     person having business within the Office Building Project.

              4.      Tenant shall not keep animals OJ birds witlun the Office Building Project, and shall not bring
     bicycles, motorcycles or othe1 vehicles into areas not designated as authorized for same.

                5.       Tenant shall not make, suffet 01 permit htte1 except in appropriate receptacles for that purpose.

                6        Tenant shall not alter any lock or install new or add1ti011al locks or bolts.

               7.      Tenant shall be responsible for its mappropnate use of any toilet 10oms, plumbmg or othe1
    utilities. No foreign substances of any kind are to be mserted therein.

               8.        Tenant shall not deface the walls, partitions or other surfaces of the Premises or Office Building
    Project.

            9.        Tenant shall not suffer or perlll!t anything in or around the Prelnises of Building that causes
    excessive vibrallon flo01 loading in any part of the Office Bmldmg Project.

             10.      Furniture, freight and equipment shall be moved mto OJ out oftbe Bmldmg only with the
    Landl01 d's knowledge and co11seut, and subject to such reasonable lunitahons, techmques and timing, as may be
    designated by Landlord. Tenant shall be responsible for any damage to the Office Bmlding ProJ ect ansing from any
    such activity.

            11.     Tenant shall not employ any service 01 contractor for services or work to be performed moron the
   Building except as approved by Landlord.

            12.     Landlo1d reserves the right to close and lock the Building on Saturdays, Sundays and legal
   holidays and on other days between the hours of 8 p.m. and 6 a.m. of the following day If Tenant uses the Premises
   dunng such periods, Tenant shall be responsible fo1 security and for locking any do01 sit may have opened fo1 entry.

           13      Tenant shall return all keys at the tennination of its tenancy and shall be responsible for the cost of
   1eplacmg any keys that are lost.

               14.      No window coverings, shades or awnmgs shall be mstalled or use by Tenant.

               15       No lessee, employee oi mvitee shall go upon the ioof of the Building.

             16.        Tenant shall not suffe1 or permit smoking or carrying of lighted c1ga1 s or cigarettes in any part of
   the building.

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                17.    Tenant shall not use any method of heating or ah cond1t10mng othe1 than as provided by Landlord

             18.        Tenant shall not install, mamtain or operate any vend.111g machines upon the Premises without
     Landlord's Wl itten consent.

                19.    The P1 ernises shall not be used for lodging or manufacturing, cooking or food preparation.

             20       Tenant shall comply with all safety, foe p1otection and evacuation regulations established by
     Landlord or any apphcable governmental agency.

              21.        Landlord ieserves the right to waive any one of these rules or regulations, and/or as to any
     particular Jessee, and any such waive1 shall not constitute a waive1 of any other rule or 1 egulat1on or any subsequent
     application the1eofto such lessee.

                22.    Tenant assumes all risks from theft 01 vandalism and agrees to keep its Premises locked as may be
     reqmred.

               23.    Landlord 1eserves the nght to make such other reasonable rules and iegulations as it may from
     time to time deem necessary for the appropriate operation and safety of the Office Building Project and its
     occupants Tenant agrees to abide by these and such rules or iegulations




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                                                          EXJIIBIT 11 C 11

                                                       PARKlNGRULES

               1.      Parking areas shall be used only for parkmg by velucles no longer than full size, passenger
      automobiles herein called "Permitted Size Vehicles" Velucles other than Permitted Size Velncles are herein
      refened to as "Oversized Vehicles".

               2.       Tenant shall not permit 01 allow any velucles that belong to or are controlled by Tenant or
      Tenant's employees, suppliers, shippers, customers, or invitee to be loaded, unloaded, or parked ln areas othe1 than
      those designated by Landlord for such activities.

                3.        Landlord reserves the right to refuse the sale of monthly identification devices to any person or
      entity that willfully refuses to comply with the applicable rnles, regulations, laws and/or agreements.

              4.      Users of the parking area will obey all posted signs and park only in the area designated for
     vehicle parking.

             5        Unless othe1 wise mstrncted, every person usmg the parking area is required to park and lock his
     own vehicle. Landlord will not be responsible f01 any damage to vehicles, inJury to persons or loss 01 property, all
     ofwluch risks are assumed by the party usmg the parkmg area.

              6.       The maintenance, washing, waxing 01 cleanmg of vehicles m the parkmg structure or Common
     Areas is prohibited.

              7.       Tenant shall be responsible f01 seeing that all of its employees, agents and mv1tee comply with the
     applicable parking rules.

             8.       Landlord reserves the right to modify these rules and/01 adopt such other reasonable and non-
     discrimmatory rules and regulations as it may deem necessary for the proper operation of the parking area.

              9.        Such parking use as is herein p1ov1ded is intended merely as a license only and no bailment is
     intended or shall be created hereby.




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                                                        EXHIBIT 11 D 11
                                                      SIGN CRITERIA



               Tenant shall submit to Landlord plans for an exterior sign in confonnity with the standards of the City of El
     Cajon. Said plans shall show the size, color, proposed location, materials and manner of affixmg to buildmg
     Landlord shall review and approve, reject or modify the plans in its sole d1sc1etton in accordance with the design,
     aesthetics of the Building taking into to consideiation the new constmction of the Building

              All interim signs must be pre-approved in wnting by Landlmd.




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                                                           EXHIJ3IT "E"

                                                   ESTOPPEL CERTIBICATE

      RE·      Date of Lease:
               Dates of Amendments to Lease·
               Landlo1d:
               Tenant:
               Premises:

     Gentlemen·

     The undersigned, as Tenant under the referenced Lease mcluding all amendments (the "Lease") does hereby certify
     to                  , as follows:

              1.          The Lease is now m full force and effect and has not been modified 01 amended, except as noted
     above.

              2.        The Premises have been completed (includmg all repairs, replacements and maintenance
     obligations) in accordance with the terms of the Lease; all obltgatlons and conditions of Landlord undet the Lease,
     mcluding those pertaining to construction and tenant improvements, have been satisfied; Tenant has accepted
     possession of said premises; aud Tenant now occupies the same.

             3.        No rent, additional rent or other charges of any nature have been paid more than thirty (30) days m
    advance; all payments to be made shall be made strictly m accordance with the Lease; there is no charge, hen or
    claims of offset against future rents or other sums to become due under the Lease.

              4.          The cuuent monthly base rent under the Lease 1s $_ _ __

              5          The current basic additional rent and other charges payable under tbe Lease is
    $              per amrnm.

              6          Tenant has paid $____ to Landlord as a security deposit.

             7.       All rent, additional rent and other charges payable unde1 the Lease to the date hereof a1e current,
    and the undersigned 1s not m default of the performance of any of its obligations, monetary or otherwise, under the
    Lease and the unde1signed has received no notice of any such default. There are no agreements 01 understandmgs,
    wntteu or verbal, allowing the undersigned any abatement or reduct10n ofrent, 01 allowing the payment ofrent in
    other than cash

             8.         There exists no defenses 01 offsets to enforcement of the Lease by the Landlord; and there are, as
    of the date he1 eof, i ega1 dless of the g1vmg of notice or passage of time or both, no defaults or breaches on the part of
    the Landlord under the Lease which are known to the unde1signed.

            9.        Tenant has not conducted nor in the future shall conduct any activity upon the Prerruses or upon
   the property ofwluch the p1enuses neither are a part (the Property") nor used the Preffilses 01 the Property m
   violation of any federal, state or local environmental 01 hazardous waste law, ordinance, rule 01 regulatwn.

   Tlus Estoppel Ce1 tificate shall be binding upon Tenant and its successors and assigns, and shall inure to the benefit
   of Landlord and its successors and assigns.


   Dated: _ _ _ _ _ _ , 20

   By:

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                                                   EXHIBIT 11 F 11

                                            LIST OF IMPROVEMENTS


             Landlord shall provide the work for a turnkey build out reflecting the space plan to be
     provided by Tenant. Tenant shall provide Landlord, within thirty (30) days of the execution of
     this Lease, a detailed space plan sufficient to bid, penmt and construct the required build out.
     Notwithstanding the preceding sentence any delivery of the space plan more than ten (10) days
     following execution of this Lease shall allow Landlord one day extension for each day, after 10
     days, to complete the build out. Landlord's work shall include but not be limited to the cost of
     materials, labor cost, contingency fees, architectural and engmeering design fees, cost of
     drawings and printing, permitting fees, construction management fees and other all other
     necessary work and related cost and or fees for the Premises to be delivered both code compliant
     and substantially complete subject to the provisions of Section 2.1.1 of the Lease.


     Work to include:

           •   Construction of all walls and comdors inside the premises
           o   Construction of lobby/recept10n area
          ·•   Construction of all exam rooms including one smk & cabmetry per room
           •   Construct10n of all provider offices
           •   Construction of all restrooms, break rooms, ldtchen, etc.
           •   Installation of all carpet and vinyl flooring, dropped ceilings, textured drywall, and
               finished paint throughout the premises
          •    Construction to include all necessary lighting, plumbing, electrical service, data winng,
               sprinkler systems, heating, ventilation, and air conditioning systems.




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                                                AMENDMENT NO. 1 TO LEASE


                    This AMENDMENT NO. 1 TO LEASE (this "Ame!ldmcnt No.J ") 1s nwde <1s of the __ day of
    March, 2013, by and between PROMENADE SQUARE, LLC., 11 Cnlifomin Ilmitctl linbllity compnuy
    ("Landlord"), and BORREGO COMMUNITY HEALTH FOUNDATION, 11 California co1•po111tlo11
    ("Tenant").



                    A.      Landlord and Tenant previously entered into t!wt certain Commercrnl Lease dated ns of
    September 21, 2012 ("Lease") with respect to the lease of 133 West Main Street Floors I and 3 El Cajon, CA
    ("Premises").

                      B.       All defined tenns used herem but not defined hereit1 shall have the meaning asct ibed lo
    such terms in the Originnl Lense.

                      C.            Lalldlord and Tcnnnl now desire to enter into this Amendment No. I to amend the Lease
    as hereinafter provided.

                                                              AGREEMENT

                    NOW, THEREFORE, for good and valuable cousideration, the 1ece1pt and sufficiency of which
    nre hereby acknowledged, the pu1t1es herelo ag1ee as follows, 11otw1lhstnnding nnytlung in the Original Lease to the
    eonlrnry:

             I.        Section 1.5.          Section 1.5 of the Lense 1s hereby deleted and the followmg new Section 1.5 is
    he1eby added 111 its plnce:

                     15       Tenn.         Co111111e11ci11g 011 Jm111m y J, 2013 (the "Co111111e11ceme11t Date'~ and /er111i11ati11g
             011 December 31, 2032

            2.             Section l 6.     Section 1.6 of the Lease is he1eby deleted and lhe followmg new Section 1.6 is
    hereby added   i11   its place:

                       16        Rent. Years 1-5, $560,897 04 per a111111111 payable in equal 111011/hly i11slaff111e11/s of
             $46, 741 42 011 the first day of each calendar 1110111'1 occ111·r111g d11r111g the term witlio111 demand, set-off.
             ded11ct1011 01 abate111e11t of any kind, except as may otlte1 wise be set /01 tit here111, Re11/ sltalf commence 011
             the Co111me11ce111e11t Dale (January I, 2013).

            3.        Section 1.7.          Sect ton 1. 7 of the Lcnsc is hereby deleted and the following new Section I. 7 is
    heieby ndded in its pince·

                          17       Rent Increase. The Ren/ shaff adjust on Jamw1y 1, 2018 and t/Je1 eafler as foffows.

                                   a.       Years 6-10         $590,440.44 per a111111111 pay(tble in equal 1110111/ily wstall111e111s
                                            of $49,203.37.
                                   b.       Years 11-15        $619,983 84 pel' a111111111 payable in equal 111011thly 111stalf111e11/s
                                            qf $51,665.32.
                                   c.       Yeais 16-20        $649,527 21 per a111111111 payable in eq11al 111011t/Jly 111stall111e111s
                                            of $54,l 27.27.
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              4.      Section 2 J. J.       Section 2.1.J of the Lease is he1eby deleted and the followiug new Section 2.1.l
     is heieby added m its place.

                       2.1.1   Acceptance o(Premlus. Te11a11/ accep/J Ille P1·e111ises "as rs". Fur/lier Terwlll agrees
              that possession of!Ire Premises was def/ve1 ed to Te11c111t 011 Ja1111mJ' 1, 2013.

              5,       Atlicle46.          A new Article 46 entitled TENANT IMPROVEMENT ALLOWANCE is added
    :is follows·

                       46.       TENANTIMPROVEMENTALLOWANCE

                                46. I     Tenant Impro1 1e111e11t Affoivnnce Landlord shall proprde a Tenant /111proveme11/
             Alfowa11ce ("TI A lloiva11ce ") in the amount of Eight H1111d1 ed Twenty-one T/1011sa11d and I 0/100 Dolfm•s
             ($821,309. J0) for the co11st1 uction of Te11ant 's i111prove111e11ts ill the Premises, which are lo be .fi\ed m the
             Premises and J•/rall rama/11 with tire Premises

                             46 2    Co11slr11ct/011 0(!111prol'Cmte11fs. Tile co11st111ctio11 of Tenant's improve111a11ts 111
             the Premises shall be done /11 accordance with Section 7.3 of /his Lease by licensed and insured
             co///l'aclors.

                                  46.3       Pa!'l11e11t of TI Al/0111n11ce The TI Allowance shall be paid by Landlord to
             Tenant based 011 a 11111/ually agreed upon cons/111c/1011 draw schedule to be s11b111/tted by Tenant to
             Landlord fo1 approval. Any a11101111t 110/ dmw11 1111de1 the dt m1 1 schedule shall be paid to Te11a11t w1tlll11
             thirty (30) days from the latet to occur of. (1) Tenant opens for business 111 the B11/ldl11g; (2) the period
             allowed.for theftling of111eclta11ic's liens has e.,pired or duly executed 1111co11ditional lie11 wmversfrom all
             co11trac/01s, s11bco11/ractors and matenal 111e11 who /rave pe1for111ed work 011 behalf of Tenant at the
             P1 emises are presented to Lm1dlo1 d; a//d (3) tire Tenant has provided to Landlord a Certl.ftcate of
             Occupcmcy, a copy of Te11a11t 's Recorded Notice of Co111plet1011 and a complete set of "as-built"
             co11str11ctio11 doc11111e11tsfor (11/ work pe1jor111ed by Tenant mrdlor Te11Cf11t 's contractors and .s11bco11/1 actors.

             6.        Section 49 5        A new Section 49.5    1s   added as follows:

                               49 5     Rent Abatement. Lmrd/01 d shall abate rent payable by Tenant as follows·
                                                                                0


             $4,991.90 fat Ja11t1mJ' 2013,· $4,991 90 for Febr11my 2013, $46, 741.42for A-lay 2013, $46, 741.42.for J1111e
             2013; $46,741.42for.July 2013, $46,741.42forA11g11M 2013 and $46.741.42 (or September 2013.

          7         Conflict. In the event of any confltct between the Lease and tlus Amendment No. I, this
    Amendment No. l shall prevail. Except to the extent herein modified, the Lease, as modified by the Lease
    Amendment, shall continue m full force and effect.

             8.     Teuns.     Except as specifically provided in tlus Amendment No. I all caµ1talizcd tc1111s shall
    have the same meaning ns defined m the Lease.

            9         Counterparts.    This Amendment No. 1 may be executed in any numbe1 of counterpntis, et1ch
    of which shall be deemed nn ongmnl, but all of which, taken together, shall conslltute one nnd the same inslnnnent



                                                  [Signatures on next page]




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               IN WITNESS WllEREOP, Lnncllord nnd Tcnnnl hnve enlcml mlo llus l\mendmenl No. I ns of the dale
    fitst nliove w1itte11.

    Lnndlorcl

    PROMENADE SQUARE, LLC.,                              BORREGO COMMUNITY HEALTH FOUNDATION
    a Caltfo1nia limilcu Iinliilily company              a Cnlifotnia co1pornlion

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                                               AMENDMENT NO. 2 TO LEASE


                       This AMENDMENT NO. 2 TO LEASE (this "Amendment No.2") is made as of the _ _ day of
       September, 2013, by and between I>ROMENADE SQUARE, LLC., n Cnlifornin limited linbilily compnny
       ("Landlord"), !md    BORREGO COMMUNITY HEALTH FOUNDATION, 11 Califol'nia col'pol'ntion
       ("Tenant").



                        A.       Land[oid and Tenant pieviously entered mto that certain Commrucial Lease dated as of
       September 21, 2012 as amended by Amendment No. 1 to Lease ("Lease") with 1espect to the lease of 133 West
       Main Street Floors 1 and 3 El Cajon, CA ("Premises"),

                        B.      Landlord and Tenant desire to amend the te1ms of the Lease to mcrease Uie tenant
       improvement allowance, increase rent effective Octobe1 1, 2013 and lo convert the lease to a NNN lease whereby
       Tenant shall pay its prorate share of all opernting costs includmg but not !united to common mea expenses,
       msm a11ce and taxes.

                         C.       All defined terms used herein but not defined heiein shall have U1e meamng asctibed to
       such terms iu the Lease.

                         C        Landlord and Tenant now desite to ente1 into this Amendment No. 2 to amend the Lease
       as hereinofte1 provided.

                                                            AGREEMENT

                       NOW THEREFORE, fo1 good and valuable consideration, the tece1pt and sufficiency of wluch
       are heteby acknowledged, the pat lies 11ereto agtee as follows, 11otw1thstaudmg a11ything in the Origmal Lease to the
       contrary.

               1.       Section 1 6         Section 1.6 of the Lease is he1 eby deleted and the following new Section 1.6 is
       hrueby addeclm its place:

                           16      Re11t. Ren/ from Commencement Date (January 1, 2013) thru Septembe1 30, 2013,
                $560,897.04 per annum payable 111 equal monthly installments of $46, 741.42. Rent ji·om October l, 2013
                ofyear 1-5, $624,000 per a11m1111 payable in equal monthly installments of $52,000 on tlle first day of each
                calendar month occ11rrmg dttring the term witfiottt demand, set-off, deduction or abatement of any kind,
                e.i:cept as may othe1wlse be set forth herein Monthly rent shall also be known as "Base Monthly Rent"
                Baselvfonthly Rent shall commence 011 the Co111111e11ceme11t Date (January 1, 2013).

               2.        Section 1 7.       Section 1.7 of the Lease is hei eby deleted and the fol!owing new Section 1.7 is
       hereby added in its place:

                         1. 7     )lent ltwrease. The Rent shall ad1ust 011.la1wa1)11, 2018 and thernafier as.follows·

                                  a        Years 6-10        $660,000.00 per a111111111 payable in equal monthly Installments
                                           of$55,000.00.
                                  b.       Years 11-15       $696,000 00 per annum payable 111 equal monthly Installments
                                           0($58,000.00.
                                  c.       Years 16-20       $732,000 00 per annum payable in equal monthly 111slallme11ts
                                           of $61,000.00.

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               3,       Section 1.10.       Sec(ion 1.10 of tlte Lease is he1eby deleted and the followmg new Section 1.10
      is heteby added in its place:

                        1.10     Addltlotwl Rent Tenant shall pay as 11Addttlo11al Rent" its pro rata share of the cost of
              ope1·ation and maintenance of the Bt1tldl11g Project, i.e., the cost of ut1/ltles (if not separately metered),
              taxes, msurance provided by La11d/01·d, roof and slmctural repairs, and Common Atea Expenses, and all
              othe1 charges, as descnbed and 111 the manner provided m Section 2. 7. The Base Monthly Rent, the
              Add11ional Rent, rental adjustme11/s and any and all othe1 amounts. however designated, reqmred to be
              paid or reimbursed by Tenant under this Lease are sometimes collectively referred to as and shall
              constitute "rent".

              4.        Section 2.3         Section 2 3 of the Lease is hereby deleted and the fol!owmg new Section 2 3 is
      he1eby added in its place·

                           2.3     Common Areas- Defl11iliou The term "Common Area" shall include all areas within the
               Office Building and Building Pro;ect outside the exterior boundaries of the buildings situated thereon,
               i11cl11d111g. but not limited to, streets, twmels, d1 iveways, parking areas, truck ways, delive1y passages,
               access roads, loading doors, sidewalks, ramps, ope!I and closed cow ts and mafls. landscaped and planted
               areas, slopes, comfort and first aid stat1011s, washrooms and pm eel pick-up stations, exterior stairways, b11s
               slops, retaining and decorative walls a11d planters, a11d other al'eas provided by Landlord and/or other
               Owners of portions of the B111lding Project, their employees and invitees. Landlord 1·eserves the right to
               i11stalf kiosks and other free-standing structures w1tl1in the Common Ateas, and also resenies the right to
               make changes, alterations or additions at any time and from f1111e to tlme in tlie size, shape, location,
               number and extent of the Common Areas, or any of them, and no such change shall entitle Tenant to any
               abatement of rent, claim or allowance for any damages for i11}111J' or Inconvenience to Tenant occasioned
               lheteby.

               5.       Section 2.6.        Section 2.6 1s hereby added as follows:

                          2.6       Mai11te11mwe ofC0111111011 Areas. Landlord shall maintain the Common Areas 111a11eat.
               clean and orderly condition, properly lighted and landscaped as Landlord, in its reasonable discre/1011,
               shall determme. Tenant shall pay to Landlord in the ma1111er set forth 111 Section 2 7 {Payment of Co111111011
               Areas Expense~~ Tenant's pro rnta share of' the e.xpenses (hereafter "Common Areas Expenses'~ 111
               connection with the maintenance and operation oj'the Common Areas. Tenant's p10 rata share of Common
               A1·eas Expenses shall be that amount wl11ch is a fraction (or expressed as a pe1ce11tage), the 1111merator of
               which shall be the total floor area of the Prenuses and t11e de11otni11at01 of which shall be the total floor
               area of the buildings in the BrJildmg Project (or portion thereof relating to the expense). Tenant's share of
               Common Areas Expenses shall also include any additional costs arising from special requirements created
               by Tenant's use of the Premises. Common Areas &p         , enses shall mc/ude, but shall not be limited to, (a) all
               sums e.\pended and costs incurred in co11nect1011 with the Common Areas for maintenance, landscaping,
               pest control, lighting, cleaning, trash removal, pamtmg. 1·estripi11g, repaving, reswji1cmg, sweeping,
               sec11rlty, fire pl otection, sprinkler and i1 rigation systems; maintenance and repair of sidewalks, curbs and
               signs (which Tenant or oilier occupants of the Building Project are not obligated to repai1), (b) operati11g,
               managmg, policmg, msurmg, repamng and mal11tai11lng the Bwldmg P1'0}ect and, if applicable, the
               secunty offices, management ~f]Tces and any non-profit conm11mity b111ld111gs located in tire Buildmg
               Project from t11ne to time, and maintai11i11g repairing and replacing roofs of the b11lldt11gs In the B11ild111g
               Project, (c) operafmg. 111s11ring, repatd11g, replacing and 111ai11tai11ing the 11Col/lrno11 Utility Facili11es"
               defined to 111c/i1cle, but not limited to, sa11ltary sewer lines and systems, gas Imes and systems, waterlines
               and systems, fire protection lines and systems, electric power, telephone and commumcat/011 mam lines and
               systems, HVAC equipment and systems, storm drainage and retentio11 facilities and all other utility main
                lines and systems not exclusively servmg the pre1111ses of any specific tenant; (d) parkmg charges,
               surcharges and other levies, assessments, or any otlrer costs rmposed or assessed by any local, state or
               federal govemme11t agencies In co1111ectio11 with the use of the parking facilities and/or the Common Utility
               Facilities, real and personal property taxes and assessments on the Improvements and fond comprising the
                Common Areas, deprecfcttw11 and maintenance on operating machi11e1y and equipment (if owned) ((Tld
                rental paid for .vuch rnachinery and equipment (if rentecl) w!uch machmery and equipment is used solely for


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              the operctfton and 111aintenance of the Building P1oject, and (e) public liabillly and property damage
              insurance on the Common Areas a11cl Co111mo11 Facilities, fl.Ye with ex/ended coverage inst1ra11ce with
              vandalism and mctllcrous mischief endorsements with at Owner's option. earthquake damage and/or
              hazardo11s waste endorsements, rental loss coverage and any additional coverages required pursuant to
              Section 8 3. In the event that any alteralwn, removal, replacement or repair ls required to be made to any
              equrpment or any po1·t1011 of the Bwldmg Pro;ecl purs11a11t to governmental authority, statute, law or court
              order, all expenses assoctated thel'ewlth shall be mcl11ded in Co1mn01i Areas Expenses unless such
              expenses are born by a specific tenant or occupant of the Building Project. Common Area Expenses shall
              mclude property management costs, Property Management Costs shall not exceed ten percent (10%) of the
              gross base rents teceiPedfor the entire Bt1ildi11g Project

                       Section 2 7.       Section 2.7 is he1eby added as follows;

                        2. 7      Pavme11t of Common Arens Expenses P1 tor to the commencement of each lease year
              or such other a1111t1al accounting period as Landlord shall utilize fi·om time to t11ne, Landlord shall give
              Tenant a written estimate of the Additional Rent payable by Tenant during the coming year. Tenant shafl
              pay such estimated umoiml to Landlord in equal monthly installments, 111 advance, at the same time tl1e
              Base Monthly Rent is paid Within mnely (90) days c1/ter the end of each lease year, or s11ch other annrral
              accozmt1ngperiod as Landlord shall utilizefi·om tune lo time, Landlord shall furnish to Tenant a statement
              showing in reasonable detml the actual costs t11c11rred by Landlord for the operation and mai11te11a11ce of
              the Buildl11g Project during the year then ended, and Tenant shall pay to Landlord Te11ant 1s proportionate
              share of the cost mciirred m excess of the payments ofAdditional Rent made by Tenantwithilr ten (10) days
              of receipt of such statement, In the event that tfle payments of Additional Rent made by Te11a11t exceed
              Tenant's share of tl1e actual cost of the operation and maintenance of the Building Project, the amount of
              any such excess shall be credited by Landlord to the Additional Ren/ next due and owmg,· provided,
              however, that, if the Lease term has expired, Landlord shall accompany smd statement with the amo11nt due
              to Tenant. Notw1thsla11dmg the foregoing, Landlord shall have the right to s11b111it statements to Tenant for
              1111b11rlgeted Common Area Expenses Incurred 011 an emergency basis, a11d Tenant shall remit payment on
              such statements for Us pro rala share of such Common Area Expenses wit/1111 thirty (30) days of 1·eceipt of
              smne Tenant hereby acknowledges tlwt major tenants (First Citfzen Bank) and tenants of kiosks and
              similar ~·tructures, may not pay Common Area Expenses and other Additional Rent charges al all or on tire
              same basis as Tenant herein The estimate for Additional Rent com111e11cl11g on October 1 of the first lease
              yea1 is $6,500 pet month.

              6.       Section 7.1.       Section 7.1 of !he Lease is hereby deleted and the following new Section 7.1 is
      hereby added m its place:

                       7.1      Laudlord's Obli!!atio11s.

                                   (a)      General Landlord shall keep 111 good cond1t1011 and repair the roof and
              structwal co111ponenls of the P1 e1111ses and B1l1lding Project, but tlre cost thereof shall be promted based
               upon that p1oportio11 which tire Gross Floor Area of the Premises bem:Y to the total nwnber of leasable
              square feet in the building in which the Premises are located and shall be pmd by Tenant In the manner set
              forth in Section 2. 7 (Payment of Common Area Expenses). Landlord shall have no obligatio11 to make any
              such repairs u11til Landlord has received writte11 notice from Tenant with respect to the 11eed for such
               repairs. Landlord shall not be deemed to be in default with respect to its obligation to repmr unle.~.v a11d
               until Landlord has (1) received sald written notice and (2) failed to make such repairs w1thi11 a reasonable
              period following /'ecelpt of said 11otlce. Landlord shall, after receivmg w11tlen notice, exercise d11e
              diligence in makmg such 1epait s. Tenant hereby waives any provf.1•ions of law permitting Tenant to make
               repairs at Landlord's w.pense. Landlord shall enforce any construction warranties for the benefit of 1'e11a11t
               to the extent that they are available.

                               (b)      Landlord's Rlglzt ofAccess. 111 order to perform any of its obligatwns zmder this
              Lease, Landlord hereby 1 eserves to itself and its successors the l'tght of access to the exterior walls a11d
              roof of the Premises and the right to install, maintain, use, repmr and 1eplace pipes, ducts, concl11lts, and



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               wires through the Premises in locattons w/11clr will not materially inte1fere with Tenant's use thereof

              7.        Section 8 3         Section 8.3 of the Lease is hereby deleted and the following new Section 8.3 is
      hereby added in its place:

                        8.3       J11sumnce Covemcre bv Lmuflonl

                                  (a)      Landlord shall ma/11tam, at Tenant's expense as provided m Pmagraph 8.l(b), a
               policy or policies of msura11ce p1otectlng against tltefollowzng:

                                            (1)       Ftre and other pel'/ls normafly included in extended coverage
               ms111 ance to the extent of at least 11/11ety percent (90%) of tlze repf{(cement value of the Premises, exclusive
               ofperso1wl property, lladejlxtures and equipment belonging to Tenant and improvements and betterments
               made to the Premises by Tenant for which Tenant shall maintain fire and other perils i11s11mnce, which
               shall also name Landlord and its lenders as additional insureds.

                                         (2)        Loss of rental mcome lns11ra11ce to the extent of at least sixty percent
               (60%) of the annual gioss l'entals received by Landlord from theBuildmg Pro1ect

                                         (3)     Public liability and p1'operty damage ms11rc111ce with respect to tire
               Common Areas m an a11101111t not less tlian 1Wo Million Dollars ($2,000,000) combined single limit for
               both bodily lnjwy and property damage.

                                          (4)      Catastroplric, flood and addit1011al insurance coverages as La11d/ord
               may deem appropriate 111 its sole and absolute discretion.

                                 (b)      Tenant shall pay to Landlord, as Additional Rent in the 111anne1 set forth Cl/
               Section 2 7 (Payment of Common Area Expe11se.!i), Tenant's pro rata shme of the cost of tire i11s11rance
               required in subparagraph (a). Tenant's p10 rata share of such cost shall be that proportion of the annual
               premiums for 111surance wl11cf1 the Gross Floor Area of the Pl'em1ses bem:v to the total Gross Floor Area of
               the premises tn the Building Pr0,1ect cove1·ed by si1cl11ns11rance

               8.       Section 10.1        Section 10.1 of the Lease is hereby deleted aLtd the following new Section 10.1
      1s l1erebyadded in its place:

                          I0 1     Real Estate Taxes Tenant shall also pay 111 the ma1111er set forth m Sect1011s 2.6 and 2. 7
               any and all "real estate taxes" (as hereafter deemed) assessed or imposed, 01· which become a lien upon or
               become chargeable against ol' payable in connection with the Premises, i11cl11d/11g Tenant's pro mta share
               o.f such mal estate taxes which are attr1b11table to the Common Areas. Real estate laxes for the last year of
               the ten11 of this Lease shall be prorated between Landlol'd and Tenant as of the expil'at/on date of the Lease
               term. With respect to any assessments wl11clr may be levied against or upon the Premises, 01· which under
               the laws then in force may be e\lldenced by improvements or other bonds and may be paid in a1111ual
               t'nstallments, only the amount of such a1111t1ctl lnstallme11t, with appropriate proration for any partial yeai~
               and mterest thereon, shall be l11cl11ded within a computation of taxes and assessments levied against tire
               Premises Tenant shall be responsible for all Increases in real estate taxes attributable to or caused by any
               orga11izatzo11, re-orga11iza/1on, pwchase, sale, 111e1 ger, acq11isition or consolidation of Tena11t, 'l'e11a11t 1s
               assets or Tenant's busmess 01 by reason of any sale, ass1g11ment 01· recording of a11y tmnsfer of Interest in
               tl1e Premises or the Btttlding P101ect by Landlord

               9.      Section 10.3 .       Seclion 10.3 of the Lease ts he1eby deleted and the following new Section 10.3
      is hereby added m its place:

                        10 3      Peflizitiou ofReal Estate Taxes.

                                  (a)       "Real estate taxes" shall mean and include each ofthefollowl11g.


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                                               (I)       Any form of assess111e11t, license lee, lfcense tax, busl11ess license fee,
                   business license lax, commercsa/ rental tax levy, charge, penalty, bo11d or tax, imposed by ally @thorily
                   having tlle direct power to tax, mcludmg cmy city, co1111ty, state or federal government, or any school,
                   agricultural, lighting, dtalnage or other improvement or special district thereof, as against any legal or
                   eqwlable intere.l'f ofLandlord /11 the Premises or in the real properly of which the Premises are a par/.

                                              (2)    Any tax on Landlord's right to rent or othel' income from the Premises
                   or as against Landlord's busmess or leasing the Premises.

                                                 (3)      Ally assessmellt, tax, fee, levy or charge ill substltu/1011, partially or
                   totally, or any assessment, tax, fee, levy or charge previously mcluded withm the definitwn of real property
                   tax, it being acknowledged by Tenant and Landford that Pl'opos1tto11 13 was adopted by the voters of the
                   State of California in the Jt11le 1978 election ctnd that ctssessments, taxes, fees, levies and charges may be
                   Imposed by governmental agencres for such ser11ices as arc protection, street, sidewalk and road
                   111alnte11a11ce, refuse removal and for other governmental services formerly provided without charge lo
                   property Owners or Occupants. It is the intention of Tenant and Landlord that all such new and increased
                   assessments, taxes, fees, levies and charges, and similar assessments, taxes, fees, levies and charges be
                   i11c/11ded within the definition of "real propel'/)' laxes for pwposes of this Lease

                                               (1)       Any tax allocable to or measured by the Gross Floor Area of the
                   Premises or the rent payable he1·eu11der, including ·witltout limltat/011, a11y gross l11co111e tax or excise tax
                   levied by the State of California, any political subdivision thereof, city, or federal govemment, with respect
                   lo the receipt of such rent, OI' upon with tespect to tf1e possession, leasing, operntmg, management,
                   maintenance, alte1atio11, repair, ttse 01· occ11pa11cy by Tellant ofthePremrses, or any portwn tltereof.

                                               (5)       A11y tax upon this transaction or any document to ·which Tenant Is a
                   party, cl'eatlng or trans/en ing a11 mterest or a11 estate In the Premises

                                        (b)       "Real estate taxes" shall not mclude Landlol'd's federal 01· state l11co111e,
                   fra11chise, t11hel'itance or estate taxes.

                   10        Attlcle 46.        Arllcle 46 of the Lease 1s he1eby deleted and the followmg new Ai ticle 46 is
       Jie1 eby   added in its }Jlacc:

                            46.       TENANT IMPROVEMENT ALLOWANCE

                                      46.1     Te11m1tl111prm1eme11tAllmvance. Landlord shall provide ct Tenant Improvement
                   Allowance ("TI Allowance'? m the amount of One Million Four Hundred Thousand and 00/100 Dollars
                   ($1,400, 000 00) for the construction of 1'e11ant 's 11nproveme11ts in the Prenuses, wl11ch are to be.fixed 111 the
                   Premises and shall remain with the Premises.

                                   46.2    Co11struclio11 o[lmprm•emellts. 171e co11structio11 oj'1'enant's Improvements m
                   the Premises shall be done in accordance with Sec/1011 7.3 of tl11s Lea.ve by licensed and insttred
                   contractors

                                        46.3    fm1111e11t of TI Allowance, The TI Allowance shall be pmd lJy landlord to
                   'J'enant based on a 11111f11ally agreed 11po11 co11slr11ctio11 draw schedule to be submitted by Tenant to
                   Landlord for approval. Any amo1111t not dl'OWll u11der the draw schedttle shall be paid to Tenant w1tl11n
                   tfttrty (30) days from the later to occur of. (1) Tenant ope11s /01· bmmess !11 the Building: (2) the per10d
                   allowed for tlte jill11g of mechanic's liens has eJ.pired or duly executed imcondlttonal lien wctivers from all
                   contractors, si1bco11trnctors and material me11 who have performed work on behalf of Te11ant at the
                   Premises are presented to Landlord; and (3) the Te11a11t has provided to Landlord a Certificate of
                   Occ1pa11cy1 a copy of Tenant'.i· Recorded Notice of Completion and a complete set of "as--bullt"
                   co11stn1ct1011 documents Jo,. all wo1 k pe1fo1111ed by Tenant a11dlo1 Tenant's contractors and subcontractol's




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             11.       Conflict. Ill the event of any conflict between the Lease and this A1nendme11t No. 2, this
       Amendment No. 2 shall prevail. Except to the extent hetein modified, the Lense, as modified by the Lease
       Amendment, shall continue in full force and effect.

               8.     Teims.     Except as specifically piovided        111   this Amendment No. 2 all capitalized te1ms shall
      have the same meaning as defined in the Lease.

               9.        CounterQa1 ts.    This Amendment No. 1 may be execnted in any numbe1 of counterpai ts, each
       of which shall be deemed an 011ginal, but all of which, taken together, shall constitute one and the same instt umcnt.



                IN WITNESS WHEREOF, Landlord and Tenant have e11te1ed into this Amendment No. 2 as of the date
      fit st above written.

      Landlord

      PROMENADE SQUARE, LLC.,                                BORREGO COMMUNITY HEALTH FOUNDATION
      a Calif01n1a hm1tcd lrnb1hty company                   a California cm poration




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                                                   Al\110NDMgNT NO. 3 TO LEASE


                        T111s AMENDMENT NO 3 TO LEASE (this "Amemlmcut No.3") is nrnde as of the                       5 ~,of
      April, 2015, by and between PROMENADE SQUARE, LLC., a California I11rnted hab1lily compnn)' ("Lnndloi'd"),
      mid BORREGO COl\tfMUNJTY HEAL'11-:l FOUNDATION, a California corporation ("Tcnnut").

                                                             R1Lc;!IA1.S.
                         A.       Landlord and Tenanl prcvtously entered 111to that ce1 tam Commercial Lease daled as of
      September 21, 2012 ns mnended by Amendment No I to Lease and Amendment No. 2 to Lense ("Lease") with
      respccl to the lease of 133 West Mam Street, El Ca.Jon, CA 92020 ("Pl'emises")'

                         B           Landlord and Tenant desire to nmend the terms of the Lease to 111erease the square
      foolage of the lease, rcn1-, length of term and otl1er lerins as spec1fically set forlh in llus Amendment No 3

                        C.            All defined terms used herem but not defined herein shall have the 111ear1111g ascribed to
     such lerms 111 the Lease

                       D.             Landlord and Tenanl now desire to enter into this Amendment No. 3 to amend the Lease
     as hercmaller provided

                                                             AGREElvIBNT

                     NOW THEREFORE, for good and valunblc cons1derntion, the receipt and suffictcncy of winch
     nre hereby acknowledged, the parties hereto agree as follows, 11otw1thstanding anything m the Original Lease to lhc
     contrary

                      Section 1.2.             Section 1.2 of the Lease ts hereby deleted and the following new Section 1.2 is
     hereby added m tis place·

                        1.2       Premises.            27,975 re11table square feet o.f space comprising tlle e11til'e Bwldmg (as
              he1 emo.fter de.fined) a11d sliow11 011 Exhibit "A" he1 eto (the "Premises'?

              l.      Secl1on 1 5             Section 1.5 of the Lease 1s hereby deleted and the following new Section l 5 is
     hereby added m tis pince

                       1.5     Term. Possession o_(the secondjloor q(tl!e IJ11ifd111g will commence on August J, 2015
              and the Lease shall te1111i11ate 011July31, 2045

              2              Section 1.6.      Section I 6 of the lease is hereby deleted and the following new Section 1.6 is
     hereb)' added   111   its place·

                          1.6      Rent. Effecttl'e August 1, 2015 the 1e11t ("Rent'~ shall be $1,174,950 per a111111111
              payable 111 equal 111011t/Jly i11stal/111e11ts of $97,912 50 011 tfle fi1 st day of each cale11dm mo11tlt occ11rr111g
              d11r/11g tfle term ll'lthout demand, set-of;: ded11ctio11 01 abatement of a11y kmd, e\·cept as may otlie111'ise be
              set fortlt /Jere111. Mo11t!lly l'ellt shall also be k11ow11 as "Base Monthly Rent" or "Rent". Rent slla/f be
              subject to m11111al adjustments as set fort It 111 Section 1 7.

     Ill/

     /Ill
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              3         Section 1.7            Seel ion 1.7 of the Le<1se    is   hc1cby deleted m1d !he followrng nell' Section 1.7 is
      hereby added in its place·

                       I 7       Rent /11crease.         111e Rent for the Lease term shall ac!Just (i11 add1t/011 to the ac(j11st111e11t
              m Section I I 0), as follows:

                                    a         Co111111e11c111g 011 August 1, 2016 and !lien an11ually 1/Je1 eq[ter ("Ac!J11st111e11t
              Date") the Rent durmg the Lease Term shall be adjltSted to ml a11101111t equal to the p1 oduct obtamed by
              11111/tiplymg tile Re11t in effect 1111111ed1atelyprior lo tl1e Ac{J11st111e11t Date by the c1111111al percentage 111crease
              111 Co11s11111er Pnce Jude.\ All U1 ban Consumers U.S. City Avemge (1982-84 =JOO} p11bl1slled by the
              Bureau of Labor Stat1st1cs qfthe U.S Deprn·t111e11t of Lab01 ("Index"), i.e, Jude\ published 30 days p1 io1
              to eaclt nell' Adj11st11w11t Date ("New Exte11sio11 Index") dil'ided by t/1e lnde\ (ill effect/01' the immediately
              preced111g Lease Yem) published 30 days prior to the precedmg Aclj'11stme11t Date ("Current E\fe11slo11
              Index''.). Landlord shall g/\•e wri({eJI notice to Te11a11t 111dicati11g the a11101111t of the a(lj11st111e11t a11d 111a1111e1
              of co111p11tatio11 ofsame as soon as the i11f01111at1011 becomes (ll'ailab/e to Landlord.


             4        Section 2 2             Section 2 2 of the Le!lse     JS    hereby deleted and the following new Sect10n 2 2 is
     hereby added m its place·

                       2. 2      Veftlcle P({rkiug. So lo11g as Te11a111 is /I Of in default he1 e1111der, (///(1 s11bjec/ to the I'll/es
              and regulations allached hereto or as olhe111•1se may be estab/Jshed by Land/ordfro111 tune to t1111e, Te11a11t
              shall be entitled to use a total offo1'(J -c1glt1 (48) geneml parking spaces a11dfo111· (4) Handicap parkmg
                                                            1


              spaces. It is 1111derstood that Landlord has 110 e.f)ec/11•e means of control as lo use ofparkmg spaces

                                  2.2 1 If Tenant commits or afloll's a11y of the pml11blted act11 ///es desCl'lbed in the
                                                                                                                   1


              Lease or the 1 ules then Ill efjecl, Landlord shall hm•e !he nght, 111 add/11011 to such other l'lg!tts a11d
              re111ed1es that it may ltm·e, to remol'e 01· to11• away the vel11cle im•ofred a11d charge the cost to Tena11t, 11'/ticll
              cost shall be 1111111ediatcly payable as add1tio11a/ 1 ent 11po11 de111a11d by La11dlo1 d, landlord shall gfre Te11a11t
              notice of m1y such act1011 1111der this pro\'/s1011

             5.       Secl1on 2.6.     Secl1011 2 6 1s amended to provide that Tcnnnt's pro rata share of the Common
     A1ca Expenses shall be 100% of !he Common Area Expenses aliributable to !he Budding and 83.32% of the
     Common Arca Expenses for the re11rn111Cler of the Building Project. The estimate for Additional Rent commencing
     on August I, 2015 1s $11,500 per month

             6              Secl1on46         A1iicle 46 of the Lcnse rs he1 eby deleted mid the followmg new Article 46 1s
     hereby added   111   its place

              46           TENANT Il\IPROVEi\IENT ALLOWANCE

                            46.1      Te11w1t J111µrol'e111e11t Allowance. La11dlord shall prol'ide a Te11m11 J111JJro1•e111e11t
              Allowance ("TI Alloll'a11ce ") in the a11101111t not to e.\ceed Nine Hundred E1ghtyjil'e tho11sa11d and 00/100
              Dollars ($985,000 00) .for tlle constr11ct1011 of Te11a11t 's i111pro1 e111e11ts 011 the second floor of the Pre1111ses,
                                                                                         1


              ll'lticll (I} e to be fhed ill the Pre1111ses and sha/11 e111af11 wit/I the P1 e1111ses All such tenant 1111pro1•e111e11fs
              shall be p111·sum1t to plans app1 Ol'ed by both Landlord and Tenant

                                46.2     Comll'llclion o(l111proveme11f.'i' The co11str11ctio11 of Te11mlf 's n11pro1 eme11/s II/1


              the Pre1111ses slwll be done 111 accordance wlllt Sectio11 7.3 of t/11s Lease bJ• licensed and i11s111 ed
              contmct01'(s) selected by La11dlord

                              ./6 3    Pa!'meut of 71 Allmvn11ce 171e Tl Al/01M11ce shall be pmd by Landlord to
              Tenant based 011 a 1111111mlly agreed 11po11 co11struct1011 drall' schedule to be submitted by Te11a111 to
              Landlord for npproral. /11 Landlord's sole discretion, Landlord II/Cl)' satisfy 1ts ob/igatio11s 1111der tins

                                                                       2
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           Sec/1011 46 by co11tracfi11g ll'if/1 a11d paying dil ecf/y a co11f1 ncfot of La11d/01 d's choosing to complete t/Je
           tenant l111proveme11ts.

           7.          Section 50          A new Secllon 50 1s added as follows

                       50        JUG/IT OF FIRST REFUSAL:

                         50.1     Landlord hereby gra11ts to Te11a11t a rfg//t o.fji1 st refusal to purchase the B111ldi11g Project
           011   t/1efollow111g te1111s ("RFR '')

                                  50.11. Subject to the 1igllts set forth 111 Pamgiaph 50.12below,111 the e11e11f La11d/01·d
            desires fo sell lite Building Pro;ect, or m1y portion of its i11te1 est 111 the B11ildi11g Project, and shall lim•e
            rece11 1ed <111 acceptable bo11a fide offer to purchase the 8111/dmg Project or such interest (the "Offer'~.
            Landlord shall g11'e wrillen 11of1ce of f/s intent lo sell (the 11/\'o(Jce of Intent to Sell") to Te11a111, together
           wiflt an executed copy of Ille Offer selfing f01 th all of lite tet ms of the proposed p111 clrase and fde11t1fjoi11g
           the pt ospectfre purcltaser Te11a11f shall tlte11 ltm•e a11 opt1011 to purchase the Butld111g Pro;ect on tlte same
           te1111s and co11d1t1011s as set /01 tit 111 the Offer; pro1•ided that if tlte te1111s and co11dillo11s of the Qffer pro111de
          for mt excha11ge of like k111d real property as payme111 ofall or a port1011 of the purchase price, Tenant may
           e.\ercise its option to purchase by statmg £11 its wr/fte11 1101/ce o.f e.w1 c1se tis willmgness to parliclpale 111 a11
           e\cl1a11ge tt(/J/S(lc/101111111'l11ch La11d/01d shall Identify certain real prope1~>' which 1'eJ1n11/, at no add1t/011al
           cost or e.\pe11se to Te11a1JI, shall acquire and exchange with Landlordfor the Bwld111g Project 011 te1 ms aud
           co11dit1011s othe11J'ise consistent ll'il/J the Offe1. If no e.\ change is co111e111plated 111 the OJ/er, Te11a111 shall
           have the further opt1011 ofpaymg Lmtdlord 111 cash at c/osmg the /111/ amount of the p111 chase pl'lce of the
           B11ild111g P101ec1 or La11dford's interest i11 tile B111ld111g Pro;ecf, 11otw1tl1stc111dmg any 11011-casli terms set
          fo1 th in the Qffe1 If Te11a11/ elects to e\e1 ctse 1/s op/1011, if shall give Landlord 11•nffe11 11otice of such
           e!ect10n w1tlti11 twenty (20) days (ljier receipt of the Nollce of I11te11t lo Sell mid Te11a11t shall prol'ide to
           Lm1dl01 d el'l'de11ce reasonably acceptable lo Landlord that Te11a11t has the ji11m1c1a/ resources readtly
           a)'(l/lable for Te11an1 to pw·chase the Building Project 1111der the terms of the Offer. If Te11a11t fails to
           deli1 1er to La11d/01 d ifs 11'1'ilte11 e.\erctse of the opt1011 (11•1/lt e1•ide11ce offi11a11cf(I/ resources) wilhi11 file
           twenty day period Te11a11t shall be deemed to have not e.\et c1sed its option. If Tenant /mis to e\ercise tis
          option w1tl1i11 suclt fll'el/f)'·day penod 01 is deemed to 1101 hm•e e.vercised its opt1011, (t) La11d/01d sltal! be
          fi ee to accept an o.ffe1 to sell the Bwldmg Pt oject or mterest therc111 011 lite te1 ms setfortll m the Offer (sale
          pnce 110 less t/Jan 11i11ety pe1ce11t (90%) of that co11tai11ed 111 the Q(fer) al any time 11•1tlti11 011e-/11111d1ed
           fll'e11ty (120) days after the e.,p11·atw11 of such fll'enty-day penod and (Ii) Tenant shalf, 11po111 eq11est, de/n•e1
          lo Lm1dfo1d an ack11011 1/edg111e111 of Te11a11l's /ai/111 e 10 e.w cise the op/1011 and Landlord's l'lght to sell tlle
          B111ldi11g Pro;ect 01· illterest tltere111 p11rs11a111 to tllis Pamgmplt 50. I 1

                                  50 1 2 No/ll'ithsta11di11g tile foregoing, La11d/ord shall be fi-ee to com•ey, tm11sfer 01
          ass1g11 the B111'di11g Project or any por/1011 of its 111/erest i11 the B111ld111g P1 ojecl witl1011t co111plia11ce witll
          PmagJ(lp/1 50.1.1 abol'e (a) i11 tlle e1•e11t that such co111'eya11ce, transfet' 01· ass1g11111e11t 1s ettlter (1) made to
          m1y '10/de1 of a Security 111te1 est i11 La11dlo1 d's fee estate in llte B111fdi11g P101ect, provided that rite lte11 of
          any fee mortgage or olltet' securi(l' 111st111111e111 shall e.,pressly 1 emam s11bordi11ate to Te11a11t's lease/told
          111te1 est !te1 ei11 created, 01 (it) made lo any trust 1111der wlticlt the Landlord ts tlte Tr11stor and be11efic1m)',
          or (ui) made to m1y e11t1ly conlroffed by Landford, 01 (ii) made to any lineal desce11da11ts (11af111al or
          ndopted) of Landlord, the spouses of such lineal desce11da11ts or any //'I/Sf the total be11efictnf rnterest of
          11'/iic!t is lteld by s11c'1 lineal desce11dm1ts or t!tefJ spouses, or (1') made as part ofa merger, co11solidatto11,
          com•ers1011 or l1q11idat1011 ofLandlord

                              50.1.3 This Right of Fu~f/ Refusal sltal! terminate and be of 110 furtlter .force or elfect
          upon the tcr111i11atio11 of t/Je Lease. The Rtglll of Fll'sl Refusal 1s personal to Tenant and may 1101 be
          e\e1cised or assigned 1•ol1111tcmly or 1111·0/r111tm ily, by or to m1y perso11 01· e11tity othe1 than Te11a11t 01 <Ill
          entity co111t oiled by Tenant, prol'ided, lw1M1'e1, tlte Rig/ti of F11 st Refusal slta/l be ass1g11able 1l'ith tlus
          Lease to a11y assignee o.f Te11a111 with tlte pt 101· 11•rltte11 co11se11t of La11d/o1 d, as JJl'O\'tded for 111 tins Lease.
          11te Rtg!tt of First Refusal g1 anted lo Te11a111is1101 ass1g11nble sepw ate a11d apart.fl 0111 tl11s Lease

                                50.1 4    lfTe11a11t ls 111 default 011 the date of tlte Nottc:e of I11te11t lo Sell or the exercise by


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               Te11a11t of its opt1011, or !ias bee11 late 011 the payment of rent wh1c/1 ltas 1 es11lted 111 a late cltm ge bei11g
               imposed more tlia11 four (4) t1111es dwwg the Lease term, the Tenant's l'lght to exercise tis opt1011 and tit is
               RFR sltall be 1•oid a11d Te11a11t shall hai•e 110 11ght to p111 chase the Propel'ly and the RFR shall become 11111/
               a11d 1•01d.

               8        Section 51          A new Section 51 1s added as follows.

                      51        Access1bihD~lillJ~cclion.   Lnndlord 0 has or [8J hns not had the Demised Prenuses
     mspccfcd for d1sab11ily access by a Certified Access Specialist ("CJ\Sp") The CASp determined thal the Property
     0 mcl or 0 did not meet all applJCnble conslruction-relaled nccess1bility standards pursuant to Caltfornra C1v1l
     Code Section 55 53

                9.        Co11clitio11 Precedent. Tc11n11f nclmowlcclgcs thnt 11 portion of the Premises (i.e. the second
     floo1·) is cul'l'cnlly lensed to PUBLIC CONSULTI.t'IG GROUP, INC,, n i\'fassnchuselfs cor11ornfiou nuder a
     lcnsc dAkd June 8, 2010 ("PCG Lease"). The iuilinl term of fhe PCG Lcnsc is lo CXJJit e on Jul~· 31, 2015.
     Under fltc fcl'lllS of lhc PCG Lcnsc the tcnnnt lrns au option lo c:-.fcnd tltcir lease. Should PUBLIC
     CONSULTING GROUP, INC. c~crcisc lhcfr opliou to extcud fhc PCG Lcnsc than this Amendment No. 3
     ~hnll immc<iinfclr become 111111 null void.

           I0       Co11tl1ct    In the event of any co111l1cl between !he Lease mid this Amendment No 3, this
     Amendment No. 3 shall prevail Except to the extent hercm modified, lhe Lease, as modified by the Lease
     Amendments shall continue in full force and effect.

              IJ     Terms.     Except 11s spec1ficnlly provided         111   this Amendment· No. 3 all cap1ta1Jzcd terms shall
     lmve the same meaning as defined in the Lease

              !2.      Counterparts.     This Amendment No 3 may be executed many number of counterparts, each
     of which shall be deemed an ongim1l, bul all of which, taken together, sholl constitute one and the some instrument

                TN WJTNESS WHEREOF, Landlord and Tenant have entered mto tins Amendment No 3 as of the date
     first r1bove written.

     La11cl101·d

     PROMENADE SQUARE, LLC.,                                  BORREGO COMMUNITY HEALTH FOUNDATION
     a California limited linbihly company                    a California corporntlon



     B)§:)~(\Q~
        Dmyl R Priest,'Manager                                ~~:no·~~
                                                              Its.             _   _.




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                                                 AMENDMENT NO. 4 TO LEASE


                        This AMENDMENT NO. 4 TO LEASE (this "Amendment No. 411) is made as ofthe;<~day of
     Match, 2016, by and between PROMENADE SQUARE, LLC., a Califo1nia limited liability company
     ("Lnndlol'd"), and BORREGO CO.Mlv!UNITY lIBALTH fOUNDATION, a California no11-p1ofit cotporation
     ("Tcunnt").



                      A.       Landlord nnd Tenant previously entered into that cet tain Commercial Lcnse dated as of
     September 21, 2012 as ameuded by Amendmeut No. 1 to Lease, Amendment No. 2 to Lease and Amendment No. 3
     to Lease ("LcRse") with iespect to the lease of 133 West Main SCreet El Cajon, CA ("Premises").

                        B.        Lnndlotd nnd Tenant desire to amend the terms ofthe Lease.

                       C.         All defined terms used he1ein but not defined he1ein shall have the meaning asc1Jbed to
     such terms in the Lease.

                        D.        Landlord and Te1rnnt now desire to entet iuto this Amendment No. 4 to amend the Lease
     as hereinafte1 pmvided.

                                                           AGREEMENT

                     NOW THEREFORE, fo1 good and valtmble considerntion, the receipt and sufficiency of which
     aie he1cby acknowledged, the parties he1eto ngtee os follows, notwithstnnding anything in the Otiginal Lease to the
     contiary:

              I.       Section 1.6.         Sectiou 1.6 of the Lease is hereby deleted and the following new Section 1.6 is
     he1eby added in its place:

                        16      Re11f. Efjective April /, 2016 the 1e11r ("Rent'') shC1ll be SJ,342,800 pe1 a111111111
             payable in eq11af mo11thly i11stall111e11rs of Sll 1,900.00 011 the first day of each calendar 111011/h occ111·m1g
             d11r111g the term without de111a11d, set-q(J; deduction or abatement qf any kind, ercept as may otlie1wise be
             set forth he1 ein Monthly tent shall also be k11ow11 as "Base Mo11thly Rem" 01 "Re11/ ". Re11/ shall be
             subject lo a1111uaf adjustments as set /01 th in Section 1. 7 Tenant has been paying re11/ .fro111 September
             2015 lhl'll March 2016 in the monthly a11101111t of S57,340 50 instead of tile agreed upon 1enf qf S97,9 l 2.50
             per 111011/h, c1nreJ1/ rent C1rrearages of $284,004.00 Provided Te11m1t is 11of in default beyond any
             applicable cure penods .for the 1 emlnder of the Lease Term the baf<111ce of file rent ow111g .for the period
             September 2015 through March 2016 shall be abated

             2.        Section 1.7.         Section 1.7 of the Lease is heteby deleted and the following new Section 1.7 is
     he1eby added iu its place:

                        l 7        Rent J11crense.   The Rent fol' the Lease tel'/11 s!wff adjust (ill addition lo the acf;11stme11t
              in Sect/011 I. 10), as.follows:

                                   a        Commencing OJI October l, 2016 ct/Id t/1e11 C/111/llC/ffy thereq.ftcr("Ad.JllStment
             Date") tile Rent during tlle Lease Tenn shall be adjusted to a11 a11101111/ equal to the greater of (a) two (2)
             pe1 cent 01 (b) the product obtained by 11111lfipfyi11g the Rent in e.O'ect immediately p1 ior to the Adjustment
             Date by tire annual pe1'ce11tage i11c1 ease in Consumer Price Jnde\ All Ul'ba11 Consumers U.S City A1•e1·age
             (1982-84 =JOO) published by the Bureau of Labor Statistics of/he U.S Department of Labo1 ("Index"),
             i.e., Index p11b/Jshed 30 days p1 ior lo each 11ew Ac{J11st111e11f Dale ("New E:.:te11slo11 Index") d1v1ded by the
             lnde\' (111 effect.for the immediately preceding /,ease Yem) published 30 days prior lo the j)J eceding
             A({j11s/111e11t Date ("C11rre11t E.\'/ens/011 Index") La11d/01d shall give wri//e11 notice to Te11a11t indicating
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                the a111011111 ofthe aqj11st111e11/ and 111m111e1 ofco111p11talio11 ofsame as soon as the infor111al/011 becomes
               al'(11/able lo Landford.

             3.      Co11flicL In the event of any conflict between the Lense nnd this Amendment No. 4, this
     Alllendment No. 4 shall prevnil. Except to the extent he1 ein modified, the Lease, as modified by the Lease
     Amendments shall continue in full fotce and effect.

              4.       Terms. Except as specifically pt ovicled in this Amendment No. 4 nil capitalized terms shall
     have the same llleaning as defined in the Lease.

              5.       Counte1ports.      This Amendment No. 4 may be executed in nny 11umbe1 of countot pm ts, each
     of which slmll be deemed an otiginal, but nil of which, tnken togethc1, shnll constitute one and the snme instrument.

               IN WITNESS WI-IBREOF, Landlord and Tenant have ente1ed into this Amendment No. 3 as of the date
     fit st above w1 itten.

     Lnncllord

     PROivfENADE SQUARE, LLC.,                                   BORREGO COMMUNITY HEALTIT FOUNDATION
     a California limited liiibility company                     a Califo1nia non-ptofil c01po111tion



     By:~aS)hl~
         Daty! R. Priest, l\fonnger                             ~ :. , e1:J1fikt-.s__
                                                                 Its:~.




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                                                TENANT ESTOPPEL CERTIFICATE



 TO:       KINECTA FEDERAL CREDIT UNION, a Federal Credit Union, its successors and/or assigns (the "Lender")


           THE UNDERSIGNED HEREBY CERTIFIES THAT AS OF THE DATE OF SIGNATURE BELOW:


 1.    Tenant: Borrego Community Health Foundation, a California Corporation

       Landlord: Promenade Square, LLC, a California limited liability company

       Lease Date: September 21, 2012           Lease Commenced: January 1, 2013 Lease Ends: July 31, 2045

       Modification Date(s):
      1st amendment - March 15, 2013
      2nd amendment - September 13, 2013
      3rd amendment - April 3rd, 2015

                                                                                   5
      Address: 133 West Main Street, El Cajon, CA 92020             Suite No.: 1       \   2nd, and 3rd floor   #of Parking Spaces: 48

      Current Annual Base Rent: $1 , 174, 950          Paid through: July 31, 2015                Security Deposit: $ 46,673.42

      Additional Rents (base year), if applicable :
      Lease is a fully NNN lease. The current NNN/CAM charges are paid by tenant at a monthly estimated rate of $11,500,
      with annual reconciliation of overage/underage.


2.    Tenant has accepted possession of and is currently open for business. No one other than Landlord, Tenant and Tenant's
      employees occupies or has any right to occupy any part of the Leased Premises. Tenant's obligation to pay all rents and
      other payments required under the Lease have been satisfied . Tenant agrees that no such rents or other payments will in
      the future be paid, more than one (1) month in advance of their due date. Tenant is not entitled to any concession, rebate,
      allowance or free rent for any period after the date of this Tenant Estoppel Certificate.


3.    The Lease is in full force and effect and is the only agreement between Landlord and Tenant relating in any way to the
      Leased Premises. The "Lease Ends" date shown above is the earliest date that the Lease expires or may be terminated,
      subject to any renewal or cancellation rights specified in the Lease. The undersigned does not have any option or right to
      renew or cancel the Lease and does not have the option to lease additional space except as specified in the Lease. The
      interest of the undersigned in the Lease has not been assigned or encumbered.


4.    There is no existing default or claimed default by either Landlord or Tenant under the Lease. No event has occurred
      which, with the passage of time or the giving of notice, or both, would constitute a default by either Landlord or Tenant
      under the Lease. Tenant has no existing defenses or offsets against Landlord 's enforcement of the Lease.


5.    Since the date of the Lease, there has been no material adverse change in the financial condition of Tenant. There are no
      actions, voluntary or otherwise, pending against Tenant or any of its general partners and/or principals under any
      bankruptcy, receivership, insolvency or similar laws of the United States or any state thereof.


6.    To the best of Tenant's knowledge, its use, maintenance and operation of the Leased Premises complies with, and will at
      all times comply with, all applicable federal, state, county or local statutes, laws, rules and regulations of any governmental
      authorities relating to environmental, health or safety matters. Tenant does not and will not engage in any activity which
      would involve the use of the Leased Premises for the storage, generation, use, treatment, transportation or disposal of
      any chemical, material or substance which is regulated as toxic or hazardous or exposure to which is prohibited, limited or
      regulated by any federal , state, county, regional, local or other governmental authority or which, even if not so regulated,
      may or could pose a hazard to the health and safety of the other tenants and occupants of Landlord's property.
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 RECORDING REQUESTED BY AND
 WHEN RECORDED MAIL TO:

      Kinecta Federal Credit Union
      2100 Park Place
      El Segundo, CA 90245
      Attn: Business Services CU/88

                                                                                SPACE ABOVE THIS LINE FOR RECORDER'S USE


                                                SUBORDINATION, NON-DISTURBANCE AND
                                                     ATTORNMENTAGREEMENT

           THIS SUBORDINATION, NON-DISTURBANCE AND ATTORNMENT AGREEMENT (the "Agreement") is made as of June 12,
           2015, between Borrego Community Health Foundation, a California corporation ("Tenant"), having an address at 124 West
           Main Street, Suite 240, El Cajon, CA 92020 and KINECTA FEDERAL CREDIT UNION, a Federal Credit Union, its successors
           and/or assigns ("Lender"), with a mailing address at 1440 Rosecrans Avenue, Manhattan Beach, CA 90266.

                                                                   RECITALS:

 A.        Tenant is the tenant under that certain lease (the "Original Lease") dated September 21. 2012, by and between Tenant and
           Promenade Square, LLC, a California limited liability company (the "Landlord"), as landlord (together with any amendments,
           modifications, renewals, or extensions attached hereto and made a part hereof, whether now or hereafter existing) (the "Lease"),
           wherein Landlord leased to Tenant certain premises known as Promenade Plaza (the "Premises") and located on that certain land
           described in Exhibit A attached hereto and made a part hereof (the "Land");

 B.        Landlord is about to make, execute and deliver its Promissory Note (the "Note") to Lender which Note shall be secured by, among
           other security, a mortgage lien or Deed of Trust encumbering the Land pursuant to a "Security Instrument" (as defined in the
           Note) (such Security Instrument and all other documents securing the Note are herein collectively called the "Loan Documents");

 C.       Tenant desires to be assured of continued occupancy of the Premises under the terms of the Lease, subject to the terms of the
          Security Instrument and to the terms hereof;

D.        Lender is willing to make the Loan on the condition that the Security Instrument is a lien and charge upon the Premises prior and
          superior to the Lease and provided that Tenantspecifically subordinates the Lease to the lien and charge of the Security Instrument;

E.        Tenant is agreeable to the Security Instrument constituting a lien or charge upon the Premises which shall be prior and superior to
          the Lease, subject to the terms hereof, and is willing to attorn to Lender provided Lender grants Tenant a non-disturbance
          agreement as provided herein.

F.        Lender and Tenant desire to confirm their agreements with respect to the Lease and the Loan Documents.

          NOW, THEREFORE, in consideration of the foregoing recitals, the mutual covenants and agreements herein contained, and in order
to induce Lender to make a loan to Landlord, Lender and Tenant hereby agree and covenant as follows:

1.        Lease. As used in this Agreement, "Lease" includes, without limitation, all right, title and interest that Tenant may have in all or any
          portion of the Premises, whether granted by the terms of the Lease, by a separate written agreement or otherwise, including without
          limitation, all options, purchase rights, rights of first refusal provided for in the Lease or by separate agreement between Landlord
          and Tenant.




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 2.      Subordination. The Lease and all right, title and interest in the Land created thereby (including without limitation, any purchase
         options, rights of first refusal or similar rights possessed by Tenant with respect to the Premises) are, shall be and shall at all times
         remain and continue to be subject and subordinate in all respects to the liens, terms, covenants, provisions and conditions of the
         Security Instrument and the Loan Documents, including renewals, modifications, consolidations, replacements, and extensions of
         such lien rights, in the same manner and to the same extent as if the Lease were executed subsequent to the execution, delivery,
         and recording of the Security Instrument in creation of the lien rights.

 3.      Non-Disturbance. So long as the Lease is in full force and effect and Tenant is not in default under the Lease (beyond any period
         given Tenant to cure such default) or under this Agreement:

         a.        Tenant's possession of the Premises, and Tenant's rights and privileges under the Lease (other than any purchase
                   options, rights of first refusal or similar rights possessed by Tenant with respect to the Premises), shall not be diminished
                   or interfered with by Lender, and Tenant's occupancy of the Premises shall not be disturbed by Lender for any reason
                   whatsoever during the term of the Lease or any extensions or renewals thereof; and

         b.        Lender will not join Tenant as a party defendant in any action or proceeding to foreclose the Security Instrument or to
                   enforce any rights or remedies of Lender under the Security Instrument which would cut-off, destroy, terminate or
                   extinguish the Lease or Tenant's interest and estate under the Lease.

         Notwithstanding the foregoing provisions of this paragraph, if it would be procedurally disadvantageous for Lender not to name or
         join Tenant as a party in a foreclosure proceeding with respect to the Security Instrument, Lender may so name or join Tenant
         without in any way diminishing or otherwise affecting the rights and privileges granted to, or inuring to the benefit of, Tenant under
         this Agreement.

 4.      Attornment.

         a.        After notice is given by Lender that a default has occurred under the Security Instrument and that the rentals and all other
                   payments to be made by Tenant under the Lease should be paid to Lender, Tenant will attorn to Lender and pay to
                   Lender, or in accordance with the directions of Lender, all rentals and other monies due and to become due to Landlord
                   under the Lease or otherwise in respect to the Premises; such payments will be made regardless of any right of set-off,
                   counterclaim or other defense which Tenant may have against Landlord (or any prior landlord), whether as tenant under
                   the Lease or otherwise; and

         b.        In addition, if Lender (or its nominee or designee) shall succeed to the rights of Landlord under the Lease through
                   possession or foreclosure action, delivery of a deed or otherwise, or another person purchases the Premises upon or
                  following foreclosure of the Security Instrument, then at the request of Lender (or its nominee or designee) or such
                  purchaser (Lender, its nominees and designees, and such purchaser, each being a "Successor-Landlord"), Tenant shall
                  attorn to and recognize Successor-Landlord as Tenant's landlord under the Lease. Such attornment shall be effective
                  and self-operative without the execution of any other instruments on the part of any of the parties hereto; provided,
                  however, Tenant agrees to promptly execute and deliver any instrument that Successor-Landlord may reasonably
                  request to evidence such attomment. Upon such attomment. the Lease shall continue in full force and effect as, or as if it
                  were, a direct lease between Successor-Landlord and Tenant upon all terms, conditions and covenants as are set forth in
                  the Lease, except that Successor-Landlord shall not:

                  (i)        be liable for any previous act or omission of Landlord (or any prior landlord) under the Lease;

                  (ii)       be subject to any off-set, defense or counterclaim, which shall have previously accrued to Tenant against
                             Landlord (or any prior landlord);

                  (iii)      be bound by any modification of the Lease or by any previous prepayment of rent or additional rent for more
                             than one month which Tenant might have paid to Landlord (or any prior landlord), unless such modification or
                             prepayment shall have been expressly approved in writing by Lender;

                  (iv)       be bound by any purchase options, rights of first refusal or similar rights possessed by Tenant with respect to
                             the Premises; or




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                    (v)        be liable for any security deposited under the Lease unless such security has been physically delivered to
                               Lender.

 5.      Lease Modifications. Tenant agrees that without the prior written consent of Lender, it shall not: (a) amend or modify the Lease or
         any extensions or renewals thereof; (b) terminate, cancel or tender a surrender of the Lease; (c) make a prepayment of any rent or
         additional rent in excess of one (1) month; or (d) subordinate or permit the subordination of the Lease to any lien subordinate to the
         Security Instrument. Any such purported action without such consent shall be void as against the holder of the Security Instrument.
          Except as may be expressly permitted by the Lease, Tenant shall not assign the Lease, nor sublet any portion of the Premises, and
         Landlord shall not consent to any such assignment or subletting other than as expressly permitted by the terms of the Lease,
         without Lender's prior written consent, which consent shall not be unreasonably withheld.

 6.      Notice of Default; Opportunity to Cure.

         a.         Any notice required or permitted to be given by Tenant to Landlord shall be simultaneously given also to Lender, and any
                    right of Tenant dependent upon notice shall take effect only after such notice to Lender is so given . Performance by
                    Lender shall satisfy any conditions of the Lease requiring performance by Landlord, and Lender shall have areasonable
                    time to complete such performance as provided in section (b) below.

         b.          Without limiting the generality of the foregoing, Tenant shall promptly notify Lender of any default, act or omission of
                     Landlord which would give Tenantthe right, immediately or after the lapse of a period of time, to cancel or terminate the
                     Lease or to claim a partial or total eviction (a "Landlord Default"). In the event of a Landlord Default, Tenant shall not
                     exercise any rights available to it: i) until it has given written notice of such Landlord Default to Lender; and ii) unless
                     Lender has failed, within thirty (30) days after Lender receives such notice, to cure or remedy the Landlord Default or, if
                     the same is not reasonably capable of being remedied by Lender within such thirty (30) day period, until a reasonable
                     period for remedying such Landlord Default has elapsed following the giving of such notice and following the time when
                     Lender shall have become entitled under the Loan Documents to remedy the same (which reasonable period shall in no
                    event be less than the period to which Landlord would be entitled under the Lease or otherwise, after similar notice, to
                    effect such remedy); provided that Lender shall with due diligence commence and prosecute a remedy for such Landlord
                    Default. If Lender cannot reasonably remedy a Landlord Default until after Lender obtains possession of the Land,
                    Tenant may not terminate or cancel the Lease or claim a partial or total eviction by reason of such Landlord Default until
                    the expiration of a reasonable period necessary for the remedy after Lender institutes proceedings to obtain possession
                    of the Land through a foreclosure or otherwise, or for the appointment of a receiver for the Land, provided that Lender
                    institutes and prosecutes such proceedings with due diligence. Lender shall have no obligation hereunder to remedy any
                    Landlord Default.

 7.      Application of Casualty Insurance Proceeds and Condemnation Awards. Tenant hereby agrees that, notwithstanding anything to
         the contrary contained in the Lease, the terms and provisions of the Security Instrument shall control with respect to the application
         of casualty insurance proceeds and condemnation awards.

8.       Notice of Lien. To the extent that the Lease entitles Tenant to notice of the existence of any mortgage lien or Deed of Trust and
         the 'identity of any lender, this Agreement shall constitute such notice to Tenant with respect to the Security Instrument.

9.      Remedies. Upon and after the occurrence of a default under the Security Instrument, Lender shall be entitled, but not obligated,
        to exercise the claims, rights, powers, privileges and remedies of Landlord under the Lease and shall be further entitled to the
        benefits of, and to receive and enforce performance of, all of the covenants to be performed by Tenant under the Lease as though
        Lender were named therein as Landlord. Landlord agrees that this Agreement does not constitute a waiver by Lender of any of its
        rights under the Security Instrument or the Loan Documents, and that the Security Instrument and the Loan Documents remain in
        full force and effect and shall be complied with in all respects by the Landlord.

10.     Limitation of Liability. Except as specifically provided in this Agreement, Lender shall not, by virtue of this Agreement, the Security
        Instrument or any other instrument to which Lender may be a party, be or become subject to any liability or obligation to Tenant
        under the Lease or otherwise.

11.     Priority.




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          a.   Tenant acknowledges and agrees that this Agreement supersedes (but only to the extent inconsistent with) any provisions of
               the Lease relating to the priority or subordination of the Lease and the interests or estates created thereby to the Security
               Instrument.

          b.   Tenant agrees to enter into a subordination, non-disturbance and attomment agreement with any entity which shall succeed
               Lender with respect to the Land, or any portion thereof, provided such agreement is substantially similar to this Agreement.


 12.      Notices. Any notice, consent, request or other communication required or permitted to be given hereunder shall be in writing and
         shall be: (a) personally delivered; (b) delivered by Federal Express or other comparable overnight delivery service (collectively, a
         "Delivery Service"); or (c) transmitted by postage prepaid registered or certified mail, return receipt requested . All such notices,
         consents, requests or other communications shall be addressed to Landlord, Lender or Tenant at the following addresses, or to
         such other address as Landlord, Lender or Tenant shall in like manner designate in writing. All notices and other communications
         shall be deemed to have been duly given on the first to occur of actual receipt of the same or: (i) the date of delivery if personally
         delivered; (ii) one (1) business day after depositing the same with the Delivery Service if by Delivery Service; and (iii) five (5) days
         following posting if transmitted by mail. Any party may change its address for purposes hereof by notice to the other parties given in
         accordance with the provisions hereof.

         lfto Tenant:
                  Borrego Community Health Foundation
                  124 West Main Street
                  El Cajon, CA 92020

         If to Landlord:
                    Promenade Square, LLC
                    124 West Main Street, Ste 240
                    El Cajon, CA 92020

         If to Lender:
                   Kinecta Federal Credit Union
                   2100 Park Place
                   El Segundo, CA 90245
                   Attn: Business Services CU/88

 13.      General. This Agreement may not be modified or terminated orally. This Agreement shall inure to the benefit of and be binding
          upon the parties hereto, their successors and assigns. The term "Lender" shall mean the then holder of any interest in the Security
          Instrument. The term "Landlord" shall mean the then holder of the lessor's interest in the Lease. The term "person" shall mean
         any individual, joint venture, corporation, partnership, trust, unincorporated association or other entity. All references herein to the
         Lease shall mean the Lease as modified by this Agreement and any amendments or modifications to the Lease which are
         consented to in writing by the Lender. In the event there is any inconsistency between the Lease and the provisions of this
         Agreement, the provisions of this Agreement shall be controlling. In the event any one or more of the provisions contained in this
         Agreement shall for any reason be held to be invalid, illegal or unenforceable in any respect, such invalidity, illegality or
         unenforceability shall not affect any other provision of this Agreement, but this Agreement shall be construed as if such invalid,
         illegal or unenforceable provision had never been contained herein.

14.     Tenant Representations and Warranties. Tenant hereby represents and warrants that there is no known defects or defaults on
        the part of the Landlord. The Lease is a complete statement of the Agreement of the parties thereto with respect to the leasing of
        the Premises.

15.     No Warranties by Lender. Lender shall have no obligations nor incur any liability with respect to any warranties of any nature
        whatsoever, whether pursuant to the Lease or otherwise, including, without limitation, any warranties respecting use, compliance
        with zoning, Landlord's title, Landlord's authority, habitability, fitness for purpose, or possession.

16.     Limitation on Lender's Liabilitv. If Lender shall acquire title to the Premises or the Property, Lender shall have no obligation, nor
        incur any liability, beyond Lender's then equity interest, if any, in the Premises, and Tenant shall look exclusively to such equity
        interest of Lender, if any, in the Premises for the payment and discharge of any obligations imposed upon Lender hereunder or
        under the Lease, and Lender is hereby released and relieved of any other obligations hereunder and under the Lease.

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  17.       Attorneys' Fees. If any action or proceeding is brought by any party against any other party arising from or related to this
            Agreement, the prevailing party shall be entitled to recover its reasonable costs and attorneys' fees. Attorneys' fees shall include,
            without limitation, such amounts as may then be charged by Lender for legal services provided by attorneys in the employ of
            Lender, at rates not exceeding those that would be charged by outside attorneys for comparable services.

  18.       Governing Law.      This Agreement shall be governed by and construed in accordance with the laws of the state in which the Land is
            located.

  19.       Counterparts. This Agreement may be executed in any number of counterparts, each of which shall be deemed to be an original
            and all of which when taken together shall constitute one and the same Agreement. The separate signature pages and notary
            acknowledgements may be combined into a single original document for recordation.

             IN WITNESS WHEREOF, the parties hereto have executed this Subordination, Non-Disturbance and AttornmentAgreement to be
  effective as of the day and year first stated above.


  LENDER:                                                                 TENANT:

  KINECTA FEDERAL CREDIT UNION, a Federal Credit Union                    Borrego Community Health Foundation, a California corporation

                                                                          By: _ _        ~-=--_-. _ _ _ _ __
        By: _ _ _ _ _ _ _ _ _ _ _ __
            Robert Farrington, Vice President
                                                                          Print Name:      b     Y\J CJL      \-h~i'.<J
                                                                                   C-r:;;--~u
                                                                          Title: -~~--"'Lr~~-----------


 AGREED AND CONSENTED TO:

 LANDLORD:

 Promenade Square, LLC, a California limited liability company

 By: _ _ _ _ _ _ _ _ _ _ _ __
     Daryl R. Priest, Manager




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    A NotaJy Public or other officer completing this certificate verifies only the identity of
    the individual who signed the document to which this certificate is attached, and not
    the truthfulness, accuracy, or validity of that document.


  THE STATE OF CALIFORNIA
                                       SS.
  COUNTY OF        ~ ·Diiz;;o


                                                    [insert name and title of the officer]

  personally appeared       'Emct{; fh;f-;GT ~

  who proved to me on the basis of satisfactory evidence to be the person~) whose name(,@'}
  is/.are subscribed to the within instrument and acknowledged to me that he/sl:leAl=ley executed
  the same in his/b.eHtheir authorized capacity~, and that by his/Jwr/their signature\,5.) on
 the instrument the person(,(). or the entity upon behalf of which the personyk) acted, executed
 the instrument.


 I certify under PENAL TY OF PERJURY under the laws of the State of California that the
 foregoing paragraph is true and correct.




                                                   Signature




                                                   Printed/Typed Name of Notary


                   [seal]                          My Commission Expires:               Sm. 11, d.{)/ >?
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    A Notary Public or other officer completing this certificate verifies only the identity of
    the individual who signed the document to which this certificate is attached, and not
    the truthfulness, accuracy, or validity of that document.


  THE STATE OF CALIFORNIA
                                       SS.
  COUNTY OF _ _ _~-~-

 O n - - - - - - - - - - - - - before me, - - - - - - - - - - - - - - -
                                                    [insert name and title of the officer]

 personally appeared - - - - - - - - - - - - - - - - - - - - - - - -



 who proved to me on the basis of satisfactory evidence to be the person (s) whose name(s)
 is/are subscribed to the within instrument and acknowledged to me that he/she/they executed
 the same in his/her /their authorized capacity(ies), and that by his/her /their signature(s) on
 the instrument the person(s), or the entity upon behalf of which the person(s) acted, executed
 the instrument.


 I certify under PENAL TY OF PERJURY under the laws of the State of California that the
 foregoing paragraph is true and correct.




                                                    Signature




                                                    Printed/Typed Name of Notary


                    [seal]                          My Commission Expires:




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                                                   EXHIBIT "A"

                                               LEGAL DESCRIPTION



  The land referred to herein is situated in the State of California, County of San Diego, City of El
  Cajon and described as follows:

  PARCEL A: (APN: 488-152-47)

  LOTS 1 & 2 AND A PORTION OF LOT 4 OF PROMENADE SQUARE, IN THE CITY OF EL CAJON, COUNTY OF
  SAN DIEGO, STATE OF CALIFORNIA, ACCORDING TO MAP THEREOF NO. 14421, FILED IN THE OFFICE OF
  THE COUNTY RECORDER OF SAN DIEGO COUNTY ON AUGUST 6, 2002, AMENDED PURSUANT TO THAT
  CERTAIN CERTIFICATE OF CORRECTION RECORDED ON MARCH 09, 2012 AS INSTRUMENT NO. 2012-
  0142345 OF OFFICIAL RECORDS, MORE PARTICULARLY DESCRIBED AS FOLLOWS:

 BEGINNING AT A POINT ON THE EASTERLY LINE OF LOT 4 OF MAP 14421 , SAID POINT BEING DISTANT
 THEREON SOUTH 02°52' 18" EAST 5.99 FEET FROM THE SOUTHEAST CORNER OF LOT 1 OF MAP 14421 ,
 THENCE ALONG THE EASTERLY LINE OF SAID LOT 4 AND SAID LOT 1; NORTH 02° 52' 18" WEST 64.34 FEET
 TO THE BEGINNING OF A TANGENT 25.00 FOOT RADIUS CURVE, CONCAVE SOUTHWESTERLY, THENCE
 ALONG THE ARC OF SAID CURVE, THROUGH A CENTRAL ANGLE OF 87° 06' 27"; NORTHWESTERLY 38.01
 FEET; THENCE ALONG THE NORTHERLY LINE OF SAID LOTS 1, 2 & 4; NORTH 89° 58' 45" WEST 137.06 FEET
 TO A POINT ON THE NORTHERLY LINE OF LOT 4, SAID POINT BEING DISTANT THEREON NORTH 89° 58' 45"
 WEST 3.64 FEET FROM THE NORTHWEST CORNER OF SAID LOT 2, THENCE SOUTH 00° 01' 15" WEST
 88.00 FEET; THENCE SOUTH 89° 58' 45" EAST 165.27 FEET TO THE POINT OF BEGINNING.

 PARCEL B: (APN : 488-152-48)

 PORTION OF LOTS 3 & 4 OF PROMENADE SQUARE, IN THE CITY OF EL CAJON, COUNTY OF SAN DIEGO,
 STATE OF CALIFORNIA, ACCORDING TO MAP THEREOF NO. 14421 , FILED IN THE OFFICE OF THE COUNTY
 RECORDER OF SAN DIEGO COUNTY ON AUGUST 6, 2002, AMENDED PURSUANT TO THAT CERTAIN
 CERTIFICATE OF CORRECTION RECORDED ON MARCH 09, 2012 AS INSTRUMENT NO. 2012-0142345 OF
 OFFICIAL RECORDS, MORE PARTICULARLY DESCRIBED AS FOLLOWS:

 BEGINNING AT A POINT ON THE NORTHERLY LINE OF LOT 4 OF MAP 14421, SAID POINT BEING DISTANT
 THEREON NORTH 89° 58' 45" WEST 3.64 FEET FROM THE NORTHWEST CORNER OF LOT 2 OF MAP 14421,
 THENCE ALONG THE NORTHERLY LINE OF SAID LOT 4 AND SAID LOT 3; NORTH 89° 58' 45" WEST 60.90
 FEET TO A POINT ON THE NORTHERLY LINE OF LOT 3, SAID POINT BEING DISTANT THEREON NORTH 89°
 58' 45" WEST 11.66 FEET FROM THE NORTHEAST CORNER OF SAID LOT 3; THENCE SOUTH 00° 01' 15"
 WEST 44.00 FEET; THENCE SOUTH 89° 58' 45" EAST 60.90 FEET; THENCE NORTH 00 Degrees 01 ' 15" EAST
 44.00 FEET TO THE POINT OF BEGINNING.

 PARCEL C: (APN: 488-152-50)

 PORTION OF LOT 4 OF PROMENADE SQUARE, IN THE CITY OF EL CAJON, COUNTY OF SAN DIEGO, STATE
 OF CALIFORNIA, ACCORDING TO MAP THEREOF NO. 14421, FILED IN THE OFFICE OF THE COUNTY
 RECORDER OF SAN DIEGO COUNTY ON AUGUST 6, 2002, AMENDED PURSUANT TO THAT CERTAIN
 CERTIFICATE OF CORRECTION RECORDED ON MARCH 09, 2012 AS INSTRUMENT NO. 2012-0142345 OF
 OFFICIAL RECORDS , MORE PARTICULARLY DESCRIBED AS FOLLOWS:

 BEGINNING AT THE SOUTHEAST CORNER OF LOT 4 OF MAP 14421; THENCE ALONG THE EASTERLY LINE
 OF SAID LOT 4; NORTH 02° 52' 18" WEST 70.13 FEET; THENCE NORTH 89 Degrees 58' 45" WEST 165.27
 FEET; THENCE NORTH 00 Degrees 11' 15" EAST 44.00 FEET; THENCE NORTH 89° 58' 45" WEST 60.90 FEET;
 THENCE SOUTH 00° 01' 15" WEST 42.00 FEET;



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  THENCE NORTH 89° 58' 45" WEST 69.10 FEET TO THE WESTERLY LINE OF SAID LOT 4; THENCE ALONG
  SAID WESTERLY LINE; SOUTH 00 Degrees 00' 49" EAST 72.09 FEET TO THE SOUTHWEST CORNER OF SAID
  LOT 4; THENCE ALONG THE SOUTHERLY LINE OF SAID LOT 4; SOUTH 89° 59' 22" EAST 298.76 FEET TO
  THE POINT OF BEGINNING. APN : 488-152-47-00, 488-152-48-00, and 488-152-50-00




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                          EXHIBIT B
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                                               BASIC LEASE PROVISIONS

        The following Basic Lease Provisions constitute a part of the Lease to which they are attacl1ed.

                 Lnndlord:         DRP Holdings, LLC., a California limited liability company

        2.       Tenant.           Borrego Community Health Foundation, a California non-profit public benefit
                 coJJlorati on

        3.       Premises;
                 (a)    Area: Approximately 15,676 sq. ft. office building including approximately 80 parking spaces
                         ("Office Building" or "Premises").

                 (b}       Location: The Premises commonly referred to as S9n N. D Street, San Bernardino, California, are
                           depicted on Exhibit "A" attached hereto (".Property").

        4.      gase Term; The 1erm oft'his Lease shall be 30 years and 0 months from the C.Ommenccment Date.

        5.      Condition of Premises: The Premises are accepted "as is", "where is", and with all faults.

        6.      Rent:

                 (a)       Bnse Monthly Rent: $62,704.00 per month, subject to adjustment as provided in Article 3.

                 (b)       Additional Rent· Taxes, Utilities, Insurance, Maintenance, Management and other Expenses shall
                           be based on direct cost or consumption by Tenant or upon Tenant's share of such Expenses.

                (c)       The "Rent Commencement Date" shall be earlier of (i) four (4) months from the date that
                          Landlord aC<{uires title to the Property or (ii} 1he date Tenant opens for business.

                (d}        "Tenant's Share" -100%

        7.       Prepaid Base Monthly Rent: $-0·

        8.      Security Deposit: $ -0-.

        9.      Permitted Use: The P1emises shall be used solely for a general office and medical office use including a
                pharmacy and for any other lawful purpose.

        I 0.    Addresses for Notices and Payment of Rent:

                 (a)       lfto Landlord·            DRP Holdings, LLC.,
                                                     a California hmited liability company
                                                     124 Main Street, Suite 240
                                                     EI Cajon, Ca 92020
                                                     Fax: (619) 444-8597
                                                     Attn: Daryl R Priest
                                                     Email: dnrly@pricsthomcs.com




                                                      LEASE- OFFICE BUILDING

                                                                                                           Landlord's lrultals

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                          Copy of notices to·       Fitch Law Firm, APC
                                                    Stephen J. Filch, Esq.
                                                    3465 Csmino Del Rio South, Ste. 250
                                                    San Diego, CA 92108
                                                    Telephone No. (619) 282·8100
                                                    Email: s!cve@fitchlnwfirm,com

                 (b)      Jfto Tenant:              Borrego Community Health Foundation
                                                    P.O. Box2369
                                                    Borrego Springs, CA 920004
                                                    Attn: Bruce Hebets
                                                    Fax: (160) 767-5051
                                                    Email: bhcbcts@borrcgomcdic;!l om

                          Copy to:                  Borrego Community Health Foundation
                                                    P.O. Box 2369
                                                    Borrego Springs, CA 920004
                                                    Attn: Milda Wallis, ChiefLegaJ Officer
                                                    Fax: (760) 767-6722
                                                    Email: mwallis@horregomcdicnl org
         11.     Brokerfs).

                          Landlord:                 NONE


                          Tenant:                    NONE

         12.      Certificate of Insurance: Tenant acknowledges that a certificate of insurance with endorsements attached,
         as required by Paragraph 8.2(b), must be provided to Landlord prior to delivery of the keys to Premises to Tenant

         13.     Guarantor: NONE



         The foregoing Basic Lease Provisions me incorporated into and made a part of1.he Lease. Each reference in the
         I.case to any of the Basic Lease Provisions shall mean the respective infom1ation above and shall be construed to
         incorporale all of the te!Dls provided under the particular Lease paragntph pertaining to such infom1ation. In the
         event of any conflict between the Basic Lease Provisions and the Lease, the Basic Lease Provisions shall control.
         Unless othenvise defined in the Lease, all initially-capitalized terms used in the Lease shall hnve the meanmgs
         ascribed to them m the Basic Lease Provisions.




                                                      LEASE-OFFICE DUILD!NG

                                                                                                          l.8ndlord 's Imt1ars

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                                                     BUILDING LEASE
                   This BUILDING LEASE {"U!ase") is executed as of the 15"' day of September, 2015 (''Effect[ve Date"),
         by and between DRP Holdings, LLC, a California limited liability company ("L11ndlord"), and BORREGO
         COMMUNITY HEALTH FOUNDATION, a Califon11a corporation ("Tenant"}. Landlord and Tenant are also
         referred to herein individually as a "Party" and collect[ve!y as the "Parties". The Basic Lease Provisions attached to
         this Lease are incorporated herein and made a part -Of this Lease.

         L      PREMISES:

                 1.1      Premises. Subject to all the terms and conditions of this Lease, Landlord hereby leases to Tenant
         and Tenant hereby leases from Landlord, pursuant to the tenns, covenants, conditions and uses herein set forth, the
         Premises, as more particularly described in Item 3 of the Basic Lease Provisions. The Property and the Office
         Building are more part1cularly depicted on Exh1b1t "A" nttached hereto and incorporated by refetence herein..

                            1.1.1    Current Tenant. Landlord and Tenant acknowledge that 1,320 sq. ft. of the Premises are
         curreutly subject to a lease with TW TELECOM OF CALIFORNIA, L.P. ("AcljoJnlng Tenimt''). The lease to
         Adjoining Tenant expires on Sep1ember 14, 2017 {Adjoining Tenant has a three (3) option which Landlord has the
         tight to 1erminate based on its pnrchase of the Property). Until September 14, 2017 or earlier termination of the
         lease with Adjoining Tenant the following modifications to the Lease shall be applicable:

                                    a. Premises -               14,356 sq. ft.
                                    b. Rent-                    $57,424.00
                                    c Tenants Share -           92%

                           Except as modified m this Section Ll. l all oth.ertenns of1be Lease sbaU remain the same.
         Landlord shall give Tenant a thirty (30) day notice of its ability and obligation to occupy the portion of the Premises
         subject to the Adjoining Tenant lease. Upon tennination ofthe Adjoining Tenant lease all terms contained in the
         Basts Lease Provisions shall be applicable for the remaining Lease Tenn

                  1.2      Condition of Premjs!P). Tenant accepts the Premises "as is", "where is", and with all faults. Tue
         square footage of the Premises, at Landlord's or Tenant's election, is subject to venfication by Landlord~ space
         planner or architect at any time within 90 days ofthe Commencement Date--with the stated square footage stated in
         tbe Basic Lease Provisions being deemed mutually agreed-upon and controlling if no such verification is done
         during such time.frame.

                   13      Tenant Improvement Allowance. Landlord shall provide a Tenant Improvement Allowance ("TI
         Allowance") man amount not to exceed One Million and 00/100 Dollars ($1,000,000.00) for the construction of
         Tenant's improvements of the Premises, wJ1ich are to be fixed in the Premises and shall remain wit]\ the Plernises.
         All such tenaal improvements shall be pursuant to plans alJproved by Landlord. Tenant shall provide, at its sole
         cost, to Landlord upon execution of this Lease space plMs for the Premises. Any revisions to the space plan shall be
         mutually agreed upon by the Parties.

                                  a        Construction oflmprovements. The construction -0fTene.ut's improvements in
         'the Premises shall be done in accordance with Section S l of this Lease by licensed and insured contractors
          approved by Landlord.

                                      b.       Payment of TI Allowance. The TI Allowance shall be paid by Landlord to
         Tenant based on a mutually agreed,upon construction draw schedule to be submitted by Tenant to Landlord for
         approval AJ.iy amount ootdrawn under1he draw schedule shall be paid to Tenant within thirty (30) days fium the
         lati::rto occur of: (1) Tenant opens for business in the Building; (2) the period allowed for the filing ofrucchanic.'s
         liens has expired or duly executed llnconditional lien waivers fiom ail contractors, subcontractors and material men
         wh hovo podi><mol wo" on bd~lfofTun'"""h• P,.m;,.,. •re pm~Jod fo Landlo«i, •ud (3) th~ hM
                                                         LEASE-Ol 11CEBUILDJNG
         -I---"-"'./
         Tc ant"& lnfll3ls                                                                                     Lan ord's lrutffils
         0. tcph<:nJ r1tch
                                                                Page3 of27
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        provided to Landlord a Certificate ofOccupancy, a copy ofTenant's Recorded Notice ofComplcl!on aod a
        coniplete set of"as-built" constructmn documents for all work perfonned by Tenant and/or Tenant's conttaccors and
        subcontractors.

                 ln Landlord's sole discretion, Landlord may satisfy its obligations under this Section 1.3 by contracting
        with and paymg directly a contractor of Landlord's choosing to complete the tenant unprovcments.

        2.         TERM:

                     2.l        General

                           (a)       The tenn oftbis Lease shall be as specified m Item 4 of the Basic Lease Provisions,
        commencing on the eRrliest of(l) the date Landlord acquires title to the Property, or (2) the date on which Landlord
        and Tenant execute the Confirmation of Lease (in the form attached hereto as Exhibit "B"), or (3) the date upon
        which Tenant actllafly occupies the Premises for any reason. The date on which the Lease tenn commences is
        hereafter referred to as the "Commencement Date".

        3.           RENT·

                     31         B'llse Monthly Rent

                          (a)       Tenant shall pay to Landlord at the address provided for in Item 10 of the Basic Lease
        Provisions (subject to the provisions of Section I.1.1 above), without deduction or pnor nottee or demand, and
        Landlord shall accept, as rent for the Premises the "Base Monthly Rent~ specified in Ilem 6(a) of the Basic Lease
        Provisions The Base Monthly Rent shall be payable in advance in lawful money of the United States on the first day
        of each month of the Lease term. The first installment of the Base Month[y Rent shall be due and payable on the
        Rent Commencement Date.

                          {b)     In tJ1c event that the Rent Commencement Date is not the first day of the month, Tenant
        shall pay to Landlord pnor to the first day of the flrst full calendar month which is ninety (90) days after the
        commencement date, an amount equal to the Base Monthly Rent mul!ipJied by a factor having as its numerator the
        number of days remaining in the first month and as its denominator the number thirty (30). Thereafter, the Base
        Monthly Rent shall be payable in accordance with the terms of this Paragraph 3.1.

                          (c)       Tenant's obligation to pay rent, including Base Monthly Rent and Additional Rent shall
         commence as set forth in the Baste Lease Provisions.

                 3,2.      Ad1ustments to Base Monthly Rent. The Base Monthly Rent for the Lease tenn shall adjust (in
        addition to 1he adjustment in Paragraph 3.3 below), as follows:

                          a.       Commencing on the first anniversary date of the Lease tenn, and then annually thereafter
        on each Adjustment Date, the Base Monlhly Rent during the Lease Tenn shall be adjusted to an amount equal to the
        greaterof(a) two (2) percent or (b) the product obtained by multiplying the Base Monthly Rent in effect
        immediately prior to the Adjustment Date by the annual percentage increase in Consumer Ptice Index All Urban
        Consumers US. City Avcrage(l9&2-&4=100) published hy the Bureau of Labor Statistics of the U.S. Department
        ofLabor r'lndex"). i.e., Index published 30 days prior to each new Adjustment Date ("New Extension. Index")
        divided by the Index (in effect for the immediately preceding Lease Year) published 30 days prior to the preceding
        Adjustment Date ("Current Ex.tension Index"). Landlord shall give written notice to Tenant indicating the amount
        of the adjustment and manner of computation of same as soon as the information becomes available to Landlord.

                 3.3       Addirional Rent. Tenant shall pay as "Additional Rent" its pro rata share of the cost ofoperation
         and maintenance of the Property, i.e., the cost of utilities (if not separately metered), taxes, insurance provided by
         Landlord, roof and structural repairs, and Common Area Expenses, or other charges, as described and in the manner
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           provided in Article I l {Common Areas). The Base Monthly Rent, the Additional Rent, rental adjustmenls and any
           and al I other amounts, bow ever designated, required to be paid or reimbursed by Tenant under this Lease are
           sometimes collectively referred to as, and shall constitute, "rent.".

                    3.4       Jnterest on P{!St Due Obligations. 1n the event of default by Tenant in payment of any items of
           rent, Tenant shall pay, as Additional Rent, mterest at the rate of two (2) points over the published prime rate of C1ti
           Bank or the maximum rate permitted by law, whichever is less, on each such obligatton from the day it is due until
           received by Landlord. Notwithstanding the foregoing, no interest shall accrue on any Late Charges under thls Lease
           as defined in Paragtaph 3.S below.

                    3.5       Late Charges Tenant acknowledges that late payment by Tenant to L<indlord of rent will cause
           Landlord to incur costs not contemplated by this Lease, the exact amount of such costs being extremely difficult and
           impractical to fix Such cos!s include, without limitation, processing, adminlstration and accounting charges. If any
           installment of any item of rent due.from Tenant ts not received by Landlord withiu five (5) business days of when
           due, Tenant shall pay to Landlord an additional sum equal to six percent (6%) of1he overdue rent as a late charge
           The pat1ies agree that this late charge represents a fair and reasonable estimate of the costs that the Landlord will
           incur by reason of fate payment by Tenant. Accept.Ince of any late charge sl1all not constitute a waiver of Tenant's
           defuult with respect to the overdue amounts, nor prevent the Landlord from exercising any of the other rights and
           remedies available to Landlord hereunder. The payment of a late charge shall be in addition to any interest payable
           by Tenant under Paragraph 3.4 (Interest on Past Due Obligations). In addition to the charges provided for above,
           Tenant shall pay a charge ofFifty Dollars ($50.00) to Landlord for each check returned fur insufficient funds and
           One Hundred Fifty Dollars {$150.00) for each "three (3) day pay or quit" notice

                       3.6       Intentionally Deleted

           4.          USE:

                    4.1       Permitted Use. The Premises shall be used and occupied by Tenant and fur the use and
           purposc{s) specified in Item 9 of the Basic Lease Provisions and under no other trade names and for no oilier use or
           purposes, i11c[uding, but not limited to, unlawful, immoral, "secondhand" or used merchandise, distress goods,
           surplus stores or auctions. Tenant shall not pemtit any act to be done in, upon or aboutthe Premises which would
           increase the existing rate ofinsurance upon the Premises, or cause 1l1e cancellation of any insure.nee pollcy covering
           the Premises, nor shall Tenant sell orpem1itto be kept, used or sold in, upon or about lhe Premises .any article which
           may be prohibited by a standard fonn policy of fire insurance. In the event that Tenant's use increases said rate or
           causes the cancellation of a policy of insurance, Landlord may charge Tenant, as Add1tiooa! Rent, the additional cost
           of insurance; or Landlord, at its option may cancel the Lease. Landlord does not represent nor warrant that the
           Premises can be used for any specific use or purpose, and it is incumbent upon Tenant to ascertain from the proper
           govemroental authorities whether the Premises may be used for Tenant's intended use.

                       4.2       Hazardous Materials Indemnjtv.

                               (a)      Tenant shall not cause or pem1it the presence, use, generation, release, discharge, storage,
            disposal or transportaf:Ion ofany "Hazardous Materials" on, under, in, about, to or .from, the Premises and/or the
            Property; provided that the presence or use of Hazardous Materials (a) in products required for the prudent and
            ordinary management and operation oflhe Premises as a car wash and auto detail facility and (b) held and used
            strictly in accordance with (i) all apphcable federal, slate or local laws, regulalions or orders, (i1) guidelines issued
            by any national or regional board ofinsurance underwriters, and (iii) prudent slandar<ls of practice sliall not be
            deemed in violation of this provision

                               (b)      As used herein, the term "Haillrdous Materials" shall mean any toxic or hazardous
            substance, material or waste or any pollutant or contaminant or infectious or :radioactive ma1erial, including but not
            limited to those substances, materrals or wastes regulated now or m the future t1nder any of the following statutes or
            regulations promulgated thereto: {a) any "hazardous subslance" within the meaning of the Comprehensive


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         Environmental Response, Compensation and Liability Act of 1980, as amended ("CERCLA") 42 U S.C § 960 l, et
         seq. or t.be California Hazardous Substance Account Act, Cal. Health and Safely Code§ 25300 et seq. or the
         Porter-Cologne Water Quality Act, Cal. Water Code§ 13000 ct seq. or tbe Hazardo1ts Materials Transportatron
         Act, 49 U.S.C. § J 801, el seq.; (b) any "hazardous waste" within the meaning ofthe Resource Conservation and
         Recovery Act, 42 U.S.C. §§ 6901 et seq.; (c) any"pesbcide" or "economic poison" as defined in Cahfornia Food &
         Agncultural Code§ 12753 and any regulations promulgated in connection therewith; or (d) any other substance,
         chemical, waste, toxicant, pollutant, pesticide or contaminate regulated by any federal, state or local law, slalute,
         rule, regulation or ordinance for the protection ofhealtli or the environment ("Environmental Laws"), mcludiag,
         without limitation, methane and any petroleum products or fractions thereof and any asbestos-<:ontaining materials

                           (c)        If Tenant's use of the PrelTIJses may involve the storage and/or use ofHazardous
         Materiafs as defined herem, Tenant, Ill addition to its covenants defined above, fiuther covenants, agrees, warrants
         and represents that it will comply with all Environmental Laws, rntes, tegulations, ~ourt decisions, municipal codes
         and ordinances regulating such storage and/or use of Hazardous Materials, including without limitation Cl1apter 6.95
         ofthe California Health and Safety Code; and to pcnnit Landlord to monitor such compliance, without the
         assumption of any liability by Landlord nor any obligation of Landlord to so momtor, Tenant covenants and agrees
         to provide 10 and/orpem1it Landlord:

                                     (1}     To review and approve prior to submission to any govemmental agency all
         applications with respect to the handling, storage and/or use of Hazardous Materials in, on or about tlte Premises,
         including without limitation apphcations to the County Hazardous Materials Management Division ("HM:MD")
         and/or to Air Pollution Control District {"APCD"), and after such s1.1bmiss1on to provide Landlord with a copy of all
         responses, notices, comments or other communications with said governmental agencies; and

                                      (2)      To receive and review a copy of all completed and approved "Business Plans",
         as defined by the statutes, and all updates, renewals, or replacement "Business Plans" when submitted and all
         responses, notices, comments or communications with any governmental agencies regarding same; and

                                     (3)      To receive and review a copy of all notices, reports, comments or
         communications relating to any govern menial inspection, complaint, mvestigatioo or other matter relating to
         Tenant's storage, handling or use of Hazardous Materials at, on, in or about the Premises, and

                                    (4)      To receive and review a copy of any and all E.P.A. numbers, County Health
         Department pennits, APCD permits, contracts with certified hazardous waste haudlers (and all credentials and
         certifications ofsucb handlers), and all schedules for delivery, pick-up and disposal of Hazardous Materials to or
         from the Pcemiscs; and

                                   (5)      To immediately notify Landlord of any leaks, spills, emissions, release or
         suspected release of any Hazardous Materials at, on, in, under, above or about the Premises from any cause or
         source whatsoever; and

                                    (6)       To receive and review a copy of all records of every nature that are required by
         law, regulations, ordinance or court order to be maintained by Tenant with respect to the storage, handling or use of
         any HR.Zardous Materials at, on, m, under, above or about the Premises.

                           {d)      Teoant shall exonerate, indemnify, pay and protect, defend (with counsel reasonably
         approved by Landlord) and save Landlord, and its directors, trustees, beneficiaries, officers, slmrcholders, partners,
         members, employees, agents, and invitees and ofthose of the other tenants of the Property (collect1vely, the
         "Related Parties"}, hannless from and against any claims (including, without limitation, third party claims for
         personal injury orreal or personal property damage, actions, administrative proceedings (including informal
         proceedings), judgments, damages, punitive damages, penalties, fines, costs, taxes, assessments, liabilities
         (including sums paid 1n settlements of claims), interest or losses, including reasonable attorneys' fees and expenses
         (inc uding any such fees and expenses incurred in enforcing this Lease or collecting any sums due hereunder),
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        consult311t fees, and expert fees, together willl all other costs and expenses of any kind or nature (collectively, the
        "Costs'') that arise directly or indirectly m connection with the presence, or release, caused by Tenant of any
        Hazardous Materials in or into the air, soil, ground water, surface water or improvements at, on, about, under or
        within the Property, or any portion thereof, or elsewhere in connection with the transportation of Hazardous
        Materials to or from the Property or the Premises by or on behalf of Tenant. The indemnification provided in this
        Paragraph shall specifically apply to and include claims or actions brought by or on behalf of employees ofTenant.
        Io the event that Landlord or any of the Related Parties shall suffer or incur any such Costs, Tenant shall pay to
        Landlord or such Related Parties, the total ofall such Cosls suffered or incurred upon demand therefor, which
        demand shall be accompanied by an accounting and copies of back up documentation for such Costs. Without
        limiting the generality ofthe foregoing, the indemnification provided herein shall specifically cover Costs Including,
        without limitation, capital, operating and maintenance costs, iacum:d m connection with any investigation or
        monitoring of site conditions, any elean-up, containment, remedial, removal or restoration work required or
        performed by any federal, state or local governmental agency or political subdivision or performed by any non-
        governmental entity or person because of the presence, orrelcase, caused by Tenant of any Hazardous Materials in
        or into the air, soil, ground water, surface water or improvements at, on, about, under or within the Property (or any
        portion thereof), or elsewhere in connection with the transportation of Hazardous Materials to or from the Property
        er the Premises by or <m behalfof Tenant, and any claixns of third parties for loss or damage due to such Hazardous
        Materials This indemnification shall suNive tlte termination of this Lease and shall be binding upon the Tenant and
        ifs successors in interest whenever such threat, claim, or cause of action may arise. Tenant expressly waives any
        defense concerning cons!ructive eviction or rent abatement with respect to such claims arlsiag from the a<:t or
        omission ofTenant.

                    4.3        Compliance with Laws. Tenant and Landlord shall promptly comply w1th all Jaws, ordinances,
        zoning restrictions, rules, regulations, ortlers and any requirements ofany duly constituted public authorities now or
        hereafter affecting the use, safety, cleanliness or occupation oftl1e Premises. Tenant's use ofthe Premises shall not
        adversely affect Landlord's use of the Proper1y and tlie use of the Property by other tenants. Any alteration or
        imprcvement to the Premises or the pmvidtng of any auxiliaxy aids or services required by any statute, ordlnance,
        governmental regulation -0r court order in order for Tenant to conduct business shall be undertaken at Tenant's sole
        cost and expense in the manner provided in Article 5 below. Landlord shall have the absolute rigbt to can<:el this
        Lease, upon thirty (30) days written notice to Tenant, in the event that Tenanl's plans fur construction or subsequent
        use ofthe Premises shall adversely affect the allocation of available energy requirements or other utility services to
        Landlord or other tenants within the Property.

                   44       No Nuisances Tenant shall not commit or permit any nuisance, act or other thing which may
         disturb the quiet enjoyment of the other tenants of the Property.

         5.           ALTERATIONS AND ADDITIONS:

                   5.1      General Tenant shall not make any non-structural interior alteratrons, improvements or additions
         to the Premises without obtaining Landlortl's prior written consent, which shall not be unreasonably withheld. Any
         sucb improvements, excepting movable furniture and trade fixtures, shall become part of the realty and belong to
         Landlord upon their completion of construction. Tenant shall, at its sole cost and expense, obtain all necessary
         governmental pennits and approvals, and pay for a\\ assessments, taxes and charges associated with such work. All
         alterations and improvements shall be in confonnity with the laws of all applicable duly constituted public
         authorities and shall be done tn a good workmanllke manner. Tenant shall not make any structural changes or
         chaoges to the exterior of the Premises including but not limited to peni?tration of roof or alteration or relocation of
         windows or doorways or exterior walls or tile affixing or setting of satellite dishes, antennae, lighting, electronic or
         other devices without Landlord's prior written consent, which may be withheld in its sole and absolute discretion.
         All alterations, additions, repairs or chaages to be made to the Premises which require Landlord's approval shall be
         under the supervision of a competent lic:ensed architect and/or competent licensed structural engineer and made in
         accordance with plans and specifications submitted to and approved by Landlord before commencement of work.
          Landlord reserves the rigl1t to retain or hire an architect or engineer to review said plans and specifi<:ations, aod the
          reasonable cost ofsuch professional fees shall be reimbursed by Tenant to Landlord. All such work shall be
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         perfonned by a hcensed and insured contractor, approved by Landlord, and if requested by Landlord, a oompletron
         bond naming Landlord as the beneficiary shall be provided by Tenant.


                  5.2      No Liens, Prior to commencing any work relating to any altera!tons, ir11prove11tenfs or additions
         approved by Landlord, Tenant shall notify Landlord in writing of the expected date of commencement. Tenant shall
         not commence the making of any approved allerations untrl after Landlord shall have received notice of the
         commencement date thereof, in order that landlord may post and record any approptiate Notice ofNon-
         Responsibiitty. Landlord shall have the right at any time to post and maintam on the Premises such notices as
         Landlord reasonably deems necessary to :protect Landlord and the Premises from mechanic's 1iens, materja] men's
         hens or any other liens. In performing the work on any such alterations, improvements oradditlons, Tenant agrees to
         cooperate with Landlord in arranging and undertaking such work so as to minimize any adverse impact and business
         interruption ofTenant, Landlord or any other occupant off he Property, and to diligently complete all such work. In
         no event shall such work be performed in a manner that obstructs access to the Property or to the Premises of any
         other occupant of the Property. Tenant shall pay, wlten due, aU claims for labor or materials furnished to or for
         Tenant for use in improving !he Premises. Tenant shall not pennit any mecharuc's or material men's liens to be
         levied against the Premises arising out of work performed, materials furnished, or obligations to have been
         per!Onned on the Premises by or at the request of Tenant. Should any mechanic's or other lien be filed against the
         Premises, Property, or any part thereof by reason of Tenant's acts or omissions or because ofa claim against Tenant,
         Tenant :5hall cause the :5ame to be canceled and discharged of record by bond or othenvise within 1en (l 0) business
         days after notice by Landlord. Tenant hereby agrees to indemnify, hold harmless, defend and protect Landlord
         against loss, damage, attorney's fees and all other expenses on account of claims of hen oflaborers or material men
         or others for work performed or materials or supplies furnished for Tenant or persons claiming under it

                  5 .3     Trade Fixtures. Tenant shall install trade fixtures, machinery or other trade equipment in
         conformance with the ordinances of all applicable duly constituted public authorities and for a first class operation
         of Tenant's business, and Tenant shall maintain its operation in such first class condit10n Tenant may and upon
         Landlord's request shall, at Tenant's sole cost and expense, remove any ofsuch trade fixtures or machinery upon the
         tennination of this Lease, pro\•ided Tenant is 1101 lben in default uuderthe terms and conditions ofthis Lease.

         6.     UTILITIES:

                 6.1       Responsib11ily for Payment. Tenant shall pay for all water, sewer, gas, heat, light, power,
         telephone service and any other services or utility provided to the Premises.

                   6.2      Tenant's Share In the event that any utilities are furnished by Landlord, Tenant shall pay to
         Landlord its pro rata share of the cost thereofin the manner set forth in Paragraphs 11.2 and 11.3 (payment of
         Common Atea Expenses). Tenant's pro rata share shall be based upon the percentage set forth in the Item 3(e) of the
         Basic Lease Provisions and (b) any extraordinary use whrch may be made by Tenant, as reasonably determined by
         Landlord in its sole and absolute discretion. lfany utilities are furnished by Landlord directly or indirectly through
         Joiri! metering, Landlord shall not be obligated to continue to provide such service ifTenant is in default under the
         terms hereof.

                 6.3        Non-liabilitv ofumdlord Landlord shall not be liable for any failure or interruption for any
         reason of any utility serV1ce being furnished to !lie Premises.

                  6.4       Separate Metering Tenant may elect, subject to Landlord's reasonable approval, to install and
         maintain its own meter for any utilities which are jointly metered by written notice delivered to Landlord thirty (30)
         days prior to the initiation by Tenant of any work to effectuate such change. All separate meters shall be installed
         and maintained at Tenant's sole cost and expense.




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         7.       INDEMNIFICATION:

                    7l       Tenant's Indemnitv Obligation. Tenant does hereby agree to indemnify, hold harmless, defend,
         and protect Landlord, its employees, agents, partners, contractors, invitees and licensees from and against any and
         all suits, actions, damages, claims, liability and expense in connection with loss by reason ofinjury to person or
         property from caused by ille negligent act or omission ofTena.nt, its employees, agents or contractors, invitees, or
         licensees, arising from or out of any occurrence in, upon, at or from the Premises, or the occupancy or use by Tenant
         of the Premises or any part thereof, including without limitation acts or omissions relating to the sidewalks and
         Common Areas, as hereafter defined, witlun the Property

                   7.2       Landlord's Indemnity Obligation Landlord does hereby agree to indemnify, 11old harmless,
         defend, and protect Tenant, its employees, agents, partners, contractors, invitees and licensees from and against any
         and all suits, actions, damages, claims, liability and expense in connection with Joss by reason ofinjmy to person or
         property ftom caused by the negligent act or omission of Landlord, its employees, agents or contractors, invilees, or
         licensees, nrising from or out of any occurrence in, upon, at or from the Premises, or the occupancy or use by
         Landlord of the Premises or any part thereof, including without limitation acts or omissions relating to the sidewalks
         and Common Areas, as hereafter defined, within the Property.

                  73       Release of Landlord. Except for loss or damages arising from the acts or omissions ofLandlord or
         Landlord's Related Parnes constituting sole negligence, gross negligence, or willful misconduct, Landlord shall not
         be responsible or liable at any time for any loss or damage to Tenant's merchandise, equipment, fixtures or other
         personal property or to Tenant's business, including without limitation any loss or damage to either the person or
         property of Tenant or loss of profits or otherwise that may be occasioned by or through the acts or omissions of
         persons occupying adjacent, connecting, adjoining or other space iu 1he Property or by or through the acts or
         omissions of Landlord, its employees, agents, contractors, invitees or licensees Tenant shall store its property in and
         shall use and enJOY the Premises and the Common Areas of the Property at its own risk, and hereby re!eBSes
         Landlord, its employees, agents, contractors, partners, invitees, and licensees, fo the fullest extent permitted by law,
         from all claims of every kind, including without limitation, leakage ofany nature, resulting in Joss of life, personal
         or bodily mjury, or property damage, except for loss or damages arising ftorn 1he acts or omissions of Landlord or
         Landlord's Related Parties constituting sole negligence, gross negbgence or willful misconduct.

                   7.4      Notice of Loss. Tenant shall give prompt notice to Landlord in case of fire or accidents or other
         losses in the Premises or in the building of which the Premises are a part or m the Common Area as well as of any
         defects therein or in any fixtures or equipment located therein.

                  1.5      Survival of Lease Termination. Tenant's obhgations under Paragraphs 4.2, 7 .1-7 .S inclusive,
         21.1, and 27.J shall survive the tenniuation of this Lease for any reason whatsoever, 1f1he incident requiring such
         defense occurred during the Lease tenn or othenvise directly or indirectly relates to tT1e perfonnance of any party
         under this Lease. None ofthe mdemmly obligations provided for in these Paragraphs 7 1-75 inclusive, or m
         Paragraph 4.2 shall require any payment as a condition precedent to recovery.

         8.        INSURANCE:

                   8.1        Insurance Coverage by Landlord

                           (a)     Landlord shall maintain, at Tenant's expense as provided in Paragraph 8.J(b), a policy or
         policies ofrnsurance protecting agatnst the following.

                                     (I)     Fire and other perils nonnally included in extended coverage insurance to the
         extent ofat least ninety percent (90%) of the replacement value of the Premises, exclusive of personal property,
         trade fixtures and equipment belongmg to Tenant and improvements and betterments made to the Premises by
         Tenant for which Tenant shall maintain fire and other perlls insurance, which shall also name Landlord and its
         1JTdcrs as additional msureds.
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                                    (2)      Public liability and property damage insurance with respect to the Common
          Areas in an amount not less than Two Million Dollars {$2,000,000) combined single limit for both bodily injury and
          property damage_

                            (b)     Tenant shall pay to Landlord, as Additional Rent in the manner set forth in Paragraph
          11.3 (Payment of Common Area Expenses), Tenant's pro rata share of the cost of the msurance required in
          Paragraph 8.1 (a). Tenant's pro rata share of such cost shall be that proportion of the annual premiums for insurance
          based upon the percentage set forth m Item 3(e) oftbe Basic Lease Provisions.
                     .)
                    8.2           Insurance Coverage by Tenant

                               (a)      Contents Jnsurance. Tenant shall maintain in force a policy or poltcies of special peril
          contents insurance, including without limitation vandalism and malicious mischiefC-Overage, sprinkler leakage
          coverage and plate glass coverage fur the Premises, with respect to Tenant's personal property, trade fixtures and
          equipment located in tlie Premises and all improvements and belteT!11ents to the Premises made by Tenant to 1he
          ex.tent of at least ninety percent (90%) oftheir insurable value.. During the tenn of this Lease, the proceeds of any
          such poltcy or policies of contents insurance shaU be used solely for the repair or replacement of the property so
          insured. Landlord shall have no c[aim or interes1 in said insurance and wilt sign llli documents necessary to
          effectuate the settlement of any claim or Joss by Tenant.

                              (b)        Liability Insurance. Tenant shall ma1ntain during the term of this Lease worker's
          compensation insurance as required by applicable law and commercial liabl!ity insurance wlth respect to the
          Premises, all assumed liabihties by Tenant pursuant to Paragraphs 4 2and 7.1-7.5 inclusive, product liability and -all
          owned or non-owned and hired vehicles utilized in Tenant's bus mess, adequate to protect Landlord as provided
          hereinafter. Such policy or policies ofliability insurance shall add as additional insureds, Landlord and each of tis
          partners, affiliates, directors, agents, employees, and lenders, and shall expressly provide that the interest of
          Landlord therein shall not be affected by any breach by Tenant of any policy provisions. Initially, such policy of
          hab1lity insurance shall be in an amount not less than Three Mmion Dollars ($3,()00,000.00) combined single limit
          for both bodily injury and property darn age. The amounts ofsuch liability insurance shall be increased from time to
          time, as Landlord or Landlord's mortgagee <ir beneficiary may reasonably determine. All insurance policies requu:ed.
          hereunder shall be obtained upon an "occurrence" basis and rtot as "claims made" policies (except for any
          professionat liability insurance which may be on a ''claims made" basis). All !iabtlity, property damage, and other
          liabili1y policies o fTenant shall be wrnten as primary policies, aot contributmg with and not in excess of coverage
          which Landlord may carry. All such policies shall contam a provision that Landlord, and its lenders, although
          additional 1.11suteds, slraU \levertheless be named as loss payees and be entitled to recover under said policies for any
          loss occasioned to it, its employees, agents, contractors, invitees and licensees by reason of1he negligence of
          Tenant, its employees, agents, contractors, invitees and licensees. Tenant shall furnish Landlord with a certificate-Of
          insurance with attached endorsements with respect to such policies prior to Tenant's entry mto 1hePremises Such
          policies shall be secured from insurance companies with a Best's rating of A· Class \Ill or better and provide by
           endoisement that they may not be canceled or altered without sixty (60) dnys prior '\Titten notice delivered by the
           insurer to Landlord andfor its lenders_

                   8.3      Waiver of Subrogat.ron Landlord and Tenant hereby release and relieve each other from liability
          and waive all right to recover against each other for any loss or damage arising out of or incident to the perils
          covered under their respective policies ofinsurance, which perils occur in, on or about the Premises, as a result of
          the negligence of Landlord or Tenant or their respective agents, employees, contractors and/or invitees Landlord
          and Tenant shall, upon obtaining the policies ofinsurance required under this Lease, give notice to their respective
          insurance carrier(s) that !he foregoing mutual waiver of subrogation is contained in this Lease, and shal! pmvide to
          the other appropriate endorsements of such waiver from the insurers.




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         9        CARE OF THE PREMISES;

                  9. l     Tepant's Obligations

                            (a)      General. Tenant shall, at its expense, keep the Pre1mses and exterior and interior portions
         thereof, including without limitation windows, doors, and all other glass or plate glass fixtures, in a neat, clean,
         sanitary and safe condition, and shall keep the Premises fice from trash, rnbbish and dirt. Tenant shall be solely
         responsible for glass breakage in 1he Premises, whether due to vandalism or otherwise Tenant shall immediately
         make all repairs or replacements thereon <>r therero, whether ordinary or extraordinary. If Tenant fails to keep the
         Premises neat, clean or in reasonable repair, Landlord may, rn its sole discretion, enter the Premises during
         reasonable hours in order tQ dean or repair sime. Tenant shall immediately pay to l..andlord its actual cost thereof as
         set forth in Landlord's statement submitted to Tenant for payment, provided, however, any such payment shall not
         be deemed a cure of Tenant's default and Landlord shall have all rernedtes available to it under Article 18 herein.

                             (b)     Equipment and Fixtures Tenant shall, at its sole cost, keep and mai11Cain all utilities,
         fixtures and mechanical equipment used by Tenant in good order, condition and repair. Said items shall inc1ude, but
         are not limited to, all plumbing or sewage fucilities, doors, locks and closing devices, windows (including glass},
         lights, electric systems and equipment of every kind. Tenant shall pay to Landlord io the manner set forth in
         Paragraph l L3 (Payment of Common Area Exp eases), Tenant's pro rata share of the cost ofany maintenance
         agreement forlhe Property. Tenant's pro rata share shall be the proportion of the cost of any maintenance agreement
         based on the percentage share set fortll in Item l (e) of the Basic Lease Provisions.

                  9.2       Landlord's Obligations.

                            (a)       General. Landlord shall keep in good condition and repair the roofand structural
         components of the Premises, but the cost thereof shall be prorated based upon the percentage share set forth in Item
         3 (e) ofthe Basic Lease Provisio11s and shall be paid by Tenant in the manner set forth in Paragraph 11.3 (Payment
         of Common Area Expenses). Landlord sl1all have no obligatlOn to make any such repairs until Landlord has received
         written notice from Tenant with respect to the need for such repairs. Landlord shall not be deemed to be 10 defuult
         with respect to its obligation torepauunless and until Landlord has {1) received said written notice and {2) fuiled to
         make such repairs within a reasonable period following receipt of said notice Landlord shall, after receiving wriUen
         notice, exercise due diligence in making such repairs.

                             (b)       J.,andlord's Right of Access. In order to perform any of its obligations under this Lease,
         Landlord hereby reserves to itselfand its successors the right ofaccess to the exterior walls and roof of the Premises
         and t11e right to install, maintain, use, repair and replace pipes, ducts, conduits, and wires through the Premises in
         locations wluch will not materially interfere with Tenant's use thereof

         10.      TAXES:

                   IO.I     Personal Property Taxes Tenant shall pay prior to dehnqucncy all taxes, assessments, license
         fees, and other public charges levied, assessed or imposed-Or which become payable durmg the term ofthis Lease
         upon any trade fixtures, furnishings, equipme11t and all other personal property ofTenant insfalled or locafed in the
         Premises. Whenever possible, Tenant shall cause said trade fixtures, furnishings, equipment and personal property to
         be separately assessed. ff, however, -any or al! ofsmd items shall be assessed and taxed wrth the Premises' real
         properly, Tenant shall pay to Landlord such taxes as are attributable to Tenant's trade fixtures, furnishings,
         equipment and personal property within fifteen (15) days after receipt of any invoice from Landlord advising Tenant
         of the taxes applicable to Tenant's property.

                    10 '2    Real Estate Taxes. Tenant shall also pay in the manner set forth in Paragraphs l l .2 and 11.3 any
         and :all "real estate taxes" (as hereafter deemed) assessed or imposed, or which be<:ame a lien upon or become
         chargeable against or payable in connection with the Premises, including Tenant's pro rata share ofsuch real estate
         taxes which are attributable to the Common Areas. Real estate taxes for the last year of the term of this Lease shall
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         be prorated between Landlord and Tenant as of the expiration date of the Lease term With respect to any
         assessments which may be levied against or upon the Premises, or which UJJdcr the laws then in force may be
         evidenced by improvements or other bonds and may be patd in annual installments, only the amount of such annual
         installment, with appropriate proration for any partial year, and interest thereon, shall be included within a
         computation of taxes and assessments levied against the Premises Tenant shall be responsible for all increases in
         real estate taxes attributable to or caused by any organization, re-organization, purchase, sale, merger, acquisition or
         consolidation of Tenant, Tenant's assets or Tenant's business or by reason of any sale, assignment or recording of
         any transfer ofinterest in the Premises or the Property by Landlord, but only to the extent of Tenant's share as set
         forth in this Paragraph 10.2 herein.

                   I03      Definition of Real &rate Taxes

                            (a)          "Real estate taxes" shall mean and include each of the following:

                                     (1)      Any form of assessment, license lee, license tax, business license fee, business
         license lax, commercial rental tax levy, charge, penalty, bond or tax, imposed by any authority having the direct
         power to tax, including any city, county, slate or federal government, or any school, agricultural, lighting, drainage
         or other improvement or special district thereof, as against any legal or equitable interest of Landlord in the Premises
         or in the real property of which the Premises are a part.

                                    (2)       Any tax on Landlord's right to rent or other income from the Premises or as
         against Landlord's business or leasing 1he "Premises.

                                      (3)      Any ;issessment, ta.""<, fee, levy or charge in substitution, partially or totally, or
         any assessment, tax, fee, levy or charge previously included within the definition ofreal property tax, it being
         acknowledged by Tenant and Landford that Proposition 13 was adopted by the voters of the State of California in
         the June 1978 election and that assessments, taxes, fees, levies and charges may be imposed by govemmental
         agencies for such services as arc protection, street, sidewalk and road maintenance, refuse removal and for other
         governmental services fonnerly provided without charge 10 property Owners or Occupants. lt is the intention of
         Tenant and Landlord that all such new and increased .assessments, taxes, fees, levies and charges, and similar
         assessments, taxes, fees, levies and charges be included within the definition of"real property taxes for purposes of
         this Lease
                                      (4)      Any tax allocable to or measured by the Gross Floor Area of the Premises or the
         rent payable hereimdcr, including without hmitallon, any gross income tax or excise tax levied by the State of
         California, any pol iticnl subdivision thereof, city, or federal government, with respect to the receipt of such rent, or
         upon with respect to the possession, teasing, operating, management, maintenance, alter<'<tion, repair, use or
         occupancy by Tenant of the Premises, or any portion thereof.

                                      (5)      Any tax upon this transaction or any document to which Tenant is a party,
          creating or transferring an mterest or an estate in the Premises.

                             (b)         "Real estate taxes" shall not include Landlord's federal or state income, franchise,
          inheritance or estate taxes.

          11.      COMMON AREAS:

                    11. l     Definition of Common Areas The term "Common Area" shall include all areas within the
          Property outside the exterior boundaries ofthe buildings situated thereon, including, but not lirnited to, streets,
          tunnels, dnveways, parking areas, truck ways, delivery passages, access roads, loading doors, sidewalks, ramps,
          open and closed courts and malls, landscaped and planted nreas, slopes, comfort and first aid stations, washrooms
          imd parcel pick-up stations, exterior stainvays, bus stops, retain mg and decorative walls and planters, and other areas
          provided by Landlorrl. andfor other Owners of portions ofthe Property, their employees and invitees Landlord
          reserv. s the right to install kiosks and other free-standing stnictures within the Common Areas, and also reserves the
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         right to make changes, alterations or additions at any ltme and fiom 1ime io lime in 1he size, shape, locat1on, number
         and extent ofthe Common Areas, or any ofthem, so long as such changes, alterations or additions do not materially
         interfere with the TenRnt's use nud quiet enjoyment of the Premises, 11nd no such change shall entitle Tenant to any
         abatement of rent, claim or al!owance for any damages for injury or inconvenience to Tenant occasioned thereby.

                    11.2 M~iotenance of Common Areas. Landlord shall maintain the Common Areas in a near, c!ean and
         orderly condition, properly lighted and landscaped as Landlord, in its reasonable discretion, shall determine. Tenant
         shall pay to Landlord in the manner set forth in Paragraph 11.3 (Payment of Common Areas Expenses) Tenant's pro
         rata share of the expenses (hereafter "Common Areas Expenses") in connection with the maintenance and operation
         of the Common Areas. Tenant's pro ra\a share of Common Areas Expenses shall be the percentage share set fo.rth in
         Item 3(e) of the Basic Lease Pcavisions. If applicable, those common area charges 1hat are attributable to retail
         operations shall be allocated solely among the retail spaces in the Property as opposed to the office spaces. Tenant's
         share of Common Areas Expenses shall also include. any additional costs arising from spectal requirements created
         by Tenant's use offhe Premises. Common Areas Expenses shall include, but shall not be limited to, (a) all sums
         expended and costs incurred in connection with the Common Areas for maintenance, landscaping, pest control,
         lighting, cleaning, trash removal, painting, restriping, repaving, resurfacing, sweeping, security, fcre protection,
         sprinkler and irrigation systems; maintenance and repair of sidewalks, curbs and signs (which Tenant or other
         occupants oftheProperty are not obligated totepair); (b) operating, managing, policing, insuring, repairing and
         maintaining the Property and maintaining repairing and replacing roofs of the buildings in the Property; (c)
         operating, insuring, repairing, replacing and maintaining the "Common Utility Facilities" defined to include, but not
         lm1ited to, sanitary sewer lines and systems, gas lines and systems, waterlines and systems, fire protection lines and
         systems, electric power, telephone and communication main lines and systems, HVAC equipment and systems,
         storm drainage a!ld retention facilities and all other utility main lines and systems not exclusively serving the
         premises ofany specific tenant; (d) parking charges, surcharges and other levies, assessments, or any other costs
         imposed or assessed by any local, state or federal government agencies in connection with the use of the parking
         fucilities andfor the Common Utility Facilities, real and personal property taxes and assessments on the
         improvements and land comprising the Common Areas, depreciation and maintenance on operating machinery and
         equipment (if owned) and rental paid for such machinery and equipment (if rented) which machinery and equipment
         is used sole!yforthe<>peralion and maintenance oftbe Property; and (e) public liability and property damage
         insurance on the Common Areas and Common Facilities, fire with extended coverage insurance with vandalism and
         malicious mischief endorsements with, at Owner's option, earthquake damage andfor hazardous waste
         endorsements, rental loss coverage and any additional coverages required pursuant to Paragraph 8.l. In the event
         that any alteration, removal, replacement or repair is required to be made to any equipment or any portion of the
         Property pursuant to governmental authority, statute, law or court order, afl expenses associated therewith shall be
         included in Common Ateas Expenses unless such expenses are born by a specific tenant or occupant of the Property.
         Common Area Expenses shall include property ma11agement costs, Property Management Costs shall not exceed ten
         percent (I-0%) of the gross base rents received for the entire Property.

                   11.3     Payment of Common Areas Expenses. Prior to the commencement of each lease year or such
         other annual accounting period ns Landlord shall utilize from time to !Jmc, Landlord shall give Tenant a written
         estimate of the Additional Rent payable by Tenant during the corning year. Tenant shall pay such estimated amount
         to Landlord in equal monthly l11Slallmeots, in advance, at the same time the Base Monthly Rent is paid. Within
         ninety (90) days after the end ofeach lease year, or sucl1 other annual accounting period as Landlord shall utilize
         from time to time, Landlord shall furnish to Tenant a statement showing in reasonable detail the actual costs
         incurred by Landlord for the operation and maintenance of the Property during 1he year then ended, and Tenant sl1all
         pay to Landlord Tenant's proportionate share of the cost incurred in excess of the payments of Additional Rent made
         by Tenant within ten (10) days ofreceipt ofsuch statement. In the event that the payments 1:lf Additional Rent made
         by Temmt exceed Tenant's share of the actual cost of the operation and mafolenance of the Property, the amount of
         any such excess shall be credited by Landlord to fhe Additional Rent next due and owing; provided, however, that, if
         the Lease term has expired, Landlord shall accompany said statement with the amount due to Tenant.
         Notwithstanding the foregoing, Landlord shall have the right to submit statements to Tenant for unbudgeled
         Common Area Expenses incurred on an emergency basis, and Tenant shall remit payment on such statement~ for its
         pro rata share of such Common Area Expenses within thirty (30) days ofreceipt of same. Tenant hereby

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         acknowledges that major tenants aod tenants of kiosks and similar structures, may not pay Common Area Expenses
         and other Additional Rent charges on the same basis as Tenant herein.

                   ! 1.4   Use of Common Areas Tenant shall have for its use and benefit the nonexclusive right in
         common witfl Landlord and future Owners, other Occupants ofthe Property, and their agents, employees,
         customers, invitees, licensees t111d sublessces to use the Common Areas from time to time existing during tlle entire
         tetm of this Lease, or any extension thereof, for ingress and egress, roadway, automobile parking and sidewalks.
         Tenant shall not use any portion ofthe Common Arca for any purpose, other tban as set forth herein, without the
         prior written consent of Landlord, which consent may be withheld in its sole and absolute discretion.

         12.        SIGNS AND ADVERTISING:

                    12.1    Tenant shall not place any sign upon the Prellllses or1he Office Building or any roof thereof,
         without Landlord's prior written COllsent. Notwithstanding the foregoing, Tenant sb.all have the right, subject to
         Landlords written approval ofthe plans, at Tenant's sole cost and expense, to install a sign on the exterior of the top
         of the Office Building, provided Tenant complies with all laws, orders, rules and regulations of all governmental
         a\1thorities havingjurisdiction and othenvise complies with an oftl1e covenants, agreements, terms, provisions and
         conditions of this Lease. Tenant shall send a copy to Landlord, for Landlord's files, any and all permits necessary
         for the above.

                     12.2        Prohibited Advertising.

                           (a)      Tenant shall not, without Landlord's written consent, install any exterior lighting,
         amplifien; or similar devices or use in, upon or about the Premises any advertising media which may be heard or
         seen outside the Premises, such as flashing hghts, searcl1 lights, loudspeakers, phonographs or radio broadcasts.
         Landlord may witlihold its consent in its sole and absolute discretion.

                           (b)       Tenant shall not, without Landlord's wntten consent, which may be withheld in its sole
         and absolute discretion, solicit business in the Common Areas, nor distribute any hand bills or other advertising
         matter in 1he Common Areas

          13.        ENTRY BY LANDLORD:

                    13.1     Pepnit1ed Entzy by Landlord. Landlord and its agents may enter the Premises at any reasonable
         time upon reasonable notice to Tenant, or immediately in the case of an emergency, for the purpose of mspecting the
         same, for the purpose of mnmtaining the Property and for the purpose of making repairs, a{terations, or additions to
         any portion ofthe Property, including the erection and maintenance ofsuch scaffolding, canopies, fences, and props
         as may be required, or for tile purpose of posting notices ofnon-responsibility for alterations, addtttons, or repairs
         Landlord may, at anytime during the last sixty (60) days oft he term of this Lease, enter the Premises during normal
          busi11ess hours to place any usual or ordinaxy "For Leases" signs ami/orto show the. Premises to prospective lessees.

          I 4.       ASSIGNMENT AND SUBLETTING:

                   14. l    Consent Required. Notwithstanding anything to the contrary contained in tins Lease, Tenant shall
          not assign this Lease or any interest herein or sublet, license, grant any concession or otherwise give pemussion to
          anyone other 1han Tenant to use or occupy all or any part ofthc Premises without the prior written consent of
          Limdlor<l, which consent shall not be unreasonably wi1bl1elrl. Any attempted RSsignment, subletting, license or
          concession agreement or change of ownership without Landlord's written consent shall be void and shall confer no
          rights upon any third person. Without in any way limiting Landlord's right to refuse to give such consent for any
          other reason or reasons, Tenant agrees 1hat it would nol be commercially unreasonable to withhold consent, ifin
          Landlord's reasonable business judgment {a) the financial worth as adjusted for inflation and/or net current assets of
          the proposed new Temmt is Iess tban tl1at of the Tenant executing this Lease or of Tenant and Tenant's Guarantor, as
          the case may be, {b) 1lte transferee is not of a character or is not engaged in a business whicl1 is in keeping with the
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         standards of Landlord for tile Premises or the Property, (c) the operation oflhe transferee's business will interfere
         wjth or be in competition to or violate any restriction or exclusive right given rn or contrary to any lease or use of
         aoyother tenant or oc<:upant in the Property, or potential tenant with whom Landlord is negotialmg, or (d) the use of
         the proposed new Tenant may increase the risk of the use, release or mishandling ofHazardous Materials, or (e) the
         puxpose for which the transferee intends to use the Premises is different from that ofTeoant in VJo!ation of this
         Lease or other requirements of the Property. Landlord shall require a reasonable payment, including attomey's fees,
         of not less tl1an One Thousand Five Hundred Dollars (SI ,500.00), to cover ils handling charges for each assignment
         or sublease it is requested to approve. Tile sale, assignment, transfer or disposition, whether for value, by operation
         of!aw, gift, will or intestacy, of(i) twenty-five percent (25%) or more of the issued and outstanding stock ofTcnant
         lfTenant is a corporation, or (ii) the interest of any general partner,jointventurer, associate or co-tenant, if Tenant is
         a partnership, joint venture, association or co-tenancy, or (iii) fhe alienation, l:typothecation, encumbrance,
         mortgaging or other transfer of Tenant's interest in this Lease or in the Premises, shall be deemed an assignment of
         thrs Lease under this Paragraph Notwithstanding the foregoing Tenant sl1all have a onetime right during the first
         three years ofthe Lease to an assigrunent ofthis Lease as part of a merger of Tenant with another non-profit
         corporation.

                  14.2     General Conditions. In the event of any approved assignment or sublease ofthls Lease, Tenant
         shall remain primarily liable on its covenants hereunder for the entire term of any approved sublease. In the event of
         any assignment or sublease, the assignee or sublessee shall agree in writing to perform and be bound by all of the
         covenants ofthis Lease required to be per:furmed by Tenant, including without hmitation all prior, past due and
         future obligations of Tenant. Tenant agrees that any options to extend the term of this Lease are not assignable to a
         subtenant and further agrees that Tenant cannot ex:ercise any option to extend the tenn of this Lease if a sub lessee is
         in possession of the Premises at the time of the exercise of the option. IfLandlord ro elects during the term of this
         Lease, Landlord may require, and Tenant hereby consents to assignee or subtenant paying the Base Monthly Rent
         and Additional Rent, and in the event ofsublease the Landlord's portion of the above-mentioned increase, directly to
         Landlord. Notwithstanding the foregoing, the receipt and retention by Landltird of any rent payment by a proposed
         assignee or subtenant shall not constitute consent 10 such assignment or sublease unless specified in writing by
         Landlord.

                    14.3     Requirements. lfTenant desires at any time to assign th.is Lease or to sublet the Premises or any
         portion thereof, it shall notify Landlord ofifs desire to do so and shall submit in wnting to Landlord (a) the name of
         the proposed subtenant or ass1gne~ (b) 1hc nature of the proposed subtenant's or assignee's business to be carried on
         in t11e Premises; (c) the tem1s and provisions oftfte proposed sublease or assignment, mcludmg copies of any and all
         documents and instruments; (d) a current financial statement of the proposed subtenant or assignee and of any
         additional guarantor proposed for such assignment or subletting; (e} a business plan prepared by tlte proposed
         subtenant or assignee for the remainder of the term of the Lease; (f) a drawing depicting the proposed sign, and (g)
         such other information, financial or otherwise, as Landlord may request concerning the proposed subtenant or
         assignee. As provided in Paragraph 14. l, any request for Landlord's approval ofa sublease or assigrunent shall be
         accompamed with a check in such reasonable amount as Landlord shall advise for the cost of review and/or
         preparation ofany documents relating to such proposed transfer Furthermore, Tenant and the proposed subtenant or
         assignee shall agree that Landlord shall have the right to enforce any and all oflhe tenns of the sublease, as well as
         ofthe Lease, directly against such subtenant or assignee.

                   14.4     Election At any time within fifteen (15) days after Landlord's receipt ofthe information
         specified in Paragraph 14 3 above, Landlord may by written notice to Tenant elect to either (a) accept the proposed
         assigament or sublease to the Premises or the portion thereof as shall be specified in said notice upon tb.e same tenns
         as those offered to the proposed subtenant or assignee, as the case may be; or (b) disapprove and reject the proposed
         assignment or sublease If Landlord does not provide notice or rejection or disapproval within said fifteen (15) tlay
         period, then the proposed assignment or sublease shall be deemed approved. If Landlord rejects the proposed
         assignment or sublease, Landlord shall have the right to tenninate this Lease; provided, however, Tenant shall have
         the right to withdre.w1he proposed assignment or sublease assignment within ten (10) days ofLandlord's notice of
         rejection aod teruunation given pursuant to this Paragraph 14.4, and Tenant sl1all remain in possession under the
         terms of this L~ase. Any 1:onsent gjven to a proposed assignment or sublease shall not be deemed to be a consent to
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         any future assignment or sublease.

                    14.5         Ban]sruptcy.

                           (a)      lfthis Lease is assigned fo My person or enltty pursuant to the provisions oftlte
         Bankruptcy Code, r1 U.S.C Section 101, et seq. (the "Bankruptcy Code"), any and all tnontes or other
         consideration payable or otl1envise to be delivered in connection with such assignment shall be paid or delivered to
         Landlord, shall be the exclusive property oflA\nd!ord and shall not constitute proper1y ofTemmt or of the estate of
         Tenant within the meaning of1he Bankruptcy Code. Any and all mmnes or other consideration constitutmg
         Landlord's property under the preceding sentence not be paid or delivered to Landlord, shall be held in trust for the
         benefit ofLandlord and shall be promptly paid or delivered to Landlord.

                           (b)       Any person or entity to which this Lease is assigned pursuant to the provisions of the
         Bnnkruptcy Code shall be deemed without further actor deed to have assumed all oftheiibligations arising under
         this Lease on and after the date ofsuch assignment. Any such assignee shall upon demand execute and deliver to
         Landlord an instrument confirming such assumption.

                                 (c)     This is a lease of real properly in a center within the meaning ofSection365(b)(3) of the
         Bankruptcy Code.

                   14.6     Limitation ofRcmedy. Tenant acknowledges and agrees that each of1he rights of Landlord set
         forth in Paragraphs 14.1-14.5 are reasonable restrictions on subletting and assignment for purposes of California
         Civil Code Section 195 l 4, and Landlonl shall have no liability to Tenant or to any proposed transferee of Tenant
         for any damages if it is adjudicated tbnt Landlord's consent hns been unreasonably withheld. Tenant's sole remedy
         shall be to have the proposed assignment or sublease declared valid.

         15.        ABANDONMENT:

                  15.1     Tenant's Abandonment Prohibited. Absent Tenant's puor written notice to Landlord and
         Landlord's written approval thereof, whicb may be withheld in its sole and absolute discretion, Tenant shall not
         vacate or abandon the Premises any time during the term of this Lease nor pennit the Premises lo remain unoccupied
         for a period oflongerthan fifteen (15) consecutive days during !he term ofthis Lease. If Tenant shall abandon,
         vacate, or surrender the Premises, or be dispossessed by process oflaw, or otherwise, any persolll!I property or trade
         fixtures belonging to Tenant and left on the Premises shall, at the option of Landlord, be deemed abandoned. In such
         case, Landlord may dispose of said personal proper1y in any manner as permitted by applicable law and is hereby
         relieved of all liability for doing so. These provisions shall not apply if the Premises should be closed and busmess
         temporarily discontinued therein on account ofstrikes, lockouts, or similar causes (other than those ofa financial
         nature) beyond the reasonable control of Tenant.

         16.        BREACH BY TENANT:

                   16.1     Events of Default. Tite occurrence ofany ofthe following shall constitute a default, and if such
         default ts not timely cured shall constitute a material breach of this Lease, by Tenant:

                           (a)      The failure of Tenant to pay or cause to be paid when due any rent, monies, or charges
         required by 1his Lease to be paid by Tenant when such failure continues for a :period of three (3) days after written
         notice thereof from Landlord to Tenant; or

                                 (b)      The abandonment of the Premises by Tenant willun the meaning of Paragraph 15 I; or

                           (c)      The failure of Tenant to do or cause to be done any material act, other th011 paymenh>f
         rent, monies or charges, required by this Lease, or




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                              (cl)    Tenant causing, permittiog, or suffeciog, without the prior written consent of Landlord,
         any material act when this Lease requires Landlord's prior written consent or prohibits such act; or

                           (e)      The occurrence of any event of insolvency or bankruptcy wjth respect to Tenant,
         including any of the following by way of illustration:

                                      (1)      Any general assignment or general arrangement for the benefit of creditors;

                                    (2)      The filing of any petition by or against Tenant 1o have Tenant adjudged a
         baokrupt ora petition forreorganization ~r arrangement under any law relating to bankruptcy, unless such petition is
         filed agamst Tenant and t!1e same fs dismissed wllhm sixty (60) days;

                                     (3)     The appointment of a trustee or receiver to take possession ofsubstantially all of
         Tenant's assets located in the Premises or of Tenant's interest in this Lease; or;

                                     (4)      The attachment, execution or other judicial seizure of substantially all of
         Tenant's assets located at 1be Premises or of Tenant's interest in this Lease.

                              (f)     The falsification of any written report or statenient required to be given by Tenant to
         Landlord under this Lease.

                 16.2     No Waiver. The acceptance by Landlord of any part(al payment of reot due hereunder after
         breach by Tenant will not constitute a waiver of such breach, unless a wrilten statement to tliat effect signed by
         Landford has been delivered to Tenant.

         17.       .REMEDIES UPON BREACH:

                   17.1       I.andlord's Remedies Tn the event of any breach by Tenant, in addition to other rights or remedies
         of Landlord at law or in equity, Landlord shall have the right to exercise any one or more of the following remedies:

                            (a)     Collect Rent Without Terminating Lease. Landlord may recover from Tenant the rent as
         it becomes due and any other amount necessary to compensate Landlord for all detrmcnt proximately caused by
         Tenaat's failure to perform its obligations under this Lease or which in the ordinary course ofthings would be likely
         to result therefrom. Landlord may sue monthly, annually or after such equal or unequal periods as Landlord desires
         for amowits due under this subparagraph (a). The right to collect rent as it becomes due shall tenninate upon the
         termfoation by Landlord of Tenant's right to possession of the Premises. Tenant's right to possession shall not be
         tenninated unless and until Landlord delivecs to Tenant written notice thereof.

                            (b)      Tenninate Lease. Landlord an alternative to exercising the remedies setfortlt m
         Paragraph 17.I (a), may tenninate Tenant's right to possession oftbe Premises by and upon delivery to Tenant of
         written notice oftennination. Landlord shall then mmtediately reenter the Premises and take possession thereof
         pursuant to legal proceedings and remove all persons and property from the Premises. Such property may be
         removed and stored ma public warehouse or elsewhere at 1he cost of and for the account of Tenant No notice of
         tenniuatioo shall be necessary in the event that Tenant has abandoned the Premises. In the event that Landlord elects
         to tenninate Tenant's right of possession, Landlord may recover all of the following:

                                       (1)      The worth at t11e time of award of the unpaid rent which had been earned at the
         time oftem1inat1on. "Worth at the time ofawardp shall be computed by allowing interest at ten percent (10%) per
         annum, or the J1ighest rate allowed at law, which.ever 1s less, from the first day the breacb occurs;

                                  (2)       The worth at the time of award of the amount by which the unpaid rent which
         would have been earned after termination until the time of award exceeds the amount ofsuch rental loss that the

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         Tenant proves could have been reasonably avoided Worth. at the time of award" shall be determined by allowing


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         interest at the rate often percent (10%) per annum, or the highest rate allowed at law, whichever is less, from the
         first day a breach occurs;
                                      (3)      The worth at the time of award by which the unpaid rent fon11e balance of1he
         tem1 after the lime ofl!ward exceeds: the amount ofsuch rental Joss that the Tenant proves cou(d be reasonably
         avoided "Worth at the time of award" shall be computed by discounting such amount at the discount ra1e of the
         Federal Reserve Bank of San Francisco at the time of award, plus one percent (I%);

                                      {4)      Any other amount necessary to compensate Landlord for all the detriment
         proximately caused by Tenant's failure to perfonn its obligations under the Lease or which in 1he ordinary course of
         events would be likely to result therefrom includmg, but not limited to, expenses of relelting, attorney's fees, costs of
         alterations and repairs, recording fees, filing fees and any other expenses customarily resulting from obtaining
         possession ofleased Premises and releasing.

                   17.2       Landlord's Right to Cure. In the event ofbreach, default, or noncompliance under t111s Lease by
         Landlord, Tenant shall, before exercising any right or remedy available to it, give Landlord written notice of the
         claimed breach, or noncompliance in reasonable detail, setting fortb. the necessary actions to be taken to cure such
         default. If, prior to its giving such notice, Tenant bas been noticed in writing (by way ofNotice of Assignmenl of
         Rents and Leases or otherwise) of the address ofa lender which has furnished any financing to Landlord or is a
         beneficiary of any deed of trust recorded against the Premises or the Property, then concu~ntly with giving the
         aforesaid notice to Landlord, Tenanl shall, pursuant to the manner of giving notice set forth in Paragraph 30.9
         below, transmit a copy thereof to such lender or lenders. For thirty (30) days following the receipt of the notice by
         Landlord, Landlord shall have the right to cure such breach or to commence the cure if more than thirty (30) days 1s
         reasonably required to affect such cure, so long as Landlord shall thereafter diligently pursue such cure to a
         complct1on. If Landlord has failed to commence the cure within such thirty (30) day period, then Tenant shall so
         notify Landlord's lender or lenders and provide any such lender with an additional thirty (30) days to effect such
         cure, so long as any such lender shall thereafter diligently pursue such cure to-a completion, (including, but not
         hmited to, commencement and prosecution of proceedings to foreclose or otherwise exercise its rights under its
         mortgage or olher security instrument, if necessary to effect such cure), in which event tb.is Lease shall nol be
         tennioated by Tenant so long as such actions or remedies are being diligently pursued by said lender. lfthe default is
         cured by Landlord or lender as provided above, Tenant shall have no other remedy available to it and this Lease
         shall remain tn full force and efrecl IfLandlord, or lender as provided herein, fails to cure the breach, default or
         noncompliance as set forth herein Tenanl shall have the right to tenninate the Lease upon sixty (60) day notice to
         Landlord and lender aftertbe expiration ofthe applicable lime frames to cure

         18.       DAMAGE OR DESTRUCTION:

                  18.1      Destruction in Whole or Part. In the event that the Premises IS partia(Jy or completely damaged or
         destroyed or declared unsafe or unfit for occupation by any authorized public authority for any reason otllcr than
         Tenant's acts, use or occupation, which declaration requires repairs to either the Premises or the building in whicl1
         the Prcnuses are located, the rights and obligations of Tenant and Landlord shall be as follows.

                           (a)       If the damage is covered under the form of property insurance carried by Laud lord, and
         sufficient insurance proceeds are available to make all necessary repairs, Landlord shall repair such damage llS soon
         as is reasonably possible and tlus Lease shall continue in full force and effect.

                             (b)        ln the event that such damage is not covered, or is "under insured" by the form of
         property insurance camed by Landlord, Landlord shall repair such damage; provided, however, that if such damage
         or destruction ell.-ceeds thirty percent (30%) of the then replacement value of the improvements on the Premises
         (exclusive oflrade fixtures, equipment and founda!lons), Landlord shall have no obligation to repair such damage.
         If Landlord elects not to repair such damage Tenant shall have the right to terminate the Lease upon sixty (60) day
         notice to Landlord and lender.

                             (c)     Notwithstanding anything contained herein above,(\) if the Premises arc.damaged or

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         destroyed to any extent during the Inst twelve (12) months of1he term of this L~se, (2) ifthe uninsured portion of
         such damage exceeds thirty percent (30%) of the then replacement value oft he building ofwluch the Premises
         e-0nstitute all or a part, or (3) if over fifty percent (50%) ofthe Premises shall be damaged or destroyed at any time
         whether such casualty is insured or not, Landlord may, at Landlord's option, cancel and terminate this Lease by
         delivery of written notice to Tenant to so tenniuate. Said written notice shall be made within ninety (90) days after
         the date of occurtencc of such damage or destruction and shall be effective as ofthe date of such notice. If notice is
         not given within said ninety (90) day perJod, Landlord shall be deemed to have elected to restore the damage or
         deslruction and sl1all repair such damage as soon as reasonably possible. Ifthe above occurs and Landlord does not
         elect to tenninate or repair than Tenant shall have the right to terminate the Lease upon sixty (60) day not11:e to
         Landlord and lender.

                    18.2    Rent Abatement. IfLandlord elects or is required to make repairs to the Premises, pursuant to
         Paragraph 18.l above, Tenant shall be entitled to a reduction in the Base Monthly Rent during the time in which the
         repairs are being made to the extent to which Tenant's use oftlte Premises is impaired. Wherever the Lease provides
         for rent abatement, that phrase shall mean Base Monthly Rent and Additional Rent. All rent abatement shall
         te.rm.inate upon the substMtial completion of such repair or restoration.

                  18.3    Restoration of Tenant's Propertv. Landlord's obligation 10 restore shall not include the restoration
         or replacement of Tenant's trade futures, equipment, merchandise or any improvements or alterations made by
         Tenant to the Premises. Tenant shall restore and replace the same io the event that Landlord is obligated or elects to
         repair any damage or destruction of tlte Premises.

         19.        CONDEMNATION:

                   19.1     General. Ifthe Premises <Jr any portion thcreofare taken under the power of emment domain, or
         sold by Landlord uuder the threat of the exercise ofsuch power, this Lease shall terminate as to the part so taken as
         ofthe date that the condemning authority 1akes possession of the Premises If more t11an twenty-five percent (25%)
         of the Premises is taken or sold under such threat, either Landlord or Tenant may tenninate this Lease as of the date
         that the condemning authority takes possession by delivery ofwritten notice of such election within twenty (20)
         days after such party bas been notified of the taking or, in the absence thereof; within twenty (20) days after the
         condemning authority shall have taken possession.

                   19.2     Continuation ofLease After Condemnation If this Lease is not terminated by Landlord or
         Tenant, It shall remain in full force and effect as to the portion of the Premises remaining; provided, however, that
         the Base Monthly Rent and Tenant's share of Common Areas Expenses shall be reduced in proportion to the
         reduction of the Gross Floor Ar.ea ofthe Premises. In such event, Landlord shall, at Landlord's expense, restore the
         Premises to a complete uuit oflike quality and character, except as to size, as existed prior to the date on which the
         condemning authority took possession. Ifmore than twenty-five percent (25%) of the Premises is taken under the
         power of eminent domain, or sold by Landlord under the threat of the exercise of such power than Tenant shall have
         the right to 1em1inate the Lease upon stxty (60) day notice to Landlord and lender

                  19.3      Allocation of Condemnation Awe.rd. All awards for the taking ofany part of the Premises or
         proceeds from the sale made under the threat of the exercise of the Power of eminent domain shall be the property of
         Landlord, whether made as compensation for diminution of value of the leasehold estate, for the taking of the fee, or
         as severance damage; provided, however, that Tenant shall be entitled to any award for loss of or damage to
         Tenant's trade fixtures, and removable personal property which is separately stated within such award. Any other
         claim of Tenant relative to this Paragraph 193 shall not diminish Landlord's recovery in aay respect.

         20.        SURRENDER OF LEASE:

                  20.1     Effect of Surrender. The voluntary or other surrender or a mutual ~ncellation of this Lease by
         Tenant shall not work !l merger, and shall, at the election of Landlord, either tenninate all or any existing subleases
         or subtenancies or may operate as an assignment to it of any or all ofsuch subleases or subtenancies. Landlord shall


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        exercise its election within thirty (30) days of1he event so requiring.

        21.      ATTORNEY'S FEES:

                  21.l      Attorney's Fees. If Landlord is involuntarily made a party defendant to any litigation relating to
        this Lease or the Premises by reason of any act or omission of Tenant, then Tenant shall defend, protect and hold
        Landlord hannless from any loss, cost or expense, including reasonable attorney's fees, arismg out of or relating to
        any such litigation. In the event of any legal action or proceeding belwceu the parties, the ultimately prevailing patty
        shall be entitled to reasonable attorney's fees and expcnses as a part of the judgment resulting therefrom

        22.      SALE, EXCHANGE OR MASTER LE.ASE OF THE PREMISES BY LANDLORD:

                  22.l     Landlord's Residual Liability. Notwithstanding any other provisions oftlus Lease, Landlord may
        assign, in whole or in part, Landlord's interest in this Lease and may sell, exchange or master lease all or part of1he
        real estate of which the Premises are a part. In the event of any sale or exchange of the Premises by Landlord and
        assignment by Landlord of this Lease, Landlord shaU be and is hereby entirely freed and relieved ofall liability
        under any and all covenants and obligations contained in or derived from this Lease or arising out of any act,
        occurrence or omission relating to the Premises which occurs after the consummation ofsuch sale, exchange, or
        assignment. Landlord shall provide Tenant with notice of any assigmnent, sale, exchange or mas!er lease,

        23.       QUIET ENJOYMENT:

                  23. 1    Landlord's Covenant If Tenant is not in breach under the covenants made in this Lease and ltas
        sallsfactorily artomed to any successor in interest to Landlord or any lender of Landlord as provided in Article 25,
        Landlord covenants that Tenant shall have peaceful and quiet enjoyment of the Premises without hindrance on the
        part of Landlord Landlord will defend Tenant in the peaceful and quiet enjoyment of the Premises against claims of
        all persons claiming through or under the Landlord.

        24.      ESTOPPELCERTIFICATES:

                  24. l    Tenant's Obligation. Tenant shall at any tnne during the term of this Lease, within five (5)
        business days of receipt of written notice rrom Landlord, execute and deliver to Landlord a statement in a form
        acceptable to Landlord in writing certifying that this Lease is unmodified and in full force and effect or, if modified,
        stating the nature ofsuch modification. Tenant's statement shall include other commercially reasonable information
        and details requested by Landlord, such as the date to which rent and other charges are paid, Tenant's knowledge
        concerning any uncured defaults with respect to Landlord's obligations under this Lease and the nature of such
        defaults if they are claimed. Any such statement may be relied upon conclusively by any prospective purchaser or
        lender oflhe Premises. Should Tenant shall fail to timely deliver such estoppel certificate to Landlord, Tenant
        agrees that such failure shall be conclusive upon Tenant that this Lease is in full force and effect, except to tbe
        extent any modification has been represented by Landlord, and that there are no uncured defaults in the Landlord's
        perfonnance, and that not more 1han one month's rent has been paid in advance.

        25.      SUBORDINATION; ATIORNMENT; NON·DJSTURBANCE:

                  25.1     Subordjnation of Lease to Landlord's Fjnancipg. Except as otherwise provided herein, this Lease
        is hereby made subordinate to the lien of any mortgage or deed oftrust to any bank, insurance company or other
        lending institution, now or hereafter in force against the real property of which the Premises constitute a part, and to
        all advances made or hereafter made upon the security thereof("Security Instrument"). Any holderofa Security
        Interest at anytime existing or encumbering the Landlord's interest in the Property may, at its option, subordinate its
        Security Interest to this Lease.

               25.2     Attornment by Tenant. In the event of the sale or assignment of Landlord's interest in the
       }ffperty ofwhicI1 the Premises are a part, or in the event any proceedings are brought for foreclosure, or \n the event
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         of the exercise of tile power of sale under any mortgage or deed of trust made by Landford covering the Premises,
         Tenant shall, subject to the non-disturbance provisionsofParagrapl1 25.5 below, anom to the purchaser or assignee
         upon any such foreclosure or sale or assignment and recognize such purchaser or assignee as Landlord under this
         Lease.

                   25.3     Subordination of Lease to Certain Agreements with Third P11rtics. Tenant hereby subordinates its
          rights heteunder to any Declaration ofRestrictions and Grant ofEasements or any other operation and reciprocal
          casement agreement, or any amendments thereto, for access and parking between Landlord and the Owner(s) of any
          property located within or adjacent to the Property whenever, in the reasonable discretion ofLandlord, it is
          determmed that any such agreement would be beneficia\ to the use and operation of the Property

                  25.4     Execution of Documents. Tenant. upon request of any party in interest, shall execute promptly
         such inslruments and certificates, to carry out the in!ent of Articles 24 and 25. If, within ten (10) days after the date
         ofa wnUen request by Landlord to execute such instrumenls, Tenant shall not have executed the same, Tenant shall
         be deemed to have irrevocably appointed Landlord as attorney-in-fact for Tenant with full power and authority to
         execute and deliver in the name of Tenant any such instruments, certificates, and/or documents.

                   25.5     Non-Disturbance. With respect to any Secunty Instrument entered into by Landlord after
          execution of this Lease, and with respect to any requested attomment by Tenant per Paragraph 25.2 above, Tenant's
          subordination oflhls Lease. and Tenant's attomment, shall be subject to receiving a commercially reasonable non-
          disturbance agreement ("Non-Disturbance Agreement") ftom the holder ofsuch Security Instrument, or purchaser or
          assignee of Landlord, which Non-Disturbance Agreement shall provide that Tenant's possession of the Prenuses,
          and this Lease and options to extend the term hereof, will not be disturbed so long as Tenant is not in breach under
          the Lease and attoms to the record. owner ofthe Premises.

          26       HOLDING OVER; SURRENDER:

                    26. l    Effect of Holding Over. IfTenant temains in possession of the Premises after the expiration of the
          tenn of this Lease, including options, if applicable, without executing a new Lease, or after Landlord has declared a
          forfeiture by reason ofn material breach by Tenant, then such holding over shall be construed as a tenancy from
          montft to month, subject to afl the conditions, provisions and obligaltons of this Lease insofar as they arc applicable
          to a month-to-month tenancy. The Base Monthly Rent payable during any period of holding over should be equal lo
          one hundred five percent (105%) of the Base Monthly Rent payable during the period immediately preceding
          Tenanrs holding over, and all Percentage Rent and Additional Rent payments shall also be made as specified within
          this Lease.

                   26.2      Surrender of Premises. At the expiration of this Lease, Tenant sJ1all surrender the Premises in the
          same condition as it was upon delivery of possession thereto under this Lease, reasonable wear and tear excepted,
          and shall deliver all keys lo Landlord. Before surrendering the Premises. Tenant shall, at its sole cost and expense,
          remove all ofits personal property and trade fixtures 31\d such alterations or additions to the Premises made by
          Tenant as may be specified for removal by Landlord, and shall repair any damage caused by such property or the
          removal thereof. IfTenant fails to remove its personal property and fixtures upon the expiration of this Lease, the
          same shall be deemed abandoned aud shall become t11e property of Landlord.

          27.      LIMlTATiON OF LIABILITY:

                   27.l     Agreement by Tenant,

                             (a)      Jn consideration of the execution of this Lease by Landlord, Tenant agrees in the event of
          any actual or alleged failure, breach, or default hereunder by Landlord: (1) The sole and exclusive temedy shall be
          against the partne~h1p and its partnership assets: (2) no partner of Landlord should be sued or named as a party in
          any suit or action {except as may be necessary to secure jurisdiction ofthe partnership); and (3) no judgment will be
          taken gainst any partner of Landlord These covenants and agreements are enforceable both by Landlord and also
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         by any partnerofLand[ord.

                          (b)     Tenant agrees that each ofthe foregoing covenants and agreements shaU be applicable to
         any covenant or agreement either expressly contained in this Lease or imposed by statute or at common law.

         2&.       LIABILITY OF SUCCESSORS:

                  28. I     lnurement. The covenants and conditions herein contained shall, subject to the pro11isions as to
         assignment, apply to and bind the heirs, successors, executors, administrators and assigns ofa!I of the parties hereto
         and all ofthe parties hereto shall be jointly and severally liable for the covenants contained herein

         29.       WSCELLANEOUS PROVISIONS:

                  29.1      Gender and Number, Whenever the singular number is used in this Lease, the same shall include
         the plural, and the masculine shall Include the feminine and neuter gender; and the word "person" shall include
         corporation, form or association, when required by the context.

                 29.2      Captions. The headings or litlcs to fue articles and paragraphs of this Lease are for convenience
         only and do not in any way define, limit or -construe the contents of such articles and paragraphs.

                    29.3     Entire Agreement. This Lease and its exl1ibits contain all of the agreements and conditions made
          between the parties with respect to the leasing of the Premises. Landlord and Landlord's Real Eslate Brokers make
          no warranty or representation with respect to any other tenants or owners which may or may not construct
          improvements, occupy or conduct busmess withm the Property, and Tenant hereby acknowledges and agrees that it
          is not relying on any warranty or representation relating thereto in entenng into 1his Lease. Landlord specifically
          disavows any oral representations made by or on behalf of its employees, agents, and independent contractors, other
          than the express terms ofthis Lease. Tenant hereby acknowledges and agrees that it is not relying on and will not
          rely on any oral representations in entering into this Lease. References upon the exhibits to potential tenants within
          the Property are to be considered generic and are not to be considered as specific representations that any particular
          company, firm, business enterprise will occupy a specific area within the Property. This Lease may not be
          amended, modified, or any of its provisions waived except by a written instrument signed by all the parties to this
          Lease.

                  29.4     Governing Law. The Jaws of the State of California shall govern the validity, performance and
          enforcement of this Lease.

                   29.S      Invalidity; Construction. lfany provision of this Lease is determined to be void by any court of
          competent jurisdiction, such determination shall not affect any other provision of this Lease and such other
          provisions shall remain in full force and effect. If any provision of this Lease is capable of two constructions, one
          which would render the provJSfon void and one which would render the provision valid, the provision shall be
          interpreted in the manner which would render it valid.

                  29.6       Payments. Except as may otherwise be expressly stated, each payment required to be made by
          Tenant shall be. in addition to and not in substitution for other payments lo be made by Tenant.

                   29.7       Time of Essence. Time is oftbe essence of each and every provision of this Lease..

                   29.8      force Ma1curc Any prevention, delay or stoppage due to strikes, lockouts, !abor disputes, acts of
          God, inability to obtarn labor or materials or reasonable substitutes 1herefor, governmental restrictions, regulations,
          or controls, enemy or hostile government action, civil commotion, fire or o1her casualty, and other causes (other than
          financial) beyond the reasonable control of the party obligated to perform, shalt excuse the perfonnance by such
          party for a period equal 10 that rest1lting from such prevention, delay or stoppage, except those obligations ofTenant
          to pay rent and other charges pursuant to the tenns of this Lease.
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                           (a)       All no1ices to be given by one party to tl1e other under this Lease shall be in writing,
         mailed or delivered to the other party at the addresses specified in Item 10 ofthe Basic Lease Provisions.

                            (b)       Marled notices shall be sent by United States Postal Servic:e, cerhfied or registered mail,
         with -return receipt requested, postage prepaid, or by other comparable commercral means, and shall be deemed to
         have been given two (2) days after t!1e date posted by the United States Postal Service or on the date signed as
         received by such other comparable commercial service.

                            (c)       Either party may, by proper notice, at any time designate a different party and/or address
         to whic:h notices shall be sent.

                 29.J 0 )3rokers. Tenant warrants that it has had no deahngs with any real estate broker or agent in
         connection with the negotiation and/or execution of the Lease, except the broker identified in Item 11 ofthe Basic
         Lease Provisions

                  29.11 No Partnership. Notwithstanding any other provision of this Lease, Landlord does not by this
         Lease, in any manner nor for any purpose, become a partner or jomt venturer ofTenant in the conduct of its business
         or otherwise. The provisions of1his Lease relating to Percentage Rent and Additional Rent are included solely for
         the purpose of providing a method whereby such rent 1s to be measured and ascertained.

                  29.12 fees and Permits. Tenant is responsible for the application, payment and approval of all fees,
         licenses and permits necessary to prepare for and complete the opening and continued operalton of its business.

                  29.13 Ru[es and Regulations. Landlord reserves the right to make such reasonable rules and regulations
         as it deems appropriate, in its role discretion, co '1rovide for a more efficient and orderly operation of the Property.
         Tenant covenants and agrees to be bound by and to abide by all such rules and regnlat1ons immediately upon receipt
         of written notice ofsuch rules and regulations from Landlord.

                  29.14 Genera! Interpretation. The terms of this Lease have been negouated by 1he parttes hereto and the
         language used rn this Lease shall be deemed 10 be the language chosen by the parties hereto to express their mutual
         intent. This Lease shall be construed without regard to any presumption or rule requiring conslruction against the
         party causing such instrument or any portion thereof to be drafted, or in favor of the party receiving a particular
         benefit under the Agreement. No rule <Jf strict construction will be applied against any person.

                29.15 Counterpart Signatures. This Lease may be executed in two or more counterparts, each ofwh1ch shall
         be deemed an origmal, but all ofwJuch together shall constitute one and the same instrument. This Lease shall not
         be effective until the execution and delivery between each of the parties of at least one set of counterparts The
         parties authome each other to detach and combine original signature pages and consolidate them into a single
         identical original Any one of such completely executed counterparts shall be sufficient proofoflhls Lease.

                 29.16 Business Day Defined "Business Day'' means a day other than a Saluulay, Sunday, or J101idayon
         which banks, County offices, or U.S. Post Offices are closed in San Diego County; if a date or time period provided
         for in thi.s Lease is or ends on a day other than a Business Day, then such date sliall automatically be extended until
         the next Business Day.

         30.            SPECIAL PROVISIONS:

                        30. \     Not An Offer. THE SUBMISSION OF THIS LEASE BY LANDLORD IS NDT AN OFFER
         A.ND THERE SHALL BE NO AGREEMENT OF ANY NATURE BETWEEN THE PARTIES THAT JS
         BlN~G UPON ANY PART\' HERETO UNTIL THIS LEASE IS FULLY EXECUTED AND LANDLORD

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         HAS CLOSED ESCROW TO PURCHASE PROP.tRTY. LANDLORD IS lN ESCROW TO PURCHASE
         THE PROPERTY ESCROW# SA·4983365 AT FIRST AMERICANTlTLE COMPANY. UPON
         LANDLORD CLOSING ESCROW TO PURCHASE THE PROPERTY TIIE COMMENCEMENT DATE
         SHALL BE MODIFIED TO BE THE DATE TITLE TO THE PROPERTY IS RECORDED IN THE NAME
         OF LANDLORD AND ALL DATES SHALL THEREAFTER RELATE TO REVISED COMMENCEMENT
         DATE.

                   30.2     Legal Representation . .Landlord and Tenant each acknowledge, warrant and represent to the other
         tbat it bas had an adequate opportunity to seek the advice oflegal counsel ofits choice prior to entering into this
         Lease, that such opportunity was undertaken or waived by the free and voluntary act of such party, and that each
         party waives and covenant& to forego and/or forebear from. the assertion of any claim or defense that this Lease is
         not a valid and bindmgobligation upon it by reason of the failure to secure or receive adequate legal representation

                  30 3    General. By insertion of num bcrs w the following bfan ks, Landlord and Tenant acknowledge that
         Paragraph(s) NM... is/are attached hereto and made a part hereof. If numbers have not been set forth in the blank in
         this Paragraph 343, it is conclusive that no additional provisions are a part ofthis Lease..

                   30.4     Non-Discrimination. The Tenant herein covenants by and for itself, its officers, directors,
         successors end assigns and nll persons claiming under or throttgh it, and this Lease is made and accepted upon and
         subject to the following conditions:
                        There shall be no drscnmination against or segregation of, any person or group of persons on account
         of race, color, creed, religion, sex, marital status, ancestry or national ongin in the leasing, subleasing, transferring,
         use, occupancy, tenure, or enjoyment of the land herein leased nor shall the Tenant itself, or any person claiming
         under or through it, establish or permit any such practice or practices of d1scri.mmation or segregation with reference
         to the seledion, location, use or company oftenants, lessees, sublessees, subtenants or vendees in the Premises
         herem leased.

                   30 S     Accessibilil;y Inspection. Landlord 0 has or [8] has not had the Demised Premises inspected for
         disability access by a Certified Access Specialist {"CASp"). The CASp determined that the Property 0 met or 0 did
         not meet all applicable construction-related accessibility standards pursuant to California Civil Code Section 55.53.

                 30.6      Energy Disclosure. Tenant acknowledges that the Premises are a newly constructed building and
          as such Landlord has no historical energy use for the Premises.

                                                        [Signatures on next page]




          _Q~
          O Stephen J. F1tcl1
                                                          LEASE-OFFlCE BUILDING

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          IN WITNESS WHEREOF, Landlord and Tenant have executed this Lease as of the day and year :first abov~ vrritten.
          LANDLORD:                                          TENANT:
          DRP Holdings, LLC.,                               BORREGO COMMUNITY HEALTH FOUNDATION
          s Callfomia limited liability comp11.t1y          a California non-profit public benefit corpoxation



          By: ~~
              Da.cyl R. Priest, MB.!lliger




         Ten nl's ltinls
         0 Strpben J, Fitch
                                                     LEASB-OFFICEBUILDIN:G
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                                      EXHlBlT "A"

                                       SlTEPLAN




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                                                            EXHIBIT"B"
                                                     CONFIRMATiON OF LEASE

         TIIlS CONFlRMATlONLEASE is made and agr~ upou as oftl1is _day of                         2015, by and
         between DRP Holdings, LLC, a California limited liability company C'Landlord"), and BORREGO
         COMMUNITY HEALTII FOUNDATION, a California non-profit public benefit cotporation ("Tenant").

                                                            WITNESSETH.

         Landlord and Tenant have previously entered into a certain lease agreement dated August__, 2015 {"Lease''),
         covering certain premises located at 590 N. D Street, San Bernardino, California, as more particularly described in
         the Lease ePremises").

         NOW, THEREFORE, in connection with the foregoing, the parties hereto mutually agree as fo1lows:

         1.      For the purpose of coafinning the establishment of the Commencement Date, as required by the provisions
         ofthe Lease, Landlord and Tenant hereby agree that:
                                                         ~c:il(n
                   a.         Thedateof   QC.-\:'\     , ~.is hereby established as the ncorrunencement Date" referred to
         in the Lease;

                   b.       The date of OC     +\ ,   'l..Ol(o
                                                       ~. is hereby established as the "Rent Commencement Date"
         referred to in the Lease, upon which Rent and all other items of payment commence to accrue;
                                                       zoqtD
                   c.       The date of Se~30 ,.:w45;is hereby established as the "Expiration Date" ofthe tenn of the
         Lease; and

         2.       This Confinnation Agreement and each and all provisions hereof shall inure to the benefit of, or bind, as
         the case may require, the parties hereto and theirrespective heirs, successors and assigns.

                  IN WITNESS WHEREOF, the parties hereto have executed this instrument as of the date and year first
         written above

         LANDLORD:                                                           TENANT:

         DRP Holdings, Ll...C.,                                    BORREGO CO:MMUNITY HEALTH FOUNDATION
         a California limited liability company                    a California non-profit public benefit corporation



         By~
              Daty) R- Priest, Manager
                                                                   By· ~
                                                                   N~ne~t!&/W.@
                                                                   Its:      Lf o




         Tcmmrslnitiols
                                                        LEASE-OFFICE :BUILDING
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                           EXHIBIT C
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                                           BASIC LEASE PROVISIONS

    The following Basic Lease Provisions constitute n pm t of the Lease to which they are attached.

    1.       Lnndlonl:          DRP Holdings, LLC., a California limited liability company

    2.       Tenant:            Bonego Couu11unily Health foundation, a California 11011-ptofit               public benefit
             corp01ation

    3.       Pl'cmlscs:
             (a)      Aiea: Approximately 15,000 sq. fl. office buflding including app1 oximatel)' 60 pm king spaces
                      ("Office Building" or"Prcmiscs").

             (b)      Location: TJ1e Premises commonly refo11cd to as 750 East Main St1eet, Barstow, California, are
                      depicted on Exhibit "A" attached hereto ("Property").

   4.        Lease Term: The term of this Lease shall be 30 yems and 0 months from the CommeucemeutDate.

   5.        Condltlo11 of Premises:    The Prnmises are accepted "as Is", "where is", and with all faults.

   6.        Rent:

             (fi)     Base Monthly Rent: $60,000.00 pe1 month, subject to adjustment as provided in A1ticle3.

             (b)      Additional Rent: Taxes, Utilities, Insurance, Maintenance, Management and othe1 Expenses shall
                      be based on direct cost or consumption by Tenm1t or upou Tenant's shore of such Expenses.

             (c)      The "Rent Commencement Date" shall be emliet of(i) fom (4) months Hom the elate that
                      Landlord acquires title to the Pi ope1 ty 01 (ii) the date Tenant opens fo1 business.

            (d)       "Tennnt's Shnrc" - 63%

   7.       Prepaid Base Monthly Rent: $-0-.

   8.       §ecurity Deposit: $ -0-.

   9.       Pern1ltted Use: The Premises shall be used solely for a geue1al office and medico! office use including a
            pharmacy and for any other lawful purpose.

   IO.      Addresses for Notices and Payment of Rent:

            (a)       If to Landlo1d:           DRP Holdings, LLC.,
                                                a California limited liability company
                                                124 Main Street, Suite 240
                                                El Cajon, Ca 92020
                                                Fax: (619) 444-8597
                                                Attn: Daryl R. Priest
                                                Email: dm ly@ptiesthomes.com




  Tcunut's Inil mis
                                                 LEASE- OFFICE 13UJLDING
                                                                                                       ~Lnndlord's I111t111ls
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                     Copy of notices to:        Fitch Law Film, APC
                                                Stephen J. Fitch, Esq.
                                                3465 Camino Del Rio South, Ste. 250
                                                San Diego, CA 92108
                                                Telephone No. (619) 282-8100
                                                Email: steve@fitchlawfirm.com

             (b)     Ifto Tenant:               Bon ego Community Health Foundation
                                                P.O. Box 2369
                                                Bo11cgo Springs, CA 920004
                                                Attn: B111ce Hebets
                                                Fax: (760) 767-5051
                                                Email: bhebcts@borregomedical.01 g

                     Copy to:                   B011 ego Community Health Foundation
                                                P.O. Box 2369
                                                Bou ego Springs, CA 920004
                                                Attn: Mikia Wallis, Chief Legal Officer
                                                Fax: (760) 767-6722
                                                Email: mwallis@bonegomedical.01g
   11.      Bt'oker(s):

                     Landlord:                  NONE


                     Tenant:                    NONE

   12.       Cc1·tlt1catc of111s11r1mcc: Tenant acknowledges that a ce1tificate ofinsmance with end01seme11ls attached,
   as 1equi1 ed by Pmagtaph 8.2(b), nnist be provided to Landlord pri01 to delivety of the keys to Pl'emises to Tenant.

   13.      Gm1ranto1·: NONE



  The foregoing Basic Lease Prnvisions nre incorporated into and made a part of the Le!lse. Each 1eforence in the
  Lease to any of the Basic Lease Provisions shall mean the iespective infornmtion above and shall be const1ued to
  incorpoiate all of the tetms p1ovided under the patticular Lease pmagtaph pe1taining to such information. In the
  event of any conflict between the Basic Lease P1ovisions mid the Lease, the Basic Lease Provisions sbaU contrnl.
  Unless othe1 wise defined in the Lease, all initinl1) ·capitalized terms used in the Lease shell! have the meanings
                                                       1


  ascribed to them iu the Basic Lease Ptovisions.




  __iL_
      Initials
  Tenant's
                                                LEASE - OFFICE BUTLDING
                                                                                                   ~  Landlord's lnitrnls
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                                                BUILDING LEASE
                                                                          '(\~
              This BUILDING LEASE ("Lease") is executed !lS oflhe~ day of February, 2016 ("Effective Dntc"),
    by and between DRP Holdings, LLC, a C!llifo1nia limited li!lbility company ("Limdlorcl"), and BORREGO
    COJ\1NflJNTTY I-IBALTH FOUNDATION, a Califol'llia corporation ("Teunnt"). Landlord and Tenant me also
    1efe11ed to herein individually as a "Party" and collectively as the "Parties". The Basic Lease Provisions attached to
    this Lease are inco1porated J1ere.i11 and nrnde a part of this Lease.

    1.    PREM1SES:

            1.1      Premises. Subject to nil the !etms and conditions of this Lease, Lm1dl01d he1eby leases to Tenant
   and Tenant he1 eby lenses from Lm1dlo1d, pursuant to the terms, covenants, conditions and uses he1ein set fo1 th, the
   Premises, ns more pnrlicularly desctibed in Item 3 of the Basic Lease Provisions. The P1ope1ty and the Office
   Building are mo1c particularly depicted on Exhibit "A" nttached he1eto and incorporated b)' 1efe1enceherein.

            1.2       Condition of Prnmises. Tenant accepts the Premises "as is", "whe1 e is", and with all faults. The
   squmc foot11ge of the Premises, at Landlord's or Tenant's election, is subject to verific!ltion by Ln11dlo1d's space
   pla1mer or arcWtect at any time within 90 days of the Commencement Date--with the stated squme footage stated in
   the Basic Lease Provisions being deemed muhially !lgreed-upon and controlling if no such verification is done
   during such timefi ame.

             1.3       Tenant Improvement Allow!lnce. Landlord shall provide a Tenant Improvement Allowance ("TI
   Allowance") in nn amount not to exceed One Million Five Hundred Thousand and 00/100 Dollms ($1,500,000.00)
   for the consttuction ofTenm1t's itnp1oveme11ts of the Premises, which are to be fixed in the Premises and shall
   1emain with the Premises. All such tenant improvements shall be pmsuaut to plans app1oved by Lnndlord. Tenant
   shall provide, al its sole cost, to L1111dlo1d upon execution ofthls Lease space plans for the P1emises. Any 1evisions
   to the space plan shall be mutually ag1eed upon by the Parties.

                            n.      Constrnction of Jmprnvements. The constrnction of Ten11ut's improvements in
   the Premises shall be done in accordance with Section 5. l of this Lease by licensed aud insmed contractors
   approved by Lfmdlmd.

                                b.       Payment of Tl Allowance. The Tf Allowance shall be paid by Landlord to
   Tenant based on a mutually agreed upon constt nction drnw schedule to be submitted by Tenant to Landlotd for
   approval. Any amount not dt awn under the d1 aw schedule shall be paid to Tenant within thirty (30) d!lys fi om the
   later to occur of: (1) Tenant opens fOl business in the Building; (2) the period allowed for the filing of mechanic's
   liens has expired or duly executed unconditional lieu waivers from all contractors, subcontrnctors and materi11l men
   who hove perfouned work on beh11lf of Tenant at the Premises 111 e presented to Lnndl01d; and (3) the Tenant has
   provided to Landlord a Certificate of Occupancy, a copy of Tenant's Recorded Notice of Completion and n
   complete set· of "ns-built" consh uction documents fo1 all work pe1fo11ned by Tenant ancl/01 Tenant's contractmsand
   subcontl acto1 s.

            In Lnndlo1d's sole clisc1etion, Landlmd may satisfy its obligations under this Section 1.3 byeonlrncting
   with and paying ditcctly a conttactor ofLaudlo1 d's choosing to complete the tenanl i111p1 ovements.

   2.       TERM:

            2.1      Gene1al.

                   (n)      The term of this Lease shall be as specified in Item 4 of the BAsic Lease P1ovisions,
   commencing on the emliest of (1) lhc date Landlord acqnlres title to tl1c Property, or (2) the date on which
   Lm1dlord aud Tenant execute the Confitmation of Lease (in the foun att!lched hereto as Exhibit "B"), or (3) the date

                                                  LE/\SE-OFl'ICE BUILDING

                                                                                                        Landlord's lni!tnls

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   upon which Tennnt actually occupies the Premises for any 1ea son. The date on which the Lease term commences is
   her enfte1 iefe11ed to flS the "Commencement Dnfc".

         IN THE EVENT LANDLORD FAILS TO ACQUIRE THE PROPERTY UPON WHICH THE
   PREMISES IS LOCATED THEN LANDLORD SHALL NOTIFY TENANT AND THIS LEASE WILL
   TERMINATE.

   3.         RENT:

              3. I     Base Monthly Rent.

                     (n)       Tenant shall pay to Landlo1 cl flt the nddress ptovided for In Item 10 of the Basic Lease
   Provisions (subject to the p1ovisions of Section I.I.I above), without deduction 01 pi io1 notice 01 demand, imd
   Landlo1d shall accept, as rent fo1 the P1emises the "Base Monthly Rent" specified in Item 6(fl) of the Basic Le11se
   PJ'Ovisions. The Base Monthly Rent slrnll be payable in advance in lawful money of the United States on the fostday
   of each month of the Lease te1111. The first installment of the Base Monthly Rent slrnll be due and p11yabJe on the
   Rent Commencement Date.

                     (b)      In the event that the Rent Commencement Date is not the fost day of the month, Tenant
   shall pay to Landlord prior to the first day of the first full calendm month which is ninety (90) dflys after the
   commencement d11te, an amount equal to lhe Bflse Monthly Rent mulliplied by a factor lrnving as its mm1ernto1 !he
   number of days 1emaining in the fir st month find as its denominator the number thirty (30). The1enfter, the Bnse
   Monthly Rent shall be payable in acco1dance with the terms of this Patagraph3.l.

                    (c)       Tenant's obligation to pay rent, including Base Monthly Rent and Additional Renlshall
   commence as set forth in the Basic Lcnse Pwvisions.

            3.2       Adjustments to Base Monthly Rent. The Base Monthly Rent fo1 the Lease term slrnll adjust (in
   addition to the f1dj11stment in Paragiaph 3.3 below), ns follows:

                     a.         Commencing on the filst anniversa1 y date of the Leflse term, and then annually thereafter
  on each Adjustment Date, the Base Monthly Rent during the Lease Term slmll be adjusted to au amount equal to the
  greater of(fl) two (2) percent or (b) the pl oducl obtained by multiplying the Base Monthly Rent in effect
  immediately prior to the AcUushnent Date by the aumml percentage increase in Consume1 Pi ice Index All U1 ban
  Consumers U.S. Cit)' Aver nge (I 982-84 = 100) published by the Bureau of Labor Statistics of the U.S. Depm tmcnt
  of Labor ("Incl ex"), i.e., Index published 30 dnys prior to eflch new Adjustment Dale ("New Extension Index")
  divided by the Index (in effect for the immediately pteceding Lease Yef11) published 30 dnys prim to the preced!ug
  Adjustment D11te ("Current Extension hide:\."). Landlotd shall give wt itten notice to Tenant indicating the amount
  of the fldjustment nnd manner of computation ofsmne as soon flS the inf0tmation becomes nvailable to Landlord.

            3.3      Additional Rent. Tenant shall p<1y 11s "Adclltlonnl Rent" its pro rnta share of the cost of opeiation
  and maintenance of the P1 ope1 ty, i.e., the cost ofutilities (if not sepm ately metet cd), taxes, insm anee pt ovided by
  Laudlo1 d, t oaf mid strnctural repaits, 11nd Connnon Arefl Expenses, 01· other charges, as desc1 ibed and in the manner
  provided in A1 ticle I l (Common A1 e11s). The Base Monthly Rent, the Additional Rent, rent11l adjustments and any
  and all other amounts, however designated, requited to be paid or 1eimbmsed by Temmt unde1 this Lease me
  sometimes collectively referred to as, and slrnll constitute, "1e11t. 11 •

           3.4       Interest on Past Due Obligations. Jn the event of default by Teuar1t Jn payment of all)' items of
  rent, Tenm1t sbaU pay, 11s Additional Rent, interest at the rate of two (2) points over the published p1 ime iate ofCiti
  Bank OJ the lllflximum iate pe1mitted by law, whichever is less, on eflch such obligation fiom the day it is due until
  1eceived by Lm1cllo1d. NotwHhstanding the f01egoi11g, 110 interest slrnll accrne on m1y Late Ch111·ges un<lel' this Lease
  as defined in P11rngrnph 3,5 below.

                                                  LEASE-OFFICE DUILDJNG

  Tenant's Tn1lmls                                                                                       Lmtdlord's Jnitmls
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              3.5       Late Chmges. Tenant acknowledges that late payment by Temmt to Landlord ofrent will cause
    Landlo1d to incur costs not contemplated by this Lease, the exact amount of such costs being exttemely difficult nnd
    imp1actical to fix. Such costs include, without limitation, p1ocessing, administtation and 11cco1111ti11g charges. If any
    installment of any item of ient due from Tenant is not i eccived by Lnndlord within five (5) business days of when
    clue, Tenimt shall pay to Landlord an additional sum equal to six pet cent (6%) of the ove1due tent ns a lnte chmge.
    The patties ag1ee that this fote chmgc 1ep1esents a fair and ieasonable estimate of the costs that the Landlo1d will
    incur by reason of late pnyment by Tenant. Acceptance of any late chn1ge shall not constitute a waive1 of Tenant's
    default with respect to the overdue nmounts, nor prevent the Landlo1d fiom exercising any of the other rights and
    remedies availal>le to Landlord hereunder. The payment ofa late charge shall be in addition to any inte1est payable
    by Tenant unde1 Pmagtapl1 3.4 (Intel'est on Past Due Obfigittions). In ndditi011 to the charges provided fol' above,
    Tenant shall pay a charge of Fifty Dollms ($50.00) to Landlord fo1· each check returned fo1 insufficient funds and
    One Hundred Fifty Dollms ($150.00) fo1 each "three (3) day pay 01 quit" notice

               3.6      Intentionally Deleted

    4.         USE.

             4.1      Permitted Use. The P1emises slrnll be used and occupied by Tenant and fo1 the use and
   pmpose(s) specified in ltem 9 of the Basic Lease P1ovisions and under no other ttade names and fol no other use 01
   purposes, including, but not limited to, unlawful, immornl, "second baud" or used merchandise, disttess goods,
   surplus stores or auctions. Tenant shall not permit any act to be done in, upon or about the P1e111ises which would
   inc1ease the existing rnte of insmance upon the Premises, or cause the cancellation of any insmance policy covering
   the Premises, nor slrnll Tenant sell 01 permit to be kept, used 01 sold in, upon 01 about the Premises any at·ficle which
   may be p1ohibited by a stnndard faun policy of file insmance. Tn the event that Tenant's use increases said rnte or
   causes the cancellation ofa policy of insurance, Lnndlo1d may chmge Tenant, as Additional Rent, the additional cost
   of insmance; 01 Landlord, at its option may cancel the Lease. Lancllo1d does not lepresent nor warrant tllat the
   Pi emises can be used for any specific use or p111 pose, and it is incumbent upon Tenant to asceitain from the pmper
   gove1n111ental authorities whether the Premises may be used for Tenant's intended use.

               4.2      Hazm do us Materials Indemnity.

                      (n)      Tenant shall not cause 01 permit the p1esence, use, generntion, 1elease, discharge,stornge,
   disposRI or trnnspottat[on of any 11 Hazmdous Materials" on, under, in, about, to 01 fl om, the P1emises and/01 the
   Prope1ty; provided that the presence or use ofl-Iazardous Materials (a) in p1oducts lcquiied for the prudent and
   01dinmy management and ope1atio11 of the Premises as a car wash and auto detail facility and (b) held and used
   strictly in accordance with (i) afl applicable federal, state or locnl laws, 1egulations or orders, (ii) guidelines issued
   by any national 01 regional board of insurance underwriters, and (iii) prndent standRrds ofp1nctice shall not be
   deemed in violntion of this provision.

                       (b)      As used herein, the term 11 Hozardous Mnterinls" slrnll menn any toxic or hazardous
   substance, matetial or waste or any pollutant or contaminant or infectious or tadioactive matetial, including but not
   limited to those substances, mateiials or wastes 1egulated now 01 in the futmc unde1 any of the following statutes or
   legulations p1 omulgated the1eto: (a) any "hazai dous substance" within the menning of the Comp1ehensive
   Environmental Response, Co111pensntion nnd Linbility Act of 1980, as amended ("CERCLA") 42 U.S.C. § 9601, et
   seq. 01 the California Hazardous Substance Account Act, Cal. Health and Safety Code§ 25300 et seq. 01 the Po1te1-
   Cologne Water Quality Act, Cal. Water Code§ 13000 et seq. or the Hazardous Mitte1 ic1ls T1ansportatio11 Act, 49
   U.S.C. § 180 I, et seq.; (b) any "hazardous waste" within the meaning of the Resource Conservation and Recove1y
   Act, 42 U.S.C. §§ 6901 et seq.; (c) any "pesticide" 01 "economic poison" ns defined in California Food &
   Agricnllmal Code§ 12753 and any regulations p1omulgnted in connection therewith; or (d) any other substance,
   chemical, waste, toxicant, pollutant; pesticide 01 contaminate regulated by any federnl, state 01 local law, statute,
   iule, 1egnlatio11 or ordinance for the protection of health or the environment ("E11vll·onme11tal L11ws"), including,
   without lnnitation, methane and any petroleum p1 oducts 01 fractions thereof and any asbestos-coutainiugmaterials.
           /

      tr----
   Tcnnnt'sl111linls
                                                   LE1\SE- OFFICE BUILDJNG

                                                                                                           L11ndlord's Initiols
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                       (c)       If Tenant's use of the P1°emises may involve the stornge and/or use ofHazmdous
    Mate1fals as defined herein, Tenant, in addition to its covenants defined above, fu1 the1 covenants, agrees, warrants
    and represents that it will comply with all Environmental Laws, 111les, 1egulations, corn l decisions, municipal codes
    and ordinances 1egulating such st0t11ge and/or use ofI-Ia:rnrdous Mate1 ials, including without limitation C1rnpter6.95
    of the Califomi!1 Health and Safety Code; and to permit Landlord to monitor such compliance, without the
    assumption of any liability by Llmdlo1 d no1 any obligation of Landlord to so monitor, Tenant covenants and agtees
    to pt ovide to and/or pe1mit Landlo1 d:

                                (l)      To 1eview and approve prior to submission to any governmental agency all
    applications with 1espect to the handling, sto1age and/or use ofHaziitdous Materials in, on or about the P1emises,
    including without !imitation applications to the County Hazm dous Mate1 ials Management Division ("HMMD 11 )
    aud/01 to Ait Pollution Control Distdct ("APCD"), and afte1 such submission to provide Landlord with n copy of all
    responses, notlces, comments or other communications with said govermnental agencies; and

                                (2)      To 1eceive aud 1eview a copy of all completed and approved "Business Plans",
   as defined by the statutes, and all updiites, ienewals, or replacement "Business Plans" when submitted and all
   1esponses, notlces, comments or communications with any governmental agencies regarding smne;and

                               (3)      To receive and 1eview a copy of all notices, 1cpo1 ts, conunents or
   communications relating to any governmental inspection, complaint, investigation 01 othe1 matter relati.ngto
   Tenant's stornge, handling or use of Hazardous Materiflls at, on, in or about the P1 emises; and

                               (4)      To 1eceive and review a copy ofmiy and all E.P.A. numbers, County Ilealth
   Department pe1mits, APCD pe11nits, contracts with certified lrnzmdous waste handle1s (and nfi credentials and
   certifications of such handlers), and all schedules for delive1y, pick-up and disposal of Hazardous Mnterials to OJ'
   from the Premises; and

                            (5)      To immediately notify Landlord of nny leaks, spHls, emissions, release or
   suspected 1elease ofnny Hazardous Materials at, on, in, under, above or 11bout the P1emises from any cause or
   sou1ce whntsoever; 1111d

                               (6)       To receive and review a copy of all records of every natm e thnt are 1cquired by
   Jaw, regulations, mdinance or corn t order to be maintained by Teua11t with respect to the storage, handling or use of
   any I Iazatdous Materials at, on, in, under, above or about thePLemises.

                        (cl)       Tenant shall cxoneiate, indemnify, pay and protect, defend (with counsel reasonably
   11ppwved by Laudlord) and snve Lancf 101 d, and its dit·ecto1s, trnstees, beneficiaries, officers, shat eholdeLS, pat tne1s,
   membe1s, employees, agents, and fovitees and of those of the other tenants of the Prope1ty (collectively, the
   "Related Pai ties"), hmm less from and agflinst any claims (including, without limitation, third party claims fo1
   pe1sonal injmy or real or personal prope1 ty dnmage, actions, administrative proceedings (including informal
   p1oceeciings), judgments, damages, punitive damages, penalties, fotes, costs, taxes, assessments, liabilities
   (including sums paid in settlements of claims), interest or losses, J11cludi.11g 1easo11able attorneys' fees and expenses
   (including any such fees and expenses incnued in enforcing this Lease or collecting any sums due he1eunde1),
   consultant fees, 11nd expert fees, together with all other costs and expenses ofany kind or nature (collectively, the
   "Costs") that ill'ise <litectly or indirectly il1 connection with the p1csence, or release, caused by Tenant of any
   Haza1dous Materinls in or into the air, soil, g1ound water, surface water or improvements at, on, about, unde1 01
   within the P1ope1 ty, or any po1tion thereof, 01 clsewhe1e in connection with the transportation of Hnzatdous
   Mateli11ls to 01 from the P1operly or the Premises by or on behalf of Tenant. The indemnification provided in this
   Parngrnph shall specifically npply to 11ncl include claims 01· nctlons brought by or on behalf of employees of Tenant.
   In the event that Landlord or any of the Related Pm ties shall suffo1 or incur any such Costs, Tenant shall pay to
   Landlo1d 01 such Reh1ted Patties; the total ofafi such Costs suffered 01 incul'l'ed upon demand the1efor, which
   demand shall be accompanied by an accounting and copies of back up documentation for such Costs. Without
   limiting the gene1ality of the fo1egoing, the indemnification provided he1ein shall specifically cover Costs including,
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     wilhout limitation, capitol, operating ancl nrninte11m1ce costs, inemTed in connection with any investigation or
    111011Hoiing of site conditions, any clenn-up, containment, remedial, removal or 1estorntion work required 01
    pe1fouued by any federal, slate or loco! governmental agency or polittcnl subdivision or pe1 founed by any non-
    govenunental entity or pe1son because oftlte p1esence, 01 releMe, caused by Tenant of any Hazardous Mote!ials in
    or into lhe nil, soil, grnund water, surface water or improvements at, on, about, under or within the Property (or any
    p01 ti on thereof), or elsewhe1 e in connection with tile trnnsportation of Haznrdous Materials to 01 fi om the P1 ope1 ly
    or the P1emises by or on behalf ofTemmt, and auy claims of thkd patties for loss or damage due to such Hazm do us
    Matelials. This indemnification shal I sm vive the te11nination oftl1is Lease and shall be binding upon the Tennnt11ncl
    its successms in inteicst wlteuever such tlll'eat, claim, 01 cause of action may arise. Tenant exp1essly waives any
    defense concerning consh uctive eviction or rent abatement with 1espcct to such claims arising from the act 01
    omission ofTenant.

               4.3        Compliance with Laws. Tenant and Landlo1d shall p10111ptly comply wlth nil laws, ordinances,
    zoning restrictions, 1ules, 1egnlations, ordc1s mid any 1equil ements of any duly constituted public authorities now or
    hereafler affecting the use, safety, cleanliness or occupation of the P1emiscs. Tenant's use of the Premises shall not
    adversely affect Land Im d's use of the P1ope11y and the use of the Properly by other tenants. Any alteration 01·
    improvement to the P1emises or the p1ovidiug ofnny auxiliary aids or services required by any statute, ordinance,
    governmental regulation or comt 01 de1 in order fo1 Tenant to conduct business shall be u11de1 taken at Tenant's sole
    cost and expense in the manner provided in Ai ticle 5 below. Landlord shall have the absolute right to ca11cel this
    Lease, upon thitty (30) days written notice to Tenant, in the event that Tenant's plans for construction or subsequent
    use of the Premises shall ndve1sely affect the allocation of available energy requhements or other ulility se1 vices to
    La11cllo1 d or othel' tenants within the P1ope1 ly.

                4.4      No Nuisances. Tennnt shall not commit or permit any nuisance, act or othe1 thingwhich nrny
    dist111 b the quiet e1uoy111e11t of the other tennnts of the P1 operty.

    5.          ALTERATIONS AND ADDITIONS:

             5.1      Gene1 al. Tenant shall not make any non-structural interior altetations, improvements or additions
    to the P1emises without obtaining Landlord's p1 ior written consent, which shall not be umeasonably withheld. Any
   such imp1 ovements, excepting movable fin nitm e and ti ade fixtm es, shall become pmt of the 1ealty 1111d belong to
   Lnndlo1d upon their completion of constlllction. Tenant shall, at its sole cost and expense, obtnin all necessm y
   gove1 nmental permits nnd approvals, and pny for all assessments, taxes one! clrnrges associnted with such wm k. Ail
   alterations and imp1ovements shall be in conformity with the laws of all applicable duly constituted public
   authorities and shall be done in a good workmanlike manner. Tenant shall not make any sh nctmal changes m
   changes to the exte1 ior of the P1 emises including but 1101 limited to pen eh at ion ofroof 01 alteration or 1elocntion of
   windows or doo1ways or exteJ 101 walls or the affixing or setting of satellite dishes, antennae, llghting, electronic 01·
   other devices without Landlord's prior written consent, which nrny be withheld Jn its sole aud absolute discretion.
   All alteiations, additions, repairs or changes to be made to the P1emises which tequite La11dlo1d's opptoval shall be
   under the supei vision of a competent licensed architect and/01 competent licensed structurnl e11gincet· and made in
   acco1dance with plans and specifications submitted to and approved by Landl01d before commencement of work.
   Lo11dlo1d reserves the right to retain 01 hite au architect or enginee1· to review said plans and specifications, and the
   reasonable cost of such professional fees shall be 1eimbmsed by Temmt to Lnndlo1 d. All such wo1 k slrnll be
   pe1formed by a licensed and insmed contl ncto1, app10ved by Landlord, and if1equestecl by Landlord, a completion
   bond nnming Landlord ns the beneficimy shall be provided by Tenant.


           5.2       No Liens. Prior to commencing any wotk telating to any alterntions, improvements or additions
   app1oved byLandlo1d, Tenant shall notify Laudlo1 d in writing of the expected date of commencement. Tenant shall
   not commence the making of an)' approved 11lterations until after Landlord shall l111ve received notice of the
   commencement date thereof, in 01der that La11dlord may post nnd iec01d any app1op1 iate Notice ofNon-
   Responsibility. Landlord shall have the right nt any time to post and maintain on the P1emises such 11otices as
   Landlmd reasonably deems necessary to protect Landlo1 cl and the P1 emises from mechanic's liens, matet iai men's
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    liens or any othet liens. In pet forming the w01k on any S\ICh alte1alfons, nnprovements or additions, Temmt agiees to
    coopernte with Landloi d in mrnnglng and undertaking such wotk so as to minimize any ad vet se impact imd bllsiness
    inteu uption ofTenaut, L<mdlotd or any othe1 occupm1t of the P1ope1 ty, and to diligently complete all such work. Jn
    no event shall such work be performed inn manner that obstructs access to the Prnpe1ty 01 to the P1emises of any
    other occupant of the Prope1ty. Teua11t slrnlf pay, when due, all claims for labot 01 materials fmnished to 01 f01
    Tenaut for use in improving the Premises. Tenant shnll not permit any mechanic's 01 material men's liens to be
    levied against the P1emises 11rising out of wotk performed, mateJ ials fut11ished, or obligatio11s to Jrnve been
    performed on the Premises by or at the request of Tenant. Should an>' meclrnnic's or other Jlen be filed agiiinst the
    Pt emises, Ptopcrty, 01 any pat t thereof by reason of Tenant's acts 01 omissions or because of n claim against Tenant,
    Tenant shall cause the same to be canceled and dischmged of reco1 d by bond or otherwise within ten (10) business
    days after notice by Lan<llo1d. Tenant he1 eby agtees to indemnify, hold harmless, defend and protect Lnndlotd
    against loss, damage, afto1 ney's fees nud all ofhei expenses ou account ofclaims of lien oflaboiers 01· 111ate1 ial men
    or others fo1 work pet formed or materials 01 supplies furnished for Te1rnnt or persons claiming unde1 it.

             5.3       T1iide Fixtmes. Tenant shall install trade fixtures, machinety or other tiade equipment in
    confo1mance with the ordinances of all applicable duly constituted public authorities and for a fi1st class opeiation
    ofTe1umt's business, and Tenant shall maintain its opeintion in such first class condition. Tenant may and upon
    Landlord's reqi1est shiill, at Tenant's sole cost and expense, 1emove any of such trade fixtu1 es 01 nrnchinery upon the
    termination of this Lease, ptovided Tenant is not then in default under the teims and conditions of this Lease.

    6.     UTILITIES:

           6.1       Responsibility fo1 Payment. Tenant shall pay for all water, sewer, gas, heat, light, power,
   telephone service ancl any other services or utility provided to theP1emises.

            6.2        Tenant's Shm e. Jn the event that any utilities me f111 nished by Landlord, Tenant sh ii II pny to
   Lnndlot d its pi o rnta share of the cost theteof in the manne1 set forth in Pai iigraphs 11 2 and 11.3 (payment of
   Common A1ea Expenses). Tenant's pto rata sllal'e shall be based upon the pe1cen!age set fo1th in the Item 3(e) of the
   Basic Lease P1ovisio11s and (b) any cxttiiordinary use which may be made by Tenant, as reasonably determined by
   Landlord in its sole <111d absolute discretion. If any utilities me furnished by Landlord ditectly 01 inditectly tluough
   joint metering, Landlotd shall not be obligated to continue to provide such service ifTenrmt is in default under !he
   terms hereof.

           6.3        Non·lfabillty of Landlord. Landlo1d shall not be liable fo1 any failme or inte11 uption for any
   1eason of any utility se1 vice being fm nished to tile Pt emises.

            6.4       SeQm ate Mete1 ing. Tenant may elect, subject to Liincllord's reasonable app1 oval, to install and
   maintain its owll metei fo1"any utilities wltlch me jointly me!e1ed by written notice delive1 ed to Lcindlord thit ty(30)
   d<1ys pdo1 to the initiation by Tenant of any wo1 k to effoctu11te such change. All sepnrntc meters shall be installed
   and mrtintained nt Tenant's sole cost and expense.

   7.        INDEMNIFICATION:

              7.1       Tenant's Indemnity Obligation. Tenant does heteby iigree to indemnify, hold Iunmless, defend,
   iind protect Landlord, its employees, age1lts, pat t11ers, contractors, invitees and licensees from and against any and
   all suits, actions, diimages, clain1s, liability ancl expense in connection with loss by reason of inju1y to pe1son ot·
   p1operty fiom caused by the negligent iict 01 omission of Tenant, its employees, agents or co11t1actors, invitees, or
   licensees, mising fi om or out of any occurrence in, upon, at or fiom the Premises, or the occupancy or use by Tenant
   of the P1emises or any pmt thereof, including without limitation acts or omissions relating to the sidewalks and
   Common Areas, as hereafter defined, within the Pi ope1 ly.

            72       Landlord's Indemnity Obligation. Landlord does hereby ag1ee to indenmify, hold harmless,
   defend, and protect Tenant, its employees, agents, pmt11ers, conhactors, invitees and licensees fromand against 11ny


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    and all suits, actions, damages, claims, liability and expense in connection with loss by reason ofinjmy to peison 01
    p1 operly from caused by the negligent act or omission of Landlo1 d, its employees, agents or conlt actoi s, invitees, 01
    licensees, arising fi om 01 out of any occurrence in, upon, 11t 01 fi om the Premises, or the occupancy 01 use by
    Landlo1 d of the P1 emises or any pm t thereof, including without limitation acts or omissions relating to the sidewalks
    and Common A1·eas, as hereafter defined, within the Property.

              7.3      Release of Landlo1cl. Except for loss 01 damages mising f1om the acts or omissions of Lancllord 01·
   Landlo1d's Related Pmiies constituting sole negligence, gr ass negligence, or willfol misconduct, La11dlo1 d shall not
   be responsible or liable at any time for any loss or damage to Tenant's merchandise, equipment, fixtmes m othe1
   pe1sonal p1ope1ty 01 to Temint's business, inclucl111g without IimilC1tion any loss or damage to eithe1 the pe1son 01
   pi ope1 ty of Tenant or loss of profits or otherwise tho! may be occasioned by or through the acts or omissions of
   persons occupying C1dj11cent, connecting, adjoining 01 other space ill the Prnperty or by 01 tluough the acts or
   ontlsslons of Landlord, its employees, 11gents, contiacto1 s, invitees 01 licensees. Tcnm1t shall sto1e its p1 ope1 ty in and
   shall use and enjoy tl1e P1emises and the Common A1eas of the P1ope1ty at its own risk, and hereby releC1ses
   Landlord, its employees, agents, conhactors, partners, invitees, and licensees, to the fullest extent permilted by low,
   from all clnims ofeve1y kind, including without limitation, leC1kage of any nah1re, 1esultlng in loss oflife, pe1sonal
   01· bodily injury, or p1 operty dC1mage, except fo1 loss 01 dmnages arising from the acts or omissions of Lm1dlord or
   Landl01d's Related Pat ties constituling sole negligence, g1oss negligence or willful misconduct.

             7.4      Notice of Loss. Tenant shall give prompt notice to Landlord in case of fire or nccidents 01 other
   losses in the P1emises or ln the building of which the Premises me a pm tor in the Common Area as well ns of any
   defects the1ein or in any fixtu1es 01 equipment locC1ted the1ei11.

             7.5      Sm viv<ll of Lease Termination. Tenant's obligations unde1· Parngraphs 4.2, 7 .l-7.5 inclusive,
   21. l, and 27.I shall survive the te1 mination of this Lease for any 1enson whatsoever, if the incident iequiring such
   defense occurred during the Lease te1 m 01 othet wise directly or ind it ectly relates to the performance of any party
   11nde1 this Lease. None of the indemnity obligations provided for in these Paiagrnphs 7. l-7.5 inclusive, or in
   Paiag1aph 4.2 shall require any payment as a condition precedent totecovery.

   8.        INSURANCE:

             8.l       Insurance Covernge byLandlo1d.

                      (a)      Landlo1 d slrnll maintain, at Tenant's expense as p1 oviclecl in Pm ag1 nph 8.1 (b), a _policy or
   policies of it1smance ptotecting against the following:

                                 (I)     Fire and othel' perils normnlly included in extended covernge insurance to !he
   extent of at least ninety pet cent (90%) of the l eplacement va Inc of the Premises, exclusive of pe1 son aI p1ope1 ty,
   ttade fixtures and equipment belonging to Tenant and improvements and bettern1ents nrnde to the P1emises by
   Tenant for which Tenant shall maintain foe and other perils insurnnce, which shall n!so name Landlord and its
   Ie11de1s as additionnl insmects.

                             (2)      Public li11bility and propel ly damage insurance with respect to the Common
  AreC1s in an amount not less than Two Million Dollms ($2,000,000) combined single limlt for both bodily injury and
  property damage.                                              ·

                       (b)      Tenant shall pay to Lm1dlo1d, as Additional Rent in the manner set forth inParngrnph
  11.3 (Payment of Common Area Expenses), Tenant's pro iata share of the cost of the insunmce required in
  Pnragraph 8.1 (a). Tenant's pro tatn shore of such cost shall be that proportion of the anmml premiums for insmance
  bC1sed upon the percentage set fot th in Item 3(e) of the Basic Lease P1ovisions.




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              8.2      Insu1ance Cove1age by Tenant.

                        (a)       Contents Insurance. Tenant shall maintain in force a policy or policies of special peril
    contents insmancc, including without limitation vandalism and malicious mischief coverage, sp1 inkle1 leakage
    covet age and plate glass coverage for the P1emises, with respect to Tenant's pe1sonal pt ope1 ty, hadc fixtu1 es and
    equipment located in the P1e111ises and all imp1ovements and betterments to the Premises made by Teunut to the
    extent of at least ninet~· percent (90%) of their fosurnble value. During the term of this Lease, the p1oceeds ofany
    such policy or policies of contents insurance shall be used solely for the repair or 1eplacement of the p1 opet ty so
    i11su1ed. Landlo1d shall have no claim or inte1est in said iusmance and will sign all documents necessmy to
    effectuate the settlement ofimy claim or loss by Tenant.

                          (b)       Liability Insurance. Tenant shall maintain dming the tet m of this Lease worke1 's
    compensation insmance as iequited by applicable law and comme1cial liability insmance with 1especl to the
    P1emises, nil assumed liabilities by Tenant pmsm111t to Paragraplls 4.2 and 7.1-7.5 inclusive, p1oduct liability and nll
    owned or non-owned and hited vehicles utilized in Tenant's business, adequate to protect Landlord as p1ovided
    hereinaftet. Such policy 01 policies ofliabillty insmance shall add as additional insu1eds, Landlord and each of its
   piirt11e1s, affiliates, clircct01s, agents, employees, and lendets, and shall exptessly p1ovlde that the inte1est of
   Lnndlo1 cl the1 ein shall not be affected by any btench by Tenant of imy policy pl ovisions. Initially, snch policy of
    liability insmance shall be in an amount not less than Three Million Dollars ($3,000,000.00) combined single limit
   for both bodily injury and prope1 ty damage. The mnounts of such linbility insurance shall be increased from time to
   time, as Landlord or Landlotd's m01 tgagee 01 beneficia1y may 1easorrnbly dete1mi11e. All insmance policies required
   hereunder shall be obtained upon an "occu11ence" basis and not ns "claims made" policies (except f01 any
   professional liability insurance which may be on a "claims made" basis). All liability, prope1ty damage, and other
   lfobility policies of Tenant shall be written as primmy policies, not contributing with and not in excess of coveiage
   w11ich Landlord may cany. All such policies shall contain a provision that Landlord, and its lende1s, although
   additional insureds, shall neve1theless be named as loss payees a11d be entitled to recove1 under said policies for nny
   loss occasioned to it, its employees, agents, cont! actors, invitees and licensees by 1eason of the negligence of
   Tenant, its employees, ngents, contrnctors, Invitees nnd licensees. Tennnt shall furnish Landlord with a ce1 tificate of
   insmance with nttached endorsements with 1espect to such policies prior to Tennnt's ent1 y into the P1 emises. Such
   policies shnll be secured flam insma11ce companies with a Best's tating of A: Class VII 01 bettet mid ptovide by
   endmsement that they may not be canceled or nltel'ed without sixty (60) days prior written notice delivered by the
   insurer to Landlord and/or its lendets.

             8.3     Waiver of Subrogation. Landlo1d and Tenant heteby 1elease and relieve each other fiom liability
   and waive all 1ight to recove1 against each other for any loss or damage mising out of 01 incident to the pe1 ils
   covered under their l'espective policies of Insurance, which perils occm in, on or about the P1 emises, as a 1es ult of
   the negligence of Landlord or Tenant or theil 1espective agents, employees, conttnctors nnd/01 invitees. Landl01d
   and Tenant shall, upon obtaining the policies of insm anee 1cqu ii ed unde1 this Lease, give notice to the it 1espective
   insmance cmrier(s) that the foregoing mutual waiver ofsubrogntion is contained in this Lease, and shall provide to
   the other npproprinte endo1sements of such waiver from theinsmers.

   9.       CARE OF THE PREMISES:

            9.1       Tennnt's Obligntions.

                      (a)        Geneir1l. Tenant shall, at its expense, keep the P1emises and exteri01 and interior portions
   theteof, including without limitation windows, doors, and all other glass or plate glass fixtu1 es, in a neat, clenn,
   sanitmy and snfe condition, and shall keep the Premises flee from trnsh, rubbish and dirt. Tenant shall be solely
   responsible for glass breakage in the P1emises, whether due to vandnlism ot othe1 wise. Ten<1nf shn!I immediately
   make all repaus or replacements the1eon 01 the1eto, whethe1 01dinmy 01 extrao1dina1y. lfTenant fails to keep the
   P1emises neat, clean or in reasonable iepair, Landlord may, in its sole discretion, enter the P1emises dul'ing
   ieasonable hollls in 01der to clean 01· 1epair same. Tenant shall immediately pa)' to LandI01d its aclllaf cost thereofas
   set forth in Landlo1 d's statement submitted to Tenant for payment, pt ovided, however, any such payment shall not
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    be deemed a cm e of Tenant's defonll· and Lm1dlo1 d shall have all remedies available to it unde1 Article I &herein.

                       (b)       Em.!lr-ment and Fixtm cs. Tenant shall, at its sole cost, keep and maintain all utilities,
    fix tut es nnd mcchimical equipment used by Tenant in good order, condition and rcpnh . Said items shall include, but
    are not limited to, all plumbing or sewage facilities, doors, locks and closing devices, windows (including glass),
    lights, electlic systems and equipment of every kind. Tenant shall pay to Lm1dlo1d in the manne1 set fo1 th in
    Paragtaph 11.3 (Payment of Common Area Expenses), Tenant's pro iata share of the cost of any mnintenance
    agreement fol the P1ope1 ty. Tenant's pro 1ntn shm e slrnll be the proportion of the cost of any maintenance ng1 eement
    based on the percentage share set forth 111 Item 3 (e) of the Basic Lease Provisions.

              9.2      Landlotd's Obligations

                        (a)      Gene1 Al. Landlord shall keep in good condition and repair the roof and strnctmal
    components of the P1emises, but the cost the1eofslrnll be p10tated based upon the pe1ce11tage share set fmth i11 Item
    3 (e) of the Bnsic Lease P1ovisions aud slrnll be paid by Tenant in the manner set forth in Pmagiaph J 1.3 (Payment
    of Common A1ea Expenses). Landlo1 cl slmll have no obligation to make any such 1epaits until Landlo1 cl has 1eceived
    wt itten notice from Tenant with respect to the need for such repairs. Landlotd shall not be deemed to be in default
    with respect to its obligation to tepair unless and uutil Landlo1d has (I) received said written notice and (2) foiled to
    make such repai.ts within n 1easo11able period following receipt of said notlce. Landlord shall, after receiving wrilten
    notice, exercise due diligence in making such 1epnirs.

                       (b)       Landlord's Right of Access. In 01de1 to perform any of its obligations u11de1 this Lease,
    Landlo1d hereby 1ese1 ves to itself11nd its successors the right of access to the exteriot walls and roof of the P1emises
    and the right to install, maintain, use, repail and replace pipes, ducts, conduits, mid wires through the Premises in
    lo cat ions which will not materially i11terfe1 e with Tenant's use thet eof.

    10.      TAXES:

             10.1     Peisonal Propetty Taxes. Tenant slrnll pay prior to delinquency all taxes, assessments, license
   fees, and other public chmges levied, assessed 01 imposed or which become payable du1 ing the te1m of this Lease
   upon any tt ade fix tut es, fm nishings, equipment and nil other pe1sonal property of Tenant instnlled 01· Iocated in the
   Premises. Whenever possible, Teuaut shall cause said trnde fixtures, furnishings, equipment and persona! property to
   be separntely assessed. If, however, any or all of said items shall be assessed and taxed with the Premises' real
   property, Tenant shall pa)' to Landlo1d such tnxes 11s me ath ilmtable to Tenant's !lade fixtures, fiu nishings,
   equipment mid pe1 soual p10pe1 ty within fifteen (15) dflys flfter receipt of 1my invoice from Landlo1 cl advising Tenant
   of the taxes applicable to Tenant's prope1ty.

              I0.2     Real Estate Taxes. Tenant shall also pay in the manner set fo11h in Pat agt aphs 11.2 and 11.3 any
   and all "1eal estate taxes" (as hereafter deemed) assessed or imposed, or which become a lien upon or become
   chargeable against or payable in connection with the Premises, including Tenant's pro rnta shme of such real estate
   t11xes wlllch are attributable to the Common Areas. Real estate taxes for the last year of the teun of this Lease shall
   be prorated between Lcmdlo1d and Tenant as of the exphation date of the Lease teun. With 1espect to any
   assessments which may be levied agninst 01 upon the Premises, or which under the laws then in force nrny be
   evidenced by improvements 01 other bonds and may be paid in annual installments, only the amount of such annual
   ins!aUment, with appropriate pt oiatiou for any pmfoll year, and inte1 est tuereou, shall be included within a
   computation of taxes nnd assessments levied against !he P1emises. Tenm1t shall be 1esponsible fo1 All inc1eases in
   real estate laxes attdbu!able to or caused by nny 01ganization, re-organization, purchase, sale, merger, acquisitionor
   consolidation of Tenant, Tenant's assets or Tenant's business or by 1eason of nny s11le, assignment or reco1 ding of
   nny transfer of interest in the P1emises or the P1opert~1 by Landlord, but only to the extent of Tenant's shme as set
   forth in this Pmagrnph 10.2 he1ein.




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                10.3     Definition of Real Estate Taxes.

                         (a)     11
                                      Real estate taxes 11 shall mean and include each of the following:

                                (I)       Any fo11n of assessment, license lee, license tax, business license fee, business
    license lax, commercial Jental tnx levy, clrnrge, penalt)', bond or tax, irnposed by any m1thority having the di1ecl
    power to tax, including nny city, county, state or federal government, or any school, agl'icultutal, ligllting, drninage
    or other improvement 01 special district theieof, as against any legal or equitable intetest ofLandlo1d in the Premises
    or in the 1cal prope1ty of which the Premises me apcut.

                               (2)       Any tax on Ln11dlo1d's right to 1ent 01· other income from the Premises oras
    against Landlord's business OL leasing the P1emises.

                                 (3)     Any assessment, tiix, fee, levy or chmge in substitutron, pat tinily 01 totally, 01·
    any assessment, tax, fee, levy or charge previously included withi.u the definition ofreal p1operty tax, it be1ng
    acknowledged by Tenant and Landlord that Proposition 13 was adopted by the voters of the State of California in
    the June 1978 election and that· assessmenls, taxes, fees, levies and clmrges Illa)' be imposed by governrnentnl
    agencies for such services as me p1otection, street, sidewalk nncl 1oad maintenance, refuse removal and fo1 othe1
    governmental services forme1 ly p1ovided without chnrge to p1operly Owners or Occupants. It is the intention of
    Tenant and Landlord tlmt all such new and iucrensed nssessments, tnxes, fees, levies and charges, and similar
    assessments, taxes, fees, levies and charges be included within the definition of "real property tnxes fo1 purposes of
    this Lease.
                                (4)      Any tax allocable to or measmcd by the Gross Floor Area of the P1 emises ortlte
    rent payable he1eundc1, including without limitntion, any gross income tax or excise tax levied by the State of
    California, m1y political subdivision the1eof, city, or federal government, with respect lo the 1eceipt of such tent, or
    upon with respect to the possession, leasing, opernting, manngement, mnintennnce, alterntion, 1epair, use or
    occupancy by Tcmmt of the Premises, 01 any poi lion thereof.

                                (5)       Any tax upon this transaction or any document to which Tenant is apmty,
    creating OL trnnsfeuing an i.ute1est or an estate in the Premises.

                      (b)       "Real estate taxes" shall not include Landlord's fcdernl     01· state   income, franchise,
   inhetitance 01 estate taxes.

    11.        COMMON AREAS:

               11.1     Definition of Common Areas. The term 11 Common A1ea" shaJJ include all mens within the
   Property outside the exte1 ior boundaries of the buildings situated thereon, i.ucluding, but not limited to, sl1eets,
   tunnels, d1 ivew11ys, pmking areas, t1 uck ways, delivery passages, access roads, loiiding doo1s, sidewalks, ramps,
   open and closed comts and malls, lm1dscaped and planted areas, slopes, comfort and first aid stations, wash1ooms
   and pmcel pick-up stations, exterior stairways, bus stops, 1etaining and decorative walls and pla11te1s, and othe1 meas
   provided by Landlord and/or othe1 Owners of portions of the P1operly, their employees and invitees. Landlo1 d
   1ese1 ves the right to install kiosks and other free-standing st1 ucl111cs within the Common A1eas, and also 1cserves the
   right to make changes, nlte1ations m· additions at any time and from time to time in the size, shape, location, number
   and extent of the Common Arens, or any of them, so long as such changes, alteiations or additions do not materinlly
   i11te1 fore with the Tenant's use and quiet enjoymeut of the P1emises, and no such change shall entitle Tenant to any
   abatement of1ent, claim or allowance for any damages for iltjrny 01 inconvenience to Tenant occasioned thereby.

            11.2     Maintenance of Common Areas. Landlord slrnll maintain the Common Areas in ii neat, clean and
   orderly condition, prope1 ly lighted and landscaped as Landlord, iu its reasonable disc1etio11, shall determine. Tenant
   shalt pay to Landlo1d in the mam1er set forth in Pa1ag1aph 11.3 (Payment of Common Areas Expenses) Tenant's p10
   rnta shme of the expenses (hereafter "Common Areas Expenses") in connection with the maintenance and opetation
   of!h~ /\o~Afeas. Tennnt's pm iata share of Common Aieas Expenses shall be tlie pe1eentnge s;~t fmth in

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   Tcnant 's lnilinls                                                                                            Landlord's Tnilinls
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     Item 3(e) of the Basic Lense P1ovisions. lfapplicable, those common area charges that me nll1 ibntable to 1etail
     ope1atio11s shall be nllocated solely among the retail spaces in the Property as opposed to the office spaces. Tenant's
     share of Common At eas Expenses shall also include any additional costs arising fiom special requireme11ts c1 ented
     by Tenant's use of the Piemises. Common Areas Expenses shall include, but shall not be limited to, (n) nil sums
    expended mid costs incurred in co1111ectio11 with the Common A1eas for maintenance, fandscaping, pest control,
     lighting, cleaning, ltash removal, pRinting, iestl'iping, 1epavi11g, 1esmfacing, sweeping, secrn ity, foe protection,
    spd11kle1 and irrigation systems; maintenance tmd repait ofsidcwnlks, curbs and signs (which Tenant or other
    occupants of the Propetty me not obligated to 1epair); (b) opctating, ma11aging, policing, insuring, repait ing imd
    maintaining the P1 ope1 ty and maintaining repait ing nnd replacing roofs oft11e buildings in the Prnperty; (c)
    ope1ating, insu1i11g, tepniting, replacing and nrnintaining the "Common Utility Facilities" defined to include, bul not
    limited to, sanitmy sewer Hues and systems, gas Jill es and systems, wiitcilines irnd systems, fire p1 otection liues and
    systems, electric power, telephone and commuuication main lines and systems, HVAC equipment nnd systems,
    storm drninage and retention facilities and all other utility mnin Jines and systems not exclusively se1 ving the
    pi emises of any specific ternrnt; (d) pRt'king chmges, sm chm ges and other levies, assessments, 01 nny other costs
    imposed or assessed by nny local, state or fede1 al gove1 nment agencies in connection with the use of the pat king
    facilities and/or the Common Utility Fncilities, renl and pe1so1ml prope1 ly taxes and assessments on the
   improvements and land comprising the Common Areas, dep1eciation and maintenance on ope1 ating machine1y and
   equipment (if owned) and rental paid for such nrnchi.nery and equipment (if1ented) which 111achine1y nnd equipment
   is used solely fo1 the opeiation and maintennnce of the Prope1 ty; and (e) public liability and properly damRge
   insurnnce on the Common Ateas and Common Facilities, fire with extended coverage insmance with vnndalism and
   malicious mischief endorsements with, nt Owner's option, earthq1rnke damage and/or hazat dous waste
   endorsements, rental loss cove1age and any additional cove1ages Jequi.tecl pmsmmt to Pmag1aph 8.1. In the event
   that any alterntion, temovnl, 1eplacement or iepair is 1equited to be made to any equipment or any portion of the
   Properly pursuant to gove1 nmental authority, statnle, lnw or comt order, all expenses nssociated therewith shall be
   included in Common At eas Expenses unless such expenses me born by a specific tenant or occupant oft he Prope1 ty.
   Common A1ea Expenses shall include propelty management costs; P1ope1ty MR1rngement Costs shall not exceed ten
   percent (10%) of the g1 oss bRse rents teceived fo1 the entite Prope1ty.

              11.3       Payment of Common A1ens Expenses. Pl'ior to the commencement of each lease yem or such
   othe1 annual accounting period as Landl01d shall utilize fiom time to time, Landlord shall give Tenanl a written
   estimate of the Additional Rent pnyable by Tenant dm ing the coming year. Teuant shall pay such estimated amount
   to Landlotd in equal mouthl~1 installments, in advance, at the same time the Base Monthly Rent is 1mid. Within
   ninety (90) dnys after the end of each lease year, or such other annual accounting pe1 iod as Landlo1d shall utilize
   from time to time, La11dlo1 d shall furnish to Teuant a statement showing i111easonable detail the nctual costs
   incurred by Lancllo1d fo1 the ope1ation and nrnintenance of the P1operty dming the )'eat then ended, and Tenant shall
   pay to La11dlo1d Tenant's pi opo1tionate shm c of the cost incuued in excess of the payments of Additional Rent mode
   by Tennnt within ten (10) days of1eceipt of such statement In the event that the payments of Additional Rent made
   by Tenant exceed Tenant's share of the actual cost of the ope1 ati on and maintenance of the Pi ope1 ly, the amount of
   any such excess shall be credited by Landlo1 d to the Additional Rent next dne and owing; provided, however, that, if
   the Lease te1m has e;\.pi.red, Landlord shall accompany said statement with the amount cine to Tenant.
   Notwithstanding the foregoing, Landlord shall have the right to submit statements to Tenant for unbudgeted
   Common Area Expenses incurred 011 an emergency basis, and Tenant shall temit payment on such statemenls fot its
   p1 o rnta shat e of such Common At ea Expenses within thuty (30) days of 1eceipt of sRme. Tenant he1 eby
   acknowledges that nuuor tenants 11nd tenants of kiosks and similar strnclut es, may not pay Common Ai ca Expenses
   and other Additional Rent charges on the same basis as Tetrnnthetein.

             11.4    Use of Common Ate as. Tenant sltnll have for its use and benefit the nonexclusive right in
   common with Landlo1d iincl futme Owners, othe1 Occupants of the Prope1iy, and theh agents, employees,
   customers, invitees, licensees m1d sublessees to use the Common Arens fi om time to time existi.t1g during the enthe
   te1m of this Lease, or any extension the1eof, for ingress and egtess, 1oadwRy, automobile pm king and sidewRlks.
   Tenant shall not use any poi ti on of the Common At ea f01 any pm pose, other thau ns set fo1 th herein, witl.10ut the
   plio1 written consent ofLandlol'd, which consent may be withheld in its sole andabsolute disc1etion.

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    12.        SIGNS AND ADVERTISING:

              12.I     Tenant slrnll not place any sign upon the Premises or the Office Building or any roof thereof,
    without Landloi d's pt io1 w1 itlen consent. Notwithstanding the fo1 egoing, Tenant shall have the right, subject to
    Landlo1ds written app1oval of the plans, at Tenant's sole cost and expense, to inst<1ll a sign on the exterior of the top
    of the Office Building, provided Tenant complies with all laws, 01de1s, rules and regulations of<lll governmental
    authoiities haviugjurisdiction and otherwise complies with all of the covenants, agteements, terms, provisions and
    conditions of this Lease. Tenant shall send a copy to Landlord, for Landlord's files, any m1d all pe1mits necessa1y
    for the above.

              12.2     Prohibited Adve1tising.

                     (a)       Tenant slrnll not, wltlwut Landlord's written consent, install any exterior lighting,
   amplifie1s or similar devices 01 use in, upon or nboul the P1emises any ndvertising media which maybe heat cl 01
   seen outside the Piemises, such as flashing lights, seat ch lights, loudspeake1s, phonogtaphs 01· radio brondcasls.
   Landlord may withhold its consent in its sole and nbsolutediscretion.

                     (b)      Tenant shall not, without Landlord's wt itten consent, which may be withheld in its sole
   and absolute disc1etion, soHcit business in the Common At ens, 1101 distribute any hand bills 01 other advertising
   mnlte1 in the Common At'eas.

    13.       ENTRY BY LANDLORD:

            13.l      Permitled En fly by Landlord. Landlo1 d and jfs agents nrny enter !he Piemises at any reasonable
   time upo111easonable notice to Tenant, or immediately in the cnse of an eme1gency, for the purpose of inspecting the
   same, fo1 the p11rpose of maintaining the Prope1ty and for the pmpose of making repaits, alterntions, or additions lo
   m1y portion of the Property, includl11g the e1ection and maintenance of such scaffolding, canopies, fences, nnd p1ops
   as may be 1equited, or for the purpose ofposling notices ofno11-1espo11sibility fo1 alterntions, additions, 01 1epaits.
   Landlm d may, at nny time d11ring the last sixty (60) days of the term of this Lease, enter the Premises during nounal
   business hours to place any usual or ordinary "For Leases" signs ancVor to show the Premises to prospective lessees.

   14.       ASSIGNMENT AND SUBLETTJNG:

             14.1       Consent Reguited. Notwithstanding anything to the conttaty contained in this Lease, Tenant slrnll
   not assign this Lease or any interest herein 01 sublet, license, grnnt any concession or otherwise give pe1 mission to
   anyone other tlrnn Tenant to use or occupy all OL any pClt t of the Premises without the pLior wdtten consent of
   Landlord, which consent shftll not be umcasonably withheld. Any attempted assignment, subletting, license or
   concession agreement m· change of ownership without Landlo1 d's written consent shall be void and slrnll confer no
   rights upon any third person. Without in any wny limiting Lnndlord's right to refuse to give such consent for any
   olhct 1easo11 or reasons, Tenant agiees th<1t it would not be comme1cially 11ureasonable to wirhhold consent, if in
   L<1ndlo1cl's 1easonable business judgment (a) the financial worth as adjusted for intfotion and/or net current assets of
   the prnposed new Tenant is less than that of the Tenant executing this Leftse 01 of Tenant ond Tenant's Gtmrnnto1, as
   the case mriy be, (b) the It ansfe1ee is not of a cha1 acter or ls not engaged in a business which is in keeping with the
   standa1ds oflandlotd for the Premises or the Pro1>e1ty, (c) the opeiation of the tnmsferee's business will interfere
   with or be in competition to or violate any 1estl'iction or exclusive right given in 01· contrary to nny le!lse 01· use of
   any other tenant or occupant in the Prnperty, or potenlfol tcnnn1 with whom Landlo1d is negotiating, or (d) the use of
   the proposed new Tenant may incre11se the risk of the use, release or mishandling ofHazai dous Materials; or (e) the
   purpose fo1• which the t1ansferee intends to use the Premises is diffe1ent fiom that of Tenant in violation of this
   Lease or otltet lequircments of the Prope1 ty. Lm1dlord shall requite a 1casonable payment, including nttorney's fees,
   of not less than One Thousand Five Hunched DolJors ($1,500.00), to cove1 its handling clrnrges fo1 ench assignment
   01 subleflse it is requested to approve. The sale, assignment, t1 ansfei or disposition, wltethet for value, by operntion
   of law, gift, will or intestacy, of (i) twenty-five pet cent (25%) or more of the issued and 011tslanding stock of Tenant
   if Tenant is a corpoiation, 01 (ii) the interest of any general pmtner, joint venturer, AssociAte 01 co-tennnl", ifTennnt is


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     a partnet ship, joint venture, association or co-tenancy, or (iii) the alienation, hypothecation, encumbrnnce,
     mo1tgaging or other ltansfer of Tenant's inte1est· in this Lease 01 in the Premises, shall be deemed an assigmnentof
     this Lease tmclet this Pan1grnph. Notwithstanding the fo1 egoing Tenant shall have a onetime right during the fit'st
     tluee ycatS of the Lease to an assignment of this Lense ns pmt ofa merger of Tenant with another non-profit
     corpot atioa.

              14.2     Genernl Conditions. In the event of any app1oved assignment or sublease of this Lease, Tenanl
    shnll remain primmily liable on its covenants he1eu11cle1 fo1 the entire term of any app1oved sublease. In the event of
    any assignment or sublease, tile assignee or sub lessee shall agree in writing to perf01 m and be bound by all of the
    covenants of this Lease requited to be perfo1mcd by Tenant, inclt1ding without· limitation all ptio1, past due and
    futu1e obligations of Tenant. Tenant agrees that any options to extend the te1m ofthis Lease me not assignable to a
    subtenant and fm ther agrees that Tenant cannot exercise any option to extend the term of this Lease if a sublessee is
    in possession of the P1e111ises at the time of the exe1cise of the option. IfLm1dlord so elects during the term of this
    Lease, Landlo1 d may 1cqnite, and Teuant he1 eby consents to assignee 01 subtenant paying the Base Monthly Rent
    and Additional Rent, and in lite event of sublease the Lan<ll01 d's portion of the above-mentioned inc1 case, directly to
    Landlo1d. Notwithstanding the foregoing, the receipt and retention by Landlord of any rent pa>•menl by a pl'oposecl
    assignee 01 subtenant shall not constitute consent to such assignment or sublease unless specified in w1iting by
    Landlotd.

             14.3      Requirements. If Tenant desil es at any time to assign this Lease 01 to sublet the Premises or any
   po1tlon the1eof, lt shall notify Landlo1d of its desile to do so and shall submit in wtiting to Landlord (a) the name of
   the proposed subteJJant or assignee; (b) the Jlature of the proposed subtenant's 01 assignee's busit1ess to be cm lied on
   in the Premises; (c) the te1ms and provisions of the proposed sublease 01 assignment, including copies of any and nll
   documents and insh·uments; (d) a current :financial statement of the proposed subtenant m· assignee and of an>'
   additional gumanto1 p1oposed for such assignment or subletting; (e) a business plan prepared by the p1oposed
   subtenant or assignee for the 1emaincler of the te1m of the Lease; (f) a drnwing depicting the proposed sign; and (g)
   such othe1 info1 n1ation, financial or othe1 wise, as Lnndlo1d may request concerning the proposed subtenant or
   assignee. As pl'ovided in Paiag1aph 14.J, any request fo1 Landlord's approval ofa sublease 01 assignment shall be
   accompanied with a check in such 1easonable amount as Landlord shall advise for the cost ofl'eview and/or
   p1epa1ation of11ny documents relating to such p1oposed ttansfer. Fmthermo1e, Tenant and the ptoposcd subtenantor
   assignee shall ag1ee that Landlord shall have the right to enfmce any and all of the terms of the sublease, as well as
   of the Lease, directly against such subtenat1t or assignee.

              14.4     Election. At any time within fifteen (15) dnys after Landlo1d's 1eceipt of the information
   specified in Paiagtnph 14.3 above, Land lot cl mny by w1 itten notice to Tenant elect to either: (a) accept the proposed
   assignment 01 sublease to the Premises 01 the portion thereof as shall be specified in sftid notice upon the same terms
   as those offo1ed to the proposed subtenant or nssignee, ftS the case may be; 01 (b) disapp10ve and ieject the p10posed
   assignment 01 sublease. IfLandloid does not provide notice or 1ejectio11 01 disapp1oval within said fifteen (15) day
   pedod, then the proposed assignment 01· sublease sllall be deemed approved. If Lancllol'd rejects tile proposed
   assignment or sublease, Landlord shall have the right to te1 milrnte this Lease; p1ovided, howeve1, Tenant shall have
   the 1ight to withdraw the p1oposed assignment or sublease assignment within ten (l O) days ofLandlo1 d's notice of
   1ejection and te1 mination given pmsuant to this P111 agrnph 14.4, and Tenant shall 1emain in possession under the
   te1 ms of this Lease. Any consent given to a proposed assignment or sublease shall not be deemed to be a consent to
   any future assignment or sublease.



                       (a)     If this Lease is assigned to nny person or entity pmsuantto the provisions of the
   Bankrnptcy Code, 11 U.S.C. Section 101, et seq. (the "Bnnkruptcy Code"), any aud all monies or othe1
   consideiation payable or othe1 wise to be delive1 eel in connection with such assignment shall be paid or delive1 ed to
   Landloi·d, shnll be the exclusive p1ope1ty of Landlord and shall not constitute properly ofTemmt or of the estate of
   Teui'lut within the meaning of the Banktuptcy Code. Any and all monies or other considerntlou constituting
   Landlord's p1operty unde1 the preceding seutence not be paid or dclive1ed to Landlord, shall be held in ttust fo1 the

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     benefit of Landlord and shall be promptly paid or delive1ed to Landlord.

                       (b)        Any person or entity to which tit.ls Lease is assigned pmsuClllt to the provisions of the
    Bank1 uptcy Code shall be deemed without fmther act or deed to have assumed all of the obligutions arising unde1
    this Lease on attd uftet' the date of such <issignment. Any such assignee shall upon demand execute and deliver to
    Lm1dlord an instrument confirming such assumption.

                         (c)    This is n lease of1eal propc1·Jy in a center within the meaning ofSection 365(b)(3) ofthe
    Bankrnptcy Code.

              14.6     Limitation of Remedy. Tenant acknowledges and ugrees that each of the rights of Landlord set
    forth in Parag1 aphs 14.1-14 .5 are re<iso1inble 1est1 iclions on subletting ond assignment for pm poses of California
    Civll Code Section 1951.4, mid Lm1dlord shall have no liability to Tenant or to any p1oposed t1ansfe1ee of Tenant
    fo1 any dmnages if it is adjudicated that- Landlo1 d's consent 1rns been mu easonably withheld. Tenant's sole remedy
    shall be to have the p1oposecl assignment or suble!lse decl!lred valid.

    15,        ABANDONMENT:

             15.l      Tenant's Al><indonment Pro11ibited. Absent Tennnt's prim· w1·itten notice to Landloid and
   Laudlo1d 1s written apptoval the1eof, which may be withheld in its sole m1d absolute dlsc1etio11, Tenant shall not
   vacate or abandon the Ptemises any time during the let m of this Lease nor permit the Premises to temain unoccupied
   for a period oflonge1 than fifteen (15) consecutive days dming the term of this Lease. If Tenant shall abandon,
   vacate, or sul!ender the P1emises, or be dispossessed by process of law, or otherwise, any personal property or trade
   fixtmes belonging to Tenant and left on the P1emises shall, at the option ofLandlo1 d, be deemed abandoned. In such
   case, Landlo1d may dispose of said personal p1ope1ty in any mmmer as permitted by applicable law and is heteby
   relieved of all liability for doing so. These p1 ovisions shall no! apply if the Premises should be closed and business
   ternpo1aiily discontinued the1ein on account ofshikes, lockouts, or similm causes (other than those ofa financinl
   nature) beyond the 1easonable con ti ol ofTcnant.

    16.        BREACH BY TENANT:

             16.l     Events of Default. The occmrence of any of the following slmll constitute a defanlt, and if such
   default is not timely cmed shall constitute n mate1 ial breach of this Lease, byTenant:

                       (a)      The failme of Tenant to pay 01 cm1se to be paid when due any rent, monies, 01 clmrges
   tequi.J ed by this Leose to be paid by Tenant when such failure continues for a period ofth1 ee (3) dttys afle1 wiilten
   notice thc1cof from Landlord to Tenant; or

                         (b)   The abm1don111ent of the P1 emises by Tenant within the meaning of Parng1 aph 15. I; or

                     (c)     The failme of Tenant to do 01 cause to be done Rny material act, othe1 than payment of
   rent, monies or chmges, required by this Lease; or

                     (d)      Tenant causing, pern1itting, 01· snffering, without the prior written consent ofLandlord,
   any material act when this Lease 1equit es Landlord's pt ior written consent or p1 obi bits such act; 01

                     (e)      The occurrence of irny event of insolvency or bank.! uptcy with respect to Tenant,
   including any of the following by way ofillust1ation:

                               (J)      Any geneial assignment     01   genernl anangemeut for the benefit of c1 edito1 s;

                                (2)      The filing of any petition by or against Tenant to hove Tcmant adjudged a
   bankrnpt or fl petition for 1eo1ganization or m1angement under any law relating to bankruptcy, unless such petition is

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    filed against Tenant nnd tile same is dismissed within sixty (60)days;

                                 (3)     The appointment of fl t1ustee 01 receiver to take possession ofsubstantinlly all of
    Tenant's assets located in the Premises or of Tenant's interest in this Lease; or;

                                 (4)      The attachment, execution or othe1 jmlicial seizrn e of substantially flll of
    Tenm1t's assets located at the P1 emises 01 of Tenant's interest in this Lease.

                       (f)      The folsification of any written re poi t or statement required to be given by Tenant to
   Landlord under this Lease.

             16.2    No Waiver, Tile acceptance by Landlo1d of m1y pa1tial payment ofrent due hereunder after
   bi each by Tenant wifl not constitute a waive1 of such b1each, unless a written statement to tlrnt effect signed by
   Landlord has been delive1 ed to Tennnt.

    17.         REMEDIBS UPON BREACH:

           17.1      Landlo1 d's Remedies. lu the event of any bteach by Tenant, in additio11 to othe1 l fghts 01 remedies
   ofLandlot d at law 01 in equity, Laudlotcl shall have the light to exercise any one oJ moJ e of the following iemedies:

                    (a)      Collect Rent Without Teuninating Lease Landlord may Jecove1 ft om Tenant the 1ent as
   it becomes due and any other amount necessai}' to compensate LanclloJd fo1 all dett iment pJoximately caused by
   Tenant's faihne to perform its obligations under this Lease or wllich in the 01dinary comse of things would be likely
   to tesnlt the1efiom. Landlord may sue monthly, annually 01· after such equal or unequal periods as Landlord desires
   for amounts due under this subpa1ag1nph (n). The right to collect rent as it becomes due shnll terminate upon the
   termination by Landlord of Tenant's right to possession of the Premises. Tenant's 1ight to possession shall not be
   teuninated unless and until Landlo1d delive1s to Tenant writlen notice thereof.

                      (b)      Tet minate Lease. Lnndlord nn alternative to exercising the remedies set fo1th in
   Pmag1aph 17. 1 (a), ma)' terminate Tenant's right to possession of the Premises by and upon delive1 y to Tenant of
   written notice ofte1 mination. Landlord shall then immediately 1eenter the Premises and take possession the1eof
   pursuant to legal proceedings and remove all pet sons and p1 ope1 ty ft om the P1 emises. Such property may be
   removed and stored in fl public warehouse OJ elsewhete at the cost of and for the account of Tenant. No notice of
   termination shall be necessm)' In the event tlrnt Temmt has abandoned the P1emises. Jn the event that Landl01d elects
   to terminnle Tenant's right of possession, L<111dlord may lecovet' all of the following:

                               (1)       The wol'th at the time of award of the unpaid rent which had beeu earned at the
   time of termination. "Wo1 th at the time of awmd" shnlf be computed by allowing interest at ten pe1 cent (I 0%) per
   Clnnum, or the highest 1ate allowed at law, whicheve1 is less, fi om the fit st daythe breach occurs;

                               (2)       The worth at the time of award of the amount by which the unpaid rentwhich
  would have been earned after termination until lhe time of award exceeds the amount of such 1ental loss that the
  Tenant p1oves could have beeu 1easonably avoided. Wo1th at the time of awmd" shall be dete1mined by allowing
  inte1esl al the uite often percent (I 0%) per annum, or the highest rnte aflowed at law, whichever is less, from the
  first day a breach occurs;
                               (3)       The worth at the time of award by which the unpaid Jent fo1 the balance ofthe
  term afte1 the time ofnwmd exceeds the amount of such 1ental loss that the Tenant proves could be 1e11sonably
  avoided. "Wot lh at the time of award" shall be computed by discounting sncl1 amount at the discount rate of the
  Fe demi Reserve Bank of San Finucisco al the time of award, plus one pe1 cent( J%);

                               (4)      Any other amount necessm y to compensate Landl01 d for all the cleh iment
  proximately caused by Tenant's foilme to pet fo1 m its obligations under the Lease or which in the 01dinary comse of
  events flould be likely to Jesuit thereftom including, but not limited to, expenses ofteletting, attorney's fees, costs of

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    alterntions nnd 1epnits, 1ecording fees, filing fees m1d any other expenses custo1m11 ily resulting from obtaining
    possession of leased Pi cmises and relcnsing.

              17.2      Landlord 1s Right to Cure. Iu the event ofbre!lch, default, or noncompliance unde1 this Lease by
    Landlord, Tenant shall, before cxe1cisi11g any rlght 01 1emedy available to it, give Landlo1d written notice of the
    claimed breach, or noncompliance in reasonable detail, setting forth the necessary actions to be taken to ewe such
   default. If, priOL to its giving such notice, Tenant has been noticed in wdting (by way of Notice of Assignment of
   Rents and Leases 01 otherwise) of the address ofa lender which hns fumished any financing to Landlo1d or is a
   beneficiary of any deed of tntst 1ecordecl against the Pi emises OJ the Property, then concurrently with giving the
   aforesaid notice to Landlord, Tenant shall, pu1smmt to the manner of giving notice set fo1 th in Paragraph 30.9
   below, transmit a copy the1 eof to such lende1· or le11de1s. Fot thhty (30) days following the receipt of the notice by
   Landlord, Lnncllo1d shall have the light to cure such breach or to commence the cme if mo1e than thl1'ty (30) days Is
   ieasonably Jequhed to affect such cure, so long as Landlord shall thereafte1 diligeutly pm sue such cme to fl
   completion, lf Landlord has failed to commence the cme within such thirty (30) day perlod, then Tenant shall so
   notify Landlo1 d's lender or lendeJ s and p1 ovide any such lender with an additional thirty (3 0) days to effect such
   cm e, so long as any such lender shall thereafter diligently pm sue such cme to a completion, (including, but not
   limited to, commencement 1111d p1osecutio11 of proceedings to foreclose or otherwlse exercise its rights under its
   mmtgage or othe1 security inst1 umeut, ifnecessai y to effect si1ch cure), in which event this Lease shall not be
   terminated by Tenant so long as such actions OJ 1einedies are being diligently pm sued by said lender. If the default is
   cnred by Landlord or lender as p1ovided above, Tenant shall have no other Jemed~r 1wi1ilable to it and this Lease
   shall 1emain in full fo1 ce and effect. IfLandlo1d, or lender as provided herein, foils to cure the b1each, default OJ
   noncomplinnce as set f01 th heJ ein Tenant shall have the Light to teuninate !he Lease upon sixty (60) day notice to
   Land Joi d and lender ane1 the expitation of the applicable time fi ames to cm e.

    18.       DAMAGE OR DESTRUCTION:

            18.l      Destrnction in Whole 01 Pait In the event Iha! the P1emises is pmiially or completely damaged or
   deslloyed 01 declared unsafe OJ' unfit for occupation by any authorized public authority for any reason other than
   Tenant's acts, use or occupation, which decimation requiies repairs to either the Premises 01 the building in which
   the P1emises me located, the rights aud obligations of Tenant and Landlo1d shall be as follows·

                      (n}      If the damage is covered under the form ofprope1ty insmance carried by Lnndlo1d, and
   sufficient insurnnce p1oceeds are available to make all necessmy iepairs, Landlord shall repair such damnge as soon
   as ls reasonably possible and this Lease shall continue in full fo1ce and effect.

                      (b)      Jn the event that such damage is not covered, or is 11 under insurecl 11 by the fo1111 of
   propel ty insurnnce ccuried by Limdlo1 d, Land!OJd shall repail such damage; provided, however, that if such damage
   or dest1uction exceeds thirty percent (30%) of the then 1eplaccment value of the imp1ove1nents on the Premises
   (exclusive oftiade fixtrnes, equipment and foundations), Landlord shall have no obligation to repair such damage.
   If Landlord elects not to repHir such damHge Tenant shall have the tight to te11ninnte the Lease upon sixty (60) clay
   notice to Landlord 11nd lender.

                        (c)      Notwithstanding anything contained herein above, (I) if the Premises ale damHged or
   desttoycd to any extent during the last twelve (12) months of the term of this Lease, (2) if the uninsured po1tion of
   such damage exceeds thirty pe1cent (30%) of the the111eplacement value of the building of which the Premises
   constitute all or a pm t, or (3) if over fifty percent (50%) of the P1 emiscs slrnl1 be damage cl 01 clest10yed <it any time
   whether such casualty is insmed or not:, LandloJd may, at Lancllo1d's option, cancel imd terminate this Lease by
   deJive1y of w1 it ten notice to Tenant to so terminate. Said written notice shall be mHde within ninety (90) dnys after
   the date of occunence of such damage 01 destruction and shall be effective as of tlte date of such notice. If notice is
   not given within said ninety (90) day petiod, Landlo1d shall be deemed to have elected to Jest01e the d11mage or
   destJ nction and shall repair such damage as soon as 1easonably possible. If the above occms and Landlord does not
   elect to teunb.rnte or repnil than Tenant slrnll have the right to tenniunte the Lease upon sixty (60) day notice to
   Landlo1 d and lender.

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              18.2    Rent Abatement. If Landlord elects 01 is required to make repails to the Premises, pu1suant to
    Pmagrnph 18.1 above, Tena11t shall be entitled to a 1ed1LCtio11 in the Base Monthly Rent during the time in wl1ich the
    repairs me being made to the extent to which Tenant's use of the Premises is impahed. Whereve1 the Lease provides
    for 1ent abatement, that plnase shall mean BEtse Monthly Rent and Additional Rent. All 1ent abatement shall
    terminate upon the substantial completion of such tepait orrestoiatlon.

              18.3     Restorntion of Tenant's Propel ty. Landlord's obligation to 1estore shall not include the restoration
    or 1eplacement ofTemmt's t1 ade fixtures, equipment-, merclwndise or any improvements or alterntions made by
    Tenant to the Premises. Tenant shall restore and 1eplace the same in the event that Landlotd is obligated 01· elects to
    1e1>air any d11mage 01 dest1 uction of the Premises.

    19.        CONDEMNATION:

              19.l      Genernl. If the Premises or Hny po1tiou the1eofaie taken under the powe1 of eminent domain, ot·
    sold by Landlotd under the tlueat of the exercise of such power, this LeClse shall te1111i1111te as to the pail so taken as
    of the date that the comlenmlng authority takes possession of the P1emises. lf mote than twenty-five percent (25%)
    of the Premises is taken or sold unde1 such tin eat, either Landlord or Tenant may tet minate this Lease as of thednte
    that the condemning m1thority takes possession by delivery of wt itten notice of such election within twenty (20)
    days after such party hos been notified of the taking or, in the absence thereof, within twenty (20) days after the
    condemning autliority slrnll have taken possession.

              19.2     Continuation of Lease Aflel' Condemnation. If this Lease is not te1 minated by Landlord 01·
   Tenant, it shall 1enrnin in foll fo1ce and effect as to the po1tlon of the Premises remaining; provided, however, that
   the Base Monthly Rent iind Tenant's sh<1re of Common Areas Expenses shall be 1ednced in proportion to the
   1ecl11ction of the Gross Floor A1 en of the Premises. Jn such event, Landl01d shall, at Lm1cllord's expense, 1estore the
   P1emises to a complete unit of like quality and chmacter, except as lo size, as existed plior to the date on which the
   condemning authority took possession. Jfmo1e than twenty-five percent (25%) of the P1e111ises is taken under the
   power of eminent donrnin, 01 sold by Lnndlord under the threat of the exercise of such power than Tenant shall have
   the right to tenninate the Lease upon sixty (60) day notice to Limdlord andlender.

            19.3      Allocation of Condemnation Award. All awards for the laking of any pal'! of the Premises 01
   proceeds fiom the sole made under the threat of the exercise of the Power of eminent domain slrnll be the prope1()• of
   Landlord, wl1ethe1 made as compe11sation fol' diminution of value of the le11sehold estate, for the taking of the fee, or
   as severance damage; prnvided, however, that Tenant shall be entitled to any awatd fo1 loss of or damage to
   Tenant's trade fixtures, and removable pe1sonal property which is separately stated within such awm·d. Any other
   claim of Tenant relative to this P<lragrnph 19.3 shall not diminish Landlord's recove1y In anytespect.

   20.        SURRENDER OF LEASE:

            20.1       Effect ofSmrendcr. The voluntary or othe1· surrender or a mutual cancellation of this Lease by
   Tenant shall not work a merger, imd shall, at the election of Landlord, either terminate all or any existing subleases
   or sub-tenancies or may opernte as an assignment to it of an>' 01 all of such subleases 01 sub-tenancies. Landlord
   shall exercise its election within thirty (30) days of the event so1equiri11g.

   21.       ATTORNEY'S FEES:

             21.l      Altotney's Fees. If Landlord is involuntarily made a pm ty defendant to any litigation relating to
   this Lease 01· the P1emises by Leason of any act ot omission of Tenant, then Tenant shall defend, protect and hold
   Landlord harmless from any loss, cost or expense, including 1easonable attomey's fees, arising out of 01 1elating to
   any such litigation. Jn the event of any legal action or p1oceeding between the pm ties, the ultimately prevailing party
   shall be entitled to 1easomible alto1 ney's fees and expenses as a part of the judgment resul!ing therefrom.


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     22.         SALE, EXCHANGE OR MASTER LEASE OF TIIE PREMISES BY LANDLORD:

               22.1     Landlord's Residual Liability. Notwithstanding nny other provisions of this Lef!se, Lm1dlord may
    f!ssign, in whole or in pmi, Landlo1 d's interest in this Lease and moy sell, exchange or mastet lease all or patt of the
    renl estllte of which the Premises me a part. lJJ the event of C1ny sale or exchange of the Premises by Landlord and
    assignment by La11dlo1d of this Lense, Laudlo1d shall be and is hereby entitely fieed and 1elieved of all liability
    uude1 any imd all covenants and obligations contained in or derived fi om this Lease or arising out of any act,
    occurrence 01 omission relating to the Premises which occurs afte1 the consununatlon of such sale, exchange, or
    assignment. Landlord slrnll pl ovkle Tenant with notice of any assignment, sale, exchange 01 masterle<ise.

    23.          QUfET ENJOYMENT·

              23.1       Landlord's Covenant. ffTenant is not iu b1each nnclet the covenants made in this Lease and has
    satisfact01 ily attm ncd to any successo1 in interest to La11dlo1 d 01 any lend et of Landlord as p1 ovicled in Article 25,
    Landlo1 d covenants that Te1iant slrnll have peaceful and quiet enjoyment of the Premises without hindrance on the
    part of Landlmd. La11dlo1d wi!I defend Tenant it1 the peaceful and quiet enjoyment of the Premises against claims of
    all persons claim Ing tht ough or under the Landlord.

    24.          ESTOPPEL CERTIFICATES:

              24.1     Tenant's Obligation. Tenaut shall at any time cl ming the te1 m of this Lease, within five (5)
    business days of 1cceipt of written notice fi om Landlo1 d, execute and deliver lo Landlotd a statement in a fo1111
    acceptable to La11cllo1d in w1iting certifying tlrnt this Lease is unmodified and in full force and effect or, if modified,
    stating the nature of such modification. Tenant's statement shall include othe1 commercially reasonable info1mation
    and details requested by Landlord, such as the date lo which tent and othet charges are paid, Tenant's knowledge
    concerning any unc111ed defaults with 1espect to Landlord's obligations under this Lease and the natu1e of such
    defaults if they me claimed. Any such statement may be relied upon conclusively by any prospective pmchase1 or
    lender of the Premises. Should Tenant shall foil to timely deliver such estoppel ce1tificate to Londlord, Tenant
    agrees that such failure shall be conclusive upon Tenant that this Lease is in foll fmce and effect, except to the
    extent any modification /ms been 1ep1ese11ted by Lal1Cllo1d, and tlrnt the1e are no 11nct11ed defaults in the Landlord's
    pe1 fotmance, and that not more than one mouth's rent has been paid lt1adva11ce.

   25.           SUBORDINATION; ATTORNMENT; NON-DISTURBANCE:

             25. I      Subordination of Lease to La11dlo1d's Fi1rnncing. Except as otherwise ptovided herein, this Lease
   is hereby made subordinate to tl1e lien of 1my mo1tgage or deed of trnst to any bank, lnsmance company 01 other
   lending institution, now or he1 eane1 in fo1 ce against the real property of which the P1emises constitute a pait, and to
   oil advances made 01 het eafier made 11pon the sec\11 ity the1eof ("Secu1 lty Inst1 ument"). Any holder of a Secunty
   lnte1est at any time existing 01 encumbering the Landlo1d's interest in the Prope1ly may, <it its option, subordinate its
   Secul'ity Inte1 est to this Lease.

            25.2      Attonunent by Tenant. In the event of the sole 01 assignment of Landlord's interest in the
   Property of which the P1emises me a part, 01 in the event any pi oceedings ate b1ought for fo1eclosmc, or in the event
   of the exercise of the power of sale un<le1 any mortgage or deed oftrnst made by Landlord cove1 ing the Premises,
   Tenant shall, subject to the 11011-dist111 bnnce provisions of Pm ag1aph 25,5 below, atto1 n to the pm chaser or <issiguee
   upon any such foreclosure 01 sale or assignment and iecognize such put chaser or assignee as Landlo1d 1111de1 this
   Lease.

            25.3     Subordination of Lease to Certain Ag1eements with Third Pm ties. Tenant he1eby subotdinates its
   rightsJwreunder to any Declat at ion of Restrictions and G1anl of Easements or any other ope1 at ion and.reciprocal
   easement agreement, 01 any amendments the1eto, for access and parking between Lnndlo1d and the Ow11e1(s) ofnny
   property located within or adjacent to the P10petl)' whenever, in the reasonable d1sc1etion of Landlord, it is
   deteiyp1~at any such agreement· would be beneficial to the use and operation of tile Property.

         f   v                                      LEASE-OFFICE BUILDING

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               25.4     Execution of Documents Tenant, upon 1equest of any party in i11!c1 est, shall execute p1omptly
     such instuuneuts and ce1tificates, to ca11y out !he intent of Articles 24 and 25. If, within ten (10) days after the elate
     of a written request by Landlord to execute such inst! uments, Tenant shalt not have executed the smne, Tenant slmJI
     be deemed to lrnve iuevocably appointed Landlord as attomey-in-fact for Tenant with full power mid authority to
     execute and deliver in the name of Tenant any such insh nments, ce1 tificates, and/or documents.

               25.5    Nou-Distm bance. With respect to nny Secul'ity Instrument entered into by Landlord afte1
    execution of this Lease, and with respect to any requested attomment by Tenant per Pmagraph 25.2 nbove, Tenant's
    subo1di11ation of this Lease, and Tenant's alto1n111e11t, shall be subject to receiving a comrne1cially reasonable 11011-
    distlll'bance ag1eement ("No11-Distmbm1ce Agt·eement'') ft om the holder of such Secu1 Hy Inslrnment, or purchflse1 01
    nssignee of Londlord, wliich Non-Disturbance Agreement shall provide that Tenant's possession of the P1emises,
    and this Lease and options to extend the term hereof, will not be disturbed so long as Tenant is not in b1each undc1
    the Lense and attorns to the record owne1 of the P1emises,

    26.          HOLDING OVER; SURRENDER:

              26.1     Effect of Holding Over. If Tenant remains in possession of the Premises afte1 the expilation of the
    te11n of this Lease, including options, if applicable, without executing a new Lease, or nfte1 Landl01d has declaied a
    fo1feitme by teflson ofa materinl b1each by Tenant, then such holding over shall be constrned ns a tenancy from
    month to month, subject to all the conditions, provisions and obligations of this Lease insofor as they are applicable
    to a month-to-month tenancy. The Bnse Monthly Rent payable during any period of holding ove1 should be equnl to
    one hundred five percent (105%) oft he Base Monthly Rent payable clurlng the petiod immediately p1eceding
    Tenant's holding over, and iill Pe1centage Rent and Additional Rent payments shall fllso be made as specified within
    this Lease.

             26.2      Suuender of P1emises. At the expiration of this Lease, Tenant shall smrender the Piemises in the
   same condition as it was upon delive1y of possession thereto under this Lease, 1easonable wear and tent excepted,
   and shall delive1 all keys to Landlmd. Before surrcnde1 ing the Premises, Tenant shall, at its sole cost and expense,
   1emovc all of its perso11al ptoperty and hade fixtures and sncll iilte1atlons or additio11s to the Premises made by
   Tenant as may be specified for 1cmoval by Landlord, and shnll 1epait any damage caused by sttch ptoperty or the
   remova I the1 eof. If Tenant fails to 1emove its personal propel ty and fixtmes upon Hie exp ii al ion of this Lease, the
   same slmll be deemed abandoned ancl slmll become the propetly ofLandlord.

   27.          LIMITATION OF LIABILITY:

                27.1        Agt eement by Tenant.

                       (a)     In consideration of the execution of this Lease b)' Landlo1d, Tenimt ngrees in the eventof
   any actual or iilleged fnihue, breach, 01 default hereunder by Lnndlo1d: (1) The sole and exclttsive remedy shall be
   against the pmlne1ship and its parh1ership assets; (2) no partner of Landlord should be sued 01 named as a party in
   any suit 01 action (except as may be necessary to secme jurisdiction of the pa11ne1 ship); nnd (3) no judgment will be
   taken ngainst any pmtner of Landlord. These covenants mid agreements ate enfo1ceable both by Lnndlotd and iilso
   by any pa1f11er ofLandlord.

                    (b)     Tenant ag1ees that each of the foregoing covenants and ag1eeme11ts shall be appllcableto
   any covenant or agreement elther exp1cssly contained In this Lease 01 imposed by statute or at common law.

   28.          LIABILITY OF SUCCESSORS:

           28.1       Jnmement The covenants and conditions he1ein contained shall, subject to the p1ovisions as to
   assigmnent, apply to and bind the heh s, successo1s, executo1 s, administrators and assigns of all of the parties hereto
   Rnd aU of the pm ties hereto shall be jointly and severally liiible for the covenants contained herein.
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     29.       MISCELLANEOUS PROVISIONS:

                29.l      Gender and Number. Whenever the singulm number is used in this Lease, the snme shall include
     the plwal, and the masculine slrnll include the feminine mid neuter gender; and the word "person" shall include
     co1 po1 ntion, fo1 m 01 nssociation, when 1equii ed by the context.

              29.2     C<lptious. The headings 01 titles to the aitioles nnct pmag1aphs of this Lease ate for convenience
     only and do not in any way define, limit or constrne the co11tents of such a1 ticles and parngraphs.

              29.3     En!il e Ag1 eement This Lease nnd its exhibits contain nil of the ng1 cements and conditions made
    between the parties with respect to the leasing of the P1emises. Landlo1d and Lnndlo1d's Real Estnte Brokets make
    no wnrronty or rep1esentrition with iespect to any other tenants 01· owne1s which may 01 may not constlllct
    improvements, occupy 01 conduct business within the Pt op et ty, and 'remmt hereby acknowledges and agt·ees that it
    is not relyiug on any wat 1nnty o'1 1ept esentatiou relating thereto in entering into this Lease. Landlord specifically
    disavows any ornl rep1ese11tntions made by or on behnlfofits employees, agents, and independent conttact01s, otlter
    than the express terms of this Lease. Tenant he1eby acknowledges and agrees that it is not relying on and will not
    rely on any oral rep1esentations in entering into this Lease. Rcfetences upon the exhibits to potential tenants within
    the Propet ty me to be co11side1ed generic and me not to be consideted as specific rep1esentations that any pa1ticula1·
    company, firm, business enterprise will occupy a specific area within the Pt operly. This Lease may not be
    amended, modified, or nny of its provisions waived except by a written instrument signed by all the parties to this
    LeAse.

             29.4      Goveming Law. The laws of the State ofCalifornin shall govetn the validity, performance and
    enfo1 cement of this Lease.

               29.5     Invalidity; Constrnction. If any p1ov1sion of this Lease is determined to be void by any comt of
    competent jurisdiction, such determination shall not affect any other provision of this Lense and such other
    provisions shall 1emnin in full force and effect. Tfnny provision of this Lense is capable of two constructions, one
    which would rcnde1 the provision void nncl one which would render the pt ovision v<1lid, the provision shnll be
    inte1 ptcted in the m<1nner which would tender it valid.

             29.6      Payments. Except RS may otherwise be exp1 essly stated, each p<1yment 1equh ed to be nrnde by
    Tenant slta!l be in addition to and not in substitution for other payments to be mnde by Tenant.

              29.7     Tm1e of Essence. Time is of the essence of each and every pi ovision of this Le<1se.

               29.8     Fo1ce Maje111c, Any pieventiou, del!t)' 01 stoppage due to strikes, lockouts, Jnbo1 disputes, acts of
    God, inability to obtnin labor or 111ate1 ials or tcasonable substitutes therefo1 e, governmental restrictions, regulalwns,
    or con ti ols, enemy or hostile govemment action, civil commotion, fire or other cnsualty, and other cnuses (othet than
    financifll) beyond the reasonable contrnl of the party obligated to perform, shall excuse the performance by such
    party for a period equal to thnt 1esulting from such prevention, delay 01· stoppage, except those obligntions of Tenant
    to pay 1ent rind othet cha1ges pmsuantto the te1111s of this Lease.

             29.9      Notices.

                       (a)        All notices to be given by one paiiy to the other unde1 this Lease shall be in WI iting,
    mailed or delive1 eel to the other pm ty at the addt esses specified in Item l 0 of the Basic Lease P1ovisio11s.

                       (b)      Mniled notices shall be sent by United States Postal Service, ce1 tified 01 1egistercd mnil,
    with ieturn receipt 1equested, postage p1epaid, or by other comparable commercial means, and shall be deemed to
    have been given two (2) days allc1 the date posted by the United States Postal Service or on the date signed as
    receive< by such other comparable commercial service.
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                                                                                                             Lnndlord's lnilinls

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                        (c)       Either party may, by proper notice, at any time designate a diffe1ent pm ty nnd/01 address
     to whicl1 notices shall be sent.

             29.10     Broke!'s. Tenant warrants tlrnt it has had no dealings with any real estate b1 oke1 or agent in
    connection with the negotiation and/01 execution of the Lease, except the b!'oker identified in Hem I I of the Basic
    Lease P1ovisio11s.

              29.l l   No Partne1shiQ. Notwithstanding any other p1ovlsio11 of this Lease, Landl01d does not by this
    Lease, in any manner nor for Oil)' purpose, become a paitner orjoillt vent111er of Tenant in the conduct of ils business
    01 othe1 wise. The p1 ovisions of this Lease telating to Pe1centage Rent and Additional Rent are included solely fo1
    the purpose of p1 oviding a method whereby such 1ent is to be mensured and ascet·tained.

              29.12 Fees and Pe1111ils. Tenant is 1espo11sible for the application, payment m1cl apptoval of all fees,
    licenses and permits necessm y to pt epme for and complete the opening and continued operation of its business.

              29.13    Rules and Regulations. Landlo1 d reset ves the light to make such 1easonable mies and 1egnlations
    as it deems appropriate, in its sole discretion, to p1 ovide fot a m01e efficient and 01 dedy ope1atio11 of the P1 ope1 ty.
    Tenant covenants and ag1ees to be bound by nnd to abide by all such 1ules nnd regulations immediately upon receipt
    of written notice of such ll!les and regulations from Landlord.

              29.14 Genernl Inte1p1 elation. The teuns of this Lease have been negotiated by the pm ties hereto and the
    language used in this Lease shall be deemed to be the langunge chosen by the parties hereto to expt'ess their mutual
    intent. This Lease shall be constrned without re gm cl to any presumption or rule 1equiring constt uction against the
    party causing such instl'ument or any portion theteofto be drafted, or in favor of the pnrly 1ecciving a particular
    benefit under the Agreement. No rule of strict constrnction will be applied against anypc1son.

           29.15 Counterpart Signatures. This Lease may be executed in two or more counte1parts, each of which shall
    be deemed nn original, but all of which together shall constitme one and the same instrnment. This Lease shall not
    be effective until the execution and delivery behveen each of !he pllr!ies of at least one set of counte1 pat ts. The
    parties autholize each other to detach and combiue ot iginal signatme pages and consolidate them into a single
    identical original. Any one of such completely executed counte1 parts shall be sufficient pl oaf of this Lease

            29.16 Business Day Defined. "Business Day" means a day olher tlrnn a Saturday, Sunday, 01· holiday ou
    which banks, County offices, or U.S. Post Offices are closed Jn San Diego County; ifa date 01· time period provided
    fo1 in this Lease is 01 ends on a day other than a Business Dny, then such date shall automaticftll)' be extended until
    the next Business Day.

    30.      SPECIAL PROVISIONS:

         30.J  Not An Offer. THE SUBMISSION OF THIS LEASE BY LANDLORD IS NOT AN OFFER
   AND THERE SHALL BE NO AGREEMENT OF ANY NATURE BETWEEN THE PARTIES THAT IS
   BINDING UPON ANY PARTY HEREl"O UNTILTHfS LEASE IS FULLY EXECUTED AND LANDLORD
   HAS CLOSED ESCROW TO PURCHASE PROPERTY. LANDLORD IS IN ESCROW TO PURCHASE
   THE PROPERTY ESCROW# SA-4983365 AT Fll1ST AMERICAN TITLE COMPANY. UPON
   LANDLORD CLOSING ESCROW TO PURCHASE THE PROPERTY THE COMMENCEMENT DATE
   SHALL DE MODIFIED TO BE THE DATE TITLE TO THE PROPERTY IS RECOIWED IN THE NAME
   OF LANDLORD AND ALL DATES SHALL THEREAFTER RELATE TO REVISED COMMENCEMENT
   DATE.

             30.2     Legal Reptesentation. Landlord and Tenant each acknowledge, wauanl and rep1esent to the other
   that it has had an adequate opp01t11nlty to seek the advice of legal counsel of its choice prior to entering into this
   Lease, t at such opp01tunity was unde1taken or waived by the flee and volnntmy act of such pnrty, and thateach
                                                    LEASE- OFFICE 13UILDING                                   QR
   Tcnnnl's fnitinls                                                                                        Landlord's fnilials
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    party waives and covennnts to forego and/or forebem· from the assettion of any claim or defense thnt this Lease is
    not a valid and binding obligation upon it by reason of the foilm e to secure or ieceive adeqllate legnl 1eptcsentation.

              30.3     General. By insertion of numbers in the following blanks, Landlord nnd Tenant iiclmowledge that
    Patagrnph(s) NIA is/al'e attached hereto and made a pmt hereof. Ifnumbets have not bee11 set forth in the blank in
    this Piiragrnph 34.3, it is conclusive tlrnt no additionnl provisions me a pnit of this Lease.

              30.4      No11~Disclimi11ation. The Temmt heiein covenants by and for itself, its office1s, di1ectors,
    successo1 sand assigns and 1111 pe1 sons claiming 11nde1 or through It, iind this Lease is made and accepted upon nnd
    subject to the following conditions.
                   There shall be no discrimination against 01· seg1eg11tion of, imy person or g1oup ofpe1sons on nccount
    ofrnce, colo1, creed, 1eligion, sex, marital status, anceslty or national otigin in the leasing, subleasing, trnnsfcrling,
    use, occup<mcy, tenure, 01 enjoyment of the lnnd he1el.J1 leased not shall the Tenant Itself, 01 nny pe1son claiming
    under 01 through It, establish or permit any such p1actice 01· prnctices of ctiscl'imination 01 segtegation with iefetet1ce
    to the selection, location, use or company of tenants, lessees, sublessees, subtenants or veudees in the Premises
    he1ein leased.

              30.5     Accessibilit) Inspection. Landl01d D has or !8lhas not lmd the Demised Ptemises Inspected fo1
                                    1


    disability access by a Certified Access Specialist ("CASp"). The CASp dete1mincd that the PropelliJ met oO did
    not meet all applicable constrnctio11-1elatcd accessibility stnndards pmsmrntto Cnlifornia Civil Code Section 55.53.

           30.6      Ene1 gy Disc!osm e. Tenant acknowledges that the P1 emises ate a newly cons!J uctcd buildiug and
    as such Landlotd has no historical energy use for theP1emises.

                                                    [Signatu1·es on next page]




   ~
                                                    LEASE - OFFJCE BUILDING
                                                                                                            ~
                                                                                                            Landlord's lnitinls
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                                                           Page 2~ of27
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      TN WITNESS WHEREOF, La11dlo1d nnd Tenant hnve executed this Lease as of the day and year first above wdtten.

      LANDLORD:                                         TENANT:

     DRP Holdings, LLC.,                                BORREGO COMMUNITY 1-IBALTI-:I FOUNDATION
     a Califomia limited liability company              a Cnlifomia non-pt ofit public benefit co1 pot ntion
                                                                                            /


      By:~~~
       Daryl R. Priest, Mmiager
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                                               LEASE-OFFICE BUILDlNG                             ~L
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                                    EXHIBIT "A"

                                     SITEJlLAN




                                LE/\SE- OFFICE BUILDING
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                                      Page 26 of27
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                                                      EXHIBIT"Bu
                                                CONFffiMATION OF LEASE

     THIS CONFIRMATION LEASE is made and agreed upon ns ofthis__day of                            , 2016, by and
     between DRP Holdings, LLC, a California limited liability company (11 Lancllorcl"), and BORREGO
     COMMUNITY HEALTH FOUNDATJON, a Califo111ia non-pi ofil public benefit corporation ("Tenant").

                                                        WITNESSETH:

    Landlord aud Tenant have p1eviously ente1ed into a certain lease ng1ee111ent d<ltcd December, 2015 ("Lease"),
    covering cetiaiu premises located fit 750 East Main Sheet; Bmstow, Califomia, as more pmticularly described in the
    Lease C'Premises").

    NOW, THEREFORE, in co1mection with the fo1 egoing, the pm'lies he1eto mutually ag1 ee as follows:

    I.       For the purpose of confirming the establishment of the Commencement D<lte, as requited bythe p1ovisions
    of the Leflse, Lm1dlo1 cl nnd Tcnnnt Jie1 eby ngree tlrnt;

             a.         The dnte of._ _ _ _ _ , 2016, is hereby established !IS the "Commencement Date" teferred to
    in the Lease;

              b.       The date of              , 2016, is hetcby established as the "Rent Commencement Date"
    1efe11cd to in the Lease, upon which Rent mid all other items of payment commence toaccrne;

             c.         The date of_ _ _ _ _ , 2046, is hereby established as the "Ex pit at ion Date" of the term of the
    Lease; and

    2.       This Confirmation Agreement and each nnd all provisions he1eofs[rnll inure to the benefit of, or bind, as
    the case may 1equite, the pm ties hereto and thei.1' respective hehs, successors andassigns.

             IN WITNESS WHEREOF, the pm ties hereto have executed this instrument as oftlle date and year fit st
    written nbove.

    LANDLORD:                                                        TENANT:

    DRP Holdings, LLC.,                                    BORREGO COMMUNITY HEALTH FOUNDATION
    a California limited liability company                 n California no11-p1 ofit public benefit corporation



    B)•:S)4'~
     Dat}'I R. Priest, Manager




                                                   LEASE-OFflCE BUJLDING

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                                              AMENDMENT NO. 1 TO LEASE


                    This AMENDMENT NO. 1 TO LEASE (this "Amcnclmcnl No, l") ls nrndc as of the Lt{day of
    April, 2016, by and between DRP Holdings, LLC, a Cnlifo111ia limited liability compm1y ("Lnncllonl"), and
    BORREGO COMMUNITY HEALTH FOUNDATION, n California corpo1ation ("Tennnt").



                    A.     Landlotd nnd Tenant p1 eviously entered into that ce1 tnin Commercial Lease dated ns of
    Febrnnry 2nd, 2016 ("Lease") with 1espcct to the lease of 750 East Main St!eet, Ba1stow, Califolllia 9231 I
    ("Prem is cs").

                      B.        Limdlord and Tenant desire to amend the te1 ms of the Lease to inc1ense the square
   footage of the lease, tent, and other terms iis specifically set fo1 th in this Amendment No. l.

                      C.        All defined terms used herein but not defined he1 ein shnll have tile meaning nscl'ibed to
   such te1 ms 111 the Lease.

                      D.        Landlo1d and Tenant now desire to ente1 into this Amendment No. I to amend the Lease
   as hereinafter provided.

                                                         AGREEMENT

                  NOW THEREFORE, for good and valuable conside1atlon, the receipt and sufficiency of which
   me hereby acknowledged, the pmties heteto agree as follows, notwithstanding auything in the Oliginal Lease to the
   contrary:

            I.       Section 3 of the BASIC LEASE PROVISIONS. Sectiou 3 of the BASIC LEASE PROVISIONS -
   Ptemises shall be deleted in its entilety and replaced with the followlng:

            3. Premises

             (a)       Area· Appr0.\'/111C1feb 1 26,205 sq, fl. office building mc/uding approxi111alely 1DD park1J/g spaces
                       ("Office Building" or "Premises").

             (b)       Location· The Premises commonly referred to as 750 East Main Sll'eer, Ba/'sfow, Califorma,
                       are depicted 011 Exhibit "A" a/fached hereto ("Ptopel'(I' ")

            2.       Section 6 of the BASIC LEASE PROVISIONS. Section 6 of the BASIC LEASE PROVISIONS -
   Rent shnll be deleted in its entiI·ety and re1)1aced with the following:

             6 Rent·
             (a)       Base Monthly Rent: $104,820 00pel'1110111/t, subject lo adj11sr111e11f as pl'ovl(!ed ill Al'ticle 3.

             (b)       Addlt/011al Re11t. Taxes, Utilities, l11s11ra11ce, Maintenance, Mm1age111e11t and other Expenses
                       shall be based 011 direct cost or co11s11111ptlo11 by Tenant or upon Te11a11t 's shal'e ofsuch
                       E.\11enses.

             (c)       The "Rent Co111111euce111e11t Date" shall be eal'lier of (i) four (4) months fi·om tlte date tit at
                       Landlord acquil'es title to the Property or (ii) the date Temmt opens for business

             (d)       "Tenant's Slrnre" -100%



                                                                                                            ~Q
                                                                                                            Landlord's lnltrnls
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            3.        Section 1.3.         Section 1.3 of the Lease is hereby deleted and the following new Section l .3 is
    he1eby added in its place:

                         1.3 Te11a11t lmpro11e111e11t Al!owance            La11dlord shall provide a Tenant J111p!'o11eme11/
                         Allowance ("Tl Alfoll'rmce ") In an amount not to e.\ceed Two Millio11 Five Hundred T/iouso11d
                         and 00/100 Doi/an; ($2,500,000.00) for the construction of Tenant's Improvements of the
                         P!'emises, which are to be fixed /11 tlte Premises and shall remain with the Pl'emlses. A{{ Slfch
                         tenant i111pl'ove111e11ts shall be pursuant to pfo11s approved by Landlord. Tenant shall pro1 ide, al
                                                                                                                          1


                         its sole cost, to Landlord upon exec11f/011 of this Lease space plans for the Premises. Any
                         7'el'isions to the space plan shall be 11111t11alfy agreed 11po11 by the Parties.

                                 a       Constr11cfio11 ofl111proveme11ts. The co11sft11clio11 of Tenant's improvements in
      the Premises shall be done in accordance with Section 5. 1 of t/11s Lease by licensed and insured contractors
      approved by Landlord.
                                 b.      Payment of Tl Allowance. The 1'l Allowa11ce shall be paid by Landlord to
      Tenant based 011a11111/ually agreed upon co11strnction draw schedule to be s11b111ilted by Te11a111 to Landlord/or
      approval Any amount 11ot drawn 11nder the dmw schedule shall be paid fo Tena11t within thirty (30) daysji·om
      the later to occur of (1) Tenant opens for business in the B11ildh1g; (2) the penod allowed for the filing of
      mechanic's /;ens has expired or duly executed 1111col1dlt/011a! l!en 11'al11ers fl'om all contractors, s11bco11tractors
      and material men who hm•e pe1for111ed work on behalf o/Te11a11t at !he Premises are presented to Landlord,· and
      (3) the Tenant has provided to Landlord a Cerliflcare of Occupa11cy, a copy of Tenant's Recorded Notice of
      Completion and a complete set of "as-bwlt" co11str11ct1011 documents for all work pe1for111ed by Tenant and/or
      Tenant's co11/ractorsand subcontractors.

             111 Landlord's sole discretion, Landlord may satisfj> its obligations under this Section 1.3 by contracting
    with and paying directly a contracto1· q(Lm1dlord's choosmg to complete the tenant i111prove111e11ts.

          4.       Conflict lu the event of any conflict between the Lease and this Amendment No. l, this
    Amendment No. I shall p1evail. Except to the extent he1ein modified, the Lease, as modified by the Lease
    Amendments shall continue Jn full force and effect.

            5.     Terms.     Except as speciflcnll) provided in this Amendment· No. 1 nll capitalized terms shall
                                                         1


   have the smne meaning ns defined in the Lease.

            6.        Counterparts.      Thls Amendment No. J may be executed Jn any number of co1111terpm ts, e11ch
   of which slrnll be deemed an original, but all of which, taken together, slrnll constitute one and the s11me inslrnmcnt.

             JN WITNESS WHEREOF, Landlord and Te1rnnt hnve ente1ed Into this Amendment No. 1 as of the date
    fast <1bove w1 ilten.

   Landlord

   DRP Holdings, LLC.,                                       BORREGO COMMUNITY HEALTH FOUNDATION
   a Califomia limited liability compimy                     a California corporntion



   By~~~
     .                       '
        Dory! R. Priest, Mmrnger
                                                             By;~
                                                                Htl-lm--
                                                             Name: Brv(,t.
                                                             rts: l.~Q




    dlL:_
    Tcnnnt's f111tmls
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                                    LEASE ASSIGNMENT NO. 1

  This LEASE ASSSIGNMENT N0.1 ("Lease Assignment No. 1 11 ) is executed the 29 111 day of
  August 2017 by and between DRP HOLDINGS, LLC, a California limited liability company
  ("Assignor 11 ) and INLAND VALLEY INVESTiv!ENTS, LLC, a California limited liability
  company ( 11 Assignce 11 ) for the Building Lease dated February 2, 2016 and further amended by
  Lease Amendment No. 1 dated April 3, 2016 collectively herein refe1Ted to as the Lease
  ("Lcase 11) for the building located at 750 E. Main Street, Barstow, CA 92311 leased to
  BORREGO COMMUNITY HEALTH FOUNDATION, a California corporation ("Tenant'').

                                             Agreement

  Pursuant to section 22.1 of the Building Lease, Assignor hereby assigns its interest as Landlord
  in the lease to Assignee. This Lease Assignment No. 1 shall serve as notice to Tenant.

  Addresses for Notices ancl Payment of Rent:

  (a)    If to Landlord:               Inland Valley Investments, LLC
                                       a California limited liability company
                                       124 W. Main Street, Suite 240
                                       El Cajon, CA 92020
                                       Fax: (619) 444-8597
                                       Attn: Daryl R. Priest
                                       Email: daryl@dphomes.com

  All other terms and conditions of the Lease remain the same.

  IN WITNESS WHEREOF, Assignor and Assignee have executed this Leas as of the day and
  year first above written.

  ASSIGNOR:                                            ASSIGNEE:

  DRP HOLDINGS, LLC,                                   INLAND VALLEY INVESTMENTS, LLC,
  a California limited liability company               a California limited liability company



  By:~\F=;?                                            By:
         Daryl R. Priest, Manager                             Daryl R. Priest, Manager
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                                               AMENDMENT NO. 1 TO LEASE


                   This AMENDMENT NO. I TO LEASE (this "Amendment No. I") is made as of the             of           ~~ay
   April, 2016, by and between DRP Holdings, LLC, a California limited liability company ("Landlord"), and
   BORREGO COMMUNITY HEALTH FOUNDATION, a California corporntion ("Tenant").




                  A.     Landlord and Tenant previously entered into that certain Commercial Lease dated as of
  February 2nd, 2016 ("Lease") with respect to the lease of 750 East Main Street, Barstow, California 9231 I
  ("Premises").

                     B.        Landlord and Tenant desire to amend the terms of the Lease to increase the square
  footage of the lease, rent, and other terms as specifically set forth in this Amendment No. 1.

                    C.          All defined terms used herein but not defined herein shall have the meaning ascribed to
  such terms in the Lease.

                    D.          Landlord and Tenant now desire to enter into this Amendment No. I to amend the Lease
  as hereinafter provided.

                                                          AGREEMENT

                  NOW THEREFORE, for good and valuable consideration, the receipt and sufficiency of which
  are hereby acknowledged, the patties hereto agree as follows, notwithstanding anything in the Original Lease to the
  contrary:

           1.       Section 3 of the BASIC LEASE PROVISIONS. Section 3 of the BAS!C LEASE PROVISIONS~
  Premises shall be deleted in its entirety and replaced with the following:

          3. Premises:

            (a)         Area: Approximately 26,205 sq. ft. office building including approximately JOO parking spaces
                        {"Office BuUtli11g" or "Pre111/ses ").

            (b)         Location: The Premises commonly referred to as 750 East Main Street, Barstow, Califomia,
                        are depicted on Exhibit "A" a/fached hereto ("Property").

           2.       Section 6 of the BASIC LEASE PROVISIONS. Section 6 of the BASIC LEASE PROV!SIONS -
  Rent shall be deleted in its entirety and replaced with the following:

            6. Re11t:
            (a)         Base Mo11tlily Rent: SI 04,820. 00 per 1110111'1, subject to adjustment as provided in Article 3.

            (b)         Additioual Rent: Taxes, Utilities, Insurance, Mai11te11ance, Ma11age111e11t and other Expenses
                        shall be based on direct cost or consumption by Tenant or upon Tenant's share ofsuch
                        Expenses.

            (c)         The "Rent Co111111e11ce111e11t Date" sh afl be earlier of (i) four (4) months Ji-om the date that
                        Landlord acquires title to the Property or (ii) the date Tena11t ope11s for business.

            (d)         "Tenant's Share" -100%




                                                                                                           Landlord's Initials
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           3.        Section 1.3.      Section 1.3 of the Lease is hereby deleted and the following new Section 1.3 is
   hereby added in its place:

                      1.3 Tenant Improvement Aflowance.           Landlord shall provide a Tenant Improvement
                      A!lowcmce ("Tl Allowa11ce") in an amount not to exceed Two Million Five Hundred Thousand
                      and 001100 Dollars ($2,500,000.00) for the construction of Tenant's improvements of the
                      Premises, which are to be fixed in the Premises and shall remain with the Premises. All such
                      tenant improvements shci/1 be pursuant to plans approved by Landlord. Tenant shal/ proi•ide, at
                      its sole cost, to Landlord upon execution of this Lease space plans for the Premises. Any
                      revisions to the space plan shall be mutually agreed upon by the Parties.

                               a.      Co11strucU011 ofJmprove111e11ts. The construction of Tenant 's improvements in
    the Premises shall be do11e in accordance with Section 5.1 of this Lease by licensed and insured contractors
    approved by Landlord.
                               b.      Payment of Tl Allowance. The 11 Allowance shall be paid by Landlord to
    Tenant based on a mutually agreed upon construction draw schedule to be submitted by Tenant to Landlord for
    approval. Any amount not drml'll under the drmv schedule shall be paid to Tenant within thirty (30) days from
    the later to occur of: (!) Tenant opens for business in the Building; (2) the period al/owed for the filing of
    mechanic's liens has expired or duly executed unconditional lien waivers from all contractors, s11bco11tractors
    and material men who have pe1formed work on behalf o/Tenant at the Premises are presented to Landlord; and
    (3) the Tenant has provided to Landlord a Certificate of Occupancy, a copy of Tenant's Recorded Notice of
    Completion and a complete set of "as-built" construction documents for all work pe1formed by Tenant and/or
    Tenant's contractors and subcont1·actors.

           In Landlord's sole discretion, Landlord may satisfy its obligations under this Section 1.3 by contracting
  with and paying directly a contractor ofLandlord's choosing to complete the tenant improvements.

        4.       Conflict. In the event of any conflict between the Lease and this Amendment No. I, this
  Amendment No. I shall prevail. Except to the extent herein modified, the Lease, as modified by the Lease
  Amendments shall continue in full force and effect.

           5.     Terms.     Except as specifically provided in this Amendment No. I all capitalized terms shall
  have the same meaning as defined in the Lease.

          6.        Counterpatis.      This Amendment No. I may be executed in any number of counterparts, each
  of which shall be deemed an original, but all of which, taken together, shall constitute one and the same instrnment.

            JN WITNESS WHEREOF, Landlord and Tenant have entered into this Amendment No. I as of the date
  first above writ1en.

  Landlord

  DRP Holdings, LLC.,                                   BORREGO COMMUNITY HEALTH FOUNDATION
  a California limited liability company                a California corporation



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      Dmyl R. Pnest, Manager
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                                                           Ht'2tts___
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  Tenant's Initials
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